Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 1 of 199




         EXHIBIT A
       Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 2 of 199

                                                                                                  1

DEPARTMENT OF HEALTH & HUMAN SERVICES
Centers for Medicare & Medicaid Services
7500 Security Boulevard
Baltimore, Maryland 21244-1850


CENTER FOR MEDICARE



DATE:          June 30, 2023

TO:            Interested Parties

FROM:          Meena Seshamani, M.D., Ph.D., CMS Deputy Administrator and Director of the
               Center for Medicare

SUBJECT:       Medicare Drug Price Negotiation Program: Revised Guidance, Implementation of Sections
               1191 – 1198 of the Social Security Act for Initial Price Applicability Year 2026

This memorandum provides interested parties with the revised Medicare Drug Price Negotiation
Program guidance for initial price applicability year 2026. It includes four sections:
    A. An introduction, which begins on page 1.
    B. A summary of changes and clarifications to the initial memorandum released on March
        15, 2023, which begins on page 2.
    C. A summary of the public comments received in response to the initial memorandum, and
        the Centers for Medicare & Medicaid Services’ (CMS’) responses, which begins on page
        8.
    D. Revised guidance that establishes final policies on the topics discussed for initial price
        applicability year 2026, which begins on page 92 and for which a table of contents
        appears on page 94.
CMS may supplement this guidance with further program instruction to explain how these
policies will be implemented during initial price applicability year 2026 (e.g., technical
instructions for data submissions).

A. Introduction
Sections 11001(c) and 11002(c) of the Inflation Reduction Act (IRA) direct the Secretary to
implement the Medicare Drug Price Negotiation Program (hereafter the “Negotiation Program”)
for 2026, 2027, and 2028 by program instruction or other forms of program guidance. In
accordance with the law, on March 15, 2023, CMS issued an initial memorandum for
implementation of the Negotiation Program for initial price applicability year 2026. CMS also
voluntarily solicited comments on a number of key aspects of the initial memorandum. The 30-
day comment period for the initial memorandum began March 15, 2023 and concluded April 14,
2023. CMS received more than 7,500 comment letters in response to the initial memorandum,
representing a wide range of views from academic experts and thought leaders, consumer and
patient organizations, data vendors/software technology entities, health plans, health care
providers, health systems, individuals, labor unions, pharmaceutical and biotechnology
       Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 3 of 199

                                                                                                    2


manufacturers, pharmacies, pharmacy benefit managers (PBMs), state governments, trade
associations, venture capital firms, and wholesalers.

CMS will make public copies of the timely comment letters that CMS received on the Inflation
Reduction Act website at https://www.cms.gov/inflation-reduction-act-and-medicare in July
2023. Comment letters from individuals not representing organizations will have the name,
address, and contact information of the individual removed for privacy purposes. Additionally,
substantively duplicative letters (e.g., submitted as part of a coordinated advocacy campaign)
will be combined into a single document.

After consideration of the comments received, CMS is making certain changes to the policies
described in the initial memorandum in this revised guidance for initial price applicability year
2026. These comments also may be considered in development of program guidance for initial
price applicability years 2027 or 2028 of the Negotiation Program, for which CMS also intends
to solicit comments. CMS will develop its policies for 2029 and all subsequent initial price
applicability years of the Negotiation Program through notice-and-comment rulemaking. The
public will have an additional opportunity to submit comments as part of that rulemaking
process, and comments submitted in response to the initial memorandum may be considered as
part of that rulemaking process.

CMS is providing a summary of significant comments that it received in response to the initial
memorandum, as well as the agency’s response to those significant comments, which begins on
page 8. CMS is not responding in this document to all 7,500 comments that it received, but
instead is addressing those significant comments that have prompted a revision or a clarification
of its policies under the Negotiation Program, or that otherwise raised a significant issue
warranting a response that would explain to the public the agency’s resolution of that question.

B. Summary of Changes and Clarifications in Revised Medicare Negotiation Guidance
CMS received many constructive, thoughtful, and helpful comments from consumer and patient
groups, manufacturers, pharmacies, individuals, and other interested parties on the initial
Medicare Drug Price Negotiation Program Guidance that was released on March 15, 2023. This
section provides a summary of the key changes and clarifications made to the initial
memorandum based on these comments and other feedback. CMS provides responses to the
comments received in section C of this revised guidance and has made corresponding changes
and clarifications to the policies described in the initial memorandum, as summarized below.

Section 30 – Identification of Selected Drugs for Initial Price Applicability Year 2026: In
section 30 of this revised guidance, CMS has made clarifications to policies detailed in section
30 of the initial memorandum, including:
• Bona Fide Marketing of a Generic Drug: CMS has clarified in section 30.1 of this revised
    guidance the process it will use to determine if bona fide marketing of a generic drug or
    biosimilar competitor to a potential qualifying single source drug is occurring for the
    purposes of drug selection. CMS will review both Prescription Drug Event (PDE) data and
    Average Manufacturer Price (AMP) data reported by manufacturers. The determination
    whether a generic drug or biosimilar is marketed on a bona fide basis will be based on a
    totality of the circumstances, including PDE and AMP data.
       Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 4 of 199

                                                                                                3


•   Orphan Drug Exclusion: CMS has clarified in section 30.1.1 of this revised guidance that a
    drug that has designations from the U.S. Food and Drug Administration (FDA) for more than
    one rare disease or condition will not qualify for the Orphan Drug Exclusion, even if the drug
    has not been approved for any indications for the additional rare disease(s) or condition(s)
    and that CMS will only consider active designations and active approvals when evaluating a
    drug for the Orphan Drug Exclusion; that is, CMS will not consider withdrawn orphan
    designations or withdrawn approvals as disqualifying a drug from the Orphan Drug
    Exclusion. CMS does not have the statutory authority to change the starting date from which
    qualifying single source drug status is determined, regardless of whether the drug or
    biological product was previously eligible for the Orphan Drug Exclusion under
    1192(e)(3)(A) of the Social Security Act (“the Act”).
•   Exception for Small Biotech Drugs and Biosimilar Delay: CMS has clarified in sections
    30.2.1 and 30.3.1 of this revised guidance the scope of the data that CMS will use to
    calculate the Small Biotech Drug Exception, which patents and litigation will be considered
    related to the Biosimilar Delay determination and how CMS will evaluate the manufacturing
    schedule for the marketing of the Biosimilar, as well as how, for both the Small Biotech
    Exception and the Biosimilar Delay, CMS will protect information from disclosure and
    communicate to the public whether there were successful requests.

Section 40 – Requirements for Manufacturers of Selected Drugs for Initial Price
Applicability Year 2026: CMS has made the following changes and clarifications to policies
detailed in section 40 of the initial memorandum:
• Manufacturer Negotiation Agreement: CMS revised section 40.1 to establish a process for a
    Primary Manufacturer that is unwilling to enter into an Agreement for the Negotiation
    Program to expedite its termination from the Medicare Coverage Gap Discount Program and
    the Manufacturer Discount Program. The revised guidance also specifies that a Primary
    Manufacturer may terminate its Agreement with CMS at any time, provided the conditions
    for termination are met, as described in section 40.6 of this revised guidance.
• Data Submission, Confidentiality, and Data Use Provisions: CMS revised section 40.2.2 of
    the guidance to state that CMS will not publicly discuss ongoing negotiations prior to the
    release of the explanation of the maximum fair price (MFP) unless a Primary Manufacturer
    publicly discloses information regarding the negotiation process. Primary Manufacturers may
    choose to publicly disclose information regarding ongoing negotiations at its discretion. In
    addition, CMS will treat as proprietary certain data submitted by a Primary Manufacturer of a
    selected drug in accordance with sections 1194(e)(1) and 1194(e)(2) of the Act, but if a
    Primary Manufacturer chooses to disclose any material that is made public that CMS has
    previously deemed to be proprietary information of that Primary Manufacturer, CMS will no
    longer consider that material proprietary. CMS removed the data destruction requirements
    under the confidentiality policy pertaining to Primary Manufacturers in section 40.2.2 of this
    revised guidance. Section 40.2.3 of the revised guidance also provides that CMS will provide
    the Primary Manufacturer an opportunity for corrective action in the event a submission is
    incomplete or inaccurate.
• Public Explanation of MFP: CMS will publish a public explanation of the MFP for initial
    price applicability year 2026 for each selected drug by March 1, 2025 that will include a
    narrative explanation of the negotiation process, the agreed-upon MFP, and redacted
       Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 5 of 199

                                                                                                     4


    information regarding the section 1194(e) data received, exchange of offers and
    counteroffers, and the negotiation meetings, if applicable.
•   Use of Medicare Transaction Facilitator (MTF): CMS clarified in section 40.4 of this revised
    guidance that it intends to engage with an MTF to facilitate the exchange of data between
    pharmaceutical supply chain entities to help effectuate access to the MFP through a
    retrospective refund model. CMS is also exploring allowing the use of a standardized refund
    amount from the manufacturers to the pharmacies under a retrospective refund model and
    confirms it will require the use of a 14-day prompt pay standard for the refund from
    manufacturers to pharmacies and other dispensing entities to reimburse dispensing entities
    for passing through the MFP.
•   Suggestion of Error: CMS clarified in section 40.5 of this revised guidance that if a Primary
    Manufacturer in good faith believes that CMS has made an error in the calculation of the
    ceiling or the computation of MFP across dosage forms and strengths, the Primary
    Manufacturer can submit a suggestion of error. CMS will respond to suggested errors within
    30 days.
•   Manufacturer Ownership Transfer of Selected Drugs: CMS clarified in section 40.7 of this
    revised guidance the Primary Manufacturer’s ongoing responsibilities if the Primary
    Manufacturer of a selected drug transfers ownership of one or more New Drug
    Application(s) (NDA) / Biologics License Application(s) (BLA) of the selected drug to
    another entity, unless and until the Primary Manufacturer transfers all the NDAs / BLAs of
    the selected drug that it holds to an entity and such acquiring entity assumes responsibility as
    the new Primary Manufacturer as evidenced by a novation that meets certain criteria.

Section 50 – Negotiation Factors: In the revised guidance, CMS reaffirmed that it will not use
evidence from comparative clinical effectiveness research in a manner that treats extending the
life of an individual who is elderly, disabled, or terminally ill as of lower value than extending
the life of an individual who is younger, nondisabled, or not terminally ill. CMS also clarified
that, for initial price applicability year 2026, it will review cost-effectiveness measures and
studies that use such measures to determine whether the measure used may be considered in
accordance with section 1194(e)(2) of the Act. However, while such measures may be
considered, they will not be used to adjust the initial offer if the measure does not provide
relevant information or is not permitted in accordance with section 1194(e)(2) of the Act and
section 1182(e) of the Act. CMS has also noted that outcomes such as changes to productivity,
independence, and quality of life will be considered when these outcomes correspond with a
direct impact on the individuals taking the selected drug or therapeutic alternative(s) and are
permitted by section 1194(e)(2) of the Act.

Section 60 – Negotiation Process: CMS has revised the guidance to provide additional detail
about how CMS will use the days’ supply field in PDE data to calculate a 30-day equivalent
supply using the methodology described in 42 C.F.R. § 423.104(d)(2)(iv)(A)(2) when calculating
the MFP ceiling (described in section 60.2 of this revised guidance) and using the Wholesale
Acquisition Cost (WAC) ratio to apply the MFP across dosage forms and strengths (described in
section 60.5 of this revised guidance). As described in section 60.3.2 of this revised guidance,
when comparing prices of therapeutic alternatives for purposes of informing a starting price for
the initial offer, CMS may use an alternative methodology for calculating a 30-day equivalent
        Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 6 of 199

                                                                                                             5


supply when appropriate. In addition, the following revisions were made in this section of the
guidance:
• Limitations on Offer Amount: CMS has revised section 60.2 of this revised guidance to use
   the single ceiling per 30-day equivalent supply across all dosage forms and strengths of the
   selected drug. CMS has also clarified that the time period for determining whether a selected
   drug is an extended- or long-monopoly drug runs from NDA approval to the start of the
   applicable initial price applicability year and clarified that PDE units will be used when
   averaging non-Federal average manufacturer price (“non-FAMP”) across 11-digit National
   Drug Codes (NDC-11s).
• Unmet Medical Need: In section 60.3.3.1, CMS has revised the definition of unmet medical
   need to further align with FDA’s “Guidance for Industry Expedited Programs for Serious
   Conditions – Drugs and Biologics.” 1
• Addition of Manufacturer and Patient-Focused Meetings: To facilitate communication with
   manufacturers, CMS has described in section 60.4 that a CMS-manufacturer meeting will be
   added to the overall MFP negotiation process that would occur in Fall 2023 after the October
   2, 2023 manufacturer data submissions, so that the manufacturer has an opportunity to
   present the data elements submission and share new information on the section 1194(e)(2)
   factors, if applicable, with CMS. In addition, CMS will be holding patient-focused listening
   sessions in Fall 2023 after the October 2, 2023 deadline for patients and other interested
   parties to share patient-focused input on therapeutic alternatives and other section 1194(e)(2)
   data regarding selected drugs.
• Negotiation Process: CMS revised section 60.4.3 to clarify that CMS will respond in writing
   no later than 30 days after receipt of a manufacturer’s counteroffer regardless of whether
   CMS accepts or rejects the counteroffer. CMS has clarified that, to effectuate any MFP
   agreed upon by CMS and the Primary Manufacturer, both CMS and the Primary
   Manufacturer must sign and execute an Addendum to the Agreement. CMS also clarified in
   section 60.4.4 of the revised guidance that if an agreement on an MFP is not reached by the
   statutory end of the negotiation period, the Primary Manufacturer will enter a period during
   which an excise tax potentially may be assessed. The Primary Manufacturer can end this
   period by agreeing to an MFP or sending a notice terminating all of its applicable agreements
   under the Medicare and Medicaid programs and establishing that none of the Primary
   Manufacturer’s drugs are covered by an agreement under section 1860D-14A or section
   1860D-14C of the Act.
• Publication of MFPs for Selected Drugs: CMS clarified in section 60.6 of the revised
   guidance that CMS will publish the following on the CMS website by September 1, 2024 for
   all initial price applicability year 2026 selected drugs where an MFP was agreed upon: the
   selected drug, the initial price applicability year, and the MFP pricing file (which would be
   updated annually to show the inflation-adjusted MFP for a selected drug). CMS will strive to
   publish the explanation of the MFP earlier than March 1, 2025, if feasible.
• Manufacturer Delay in Negotiation Process: CMS has clarified in section 60.8 of the revised
   guidance that, if a Primary Manufacturer is delayed in meeting one or more deadlines related
   to the negotiation process, CMS will continue to engage in the negotiation process, as
   described in section 60.4. If delays occur such that the MFP is established after the end of the
1
 FDA Guidance for Industry Expedited Programs for Serious Conditions – Drugs and Biologics, May 2014. See:
https://www.fda.gov/regulatory-information/search-fda-guidance-documents/expedited-programs-serious-
conditions-drugs-and-biologics.
       Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 7 of 199

                                                                                                      6


   negotiation period, CMS will follow timelines consistent with this revised guidance and take
   the time to complete the negotiation process as described.

Section 70 – Removal from the Selected Drug List Before or During Negotiation, or After
an MFP is in Effect: In accordance with the policy clarification in section 30, CMS clarified
that, in addition to monitoring PDE data for a selected drug, CMS will use AMP data reported by
manufacturers to determine whether bona fide marketing is occurring when the agency
undertakes the process of deselecting a selected drug and monitoring for the continued bona fide
marketing of a generic drug or biosimilar. CMS will consider an approved generic drug or
licensed biosimilar biological product to be marketed when the totality of the circumstances,
including these data, reveals that the manufacturer of the generic drug or biosimilar biological
product is engaging in bona fide marketing of that drug or product.

In addition, the revised guidance clarifies that status as a selected drug is unaffected by whether
the Primary Manufacturer effectuates or terminates the Agreement to participate in the
Negotiation Program or divests of the selected drug.

Section 80 – MFP-Eligible Individuals: CMS clarified in section 80 of this revised guidance
that for initial price applicability year 2026, an MFP for a selected drug must be provided to a
Medicare beneficiary who uses their Part D plan (including a Medicare Advantage Prescription
Drug (MA-PD) plan under Medicare Part C or an Employer Group Waiver Plan) if Part D
coverage is provided under such plan for such selected drug. The MFP is not required to be made
available to a Medicare beneficiary who uses other sources of prescription drug coverage, such
as a plan that receives the Retiree Drug Subsidy, prescription drug discount cards, or cash. For
initial price applicability year 2026, CMS does not expect manufacturers to provide access to the
MFP of a selected drug to hospitals, physicians, and other providers of services and suppliers
with respect to a drug furnished or administered to MFP eligible individuals enrolled under Part
B, including an individual who is enrolled in an MA plan.

Section 90 – Manufacturer Compliance and Oversight: CMS made revisions to note that,
while the statute clearly requires that the manufacturers of selected drugs are responsible for
providing access of the MFP to MFP-eligible individuals and to pharmacies, mail order services,
and other dispensers, CMS intends to engage with an MTF to facilitate the exchange of data
between supply chain entities to verify eligibility of MFP-eligible individuals such that the MFP
can be effectively passed through by the manufacturer to pharmacies, mail order services, and
other dispensers. CMS also intends to explore options to facilitate retrospective payment
exchange between interested parties to help effectuate access to the MFP.

Consistent with the changes and clarifications noted in sections 30 and 70 of this summary, CMS
has also reaffirmed in section 90.4 of this revised guidance that it intends to monitor whether the
manufacturer of a generic drug or biosimilar for the selected drug is engaging in “bona fide
marketing” of the product by reviewing both PDE data and AMP data. CMS has also clarified
that use of these data is not exhaustive, and all data and other information will be reviewed in
totality in monitoring if manufacturers of these applicable generic drugs and biosimilars continue
to engage in bona fide marketing.
       Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 8 of 199

                                                                                                  7


Section 100 – Civil Monetary Penalties (CMPs): In the revised guidance, CMS has provided
additional details on the CMP Notification that will be sent to the Primary Manufacturer, an
opportunity for corrective action in applicable circumstances, additional details on CMP
calculations, and information regarding the payment and appeals processes. CMS will provide an
opportunity for corrective action prior to imposing CMPs in some circumstances, providing, for
example, a Notice of Potential Noncompliance that includes an opportunity for the Primary
Manufacturer to correct or mitigate noncompliance in applicable situations. CMS also revised
the guidance to adopt a definition for “knowingly” that is consistent with language used by the
Office of the Inspector General in administration of CMPs at 42 C.F.R. § 1003.110 such that
“knowingly” means that a person, with respect to an act, has actual knowledge of the act, acts in
deliberate ignorance of the act, or acts in reckless disregard of the act, and no proof of specific
intent to defraud is required. CMS has also removed the “knowingly” requirement as related to
the submission of false information under the Manufacturer Agreement.

Section 110 – Part D Formulary Inclusion of Selected Drugs: The revised guidance has
clarified that the statute requires Part D plans to include on their formularies all dosage forms
and strengths of the selected drug that constitute a covered Part D drug and for which the MFP is
in effect and has established the agency’s expectations for how this requirement will be met for
initial price applicability year 2026.

Section 120 – Application of Medicare Part B and Part D Prescription Drug Inflation
Rebate Programs to Selected Drugs: In the revised guidance, CMS has reaffirmed that selected
drugs will also be subject to the Part D drug inflation rebate, but clarified that the MFP for a
selected drug is not included in the AMP for the selected drug and thus will not affect the Part D
inflation rebate calculation (see section 1927(k)(1)(B)(i)(VI)).

Appendix C – Definitions for Purposes of Collecting Manufacturer-Specific Data: After
consideration of the comments on this guidance and the Negotiation Data Elements Information
Collection Request (ICR) (CMS-10847 / OMB 0938-NEW), CMS has revised certain definitions
in Appendix C. For example, CMS has revised the definition of non-FAMP in Appendix C to
clarify that any restatements of the non-FAMP made in any applicable manufacturer non-FAMP
submissions to the Department of Veterans Affairs must be reflected in the non-FAMP submitted
to CMS as part of the section 1194(e)(1) data submission. CMS has consolidated several
research and development (R&D) cost categories in Appendix C and has revised the R&D-
related definitions by, for example, requiring reporting of acquisition costs as part of R&D rather
than market data and revenue and sales volume data. CMS has also revised Appendix C to
clarify that CMS will consider both a Primary Manufacturer’s global and U.S. revenue when
determining whether to adjust the preliminary price based on manufacturer-submitted data. In
addition, CMS has revised the definition related to patents and exclusivities to provide
clarification about the types of patents and patent applications that CMS considers to be “related
to” the selected drug.

CMS removed certain definitions in Appendix C that are no longer needed due to deletions and
revisions to information requested in the 30-day public notice for comment on the Negotiation
Data Elements Information Collection Request, including 340B ceiling price, 340B prime vendor
program price, manufacturer average net unit price to Part D plans, and quarterly total U.S. unit
        Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 9 of 199

                                                                                                                    8


volume. CMS revised the definition of unmet medical need and clarified when CMS will
consider caregiver perspectives and outcomes such as changes to productivity, independence,
and quality of life.

CMS directs interested parties to the 30-day public notice for comment on the Negotiation Data
Elements ICR for revisions to ICR instructions and questions that are out of scope for this
revised guidance.

C. Summary of Public Comments on the Initial Medicare Drug Price Negotiation Program
Memorandum and CMS’ Responses
CMS Statutory Authority to Issue Program Instruction and to Issue Section 30 of the
Initial Memorandum as Final

Comment: Many commenters stated that CMS should use notice-and-comment rulemaking
procedures to implement sections of the IRA. Specifically, a few commenters suggested that by
issuing policy through program instruction, CMS violated the Administrative Procedure Act
(APA) and the Medicare statute, which require use of notice procedures in certain circumstances
and 60 days for comment. Relatedly, a few commenters stated that CMS violated the Due
Process Clause of the U.S. Constitution by releasing section 30 of the initial memorandum as
final without soliciting comments. Commenters asserted that in relying on the strict statutory
deadlines for implementing the Negotiation Program as the rationale for issuing section 30 of the
initial memorandum as final, CMS has not shown “good cause” to issue section 30 as final. In
addition, a couple of commenters indicated that by issuing section 30 as final, CMS exceeded the
scope of what Congress permitted in statute and engaged in ultra vires conduct. 2 Some
commenters stated that it was improper for CMS to establish substantive obligations without
providing notice and opportunity for comment, with one of these commenters further stating that
such obligations are invalid and unenforceable because the guidance did not go through
rulemaking procedures. A couple of commenters also wrote that the fact that CMS published the
initial memorandum seven months after the IRA was enacted does not exempt it from providing
opportunities for comment. Several commenters specifically requested that CMS use notice-and-
comment rulemaking to codify the negotiation process for initial price applicability years 2027
and beyond. Other commenters recommended that CMS finalize the guidance well in advance of
the selected drug publication date for initial price applicability year 2026 to provide interested
parties with adequate time to review this revised guidance and conform their actions accordingly.

Response: Sections 11001(c) and 11002(c) of the IRA state that CMS “shall implement” the
Negotiation Program “for 2026, 2027, and 2028 by program instruction or other forms of
program guidance.” Thus, the initial memorandum is not subject to the notice-and-comment
requirements of the APA or the Medicare statute. The terms “program instruction” and “program
guidance” are terms of art that Congress routinely uses in Medicare statutes to refer to agency
pronouncements other than notice-and-comment rulemaking. The statutory directive in sections
11001(c) and 11002(c) thus specifies that CMS shall follow policymaking procedures that differ
from the notice-and-comment procedures that would otherwise apply under the APA or the

2
  Ultra vires means “beyond the powers,” and is used to describe actions taken by governmental bodies that exceed
the scope of power given to them by law.
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 10 of 199

                                                                                                    9


Medicare statute. Congress underscored this directive by placing the Negotiation Program in the
newly-enacted Part E of Title XI of the Social Security Act.

Even if the notice-and-comment procedures of the APA and the Medicare statute were
applicable, the use of those procedures would be impracticable, unnecessary, and contrary to the
public interest, and CMS thus had good cause to depart from those procedures. CMS solicited
public comment on many key aspects of the initial memorandum, and also concluded, as stated
in the initial memorandum, that in light of the complexity of the actions that must be undertaken
in advance of the statutorily-mandated publication of the selected drug list by September 1, 2023,
there was good cause to issue parts of the initial memorandum as final, including section 30,
without soliciting public comment and without a delayed effective date. CMS reiterates this
good-cause justification in this final guidance. CMS also has good cause to issue this revised
guidance as final in advance of the statutory September 1, 2023, publication date of the selected
drug list for initial price applicability year 2026. CMS agrees with the commenters who
encouraged CMS to finalize the guidance well in advance of September 1, 2023 in order to allow
interested parties advanced notice of the final policies for the Negotiation Program for initial
price applicability year 2026. In particular, manufacturers need to take a number of actions well
in advance of September 1, 2023, to prepare for the possibility that a drug that they manufacture
will be included on the selected drug list for initial price applicability year 2026. For example,
manufacturers may need to engage in internal discussions regarding whether the manufacturers
would choose to participate in the Negotiation Program if their drug is included on the selected
drug list published on September 1, 2023, review the template Medicare Drug Price Negotiation
Program Agreement and guidance to understand Negotiation Program requirements for
participating manufacturers in advance of the statutory deadline of October 1, 2023, for entering
agreements, and gather information for potential submission to CMS by the statutory deadline of
October 2, 2023. In addition, for the reasons explained below, the deadline for a biosimilar
manufacturer to submit a delay request under section 1192(f) of the Act was May 22, 2023. CMS
could not have proceeded through notice-and-comment rulemaking and still provided interested
parties with guidance sufficiently far in advance of these deadlines to allow them adequate time
to complete their preparations for potential participation in the Negotiation Program.

Although section 30 was issued as final in the initial memorandum due to these timing
constraints, CMS received many comments on section 30. In this guidance, CMS summarizes
and responds to those comments, and CMS revised section 30 to help clarify, as needed, the
policies it will follow to implement the selection of drugs for initial price applicability year 2026.
CMS will continue to consider these comments as it develops guidance and rulemaking for
future years of the Negotiation Program.

CMS also disagrees that the use of program guidance to implement the Negotiation Program for
initial price applicability year 2026 or the issuance of section 30 as final violates the Due Process
Clause of the U.S. Constitution. To the contrary, the reason CMS has undertaken efforts to
finalize this guidance well before September 1, 2023, is to ensure that interested parties have
advance notice about the procedures CMS will use to implement the Negotiation Program in
accordance with the statute. The statute expressly directs CMS to use program guidance rather
than notice-and-comment rulemaking to implement the Negotiation Program for 2026, 2027, and
2028, and, even so, through the publication of the initial memorandum, CMS ensured that
       Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 11 of 199

                                                                                                             10


interested parties were given notice of and an opportunity to comment on many key aspects of
the procedures CMS intends to follow in advance of any selection or negotiation for initial price
applicability year 2026. And as explained, although CMS did not solicit comment on section 30,
it received many comments on that section and revised to clarify the section in light of those
comments.

Further, since enactment of the IRA in August 2022 CMS has engaged with interested parties
through various platforms. On January 11, 2023, CMS issued a memorandum outlining how
CMS will approach implementation of the Negotiation Program for initial price applicability
year 2026, including engagement with the public; program guidance; information collection
requests; and a timeline outlining key dates. 3 CMS considered the feedback it received through
this engagement in the development of the initial memorandum for the Negotiation Program.
Following the issuance of the initial memorandum in March 2023, CMS continues to engage
with interested parties, with the intention to engage interested parties throughout implementation
of the Negotiation Program.

Between September 2022 and March 2023, CMS accepted 104 meetings with interested parties
representing the views of consumer and patient organizations, health care providers, health plans,
PBMs, pharmaceutical and biotechnology manufacturers, pharmacies, researchers and academic
experts, and wholesalers. In these meetings, CMS leadership and staff received feedback on
implementation of the Negotiation Program ranging from policy concerns, questions requiring
clarification, and recommendations on policy or operations. CMS also received 129 written
materials totaling more than 1,100 pages submitted by pharmaceutical and biotechnology
manufacturers and their trade associations, researchers and academic experts, consumer and
patient organizations, and health plans and their trade associations, among other interested
parties, before publishing the initial memorandum. Based on CMS’ tracking of meeting agendas
and materials provided, interested parties commonly provided feedback on key Negotiation
Program topics including how to identify qualifying single source drugs for negotiation, how to
apply the Orphan Drug Exclusion, how to operationalize requests by a biosimilar sponsor to
delay selection and negotiation of a biological product that is a reference product for biosimilar
market entry, and how to effectuate the MFP. Additionally, CMS leadership participated in 22
speaking engagements on IRA implementation hosted by interested parties. In addition to
meetings with interested parties on specific issues of importance to the individual company or
organization, CMS has held monthly one-hour calls open to all pharmaceutical and
biotechnology manufacturers since December 2022. During these monthly calls, CMS staff
provide an overview of recent IRA activities and take questions from manufacturer participants.
In addition, in Fall of 2022, CMS established an IRA webpage for all program policies and
updates and created an IRA mailbox (IRARebateandNegotiation@cms.hhs.gov) to receive
queries from the public related to implementation of the Part B and Part D Inflation Rebate
Program and the Negotiation Program. For example, CMS has received queries through the IRA
mailbox from interested parties on how to ensure beneficiaries have access to the MFP through
their Part D plan.


3
 CMS memorandum Medicare Drug Price Negotiation Program: Next Steps in Implementation for Initial Price
Applicability Year 2026. Accessible at https://www.cms.gov/files/document/medicare-drug-price-negotiation-
program-next-steps-implementation-2026.pdf.
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 12 of 199

                                                                                                  11


Through external meetings with interested parties, monthly IRA calls with pharmaceutical and
biotechnology manufacturers, and the IRA mailbox, interested parties have had multiple
touchpoints with CMS. Therefore, CMS disagrees that it has not provided opportunity for
interested parties to engage with CMS on policies that may impact their business operations and
patients. CMS remains committed to ongoing engagement efforts with interested parties and
plans to meet with the Primary Manufacturer of each selected drug as well as hosting patient-
focused listening sessions on the selected drugs in Fall 2023, as described in section 60.4 of this
revised guidance.

Identification of Qualifying Single Source Drugs for Initial Price Applicability Year 2026
(Section 30.1)

Comment: CMS received many comments on its reading of the statute to aggregate all dosage
forms and strengths of a drug with the same active moiety and the same holder of the NDA or of
a biological product with the same active ingredient and the same holder of the BLA, for the
purposes of identifying potential qualifying single source drugs. Some commenters stated that
this approach is consistent with the clear statutory instruction to aggregate across dosage forms
and strengths. A couple of commenters stated that this policy is critical to prevent gaming. In
their view, this reading of the statute will prevent pharmaceutical manufacturers from engaging
in “product hopping,” attempting to shift use of their products away from those with an MFP to
those without an MFP, based solely on modest or minor modifications, a practice which
increases revenue for pharmaceutical companies. Other commenters asserted that this approach
is not supported by the statute and that the statute defines a qualifying single source drug in
reference to a distinct NDA or BLA.

Response: Section 1192(d)(3)(B) of the Act directs CMS to “use data that is aggregated across
dosage forms and strengths of the drug, including new formulations of the drug, such as an
extended release formulation, and not based on the specific formulation or package size or
package type of the drug” for purposes of determining whether a qualifying single source drug is
a negotiation-eligible drug. Similarly, section 1196(a)(2) of the Act directs CMS to establish
procedures “to compute and apply the maximum fair price across different strengths and dosage
forms of a selected drug and not based on the specific formulation or package size or package
type of such drug.” The aggregation rules under sections 1192(d)(3)(B) and 1196(a)(2) are clear,
and are designed to ensure that the Negotiation Program delivers benefits to the Medicare
program and its beneficiaries as intended by the law. Because different dosage forms and
strengths, as well as different formulations, of an active moiety / active ingredient can be
approved or licensed under multiple NDAs or BLAs, the suggestion from commenters to define
a qualifying single source drug in reference to a distinct NDA or BLA is inconsistent with
sections 1192(d)(3)(B) and 1196(a)(2) of the Act. Contrary to the views of some commenters,
section 1192(d)(3)(B) refers to the aggregation of data “across dosage forms and strengths of the
drug, including new formulations of the drug,” thereby necessarily establishing that the statutory
negotiation procedures apply more broadly than to a distinct NDA or BLA. Unlike the views
offered by some commenters, CMS’ understanding of the statutory language gives full effect to
all relevant provisions of the statute, including sections 1192(e), 1192(d)(3)(B), and 1196(a)(2)
of the Act; CMS is applying an interpretation of the statute that follows the statutory criteria for
the identification of a qualifying single source drug under section 1192(e) of the Act and,
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 13 of 199

                                                                                                  12


consistent with sections 1192(d)(3)(B) and 1196(a)(2) of the Act, gives effect to the statutory
policy that a drug that may be selected for negotiation includes multiple dosage forms and
strengths and formulations of that drug.

CMS agrees with commenters that complying with the statutory requirement to identify a
qualifying single source drug using data that is aggregated across different dosage forms and
strengths, as described in the initial memorandum, will decrease incentives for pharmaceutical
manufacturers to engage in “product hopping.” This statutory requirement ensures that products
by the same sponsor with the same active moiety / active ingredient are subject to the same
processes under the Negotiation Program, and that a manufacturer is therefore limited in its
ability to shift use of its products away from those with an MFP to those without an MFP, based
on modest or minor modifications. Reducing “product hopping” is consistent with the purpose of
the statute, which is to ensure that the Negotiation Program delivers benefits to the Medicare
program and its beneficiaries. For the above reasons, in this revised guidance, CMS maintains
the approach described in the initial memorandum for identifying potential qualifying single
source drugs.

Comment: Some commenters raised questions about how CMS will treat products that have
different formulations or routes of administration within the same qualifying single source drug,
given the policy to define a qualifying single source drug based on active moiety or active
ingredient. Some commenters expressed concerns that aggregation will limit pharmaceutical
innovation, including innovation for rare diseases and conditions, and commenters urged CMS to
consider the patient perspective on whether new formulations demonstrate an improvement to
patient care. In contrast, one commenter was concerned that aggregating products with different
indications and/or routes of administration into the same qualifying single source drug could be
problematic because one product with different indications and/or routes of administration from
the other products within a potential qualifying single source drug could have a generic or
biosimilar competitor that would disqualify all products from the Negotiation Program.

Response: CMS thanks these commenters for their input. CMS is committed to recognizing the
clinical benefit of products, including products with different formulations or routes of
administration from other products that are aggregated as part of the same qualifying single
source drug, and directs readers to section 60.3.3 of this revised guidance, which details CMS’
approach to adjusting the starting point for an initial offer based on clinical benefit.

CMS appreciates the concern raised that a generic or biosimilar competitor for one product
within a potential qualifying single source drug will disqualify all products within that potential
qualifying single source drug from the Negotiation Program. However, as explained above, the
statute directs CMS to aggregate across dosage forms and strengths of the drug, and CMS must
apply that requirement faithfully not only for purposes of identifying the qualifying single source
drug, but also for purposes of disqualifying products with generic or biosimilar competition that
satisfies the relevant statutory criteria.

CMS is committed to ensuring that the statutory criteria are satisfied for any such
disqualification, including the requirement that a generic or biosimilar be “marketed.” This is
particularly important given that a drug or biological product will not be considered a qualifying
       Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 14 of 199

                                                                                                                 13


single source drug for initial price applicability year 2026 if such competition is determined to
exist at the time of drug selection; if such determination occurs after drug selection, it will cause
a selected drug (1) to be no longer subject to the negotiation process or (2) to cease to be a
selected drug, depending on the timing of such determination. CMS directs readers to section
90.4 of this revised guidance, which details how CMS will monitor whether a generic drug or
biosimilar competitor is engaging in bona fide marketing such that a potential qualifying single
source drug is disqualified from participation in the Negotiation Program.

Comment: Many commenters asserted that the distinct time periods for when a drug versus
biological product will be eligible for negotiation are arbitrary and that CMS should implement
the Negotiation Program so that, for any drug or biological product to qualify as a qualifying
single source drug, at least 11 years must have elapsed since the drug or biological product was
approved or licensed, respectively.

Response: Section 1192(e)(1)(A)(ii) of the Act states that for a drug product to be considered a
qualifying single source drug, at least 7 years must have elapsed since the drug product was
approved by the FDA. 4 Section 1192(e)(1)(B)(ii) of the Act states that for a biological product to
be considered a qualifying single source drug, at least 11 years must have elapsed since the
biological product was licensed by the FDA. 5 CMS is implementing the program in accordance
with these statutory requirements.

Comment: A couple of commenters expressed support for CMS’ reading of the statute in the
initial memorandum on fixed combination drugs with two or more active moieties / active
ingredients, which treats the distinct combination of active moieties / active ingredients as one
active moiety / active ingredient for the purpose of identifying qualifying single source drugs.
One commenter raised a concern that this reading, while sensible in some cases, creates a
gaming opportunity for manufacturers to seek approval of fixed combination drugs with one
active moiety / active ingredient in common and market them in a way that could influence
volume for each fixed combination drug in an effort to avoid selection. For example, a sponsor
might market a fixed combination drug that contains active moiety / active ingredient X and Y
and a fixed combination drug that contains active moiety / active ingredient X and Z. The
commenter encouraged CMS to aggregate sales for fixed combination drugs with other dosage
forms containing the newest active moiety / active ingredient if the products are made by the
same manufacturer.

Response: CMS appreciates commenters’ support for its understanding of the statutory language
and acknowledges the concern outlined by one commenter. CMS believes that a fixed
combination drug is distinct in its composition from the individual active moieties / active
ingredients and in this revised guidance maintains its approach on fixed combination drugs,

4
  For drug products, to determine the date of approval for a potential qualifying single source drug with more than
one FDA application number, section 30.1 of this revised guidance specifies that CMS will use the earliest date of
approval of the initial FDA application number assigned to an NDA for the active moiety for which the
manufacturer is the holder of the NDA.
5
  For biological products, to determine the date of approval for a potential qualifying single source drug with more
than one FDA application number, section 30.1 of this revised guidance specifies that CMS will use the earliest date
of licensure of the initial FDA application number assigned to a BLA for the active ingredient for which the
manufacturer is the holder of the BLA.
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 15 of 199

                                                                                                   14


which treats the distinct combination of active moieties / active ingredients as one active moiety /
active ingredient for the purpose of identifying qualifying single source drugs.

Orphan Drug Exclusion from Qualifying Single Source Drugs (Section 30.1.1)

Comment: Many commenters asked CMS to clarify that the 7- or 11-year periods prior to
eligibility as a qualifying single source drug would begin on the date the Orphan Drug Exclusion
ceases to apply to a drug or biological product. That is, a drug or biological product could not
become a qualifying single source drug until 7 or 11 years had passed between the date on which
the drug or biological product, respectively, loses eligibility for the Orphan Drug Exclusion and
the selected drug publication date.

Response: CMS does not have the statutory authority to change the starting date from which
qualifying single source drug status is determined. Sections 1192(e)(1)(A)(ii) and (B)(ii) of the
Act require CMS to use the date of the approval or licensure of the drug or biological product to
determine whether the product is a qualifying single source drug that may be selected for
negotiation if it meets all other Negotiation Program eligibility criteria, regardless of whether the
drug or biological product previously qualified for an exclusion under section 1192(e)(3)(A) of
the Act. CMS has added language to section 30.1.1 of this revised guidance to clarify the timing
that CMS will use to identify qualifying single source drugs.

Comment: Many commenters asserted that drugs or biological products with multiple orphan
designations (for multiple rare diseases or conditions) that are approved only for indications
within the scope of a single rare disease or condition should qualify for the Orphan Drug
Exclusion. A few commenters remarked that designating a drug under section 526 of the Federal
Food, Drug, and Cosmetic Act (FD&C Act) for a rare disease is done very early in the drug
development process and is important to unlocking Orphan Drug Act incentives. These
commenters expressed concern that the current Orphan Drug Exclusion policy in the Negotiation
Program will stymie innovation for drugs or biological products and discourage sponsors from
seeking designations for more than one rare disease or condition.

Response: CMS thanks these commenters for their feedback. Section 1192(e)(3)(A) of the Act
describes a drug that qualifies for the Orphan Drug Exclusion as a “drug that is designated as a
drug for only one rare disease or condition under section 526 of the FD&C Act and for which the
only approved indication (or indications) is for such disease or condition.” CMS therefore does
not have the statutory authority to exclude a drug under the Orphan Drug Exclusion that has
designations for multiple rare diseases or conditions, even if the drug has been approved only for
indication(s) within a single rare disease or condition. CMS has added a clarification about
designations for multiple rare diseases or conditions to section 30.1.1 of this revised guidance,
which addresses how CMS will implement this exclusion.

Comment: A couple of commenters urged CMS to interpret the term “rare disease or condition”
with sufficient breadth to capture designations and approved indications for different mutations
or subtypes of one disease. Commenters noted that this interpretation would allow a drug or
biological product to seek designations and approvals for sub-conditions within the same rare
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 16 of 199

                                                                                                15


disease or condition and remain eligible for the Orphan Drug Exclusion and would preserve
incentives for drug development across sub-conditions.

Response: CMS will follow the statutory directive in section 1192(e)(3)(A) of the Act to
consider orphan designations and approvals within the scope of the same rare disease or
condition. As clarified in section 30.1.1 of this revised guidance, CMS will consult with the FDA
as needed to determine whether a drug is designated under section 526 of the FD&C Act for, or
has approved indications for, one or more rare diseases or conditions, as part of determining
whether a drug meets the requirements in section 1192(e)(3)(A) of the Act to qualify for the
Orphan Drug Exclusion.

Comment: Commenters offered contrasting perspectives on whether CMS should consider
orphan designations that have been withdrawn when evaluating a drug or biological product for
the Orphan Drug Exclusion. Some commenters asserted that CMS should not consider
withdrawn designations. In contrast, one commenter recommended that CMS should consider
withdrawn designations because a manufacturer could withdraw a designation that is not yet
FDA-approved so that a drug or biological product could qualify for the Orphan Drug Exclusion.

Response: CMS appreciates this feedback. CMS understands that a drug or biological product
may be designated for a rare disease or condition early in the drug development process, and that
designation might not always result in FDA-approved indications that fall within the scope of
that designation, and that a manufacturer may choose to withdraw the designation. Similarly,
there may be situations where, for example, a manufacturer decides to request that FDA
withdraw approval of an indication. In accordance with section 1192(e)(3)(A) of the Act, only
designations and approvals active at the time of identifying qualifying single source drugs will be
considered for purposes of determining a drug’s eligibility for the Orphan Drug Exclusion to best
reflect the status of the drug at the time it is evaluated for qualifying single source drug
eligibility. As such, CMS has clarified in section 30.1.1 of this revised guidance that it will not
consider withdrawn orphan designations or withdrawn approvals when evaluating a drug for the
Orphan Drug Exclusion.

Comment: A few commenters raised questions as to whether a potential qualifying single source
drug will qualify for the Orphan Drug Exclusion if some but not all dosage forms and strengths
of that potential qualifying single source drug meet the Orphan Drug Exclusion criteria. One
commenter requested that, when a drug or biological product loses eligibility for the Orphan
Drug Exclusion, CMS carve out the original approval(s) that qualified for the Orphan Drug
Exclusion from the resulting qualifying single source drug. Another commenter requested that
potential qualifying single source drugs that qualify for the Orphan Drug Exclusion must qualify
across all dosage forms and strengths. An additional commenter asked whether a fixed
combination drug will qualify for the exclusion if only one of the two active moieties / active
ingredients qualifies for the Orphan Drug Exclusion.

Response: The initial memorandum states that, in order to qualify for the Orphan Drug
Exclusion, “all dosage forms and strengths and different formulations of the qualifying single
source drug described in section 30.1 of this memorandum must meet the criteria for exclusion.”
In this revised guidance, CMS maintains this requirement. Because section 1192(e)(3)(A) of the
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 17 of 199

                                                                                                16


Act is an exclusion from the definition of qualifying single source drug under section 1192(e)(1)
of the Act, CMS must consider whether the drug, including all products that constitute the
potential qualifying single source drug, meets the statutory criteria for the Orphan Drug
Exclusion.

Comment: A few commenters expressed concern that the FDA Orphan Drug Product
designation database and the FDA approvals database will not allow CMS to identify whether an
indication falls within an orphan designation. To alleviate this concern, commenters
recommended that CMS consult with FDA and consider written communications between FDA
and the manufacturer during the review and approval process. Commenters also suggested that
CMS establish a pathway for manufacturers and other interested parties to demonstrate that an
indication falls within an orphan drug designation.

Response: CMS appreciates these comments. CMS believes that consulting the FDA Orphan
Drug Product designation database and approvals on the FDA website, in addition to
consultation with FDA as needed, will allow CMS to successfully implement the Orphan Drug
Exclusion. CMS will monitor this approach to ensure that it accurately operationalizes the
Orphan Drug Exclusion.

Comment: A few commenters requested that CMS support the development of diagnosis codes
for rare diseases and disorders; support early dialogue between payers and rare disease
manufacturers; and create new payment and service delivery models with the Center for
Medicare and Medicaid Innovation (CMMI) that bolster innovation in the treatment of rare
diseases or conditions.

Response: CMS noted in the initial memorandum that CMS is considering whether there are
additional actions that CMS might take in its implementation of the Negotiation Program to
support orphan drug development, and CMS directs readers to the discussion in section 60.3.3 of
how it will consider unmet medical need and the impact of a selected drug on specific
populations when developing the initial offer. CMS notes, however, that these specific requests
related to CMMI, diagnosis code development, and other payers’ interactions with manufacturers
are outside the scope of this revised guidance.

Low-Spend Medicare Drug Exclusion from Qualifying Single Source Drugs (Section 30.1.2)

Comment: A few commenters provided feedback on CMS’ description of how it will calculate
the Low-Spend Medicare Drug Exclusion. One commenter supported the approach that CMS
detailed in the initial memorandum. Another commenter recommended that CMS include rebates
in the calculation of Total Expenditures under Part B and Part D for purposes of the Low-Spend
Medicare Drug Exclusion. One commenter recommended that CMS exclude beneficiary cost
sharing under Part B and net out Direct and Indirect Remuneration (DIR) under Part D when
calculating total Part B and Part D expenditures for purposes of this exclusion.

Response: For the purposes of the Negotiation Program, Total Expenditures under Part D of
Title XVIII are defined in section 1191(c)(5) of the Act as total gross covered prescription drug
costs (as defined in section 1860D-15(b)(3) of the Act). The term “gross covered prescription
       Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 18 of 199

                                                                                                              17


drug costs” is also defined in the Part D regulations at 42 C.F.R. § 423.308. In the initial
memorandum, CMS indicated that it had proposed to update this regulatory definition of gross
covered prescription drug costs to eliminate any potential ambiguity in the regulation text and
help to ensure there is a consistent understanding of the term for purposes of both the Part D
program and the IRA. Since the initial memorandum was issued, CMS has issued a final rule
adopting the proposed revisions to 42 C.F.R. § 423.308 (see Contract Year 2024 Policy and
Technical Changes to the Medicare Advantage and Medicare Prescription Drug Benefit
Programs Final Rule (0938-AU96), 88 Fed. Reg. 22,120, 22,259 (Apr. 12, 2023)). 6 CMS has
updated this revised guidance to reflect the issuance of the final rule.

Using PDE data combined with Part B claims data, inclusive of beneficiary cost sharing, to
calculate combined Total Expenditures under Part D and Part B will allow CMS to implement
the Low-Spend Medicare Drug Exclusion in a manner that aligns with the statute and regulatory
policy. CMS will use Part B claims data that are inclusive of beneficiary cost sharing to
determine Part B Total Expenditures to maintain consistency with the approach to determining
“gross covered prescription drug costs” under Part D, which are defined in the statute and
regulations as inclusive of Part D beneficiary cost sharing. CMS has clarified in section 30.1.2 of
this revised guidance that, in accordance with section 1191(c)(5) of the Act, expenditures for a
drug or biological product that are bundled or packaged into the payment for another service are
excluded from the calculation of total allowed charges under Part B for purposes of determining
Total Expenditures under Part B.

Comment: One commenter asked CMS to clarify that the 30-day additional period from June 1,
2023 to June 30, 2023 for Part D plan sponsors and Part B providers and suppliers to submit
PDE and Part B claims data is a grace period.

Response: As described in section 30.1.2 of this revised guidance, the 30-day period from June
1, 2023 to June 30, 2023 provides time for data to be submitted. In identifying low-spend
Medicare drugs for initial price applicability year 2026, CMS will only consider PDE data and
Part B claims with dates of service that occur during the 12-month period beginning June 1,
2022, and ending May 31, 2023.

Plasma-Derived Product Exclusion from Qualifying Single Source Drugs (Section 30.1.3)

Comment: Some commenters asked CMS to provide further clarification on which products will
be considered plasma-derived for the purpose of the Plasma-Derived Product Exclusion. A
couple of commenters asserted that cellular or gene therapies should not be subject to the
exclusion. A couple of commenters requested a more holistic approach to identifying plasma-
derived products, such as through consultation with FDA and other interested parties.

Response: CMS continues to believe that referring to product information available on the FDA
Approved Blood Products website 7 and the FDA Online Label Repository 8 is the best way to

6
  Accessible at: https://www.federalregister.gov/documents/2023/04/12/2023-07115/medicare-program-contract-
year-2024-policy-and-technical-changes-to-the-medicare-advantage-program.
7
  See: https://www.fda.gov/vaccines-blood-biologics/blood-blood-products/approved-blood-products.
8
  See: https://labels.fda.gov/.
          Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 19 of 199

                                                                                                 18


identify plasma-derived products for the purpose of implementing the Plasma-Derived Product
Exclusion in a consistent manner. CMS agrees that there may be specific products where
additional insights from FDA would be beneficial, and as noted in section 30.1.3, CMS will also
consult with FDA as needed to implement this exclusion.

CMS confirms that cellular and gene therapies are not categorically ineligible for the Plasma-
Derived Product Exclusion described in section 1192(e)(3)(C) of the Act, which applies the
exclusion to biological products derived from human whole blood or plasma. As described by
FDA, cellular therapy products include cellular immunotherapies, cancer vaccines, and other
types of both autologous and allogeneic cells for certain therapeutic indications. As further
described by FDA, human gene therapy seeks to modify or manipulate the expression of a gene
or to alter the biological properties of living cells for therapeutic use. 9 Cellular and gene
therapies will be assessed using the same standards as other biological products to determine
whether they qualify for the Plasma-Derived Product Exclusion.

Identification of Negotiation-Eligible Drugs for Initial Price Applicability Year 2026
(Section 30.2)

Comment: One commenter asked CMS to clarify whether rebates will be incorporated into the
calculations used to rank the 50 negotiation-eligible drugs.

Response: In identifying and ranking the negotiation-eligible drugs for initial price applicability
year 2026, CMS will use Total Expenditures under Part D, which are defined at section
1191(c)(5) of the Act as “total gross covered prescription drug costs,” as defined in section
1860D-15(b)(3). Section 1860D–15(b)(3) of the Act defines “gross covered prescription drug
costs” in relevant part as “the costs incurred under the plan, not including administrative costs,
but including costs directly related to the dispensing of covered part D drugs during the year and
costs relating to the deductible.” The term is also defined in the Part D regulations at 42 C.F.R. §
423.308. As discussed in the Contract Year 2024 Final Rule (see 88 Fed. Reg. 22,120, 22,259
(Apr. 12, 2023)), costs directly related to the dispensing of covered Part D drugs are most
logically calculated as the accumulated total of the negotiated prices that are used for purposes of
determining payment to the pharmacy or other dispensing entity for covered Part D drugs.
Consistent with this policy, CMS will calculate Total Expenditures under Part D for purposes of
the Negotiation Program using PDE data and will not consider any rebates or other price
concessions not reflected in the negotiated price of the drug on the PDE to identify and rank
negotiation-eligible drugs.




9
    See: https://www.fda.gov/vaccines-blood-biologics/cellular-gene-therapy-products.
       Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 20 of 199

                                                                                                                 19


Exception for Small Biotech Drugs (Section 30.2.1) 10, 11

Comment: A couple of commenters requested that CMS create a dispute resolution process so
that a manufacturer that disagrees with CMS’ determination of its eligibility for the Small
Biotech Exception can dispute this determination. One commenter requested that CMS allow
small biotech companies to provide additional data after the deadline to support their application
for the exception before CMS makes a final determination.

Response: CMS thanks these commenters for their recommendations. CMS requests all
information necessary to determine eligibility for the Small Biotech Exception in the Small
Biotech Exception ICR Form. Additionally, because of the ambitious statutory deadlines for the
Negotiation Program for initial price applicability year 2026, CMS will not accept incomplete or
late requests for the Small Biotech Exception for initial price applicability year 2026, including
additional data submitted by companies to support their application after the deadline, but before
CMS makes a final determination. CMS also declines to create a dispute resolution process for
the Small Biotech Exception.

Comment: A couple of commenters requested further detail on the Small Biotech Exception for
initial price applicability years 2027 and 2028. Commenters recommended that CMS introduce a
streamlined application for manufacturers that had previously received the exception, wherein
such manufacturers would only have to attest that they have not been acquired by another entity
in order to receive the exception again. One commenter requested clarity on whether
manufacturers only have one chance to apply for the Small Biotech Exception or if a
manufacturer may submit each year.

Response: This revised guidance establishes the policies CMS will use to implement the
Negotiation Program for initial price applicability year 2026. A determination by CMS that a
given qualifying single source drug qualifies for the Small Biotech Exception for initial price
applicability year 2026 does not mean that this drug will continue to qualify for the Small
Biotech Exception for future initial price applicability years. CMS will share the submission
process for the Small Biotech Exception for initial price applicability years 2027 and 2028 in
future guidance and appreciates the feedback received from commenters.

Comment: One commenter asserted that, for the purpose of identifying drugs that qualify for the
Small Biotech Exception for initial price applicability year 2026, CMS must consider whether

10
   On January 24, 2023, CMS released the Small Biotech Exception ICR (CMS-10844 / OMB 0938-1443) to detail
the specific data that CMS is requesting for purposes of implementing this exception. The comment period for the
60-day notice closed on March 27, 2023, and the comment period for the 30-day notice closed on May 24, 2023.
Section 30.2.1 of this revised guidance reflects revisions that CMS made in response to feedback from interested
parties on the Small Biotech ICR and section 30.2.1 of the initial memorandum. Here, CMS responds to comments
on the discussion of the Small Biotech Exception in the initial memorandum that raised inquiries or
recommendations not already addressed by revisions to the Small Biotech ICR. To view the Small Biotech ICR
Form, a summary of changes made to the Small Biotech ICR in response to comments received during the 60-day
and 30-day notice periods, as well as comments received on the Small Biotech ICR and CMS’ responses to those
comments, please see https://www.reginfo.gov/public/do/PRAViewICR?ref_nbr=202304-0938-016.
11
   On June 2, 2023, CMS released the Small Biotech Exception functionality in CMS HPMS. To request the Small
Biotech Exception for a qualifying single source drug for initial price applicability year 2026, manufacturers must
submit a Small Biotech Exception request via HPMS by 11:59 p.m. PDT on July 3, 2023.
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 21 of 199

                                                                                                20


Total Expenditures for a qualifying single source drug meet the expenditure requirements under
either Part B or Part D. If the qualifying single source drug meets the requirements with respect
to either Part B or Part D Total Expenditures, then that qualifying single source drug would
qualify for the Small Biotech Exception.

Response: CMS appreciates this recommendation but, for initial price applicability year 2026,
sections 1191(a) and 1192(d) of the Act require CMS to evaluate whether a qualifying single
source drug meets the criteria to be considered a negotiation-eligible drug, including with respect
to the Small Biotech Exception, based on Total Expenditures under Part D only.

Comment: One commenter requested that CMS make the Small Biotech Exception permanent
rather than exclude small biotech drug products for only the first three years of the Negotiation
Program.

Response: The Small Biotech Exception, as required by section 1192(d)(2)(A) of the Act,
applies only with respect to initial price applicability years 2026, 2027, and 2028. CMS does not
have the authority to make the Small Biotech Exception permanent.

Although the Small Biotech Exception is limited to initial price applicability years 2026, 2027,
and 2028, CMS notes that the temporary floor for small biotech drugs described in section
1194(d) applies to qualifying single source drugs described in section 1192(d)(2) with respect to
initial price applicability years 2029 and 2030.

Comment: One commenter requested that CMS clarify which 2021 Total Expenditure data it
will use to determine eligibility for the Small Biotech Exception.

Response: As described in section 30.2.1 of this revised guidance, CMS will use PDE data for
dates of service during the 12-month period beginning January 1, 2021 and ending December 31,
2021 to determine eligibility for the Small Biotech Exception.

Selection of Drugs for Negotiation for Initial Price Applicability Year 2026 (Section 30.3)

Comment: A few commenters requested greater transparency into the process of selecting drugs
for negotiation. A couple of commenters requested that CMS notify the manufacturer of a drug
that will be selected for negotiation at least 30 days in advance of the selected drug list
publication date. One commenter asked that CMS publish the calculations used to determine the
list of selected drugs and establish a process for manufacturers to identify concerns in advance of
the selected drug publication date. A couple of commenters suggested that CMS establish a
pathway for interested parties to provide input into which negotiation-eligible drugs are included
on the selected drug list.

Response: For initial price applicability year 2026, the statute requires that CMS publish the
selected drug list no later than September 1, 2023. CMS believes that disclosing to manufacturers
whether their drug is a selected drug before this date is operationally infeasible due to the time
constraints required to meet statutory deadlines and the complexity of the preparation that must
be undertaken in advance of the publication of the selected drug list by September 1, 2023 for
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 22 of 199

                                                                                                  21


initial price applicability year 2026. For example, sections 1191(d)(3)(B) and 1192(d)(1)(A) of
the Act require that CMS identify negotiation-eligible drugs for initial price applicability year
2026 using Total Expenditure data during the period beginning on June 1, 2022, and ending on
May 31, 2023. As discussed in section 30 of this revised guidance, Total Expenditures under Part
D will be calculated using PDE data for dates of service between June 1, 2022 and May 31,
2023. To allow a reasonable time for Part D plan sponsors to submit PDE data, CMS will use
PDE data for the dates of service during this 12-month period that have been submitted to CMS
by June 30, 2023. The complexity of the data analyses and quality checks that must then be
performed on the data prior to September 1, 2023 forecloses the possibility of disclosing to
manufacturers whether their drug is a selected drug prior to the statutory selected drug list
publication date for initial price applicability year 2026.

Although CMS appreciates the request for a pathway for interested parties to provide input into
the selected drug list for initial price applicability year 2026, section 1192(b)(1)(B) of the Act
requires that CMS select the highest ranked drugs from the list of negotiation-eligible drugs
using Total Expenditures under Part D. CMS is committed to engaging with interested parties
throughout the implementation of the Negotiation Program. As detailed earlier in this guidance,
CMS solicited input from interested parties throughout the development of the initial
memorandum and this revised guidance. Further, CMS refers readers to sections 50.2 and 60.3.3
of this revised guidance, which detail CMS’ approach to adjusting the starting point for the initial
offer using evidence submitted by the public on therapeutic alternatives to the selected drug, in
accordance with section 1194(e)(2) of the Act. CMS also refers readers to section 60.4 of this
guidance, which describes how, in response to comments from interested parties, CMS is
providing for additional engagement opportunities for interested parties—specifically, meetings
with manufacturers and patient-focused listening sessions—after the October 2, 2023 deadline
for submission of section 1194(e) data.

Delay in the Selection and Negotiation of Certain Biologics with High Likelihood of
Biosimilar Market Entry) (Section 30.3.1)

Comment: One commenter expressed support for a stringent process for assuring that a
Biosimilar Manufacturer and Reference Manufacturer cannot have entered into agreements that
require or induce the Biosimilar Manufacturer to limit market share, as well as the process for
assuring that there is a high likelihood that the Biosimilar will be marketed before September 1,
2025. The commenter urged CMS to apply similar levels of scrutiny to all areas of
implementation where proof of competition is required, including the definition of a qualifying
single source drug.

Response: CMS appreciates this commenter’s perspective. Section 1192(f)(2)(D)(iv) of the Act
excludes certain Biosimilar Manufacturers from the Biosimilar Delay if CMS determines that the
Biosimilar Manufacturer is the same as the Reference Manufacturer, or that the Biosimilar
Manufacturer has entered into any agreement with the Reference Manufacturer that requires or
incentivizes the Biosimilar Manufacturer to submit an Initial Delay Request, or that restricts the
quantity (either directly or indirectly) of the Biosimilar that may be sold in the United States over
a specified period of time. As described in section 90.4 of this revised guidance, CMS plans to
monitor whether the manufacturer of a generic or biosimilar competitor of a potential qualifying
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 23 of 199

                                                                                                 22


single source drug or selected drug is engaging in bona fide marketing when identifying
qualifying single source drugs and selected drugs.

Comment: One commenter expressed concern that a Reference Manufacturer will not have
transparency into whether a Reference Drug will be a selected drug because the Reference
Manufacturer will not know whether a Biosimilar Manufacturer has submitted an Initial Delay
Request to delay the inclusion of that Reference Manufacturer’s Reference Drug on the selected
drug list. The commenter recommended that CMS publish a list of Biosimilar Manufacturers
submitting an Initial Delay Request and make CMS’ determinations known publicly.

Response: CMS thanks this commenter for raising this issue. The submission of an Initial Delay
Request does not guarantee that a Reference Drug would be a selected drug absent the Initial
Delay Request, nor does it guarantee that the Initial Delay Request will be granted even if the
Reference Drug would be a selected drug absent the Biosimilar Delay. CMS, therefore, will not
publish a list of Biosimilar Manufacturers submitting an Initial Delay Request or CMS’
determinations. However, as described in section 30.3.1.4 of this revised guidance, CMS will
notify each Biosimilar Manufacturer that submits an Initial Delay Request of CMS’
determination regarding such request on or after September 1, 2023, but not later than September
30, 2023. CMS will also notify each Reference Manufacturer named in a successful Initial Delay
Request and will identify the Reference Drug that would have been a selected drug, absent the
successful Initial Delay Request. In recognition that the public has an interest in understanding
the impact of the Biosimilar Delay, CMS is clarifying in this revised guidance that it will publish
the number of Reference Drugs that would have been selected drugs for initial price applicability
year 2026, absent successful Initial Delay Requests, as part of publishing the selected drug list by
September 1, 2023.

Comment: Some commenters asserted that the information required from a Biosimilar
Manufacturer to demonstrate a high likelihood that the Biosimilar will be licensed and marketed
before September 1, 2025 is too narrow. A couple of commenters contended that section
1192(f)(1)(B)(ii)(I)(aa) of the Act directs CMS to consider all documents that a Biosimilar
Manufacturer believes support a high likelihood determination. One commenter stated that the
Act does not specify that the scenarios described in sections 1192(f)(3)(A) and (B) are the only
scenarios under which a high likelihood determination can be made. The commenter noted that
other documentation should therefore suffice to demonstrate a high likelihood that the Biosimilar
will be licensed and marketed before September 1, 2025.

Response: CMS thanks these commenters for their feedback related to the high likelihood
determination. Section 30.3.1.2 of this revised guidance aligns with the statutory language,
which requires CMS to identify whether a Biosimilar has a high likelihood of being licensed and
marketed within two years after the publication of the selected drug list. CMS believes the
information detailed in section 30.3.1.2 will allow CMS to implement the high likelihood
provision of the Biosimilar Delay in a manner that benefits the Medicare program by minimizing
the likelihood of CMS approving a delay request for a Biosimilar that is not highly likely to
become licensed and marketed within two years after the publication of the selected drug list.
Further, CMS believes this approach will support robust biosimilar competition.
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 24 of 199

                                                                                                23


Comment: One commenter stated that the metrics proposed to assess the operational readiness
of a Biosimilar Manufacturer are generally sensible, but filings with the Securities and Exchange
Commission (SEC) on future revenues are often subject to significant caveats about uncertainty
and changing market conditions. The commenter recommended that CMS consider a more
concrete indicator of operational readiness but did not provide any examples.

Response: CMS believes that section 30.3.1.2 of the guidance aligns with the statutory language
and that SEC filings, despite any potential uncertainties, represent a meaningful source of
information about a manufacturer’s plans to manufacture and market a drug. CMS also notes
that, in determining whether a Biosimilar Manufacturer will be operationally ready to market the
Biosimilar before September 1, 2025, CMS will also consider supporting documentation
provided to CMS as part of the Initial Delay Request, such as the copy of the manufacturing
schedule submitted to FDA, which as CMS has clarified in section 30.3.1.2 of this revised
guidance, must be consistent with public-facing statements and demonstrative of readiness to
meet revenue expectations. Further, operational readiness is only one component of the high
likelihood determination. To meet the high likelihood threshold, the Initial Delay Request must
also demonstrate that an application for licensure under section 351(k) of the Public Health
Service Act (“PHS Act”) for the Biosimilar has been accepted for review or approved by FDA,
and that patents related to the Reference Drug are unlikely to prevent the Biosimilar from being
marketed before September 1, 2025.

Comment: One commenter explained that, upon review of a BLA, FDA may issue a Complete
Response letter identifying the deficiencies that preclude approval. The applicant will generally
work to address the deficiencies and resubmit the section 351(k) BLA, and FDA will generally
act on a resubmitted section 351(k) BLA within six months of receipt. The commenter
recommended that CMS make clear that a section 351(k) BLA in Complete Response status
remains eligible for the Special Rule Delay.

Response: CMS thanks this commenter for the recommended clarification. CMS has clarified in
section 30.3.1.2 of the guidance that CMS will consider a section 351(k) application for licensure
that has been accepted for review and has received a Complete Response letter to meet the
section 1192(f)(3)(A) requirement that a section 351(k) BLA for the biosimilar biological
product has been accepted for review by FDA.

Comment: One commenter recommended that CMS collaborate with FDA to identify key
milestones that would indicate a high likelihood that a Biosimilar will be licensed and marketed
before September 1, 2025.

Response: Both the initial memorandum and revised guidance incorporate technical assistance
from FDA along with other federal agencies. To demonstrate there is a high likelihood that a
Biosimilar will be licensed and marketed before September 1, 2025, an Initial Delay Request
must demonstrate that the Biosimilar meets the high likelihood threshold described in section
30.3.1.2 of the revised guidance. This threshold requires that, for Initial Delay Requests
submitted with respect to initial price applicability year 2026, the Biosimilar’s application for
licensure must be approved or accepted for review by FDA no later than August 15, 2023, and
that the Initial Delay Request demonstrate clear and convincing evidence that the Biosimilar will
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 25 of 199

                                                                                                  24


be marketed before September 1, 2025. The clear and convincing evidence criteria will be
satisfied if the Initial Delay Request demonstrates both (1) that patents related to the Reference
Drug are unlikely to prevent the Biosimilar from being marketed and (2) that the Biosimilar
Manufacturer will be operationally ready to market the Biosimilar. CMS will continue to consult
with FDA as needed on its policies for implementing the Biosimilar Delay.

Comment: One commenter stated that the purpose of the manufacturing schedule submitted to
FDA during FDA’s review of a section 351(k) BLA – and to CMS under section
1192(f)(1)(B)(ii)(III)(aa) of the Act – is to facilitate an FDA inspection of the establishment that
is manufacturing the biological product to confirm the establishment is in operation and
manufacturing the proposed product. This manufacturing schedule, therefore, does not reflect
any post-approval manufacturing dates. The commenter advised CMS to omit the reference to
“consistent with the public-facing statements and any revenue expectations” in the revised
guidance.

Response: CMS thanks this commenter for offering their perspective on the uses of the
manufacturing schedule submitted to FDA during FDA’s review of a section 351(k) BLA. CMS
has included a clarification in section 30.3.1.2 of this revised guidance that the manufacturing
schedule must be consistent with the manufacturer’s public-facing statements and demonstrate
readiness to meet revenue expectations, in recognition that the schedule does not reflect post-
approval manufacturing dates.

Comment: A few commenters remarked that ongoing patent litigation may be irrelevant to a
Biosimilar launch. A Biosimilar Manufacturer can carve out indications with active patents from
the Biosimilar’s labeling, or a Biosimilar can launch at risk. The commenters asserted that active
litigation should, therefore, not prevent manufacturers from meeting the high likelihood
threshold.

Response: CMS has clarified that an Initial Delay Request for initial price applicability year
2026 only has to meet one of the following criteria to satisfy the patent-related component of the
high likelihood determination: (1) there are no unexpired patents relating to the reference product
included in the Reference Drug that are applicable to the Biosimilar; (2) one or more court
decisions establish the invalidity, unenforceability, or non-infringement of any potentially
applicable unexpired patent relating to the reference product included in the Reference Drug that
the patent holder asserted was applicable to the Biosimilar; or (3) the Biosimilar Manufacturer
has a signed legal agreement with the Reference Manufacturer that permits the Biosimilar
Manufacturer to market the Biosimilar before September 1, 2025, without imposing improper
constraints on the Biosimilar Manufacturer. For example, if a Biosimilar Manufacturer has
carved out a patent-protected indication or method of use from the Biosimilar’s labeling, then
such patents would not be considered to be “applicable to the Biosimilar.” CMS reiterates that
the above criteria reflect how CMS will determine if the Initial Delay Request clearly
demonstrates that patents related to the Reference Drug are unlikely to prevent the Biosimilar
from being marketed before September 1, 2025.

Comment: A few commenters requested that CMS clarify the specific circumstances under
which CMS will find that an agreement between a Biosimilar Manufacturer and a Reference
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 26 of 199

                                                                                                25


Manufacturer would disqualify a Biosimilar Manufacturer from making an Initial Delay Request.
The commenters noted that a signed legal agreement between the Reference Manufacturer and
the Biosimilar Manufacturer permitting the Biosimilar Manufacturer to market the Biosimilar
may serve as evidence that patents related to the Reference Drug are unlikely to prevent the
Biosimilar from being marketed. At the same time, however, for a Biosimilar Manufacturer to
meet the requirements for CMS to grant an Initial Delay Request, the Biosimilar Manufacturer
and the Reference Manufacturer must not have entered into an agreement that requires or
incentivizes the Biosimilar Manufacturer to submit an Initial Delay Request, or that directly or
indirectly restricts the quantity of the Biosimilar that may be sold in the United States over a
specified period of time.

Response: CMS does not believe that the two agreement types that the commenters raise conflict
since it is possible to have an agreement that permits commercialization without either directly or
indirectly restricting volume or incentivizing the Biosimilar Manufacturer to submit an Initial
Delay Request. CMS reiterates that, consistent with section 1192(f)(2)(D)(iv)(II) of the Act, the
Biosimilar Manufacturer and the Reference Manufacturer must not have entered into an
agreement that either requires or incentivizes the Biosimilar Manufacturer to submit an Initial
Delay Request, or that directly or indirectly restricts the quantity of the Biosimilar that may be
sold in the United States over a specified period of time.

Comment: A few commenters expressed concern that the timeline for submitting Initial Delay
Requests is unreasonably accelerated and will jeopardize the accuracy of the requests and create
a barrier to biosimilar competition, as the timeline effectively eliminates the additional runway
for a Biosimilar competitor to come to market between the deadline on May 22, 2023 for a
Biosimilar Manufacturer to submit the documentation for its Initial Delay Request and the
selected drug list publication date on September 1, 2023. A few commenters also expressed
concern that CMS will not permit the Biosimilar Manufacturer to supplement its Initial Delay
Request, except if CMS requests follow-up information or if the Biosimilar Manufacturer would
like to update CMS on the status of the Biosimilar application for licensure before 11:59pm PT
on August 15, 2023. Commenters requested that CMS set the Initial Delay Request submission
deadline as close as reasonably possible to the selected drug list publication date and permit
broad supplementation of a timely request with late-breaking information.

Response: CMS thanks these commenters for their feedback and reiterates that the statute is
clear that an Initial Delay Request submitted with respect to initial price applicability year 2026
must demonstrate that there is a high likelihood that the Biosimilar will be licensed and marketed
before September 1, 2025. The Initial Delay Request timeline therefore does not preclude a
Biosimilar from coming to market between the deadline on May 22, 2023 for a Biosimilar
Manufacturer to submit the documentation for its Initial Delay Request and the selected drug list
publication date on September 1, 2023 (though CMS notes that if the Biosimilar launches
between May 22, 2023 and September 1, 2023, then CMS may determine the Reference Drug is
not a qualifying single source drug based on the process described in section 30.1 of this revised
guidance). Further, the Initial Delay Request deadline has already been set as close to the
selected drug publication date as is administratively feasible. CMS adopted this timeline under
the authority granted to it in section 1192(f)(1)(B)(ii) of the Act to set the time, form, and
manner of Biosimilar Delay requests, and has exercised this authority to establish a timeline
          Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 27 of 199

                                                                                                   26


(which is described in section 30.3.1.4 of the revised guidance) that allows CMS to carefully
review the Initial Delay Request documentation and, if applicable, to request follow-up
information from the Biosimilar Manufacturer on its Initial Delay Request. The timeline ensures
that CMS will have adequate time to review follow-up data and make a well-informed
determination. Regarding commenters’ requests that CMS permit broad supplementation of a
timely request, CMS believes that the timeline described in section 30.3.1.4 allows Biosimilar
Manufacturers sufficient opportunity to provide CMS with information during the Initial Delay
Request process. CMS is not able to accommodate broad supplementation of an Initial Delay
Request given the ambitious statutory deadlines for implementing the Negotiation Program for
initial price applicability year 2026. CMS will consider adjusting the Initial Delay Request
timeline for initial price applicability year 2027 in future guidance, if feasible.

Comment: A few commenters requested that CMS create a way for a Biosimilar Manufacturer
to ascertain, before the Initial Delay Request deadline, whether a Reference Drug is likely to be
selected for negotiation. One commenter recommended that CMS enable a Biosimilar
Manufacturer to inquire with CMS in advance of the Initial Delay Request deadline. A couple of
commenters requested that CMS update the Part D Drug Spending Dashboard more frequently or
direct manufacturers to other sources of publicly available information to inform assessments of
the likelihood that a Reference Drug will be selected for negotiation.

Response: CMS thanks these commenters for their feedback. CMS must complete all steps of
the drug selection process with fidelity, including the identification of negotiation-eligible drugs
using PDE data with dates of service during the 12-month period beginning June 1, 2022, and
ending May 31, 2023. As described in section 30.2 of this revised guidance, to allow a
reasonable amount of time for Part D plan sponsors to submit PDE data, CMS will use PDE data
for the dates of service during this 12-month period that Part D plans have submitted to CMS no
later than 30 days after May 31, 2023, i.e., by June 30, 2023. Further, to ensure that a potential
qualifying single source drug does not have generic or biosimilar competition, CMS will review
PDE data for the 12-month period beginning August 16, 2022 and ending August 15, 2023, using
PDE data available on August 16, 2023, as well as AMP data for the 12-month period beginning
August 1, 2022 and ending July 31, 2023, using the AMP data available on August 16, 2023 for a
given generic drug or biosimilar biological product for which a potential qualifying single source
drug is the listed drug or reference product. CMS is, therefore, unable to disclose information
regarding the selected drug list in advance of the selected drug publication date due to the
ambitious statutory deadline for identifying selected drugs and publishing the selected drug list.

CMS appreciates feedback received on the Part D Drug Spending Dashboard. This dashboard
allows for a longer claims runout to provide time for claims to be submitted, processed, and
finalized than is possible for the data that CMS is statutorily required to use to identify and rank
negotiation-eligible drugs. CMS recently announced that it plans to continue its annual updates
to the Drug Spending Dashboards to provide the public with comprehensive data on trends
related to drug spending for Medicare and Medicaid. 12



12
     See: https://www.cms.gov/blog/cms-drug-spending-dashboards-and-inflation-reduction-act.
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 28 of 199

                                                                                                  27


Comment: A couple of commenters asked that CMS notify each Biosimilar Manufacturer that
submits an Initial Delay Request of the results of such request in advance of the selected drug
publication date. These commenters requested that CMS establish a mechanism by which
manufacturers can dispute CMS’ determination.

Response: Ambitious statutory deadlines prevent CMS from providing each Biosimilar
Manufacturer that submits an Initial Delay Request for initial price applicability year 2026 with
advance notice of CMS’ determination regarding its request prior to the selected drug list
publication date. However, CMS will notify each Biosimilar Manufacturer of CMS’
determination on or after September 1, 2023, but not later than September 30, 2023. CMS does
not intend to establish a dispute resolution process for Initial Delay Requests.

Comment: One commenter was uncertain whether Appendix B of the initial memorandum
includes conflicting information on whether CMS will accept Initial Delay Requests that are
incomplete or not timely.

Response: CMS appreciates this request for clarity and confirms that CMS will not accept Initial
Delay Requests that are incomplete or not timely. CMS directs readers to section 30.3.1.4 of this
revised guidance, which includes a table providing a summary of key dates related to
implementation of the Biosimilar Delay for initial price applicability year 2026 as specified in
section 30.3.1 of this revised guidance. The deadline for a Biosimilar Manufacturer to email
CMS regarding its intent to submit an Initial Delay Request for initial price applicability year
2026 was 11:59 p.m. PT on May 10, 2023.

Comment: One commenter inquired about Question 10 of Appendix B: Template for the Initial
Delay Request Form. The commenter remarked that a Biosimilar may qualify for an Initial Delay
Request if its section 351(k) BLA is accepted for filing by August 15, 2023. Given FDA’s 60-
day filing review, the section 351(k) BLA must be submitted no later than June 16, 2023. A
Biosimilar Manufacturer that has not yet submitted its section 351(k) BLA by May 22, 2023, but
intends to do so by June 16, 2023, must select option (D) on the form detailed in Appendix B of
the initial memorandum. The commenter requested that, to guard against any inadvertent
disqualification of such Initial Delay Requests, CMS should make clear that selecting this option
does not preclude eligibility for the Initial Delay Request.

Response: Selecting option (D) on the form detailed in Appendix B of this guidance does not
preclude eligibility for the Initial Delay Request. Biosimilar Manufacturers have until 11:59 p.m.
PT on August 15, 2023, to update CMS on the status of the Biosimilar's application for licensure.

Comment: A couple of commenters urged CMS to favor policies that support a robust
biosimilars market that drives down prices for patients but did not reference any specific
policies. These commenters stated that CMS should consider how to mitigate potential
unintended consequences that may disincentivize the development of biosimilars and hinder a
robust biosimilars market.

Response: CMS firmly supports a robust biosimilars market and believes that the policies for
implementing the special rule to delay selection and negotiation of biologics for biosimilar
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 29 of 199

                                                                                                 28


market entry will help support biosimilar entry and price competition in the biosimilars market.
CMS welcomes input on specific approaches to monitor for potential unintended consequences
of these policies and may consider modifications if necessary to mitigate any unintended impact.

Medicare Drug Price Negotiation Program Agreement (Sections 40, 40.1, and 40.6)
                                                                      -- ---
Comment: One commenter commented that the statute defines manufacturer by reference to
section 1847A(c)(6)(A) of the Act and requested that CMS clarify the definition of Primary
Manufacturer as it pertains to the very broad statutory definition.

Response: CMS thanks this commenter for the recommendation. Section 1193(a)(1) of the Act
instructs CMS to negotiate with “the manufacturer” to arrive at the MFP for a given selected
drug, and the phrase “the manufacturer” appears repeatedly throughout the statutory provisions
establishing the Negotiation Program. The best statutory interpretation is to interpret the term
“manufacturer” as a single entity for the negotiation process, responsible for negotiating the
maximum fair price for a given selected drug. As described in section 40 of this revised guidance
and pursuant to section 1191(c)(1) of the Act, to the extent that more than one entity meets the
statutory definition of manufacturer for a selected drug for purposes of initial price applicability
year 2026, CMS will designate the entity that holds the NDA(s) / BLA(s) for the selected drug to
be “the manufacturer” (referred to in this revised guidance as the Primary Manufacturer) of the
selected drug.

Comment: Some commenters requested that CMS remove requirements related to Secondary
Manufacturers because they view such requirements as inconsistent with CMS’ past
interpretation of the definition of “manufacturer” in Section 1927(k)(5) of the Act.

Response: CMS appreciates commenters’ feedback. In previous interpretations of other
provisions of the Act, CMS has expressed concern with burdening manufacturers with no
relationship to the holder of an NDA / BLA. In this revised guidance, CMS reiterates its position
to exclusively limit any requirements with respect to the terms of the Agreement to
manufacturers listed on the NDA / BLA, or manufacturers that market the selected drug pursuant
to an agreement with the Primary Manufacturer. Any requirements placed on the Primary
Manufacturer by the Negotiation Program to address Secondary Manufacturer actions are solely
related to its voluntarily assumed relationship.

CMS also notes that, under the Negotiation Program, Primary Manufacturers enter into an
agreement to negotiate an MFP with CMS and to provide access to that MFP for the selected
drug, including sales of the selected drug by Secondary Manufacturers. Harm to competition
from Primary Manufacturers ensuring MFP availability in sales by Secondary Manufacturers is
unlikely because the requirement to provide access to the MFP is mandated by the Negotiation
Program and not imposed by the Primary Manufacturer, and because accepting that approach is a
requirement of the Negotiation Program. Moreover, the Negotiation Program offers operational
flexibility to manufacturers and would not restrict the Primary Manufacturer or Secondary
Manufacturer(s) from offering the selected drug at a price lower than the MFP. For these
reasons, applying the MFP to sales by Secondary Manufacturers is unlikely to create a situation
inconsistent with the antitrust laws.
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 30 of 199

                                                                                                   29



Comment: In connection with their feedback on the Secondary Manufacturer policies, a few
commenters cited the provisions of a 2007 Medicaid Drug Rebate Program (MDRP) rule relating
to the treatment of authorized generic drugs. A few commenters also cited a provision from a
2016 MDRP rule relating to the treatment of line extensions.

Response: CMS thanks these commenters for their input. This revised guidance echoes the
relationship between manufacturers in the 2007 and 2016 MDRP rules. This revised guidance
defines a Secondary Manufacturer as either listed as a manufacturer in the NDA or BLA or
marketing the selected drug pursuant to an agreement with the Primary Manufacturer. As it
relates to the comments regarding the 2016 MDRP rule, in which the primary concern expressed
by commenters involves unrelated manufacturers, CMS notes that the initial memorandum
focuses on Secondary Manufacturers with agreements with the Primary Manufacturer thereby
limiting the applicability of those concerns. More generally, the 2007 and 2016 MDRP rules
suggest that CMS has previously interpreted the statutory definition of “manufacturer” at
section 1927(k)(5) of the Act to apply to situations involving multiple manufacturers in a manner
that is consistent with the IRA initial memorandum policy of imposing obligations on a Primary
Manufacturer with regard to Secondary Manufacturers. Where differences remain under which
the Negotiation Program imposes more substantial obligations on the Primary Manufacturer for
commercial practices and data of Secondary Manufacturers, these differences are supported by
the text, scope, and purpose of the IRA.

Comment: One commenter questioned whether CMS’ definition of Secondary Manufacturer
could include firms that do not meet the statutory definition of manufacturer with respect to the
selected drug but have a marketing agreement in place with the Primary Manufacturer.

Response: CMS thanks this commenter for their input. As described in section 40 of this revised
guidance, for initial price applicability year 2026, CMS will refer to any entity other than the
Primary Manufacturer that meets the statutory definition of manufacturer, under section
1191(c)(1) of the Act, for a drug product included in the selected drug, and that either (1) is listed
as a manufacturer in an NDA or BLA for the selected drug or (2) markets the selected drug
pursuant to an agreement with the Primary Manufacturer, as a Secondary Manufacturer.
Secondary Manufacturers will include any manufacturer of any authorized generics and any
repackager or relabeler of the selected drug that meets these criteria, including those entities that
have a marketing agreement with the Primary Manufacturer. A firm that does not meet the
statutory definition of a manufacturer under section 1191(c)(1) of the Act does not meet CMS’
definition of a Secondary Manufacturer.

Comment: Several commenters requested that CMS provide a comment period for the Medicare
Drug Price Negotiation Program Agreement (herein referred to as the “Agreement”) to allow
manufacturers and the public the opportunity to review and comment on the Agreement. A few
commenters expressed concern that lack of advance notice could result in a manufacturer’s
inability to establish appropriate processes prior to the Agreement’s effective date, resulting in
possible noncompliance. A couple of commenters also stated that there are only three options for
manufacturers within the Negotiation Program under the IRA: sign the Agreement, pay the
excise tax, or leave Medicare and Medicaid. Manufacturers expressed concern with the lack of
options available to a manufacturer that chooses not to sign the Agreement.
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 31 of 199

                                                                                                 30



Response: In section 40 of the initial memorandum, CMS included descriptions of and solicited
comments on the Agreement requirements to provide interested parties an opportunity to
comment on these requirements. Given the thoughtful and extensive comments CMS received on
these requirements, CMS determined to set forth the parameters of the manufacturer’s
obligations under the Negotiation Program in this revised guidance, while reserving for the
Agreement certain general provisions and term and termination provisions. The decision to not
separately repeat the program requirements in the Agreement means that the program
requirements applicable to a manufacturer of a selected drug that enters into an Agreement for
initial price applicability year 2026 are preserved and presented in this revised guidance for
which there has been public notice and comment. In light of the complexity of the actions the
agency must undertake in advance of the Agreement being signed by the statutory deadline of
October 1, 2023, CMS will not provide a comment period on the Agreement. However, CMS
will make reasonable efforts to make the final text of the Agreement available to the public
before the selected drug list is published for initial price applicability year 2026. Please see the
responses to comments below for a discussion of the options available to manufacturers who
choose not to participate in the Negotiation Program.

Comment: One commenter asked that CMS provide manufacturers with information on how
CMS plans to monitor compliance with the Agreement and allow for manufacturers to provide
feedback on this information.

Response: The initial memorandum and subsequent revised guidance provide information on
how CMS plans to monitor compliance with the Agreement, including the requirements within
this revised guidance. As described in section 90.1 of this revised guidance, CMS will provide
information about the negotiation process to the Primary Manufacturer of each selected drug.
CMS anticipates this information will include operational and statutory timelines, procedural
requirements, system instructions, IRA resources, and contact information. During the
negotiation period, CMS plans to track and monitor progress during all steps of the process and
engage in direct communications with each Primary Manufacturer, including as it relates to
compliance. CMS is committed to supporting compliance with program requirements and will
provide written reminders and warnings of potential noncompliance (described in section 90.1 of
this revised guidance). Following the conclusion of negotiations, CMS plans to monitor
compliance related to the Primary Manufacturer’s obligations to provide access to the MFP, as
described in section 40.4 and section 90.2 of this revised guidance.

As described in section 40.5 of this revised guidance, in monitoring compliance, CMS may
engage in auditing processes to verify the accuracy and completeness of any information
provided by the Primary Manufacturer, as well as any data related to the Primary Manufacturer
providing access to the MFP, including where the selected drug is provided by any Secondary
Manufacturer(s).

Comment: A few commenters stated that CMS should not require Primary Manufacturers to
submit points of contact for the Agreement within five calendar days of publishing selected
drugs, as this process is not included in statute. Commenters noted that CMS should state its
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 32 of 199

                                                                                             31


authority in developing this timeline and clarify implications of noncompliance with this
timeline.

Response: CMS thanks these commenters for their feedback. CMS revised its policy in section
40.1 of this revised guidance regarding providing points of contact. CMS recommends but does
not require this action be taken within five days following publication by CMS on September 1,
2023 of the list of selected drugs and prior to the Agreement being signed to facilitate
communication between CMS and the Primary Manufacturer and support efficient effectuation
of the Agreement. Primary Manufacturers must provide points of contact by October 1, 2023 at
the time that the Agreement is signed.

Comment: A few commenters suggested that CMS consider different ways to designate a
Primary Manufacturer other than the holder of the NDA / BLA, given scenarios like split
licensures and acquisitions. Commenters recommended CMS consider using the FDA product
labeler ID to determine the manufacturer for purposes of negotiating the MFP.

Response: When an application to market a new drug or biological product for human use is
submitted to the FDA, the NDA / BLA that is submitted lists only one sponsor. The policy for
identifying the Primary Manufacturer with responsibility for the selected drug based on the
holder of the NDA / BLA for the selected drug under the Negotiation Program is consistent with
the FDA regulatory framework under which the single sponsor of the NDA / BLA in its
application describes the manufacturing process and lists the facilities that will produce the
sponsor’s product. In section 1191(c)(1) of the Act, the statute adopts the definition of
“manufacturer” established in section 1847A(c)(6)(A) of the Act. CMS understands that the
holder of an NDA or BLA can enter into agreements regarding the sale of drugs approved under
a particular NDA or BLA with other entities that may also meet this statutory definition of
“manufacturer.” CMS must find a mechanism to identify the appropriate manufacturer for
purposes of negotiation and ensure other aspects of the Negotiation Program apply to the
selected drug. In addition, section 1193(a)(1) of the Act instructs CMS to negotiate with “the
manufacturer” to arrive at the MFP for a given selected drug and the term “the manufacturer”
appears repeatedly throughout the statutory provisions establishing the Negotiation Program. The
best statutory interpretation is to interpret the term “manufacturer” as a single entity for the
negotiation process, responsible for negotiating the maximum fair price for a given selected
drug. Thus, the most effective way to determine the “manufacturer” described in section 40 of
this revised guidance, and the signatory of the Agreement, is to identify the NDA / BLA holder
as the Primary Manufacturer.

Comment: Many commenters made recommendations pertaining to the Agreement and how it
applies to Secondary Manufacturers. Commenters recommended CMS require all Secondary
Manufacturers to sign the same Agreement that applies between Primary Manufacturers and
CMS. A few commenters suggested that Secondary Manufacturers sign a unique Agreement
with CMS in addition to the Agreement between Primary Manufacturers and CMS. A few
commenters were supportive of CMS’ policy to enter into an Agreement with only the Primary
Manufacturer.
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 33 of 199

                                                                                                32


Response: Given that section 1193(a)(1) of the Act instructs CMS to negotiate with “the
manufacturer” to arrive at the MFP for a given selected drug to which “the manufacturer” would
provide access in accordance with the statute, and given that the term “the manufacturer” appears
repeatedly throughout the statutory provisions establishing the Negotiation Program, the best
statutory interpretation is to interpret the term “manufacturer” as a single entity for the
negotiation process, responsible for negotiating a single maximum fair price for a given selected
drug. Thus, in accordance with section 1193(a)(1) of the Act and other statutory references to
“the manufacturer,” CMS will enter into an Agreement with “the manufacturer” of a selected
drug, where “the manufacturer” is the NDA / BLA holder as described in section 40 of this
revised guidance. CMS has adopted the designations of “Primary Manufacturer” and “Secondary
Manufacturer,” respectively, to establish a process to negotiate the maximum fair price with “the
manufacturer” to align with the meaning of the statutory language and establish responsibilities
and requirements of the Primary Manufacturer related to data collection and submission and
MFP availability for the selected drug sold by the Secondary Manufacturer(s).

Comment: One commenter asked CMS to clarify whether a Primary Manufacturer is only
responsible for data submission and MFP availability for sales of the selected drug by a
Secondary Manufacturer when there is a contractual agreement between the two parties.

Response: CMS thanks this commenter for their question. For initial price applicability year
2026, a Primary Manufacturer will be responsible for data submission and MFP availability for
sales of the selected drug by a separate manufacturer of the selected drug if that separate
manufacturer is a Secondary Manufacturer as described in section 40 of this revised guidance.
An entity is a Secondary Manufacturer if it meets the statutory definition of a manufacturer for
the selected drug and either (1) is listed as a manufacturer in an NDA or BLA for the selected
drug or (2) markets the selected drug pursuant to an agreement with the Primary Manufacturer.
Specifically, any manufacturer that qualifies as a Secondary Manufacturer for initial price
applicability year 2026 will have an existing relationship with a Primary Manufacturer. A
Secondary Manufacturer will include any manufacturer of any authorized generics and any
repackager or relabeler of the selected drug.

Comment: A few commenters stated that CMS should allow each Secondary Manufacturer to
participate in all negotiation activities, including negotiation meetings, and have access to all
written correspondence between the Primary Manufacturer and CMS. If CMS chooses not to
allow this, the Primary Manufacturer should be allowed to share any and all documentation with
the Secondary Manufacturer.

Response: The best statutory interpretation is to interpret the term “the manufacturer” as a single
entity for the negotiation process responsible for negotiating a single maximum fair price for a
given selected drug. In addition, section 1193(a)(1) of the Act instructs CMS to negotiate with
“the manufacturer” to arrive at the MFP for a given selected drug, and the phrase “the
manufacturer” appears repeatedly throughout the statutory provisions establishing the
Negotiation Program. Congress’s use of the singular definite article demonstrates that, for any
one selected drug, the “manufacturer” with which CMS negotiates is a single entity. Thus, CMS
believes that the most effective way to determine the “manufacturer” described in section 40 of
the guidance and the signatory of the Agreement, is to identify the NDA / BLA holder as the
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 34 of 199

                                                                                                33


Primary Manufacturer. CMS has adopted the designations of “Primary Manufacturer” and
“Secondary Manufacturer,” respectively, to establish a process to negotiate an MFP with a single
manufacturer to align with the meaning of the statutory language “the manufacturer,” and
establish responsibilities and requirements of the Primary Manufacturer related to data collection
and submission and ensuring MFP availability for selected drug sold by the Secondary
Manufacturer(s).

As described in section 40.2.2 and 60.6.1 of this revised guidance, CMS does not intend to
publicly discuss the negotiation process prior to the public explanation of the MFP being
released, unless a Primary Manufacturer discloses information that is made public. If a Primary
Manufacturer discloses information that is made public regarding any aspect of the negotiation
process prior to the explanation of the MFP being released by CMS, CMS reserves the right to
publicly discuss the specifics of the negotiation process regarding that Primary Manufacturer.
Primary Manufacturers engaged in negotiating an MFP with CMS are reminded that statements
to or discussions with other Primary Manufacturers also engaged in the MFP negotiation process
with CMS could negatively impact the competitive process for each independent MFP
negotiation. Primary Manufacturers should consider the antitrust implications of any such
actions. CMS will protect the confidentiality of any proprietary information from Primary
Manufacturers or Secondary Manufacturers (described in section 40.2.1) as required under
section 1193(c) of the Act and other applicable law. If a Primary Manufacturer chooses to
disclose any material that is made public that CMS has previously deemed to be proprietary
information of that Primary Manufacturer, CMS will no longer consider that material proprietary
consistent with section 40.2.1 of this revised guidance. Neither the IRA nor this revised guidance
prevents Primary Manufacturers from disclosing any information to Secondary Manufacturers.

Comment: One commenter stated that CMS should revise the National Drug Rebate Agreement
and the Coverage Gap Discount Program Agreement, and work with the Health Resources and
Services Administration (HRSA) to revise the Pharmaceutical Pricing Agreement, to permit
immediate termination from all applicable federal programs in the event that an agreement on an
MFP cannot be reached or a manufacturer is dissatisfied with the MFP.

Response: CMS thanks this commenter for their recommendation. CMS has clarified in section
40.6 of the revised guidance that a Primary Manufacturer that decides not to participate in the
Negotiation Program may voluntarily terminate the Medicare Drug Price Negotiation Program
Agreement if it also ceases participation in the Medicaid Drug Rebate Program, the Medicare
Coverage Gap Discount Program, and the Manufacturer Discount Program through the end of
the price applicability period for the selected drug. CMS has also clarified in section 40.1 of the
revised guidance that a Primary Manufacturer that elects not to participate in the Medicare Drug
Price Negotiation Program may take similar measures to cease its participation in the Medicaid
Drug Rebate Program, the Medicare Coverage Gap Discount Program, and the Manufacturer
Discount Program. Sections 40.1 and 40.6, as revised, set forth the procedures for the Primary
Manufacturer to initiate termination processes under the Medicare and Medicaid programs and
the steps CMS will take to facilitate an expeditious termination of the Primary Manufacturer’s
agreements under the Medicare Coverage Gap Discount Program and the Manufacturer Discount
Program, as applicable. As a result of these procedures, any manufacturer that declines to enter
an Agreement for the Negotiation Program may avoid incurring excise tax liability by submitting
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 35 of 199

                                                                                                 34


the notice and termination requests described herein 30 days in advance of the date that excise
tax liability otherwise may begin to accrue. Moreover, any manufacturer that has entered into an
Agreement will retain the ability to promptly withdraw from the program prior to the imposition
of civil monetary penalties or excise tax liability.

Manufacturer Data Submission, Proprietary Information, and Confidentiality (Section
40.2)

Comment: Several commenters requested that CMS not publish any proprietary information in
the MFP public explanation and continue to provide strong protections to proprietary data
otherwise collected under Part D. Several commenters also stated that CMS should give
manufacturers the opportunity to review, raise concerns, and designate any information therein
that is confidential and proprietary in advance of the publication of the public explanation of the
MFP. A few commenters stated that CMS should clarify that any proprietary information shall
be disclosed or exclusively used by CMS or the Comptroller General of the United States only
for IRA-related purposes, and not used or disclosed for any other reason, regardless of whether
the requirements of the Freedom of Information Act (FOIA) are satisfied.

Response: Section 1193(c) of the Act requires that information submitted to CMS by the
manufacturer of a selected drug that is proprietary information, as determined by CMS, shall be
used only by CMS or disclosed to and used by the Comptroller General of the United States for
purposes of carrying out the Negotiation Program. CMS is committed to protecting confidential
and proprietary information obtained from manufacturers throughout the negotiation process. In
addition, CMS is also committed to protecting information that is obtained from Prescription
Drug Plans (PDPs) and MA-PD plans that will inform the negotiation process. For initial price
applicability year 2026, as described in section 40.2.1 of this revised guidance, CMS will treat
information on non-FAMP as proprietary, as well as treat certain data elements submitted by a
Primary Manufacturer of a selected drug in accordance with sections 1194(e)(1) and 1194(e)(2)
of the Act as proprietary, if the information constitutes confidential commercial or financial
information of the Primary Manufacturer or a Secondary Manufacturer that meets the
requirements set forth under Exemptions 3 and/or 4 of FOIA (5 U.S.C. § 552(b)(3), (4)). In
addition to the protections under the FOIA for trade secrets and commercial or financial
information obtained from a person that is privileged or confidential, the Trade Secrets Act at 18
U.S.C. § 1905 requires executive branch employees to protect such information. CMS
understands commenters’ concerns pertaining to the confidentiality of proprietary information
and will protect confidential and proprietary information as required by applicable law.
However, if a Primary Manufacturer chooses to disclose any material that is made public that
CMS has previously deemed to be proprietary information of that Primary Manufacturer, CMS
will no longer consider that material proprietary consistent with section 40.2.1 of this guidance.

Comment: Some commenters stated that CMS should remove, or at least modify, the data
destruction requirements within the confidentiality policy for manufacturers following the
deselection of a selected drug. One commenter stated that CMS should consider removing the
30-day timeline for data destruction, or let manufacturers petition for an extension. Other
commenters stated that CMS should impose parallel data destruction requirements or revise the
policy to align with other federal programs.
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 36 of 199

                                                                                              35



Response: After reviewing these comments and further consideration of the issue, CMS has
removed the data destruction requirements under the confidentiality policy described in section
40.2.2 of this revised guidance pertaining to Primary Manufacturers.

Comment: Many commenters requested that CMS clarify whether specific data elements
submitted by Primary Manufacturers (including, where applicable, Secondary Manufacturer data
submitted by the Primary Manufacturer) will be released publicly. Commenters asked that CMS
aggregate and release information about prior Federal financial support, approved patents,
exclusivities, approvals, aggregate estimates or deidentified research and development costs,
historic sales, volume of sales, revenue, and market data of selected drugs. Commenters
requested that CMS clarify that information that is publicly available will not be deemed
proprietary.

Response: CMS thanks these commenters for their input. As stated in section 40.2.2 of the
revised guidance, CMS revised the confidentiality policy for the negotiation process in response
to comments received and further consideration of the issue. In the interest of balancing
transparency and confidentiality, CMS has made revisions in the guidance pertaining to what
information CMS will keep confidential and for how long. As described in section 40.2.2 and
60.6.1 of this revised guidance, as a part of the public explanation of the MFP published in
March 2025, CMS will make public a narrative explanation of the negotiation process and the
agreed-upon MFP and share redacted information regarding the section 1194(e) data received,
exchange of offers and counteroffers, and the negotiation meetings. CMS maintains that any
information submitted by manufacturers that constitutes confidential commercial or financial
information of the Primary Manufacturer or a Secondary Manufacturer will be considered
proprietary and will be redacted.

A Primary Manufacturer may choose to publicly disclose information regarding any aspect of the
negotiation process at any time, including prior to the public explanation of the MFP being
released by CMS. Of note, while CMS generally plans to wait to release information about the
negotiation process until CMS publishes the public explanation of the MFP, if the Primary
Manufacturer chooses to disclose information prior to the publication of the public explanation
of the MFP, CMS may decide to make early disclosures about the negotiation process as well.

Comment: One commenter stated that CMS should clarify what elements of the Biosimilar
Initial Delay Request will be exempt from any FOIA requests or disclosures.

Response: CMS revised section 30.3.1 of this revised guidance to clarify that information in an
Initial Delay Request and in a Small Biotech Exception ICR Form that is a trade secret or
confidential commercial or financial information will be protected from disclosure if the
proprietary information meets the requirements set forth under Exemptions 3 and/or 4 of FOIA
(5 U.S.C. § 552(b)(3), (4)).

Comment: One commenter stated that CMS should clarify that the existence and status of a
pending NDA or BLA, in addition to information contained in a pending NDA or BLA, will be
treated as proprietary information.
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 37 of 199

                                                                                                 36



Response: As stated in the initial memorandum, for initial price applicability year 2026, CMS
will treat certain data elements submitted by a Primary Manufacturer of a selected drug in
accordance with section 1194(e)(1) of the Act as proprietary if the information constitutes
confidential commercial or financial information of the Primary Manufacturer or a Secondary
Manufacturer. It is CMS’ presumption that a pending NDA or BLA would qualify as proprietary
under this standard.

Comment: One commenter asked CMS to release the full negotiation records five to ten years
after the patents for a selected drug expire.

Response: As stated in section 40.2.2 of this revised guidance, CMS revised the confidentiality
policy for the negotiation process in response to comments received and after further
consideration of the issue. In the interest of balancing transparency and confidentiality, CMS has
made revisions in the guidance pertaining to what information CMS will keep confidential and
for how long. As described in sections 40.2.2 and 60.6.1 of this revised guidance, as a part of the
public explanation of the MFP published in March 2025, CMS will make public a narrative
explanation of the negotiation process and the agreed-upon MFP and share redacted information
regarding the section 1194(e) data received, exchange of offers and counteroffers, and the
negotiation meetings.

At this time, CMS is issuing guidance for implementation of initial price applicability year 2026
and does not foresee that CMS would subsequently provide additional disclosure in the manner
the commenter is suggesting. CMS will continue to consider whether such additional disclosure
is appropriate in the future.

Comment: One commenter asked CMS to clarify the consequences for violating the
requirements of confidentiality for both manufacturers and CMS.

Response: CMS thanks this commenter for their input. In the interest of balancing transparency
and confidentiality, CMS revised the confidentiality policy for the negotiation process in
response to comments received and further consideration of the issue. CMS does not intend to
publicly discuss the negotiation process prior to the public explanation of the MFP being
released, unless a Primary Manufacturer chooses to discuss the negotiation publicly. If a Primary
Manufacturer discloses information that is made public regarding any aspect of the negotiation
process prior to the explanation of the MFP being released by CMS, CMS reserves the right to
publicly discuss the specifics of the negotiation process regarding that Primary Manufacturer.
Primary Manufacturers engaged in negotiating an MFP with CMS are reminded that statements
to or discussions with other Primary Manufacturers also engaged in the MFP negotiation process
with CMS could negatively impact the competitive process for each independent MFP
negotiation. Primary Manufacturers should consider the antitrust implications of any such
actions.

The Trade Secrets Act at 18 U.S.C. § 1905 requires executive branch employees to protect
proprietary information. If a Primary Manufacturer chooses to disclose any material that is made
public that CMS has previously deemed to be proprietary information of that Primary
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 38 of 199

                                                                                               37


Manufacturer, CMS will no longer consider that material proprietary consistent with section
40.2.1 of this revised guidance.

Comment: One commenter asked how CMS will enforce the confidentiality requirements for
individuals who no longer work at a manufacturer of a selected drug or at CMS.

Response: CMS thanks this commenter for their question. In the interest of balancing
transparency and confidentiality, CMS revised the confidentiality policy for the negotiation
process in response to comments received and further consideration of the issue. Primary
Manufacturers have the authority to determine how former employees may use or discuss its
proprietary information as it pertains to the Negotiation Program. CMS employees that leave
CMS are informed prior to their departure that they are not permitted to disclose nonpublic
information obtained as a result of CMS employment that has not been released to the public.

Comment: Many commenters stated that the confidentiality policy as described in the initial
memorandum violates the First Amendment rights of manufacturers, is not supported by statute,
or is not necessary to administer or monitor compliance with the Negotiation Program. One
commenter asked that CMS align the confidentiality policy so manufacturers and CMS are
bound by the same confidentiality standards. Many commenters raised concerns that the
confidentiality policy would prevent manufacturers from disclosing to their board and investors
pertinent information related to the negotiation process. One commenter asked CMS to make all
offers and counteroffers public. A few commenters were supportive of CMS’ confidentiality
policy as it is consistent with private sector negotiation processes.

Response: CMS thanks these commenters for their input. As stated in section 40.2.2 of the
revised guidance, CMS revised the confidentiality policy for the negotiation process in response
to comments received and upon further consideration of the issue. In the interest of balancing
transparency and confidentiality, CMS has made revisions pertaining to which information CMS
will keep confidential and for how long in the revised guidance. As described in sections 40.2.2
and 60.6.1 of the revised guidance, as a part of the public explanation of the MFP published in
March 2025, CMS will make public a narrative explanation of the negotiation process and the
agreed-upon MFP and share redacted information regarding the section 1194(e) data received,
exchange of offers and counteroffers, and the negotiation meetings. CMS maintains that any
information submitted by manufacturers that constitutes confidential commercial or financial
information of the Primary Manufacturer or a Secondary Manufacturer will be considered
proprietary and will be redacted.

A Primary Manufacturer may choose to publicly disclose information regarding any aspect of the
negotiation process at any time, including prior to the explanation of the MFP being released by
CMS. Of note, while CMS generally plans to wait to release information about the negotiation
process until CMS publishes the explanation of the MFP, if the Primary Manufacturer chooses to
disclose information about the negotiation process prior to the publication of the public
explanation of the MFP, CMS may decide to make early disclosures about the negotiation
process as well. If a Primary Manufacturer chooses to disclose any material that is made public
that CMS has previously deemed to be proprietary information of that Primary Manufacturer,
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 39 of 199

                                                                                               38


CMS will no longer consider that material proprietary consistent with section 40.2.1 of this
revised guidance.

Comment: One commenter stated that CMS should allow manufacturers to negotiate the scope
and terms of any confidentiality policies, including whether manufacturers may publicly discuss
the Negotiation Program, as a part of the broader negotiation process.

Response: CMS thanks this commenter for their input. In the interest of balancing transparency
and confidentiality, CMS made revisions in the guidance to clarify that a Primary Manufacturer
may publicly disclose information regarding the Negotiation Program, as described in section
40.2.2 of this revised guidance. In section 40.2 of this revised guidance, CMS describes a
confidentiality policy that applies to all Primary Manufacturers of selected drugs who choose to
sign an Agreement. Adopting a standard confidentiality policy allows CMS to focus the
negotiations on the statutory goal of negotiating to achieve agreement on the lowest MFP and
creates uniform protection of information determined to be proprietary as well as transparency
upon the release of the explanation of the MFP.

Comment: One commenter asked CMS to consider revising the policies for classification and
handling of proprietary data in the coming years and re-evaluate whether this approach should be
applied to a narrower set of data elements.

Response: CMS thanks this commenter for their input and will take the comment under
advisement as CMS considers policies for future years of the Negotiation Program.

Comment: A few commenters asked how CMS plans to secure manufacturer-submitted data.
Commenters asked CMS to outline a cybersecurity policy regarding how CMS plans to
implement safeguards to protect manufacturer-submitted data, how such data will be stored, and
a process for alerting manufacturers of any breach or erroneous use.

Response: CMS thanks these commenters for their comments on safeguarding data submitted by
manufacturers. Primary Manufacturers will submit the information to CMS via the Health Plan
Management System (“CMS HPMS”). The CMS HPMS adheres to all applicable policies,
procedures, controls, and standards required by the Department of Health and Human Services
(HHS)/CMS information security and privacy programs to ensure the confidentiality, integrity,
and availability of manufacturer information and government information systems. The CMS
HPMS system is the primary CMS system for exchange of information between CMS and
Medicare Advantage and Medicare Prescription Drug Plans, and as such is designed to receive
and keep confidential proprietary and commercially sensitive information.

As required by CMS, the CMS HPMS integrates security into every aspect of the system
development life cycle. The CMS HPMS is subject to the agency’s Security Assessment and
Authorization (SA&A) process, a rigorous methodology during which the system must
demonstrate a sound and comprehensive information security posture. In order to achieve and
maintain an Authority to Operate (ATO), the CMS HPMS routinely undergoes system
penetration testing as well as a Security Control Assessment (SCA), where independent auditors
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 40 of 199

                                                                                                 39


perform a detailed assessment to ensure that the system’s security controls meet the CMS
Acceptable Risk Safeguards (ARS).

An individual must apply for and obtain a CMS-issued user account and password in order to
access the CMS HPMS. In addition to the CMS-issued user ID and password, internal CMS staff
must use an HHS identification badge (referred to as a PIV card) when accessing the website on
the CMS network, while all users accessing the system from outside of the CMS network must
use multi-factor authentication. The CMS HPMS further employs role-based access, ensuring
that each user is granted access only to those functions required by their position.

The CMS HPMS is hosted at a CMS approved cloud service provider. The system is protected
by a suite of firewall and intrusion detection services, including Akamai Content Delivery
Network (CDN), which serves as an additional web application firewall that offers robust
distributed denial of services protection and access control. The CMS HPMS utilizes a multi-
zone architecture comprised of a presentation zone, an application zone, and a data zone,
designed to provide further defense against security attacks. CMS will employ encryption at rest
in the database for sensitive manufacturer data (e.g., proprietary information, including trade
secrets and confidential commercial or financial information) in addition to encryption in transit.

The CMS HPMS adheres to the CMS Information Security Incident Handling Procedures, which
are supplemented by the CMS HPMS Security Incident Handling Procedures. These documents
outline the procedures for managing known or suspected security or privacy incidents, including,
but not limited to, roles and responsibilities, escalation procedures, and guidelines for notifying
impacted individuals or organizations.

Negotiation and Agreement to an MFP and Renegotiation in Later Years (Section 40.3)

Comment: One commenter noted that CMS has not outlined the specific conditions under which
a renegotiation will occur in subsequent years.

Response: CMS thanks this commenter for the comment. This guidance includes details
regarding the Negotiation Program for initial price applicability year 2026. CMS will provide
additional information in the future for initial price applicability years 2027 and beyond,
including renegotiation, which will be implemented for initial price applicability year 2028 and
subsequent years, in accordance with the statute.

Access to the MFP (Sections 40.4 and 90.2)

Comment: One commenter expressed concern that the MFP would be adopted as a reference
price by non-Medicare payers. For example, commercial plans and PBMs might use a selected
drug’s MFP to inform negotiations or to establish payment and reimbursement amounts for the
selected drug outside of the Medicare program.

Response: The IRA directs CMS to negotiate an MFP for each selected drug for the Medicare
program and requires the manufacturers of such drugs to make the MFP available to MFP-
eligible individuals. As discussed in section 80 of this revised guidance, for initial price
       Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 41 of 199

                                                                                                                   40


applicability year 2026, Primary Manufacturers of selected drugs must provide access to the
MFP for a selected drug to Medicare beneficiaries who use their Part D plan (including an MA-
PD plan under Medicare Part C or an Employer Group Waiver Plan, but not a plan that receives
the Retiree Drug Subsidy) if Part D coverage is provided under such plan for such selected drug.
The Negotiation Program does not regulate payment rates by payers outside of the Medicare
program (e.g., in the commercial markets). CMS will publish the MFP for each selected drug, as
required by law. The MFP for each selected drug could be published by pharmaceutical pricing
database companies and could be used by other payers for reimbursement and other purposes.
Payers will continue to have discretion to consider Medicare payment rates among other
considerations in establishing their own payment policies. CMS notes that Medicare already
establishes and publishes payment rates for drugs under Part B using the Average Sales Price
(ASP) methodology that may be used by other payers (such as state Medicaid programs), and
Medicaid also publishes various pharmaceutical pricing benchmarks, such as the National
Average Drug Acquisition Cost (NADAC) file and Federal Upper Limits (FULs) for multiple
source drugs, that may be used by other payers.

Comment: Many commenters provided perspectives and recommendations regarding CMS’
policies in the initial memorandum to monitor access to the MFP. Many commenters
recommended CMS require manufacturers to use a retrospective MFP refund approach to adjust
reimbursement to pharmacies, mail order services, and other dispensing entities for dispensing a
selected drug to an MFP-eligible individual. Many commenters recommended CMS help
effectuate a retrospective refund model by contracting with a third-party administrator (TPA) or
clearinghouse to facilitate data and/or payment exchange between entities in the supply chain so
pharmacies, mail order services, and other dispensing entities receive retrospective refunds in a
timely manner. Many commenters recommended that, in contracting with a TPA, CMS include
processes to allow manufacturers to avoid providing the 340B price and an MFP refund for the
same unit(s) of a selected drug dispensed to an MFP-eligible individual.

Response: CMS thanks these commenters for the recommendations. CMS intends to engage
with a Medicare Transaction Facilitator (MTF) to facilitate the exchange of data between supply
chain entities to verify eligibility of MFP-eligible individuals. CMS appreciates the value of the
role an MTF could play in supporting the identification of selected drugs dispensed to MFP-
eligible individuals to facilitate appropriate retrospective reimbursement by manufacturers. CMS
is also exploring options to facilitate retrospective payment exchange between interested parties
to help effectuate access to the MFP. CMS is committed to the goal of ensuring prompt payment
to dispensers for pass through of the MFP, consistent with other prompt pay rules in Part D. 13
Pursuant to section 40.4 of this revised guidance, CMS requires that the MFP be passed through
to dispensers within 14 days of the manufacturer receiving sufficient information to verify that
an individual is eligible for access to the MFP. With respect to the establishment of a process to
allow manufacturers to avoid providing a 340B price and an MFP for the same unit of drug,
CMS understands the value of the identification of 340B units for the Negotiation Program and
the Part D Drug Inflation Rebate Program. CMS intends to examine options with respect to
identification of 340B units and intends to work with HRSA accordingly. CMS has
revised sections 40.4 and 90.2 of this revised guidance to include further detail regarding access

13
  See 42 C.F.R. § 423.520, Prompt Payment by Part D Sponsors, which requires Part D sponsor payment to
pharmacies within 14 days after receiving a Part D claim and determining that the Part D claim is a clean claim.
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 42 of 199

                                                                                                41


to the MFP and will provide more information in advance of initial price applicability year
2026.

Comment: Some commenters recommended that CMS define the amount of the MFP refund
that is due from the manufacturers to the pharmacies. Some advocated for a retrospective “true
up” payment from the manufacturer to the dispensing entity, using a standardized amount, such
as the difference between a publicly reported pricing metric (such as WAC) and the MFP, rather
than a dispensing entity’s actual acquisition cost for the selected drug. One commenter
recommended CMS use the annual non-FAMP as the standardized metric.

Response: CMS thanks these commenters for their recommendation. The majority of the
comments received from supply chain entities on this topic, including manufacturers and
pharmacies, supported the use of a standardized, published pricing metric to calculate the refund
due from the manufacturer to the pharmacy or other dispenser for the pass through of the MFP.
After reviewing the comments and further consideration of the topic, CMS is exploring the
option of allowing manufacturers to use a standardized refund amount, such as the WAC of the
selected drug minus the MFP (WAC-MFP). CMS plans to provide further information regarding
this topic in technical guidance before initial price applicability year 2026.

Comment: Some commenters recommended CMS regularly monitor whether Primary
or Secondary Manufacturers are compliant with the requirements of the Negotiation Program,
including providing access to the MFP. One commenter recommended CMS create an
online option and phone options for reporting violations related to access to the MFP with
respect to MFP-eligible individuals. One commenter recommended CMS set a time limit to
respond to individuals reporting violations, report the number of complaints CMS receives,
and create an ombudsman to serve as a point of contact for individuals submitting complaints.

Response: CMS thanks these commenters for their recommendations, including those relating to
the importance of having multiple avenues for reporting violations and timely resolution of
investigating such complaints. As further described in sections 40.4 and 90.2 of this revised
guidance, CMS will closely monitor the Primary Manufacturers’ compliance with the terms of
the Agreement and other aspects of the Negotiation Program, including whether the Primary
Manufacturer is ensuring that the MFP is available for the selected drug sold by Secondary
Manufacturers, where applicable. CMS will establish procedures by which individuals, as well as
pharmacies, mail order services, and other dispensing entities, will be able to report instances to
CMS in which the MFP should have been made available but was not. CMS will respond to
reports of violations in a timely manner, and plans to issue more information on reporting
procedures in advance of initial price applicability year 2026.

Comment: A few commenters recommended that CMS establish a financially viable model for
pharmacy reimbursement when a pharmacy dispenses a selected drug to an MFP-eligible
individual, including by requiring a dispensing fee that covers a pharmacy’s business operation
costs to dispense a selected drug. A couple of commenters recommended that CMS clarify that
claims paid for a selected drug must be excluded from pharmacy DIR or other fees imposed by
entities in the supply chain. A couple of commenters recommended CMS prohibit PBMs, Part D
plan sponsors, or other entities in the supply chain from charging administrative fees to
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 43 of 199

                                                                                                 42


manufacturers or pharmacies for providing access to a selected drug. One commenter
recommended CMS require higher dispensing fees for entities dispensing a selected drug.

Response: CMS thanks these commenters for their recommendations. Under section 1860D-
2(d)(1)(D) of the Act, as amended by section 11001(b) of the IRA, the negotiated prices used in
payment by each Part D plan sponsor for each selected drug must not exceed the applicable MFP
plus any dispensing fees for such drug. CMS intends to allow manufacturers to use either a
prospective upfront discount model or a retrospective refund model to make the MFP available.
After reviewing the comments and further consideration of the topic, CMS is working with
interested parties to explore developing a standard retrospective rebate model process that would
allow for the pass through of the MFP for a selected drug by manufacturers to dispensing entities
for dispensing a selected drug to an MFP-eligible individual. As noted above, CMS intends to
engage with an MTF to facilitate the exchange of data between pharmaceutical supply chain
entities to verify eligibility of MFP-eligible individuals under a retrospective rebate model. As
described in section 40.4 of this revised guidance, neither Primary Manufacturers nor their
contracted entities shall charge any transaction fee to dispensing entities for the pass through of
the MFP to the dispenser.

Provided that Part D plans comply with all applicable requirements, plan sponsors retain
flexibility in determining the fees paid or charged to pharmacies, including dispensing fees.
However, CMS is committed to the goal of assuring prompt payment to pharmacies and other
dispensers for passing through the MFP, consistent with other prompt pay rules in Part D, and is
requiring manufacturers to pass through the MFP within 14 days of confirming an individual is
eligible for the MFP. Please refer to sections 40.4 and 90.2 of this revised guidance for more
information.

Comment: Some commenters recommended CMS collaborate with interested parties to
implement a single process for manufacturers to provide access to the MFP that works for
entities across the pharmaceutical supply chain. A few commenters recommended CMS work
with interested parties in the pharmaceutical supply chain to develop standards for facilitating the
transaction of the MFP refund.

Response: CMS thanks these commenters for their recommendations. Consistent with section
40.4 of this revised guidance, Primary Manufacturers must provide access to the MFP by either
(1) ensuring that the price paid by the dispensing entity when acquiring the drug is no greater
than the MFP, or (2) providing retrospective reimbursement for the difference between the
dispensing entity’s acquisition cost and the MFP. However, CMS notes that the majority of the
commenters support the retrospective rebate or refund approach. CMS intends to engage with an
MTF that could assist with data facilitation in a retrospective rebate model. CMS has been
working with, and plans to continue working with, interested parties to explore processes for
facilitating data exchange while minimizing burden.

Comment: A few commenters supported the options CMS outlined in the initial memorandum
for providing access to the MFP. One commenter recommended CMS incentivize manufacturers
to prospectively effectuate access to the MFP by making the MFP available to dispensing
entities at the point of acquisition of a selected drug. One commenter recommended CMS require
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 44 of 199

                                                                                                  43


manufacturers to create secondary NDCs for selected drugs and make secondary NDCs available
to wholesalers at the MFP.

Response: CMS thanks these commenters for their recommendations. The majority of
commenters supported a retrospective refund or rebate approach to making pharmacies, mail
order services, and other dispensers whole with respect to the pass through of the MFP. CMS
intends to engage with an MTF to help facilitate data exchange to confirm MFP-eligibility to
provide access to the MFP using a retrospective approach for pharmacies, mail order services,
and other dispensers. CMS is not requiring manufacturers to create secondary NDCs for selected
drugs and the assignment of labeler codes is the responsibility of the FDA. Moreover, the NDCs
for the dosage forms and strengths of a selected drug will be published on the CMS website, and
CMS expects that pharmaceutical drug pricing compendia will also publish them.

Comment: Some commenters recommended CMS share detailed Part D claims data with
manufacturers to verify that an individual is eligible to receive a selected drug at the MFP. One
commenter recommended CMS minimize the data shared with manufacturers and other entities
in the supply chain while facilitating access to the MFP.

Response: CMS thanks these commenters for their recommendations. CMS agrees that a
Primary Manufacturer should be able to verify that a selected drug was dispensed to an MFP-
eligible individual. As further described in sections 40.4 and 90.2 of this revised guidance, after
consideration of the comments, CMS plans to release more information in advance of initial
price applicability year 2026 regarding how CMS might support and facilitate data exchange
between pharmaceutical chain entities.

Comment: A couple of commenters recommended that CMS require Primary Manufacturers to
report the MFP of a selected drug and the effective date for the MFP in standard drug pricing
compendia.

Response: CMS thanks these commenters for their recommendation. CMS will publish the MFP
at the per-unit level for the dosage forms and strengths for a selected drug and keep this list up-
to-date over time on the CMS IRA website. CMS anticipates that various drug pricing
compendia will decide to include the MFP in their pricing files.

Comment: Some commenters recommended CMS remove or lengthen the requirement for
retrospective payment to dispensing entities be made within 14 days, due to operational
complexities. Some commenters recommended CMS clarify that the 14-day reimbursement
requirement begins when the claim is verified for an MFP-eligible individual. One commenter
recommended that CMS clarify that the 14-day reimbursement period begins when the Primary
Manufacturer receives the request for reimbursement.

Response: CMS thanks these commenters for their recommendations. CMS will apply the
standards set forth in current Part D prompt pay reimbursement regulations regarding payment
by plan sponsors to pharmacies to manufacturers for their pass through of the MFP for selected
drugs. That is, CMS will require that a Primary Manufacturer ensure that pharmacies, mail order
services, and other dispensers are reimbursed timely for the pass through of the MFP within 14
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 45 of 199

                                                                                                44


days of verifying eligibility of an MFP-eligible individual. This will ensure that pharmacies are
paid for the claim for the selected drug in the same timeframe as if the entire claim would have
been filled through the regular Part D process. Please see sections 40.4 and 90.2 of this revised
guidance for more information.

Comment: Many commenters made recommendations regarding CMS policy relating to non-
duplication of the MFP and the 340B ceiling price. One commenter recommended CMS clarify
that the same unit(s) of a drug dispensed to an MFP-eligible individual is not eligible for a
duplicate 340B discount. A few commenters wrote that it is burdensome for pharmacies and
dispensing entities to identify 340B units proactively or retroactively to avoid duplication of the
MFP and 340B ceiling price. Some commenters recommended CMS contract with a TPA to
identify 340B units at the point of sale or during retrospective reimbursement. A few
commenters recommended CMS condition claims payment for units of selected drugs on
including an accurate 340B or non-340B claim modifier. A few commenters recommended CMS
work with HRSA to ensure the MFP for a selected drug is not applied to a drug that was acquired
at the 340B ceiling price. Some commenters recommended CMS implement an oversight system
to audit selected drug units dispensed at the MFP and identify if the same units of a selected drug
were acquired at the 340B ceiling price.

Response: CMS thanks these commenters for their recommendations. CMS reiterates, as
described in section 40.4.1 of the initial memorandum, that a manufacturer that provides an MFP
for a unit of a selected drug is not also required to provide a 340B discount on that same drug if
the MFP is lower than the 340B ceiling price (and vice versa, that the MFP does not need to be
made available if the 340B ceiling price is lower). That is, these price concessions are not
cumulative.

Further, CMS understands the interest in ensuring compliance with the statutory requirement to
avoid duplication of the MFP and the 340B ceiling price for a selected drug. CMS also notes the
interest in requiring that all Part D claims be marked as either 340B or non-340B to ensure that
there is no duplication of 340B prices with the pass through of the MFP. At this time, CMS is
examining options with respect to identification of 340B units in consultation with HRSA and
interested parties. In addition to any policies or procedures that CMS may adopt in this regard,
CMS will also work with HRSA to ensure the MFP is made available where appropriate in a
nonduplicated amount to the 340B ceiling price.

Comment: A few commenters recommended CMS create accessible materials that list the MFP
for a selected drug and the date the MFP applies for Medicare beneficiaries to reference to
understand access to the MFP. A few commenters recommended CMS incorporate information
about the MFP of a selected drug into various beneficiary outreach materials.

Response: CMS thanks these commenters for their recommendations. CMS is committed to
helping Medicare beneficiaries understand access to a negotiated MFP for a selected drug during
the price applicability period. CMS will publish on its website the MFP at the per unit (e.g.,
tablet) level for each NDC-11 associated with the selected drug. CMS will also develop
accessible materials to educate Medicare beneficiaries, as well as the health care providers and
other organizations that serve them, on benefits related to the Negotiation Program.
          Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 46 of 199

                                                                                                   45



Comment: One commenter recommended CMS reduce the need for Primary Manufacturers to
retain any records relating to sales of the selected drug to entities that dispense the selected drug
to MFP-eligible individuals, including pharmacies, mail order services, and other dispensers for
units of selected drug. The commenter recommended CMS reduce the timeframe from ten years
to six years from the date of sale due to the burden and costs associated with retaining these
records.

Response: CMS thanks this commenter for the recommendation. CMS believes ten years is a
reasonable requirement for record retention for these sales to align with the statute of limitations
period under the False Claims Act. 14
Suggestion of Error and Corrective Actions and Compliance (Sections 40.2.3 and 40.5)

Comment: Some commenters asked CMS to consider a dispute resolution process for any
disputes on claims-level data, including 340B claims. A few commenters suggested that CMS
delay reimbursement during any dispute resolution process. A few commenters suggested that if
CMS does not create a dispute resolution process, that CMS develop stewardship principles
within the Negotiation Program, including for facilitating access to the MFP.

Response: CMS thanks these commenters for their recommendations. CMS notes that it intends
to engage with an MTF to facilitate the exchange of data between pharmaceutical supply chain
entities to support the verification of dispensing of a selected drug to an MFP-eligible individual.
CMS believes that engaging with an MTF to facilitate data transfer for eligibility purposes could
minimize the potential for claims-level disputes. With respect to the Primary Manufacturer’s
obligation to provide access to the MFP, requirements are described in sections 40.4 and 90.2 of
this revised guidance. CMS is also providing Primary Manufacturers with a corrective action
process, detailed in section 40.2.3 of this revised guidance.

Comment: A few commenters asked that CMS establish a dispute resolution process that would
apply to various aspects of the Negotiation Program. One commenter asked that the dispute
resolution process be established prior to the September 1, 2023, deadline for publication of
selected drugs.

Response: CMS thanks these commenters for their recommendations. Section 1198 of the Act
prohibits administrative or judicial review of CMS’ determinations of drug selection, unit
determination, and the determination of MFP. CMS recognizes that Primary Manufacturers, at
times, may disagree with CMS regarding certain calculations during the negotiation process.
Therefore, if a Primary Manufacturer in good faith believes that CMS has made an error in the
calculation of the ceiling for the selected drug or the computation of MFP across dosage forms
and strengths, section 40.5 of this revised guidance notes that the Primary Manufacturer can
submit a suggestion of error. Additionally, sections 40.2.3 and 100.2 of this revised guidance
have been revised to provide an opportunity for corrective action in certain circumstances in
which a violation of a requirement could result in a CMP being issued.


14
     31 U.S.C. § 3731(b).
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 47 of 199

                                                                                                  46



Comment: A commenter asked that CMS allow for broader stakeholder input in any dispute
resolution process that is created.

Response: CMS thanks the commenter for their recommendations. After considering feedback
from multiple interested parties for initial price applicability year 2026, CMS updated section
40.5 of this revised guidance to allow Primary Manufacturers the opportunity to suggest potential
errors to CMS in the event that the Primary Manufacturer has a good faith belief that CMS has
made an incorrect calculation. Further, CMS updated section 100.2 of this revised guidance to
describe how Primary Manufacturers will have an opportunity to correct identified
incompleteness or inaccuracies in certain manufacturer-submitted information in instances in
which a violation of a data submission requirement could result in the imposition of a CMP.
CMS will continue to evaluate those processes for future years.
Other Provisions in the Agreement (Section 40.7)

CMS solicited comment on this section, but did not receive any comments that are not otherwise
addressed elsewhere (see the Medicare Drug Price Negotiation Program Agreement (Sections 40,
40.1, and 40.6) section above).

Negotiation Factors (Section 50)

Comment: Many commenters supported the use of certain cost-effectiveness measures to gain
insight into the relationship between cost and effectiveness for a selected drug and its therapeutic
alternative(s). Cost-effectiveness measures mentioned by commenters included Equal Value of
Life-Years Gained (evLYG), Equal Value Life-Year (evLY), and Health Years in Total (HYT)
and alternative methods recommended for assessing cost-effectiveness included Generalized
Risk-Adjusted Cost-Effectiveness (GRACE) and Generalized Cost-Effectiveness Analysis
(GCEA). Some commenters recommended convening experts to advise CMS on whether such
metrics or methods are appropriate for assessing clinical benefit within the context of
negotiation. Some commenters requested CMS clarify that the use of such measures is permitted
when evaluating clinical benefit.

Response: CMS appreciates these commenters’ responses and suggestions. CMS indicates in
section 50.2 of this revised guidance that CMS will review cost-effectiveness measures and
studies that use such measures for initial price applicability year 2026 to determine if such
measures are permitted under section 1194(e) of the Act. CMS may use content in a study that
uses a cost-effectiveness measure if it determines that the cost-effectiveness measure used is
permitted in accordance with the law. A measure will not be used to adjust the initial offer if the
measure does not provide information related to the negotiation factors described in section
1194(e) of the Act or is used in a manner that treats extending the life of an individual who is
elderly, disabled, or terminally ill as of lower value than the life of an individual who is younger,
nondisabled, or not terminally ill, in accordance with section 1194(e)(2) and section 1182(e) of
Title XI of the Act. CMS clarifies in this revised guidance that it will not use Quality-Adjusted
Life Years (QALYs) to determine any offer.
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 48 of 199

                                                                                                47


Comment: Many commenters interpreted the initial memorandum as stating a CMS decision not
to use QALYs when assessing clinical benefit of a selected drug and its therapeutic alternative(s)
and supported such a decision.

Response: CMS appreciates these commenters’ feedback and reaffirms that QALYs will not be
used in the Negotiation Program. CMS will consider studies that use QALYs only when they
contain other content that is relevant and permitted under section 1194(e)(2) of the Act and
section 1182(e) of Title XI of the Act.

Comment: Some commenters urged CMS not to use any metrics of cost-effectiveness or clinical
effectiveness because the metric and/or the underlying data or assumptions used to develop the
metric may be discriminatory. Some commenters stated that CMS should adopt a full prohibition
on the use of QALYs and/or “similar measure[s]” under the relevant prohibition in the Patient
Protection and Affordable Care Act.

Response: CMS reaffirms that QALYs will not be used in the Negotiation Program to adjust
CMS offers. In response to feedback received on whether any measures may be permissible
under section 1194(e)(2) and section 1182(e) of Title XI of the Act, CMS revised section 50.2 of
this revised guidance to indicate CMS will review and consider cost-effectiveness measures and
studies that use such measures for initial price applicability year 2026. However, while such
measures may be reviewed, they will not be used to adjust the initial offer if the measures do not
provide information related to the negotiation factors described in section 1194(e) of the Act or
are prohibited under section 1194(e)(2) of the Act, or under section 1182(e) of the Act.

Comment: Regarding CMS’ intent to use data that can be separated from the use of QALYs
within a given study, a couple of commenters requested clarification on how CMS would
separate such evidence from QALYs. A few commenters requested that CMS not consider any
study referencing QALYs in determining the initial offer.

Response: Per section 1194(e)(2) of the Act, comparative clinical effectiveness research may not
be used “in a manner that treats extending the life of an elderly, disabled, or terminally ill
individual as of lower value than extending the life of an individual who is younger, nondisabled,
or not terminally ill.” CMS will not, per section 1182(e) of Title XI of the Act, use QALYs but
may review the underlying data, results, or other content in studies that employ QALYs. By
doing so CMS may glean important insights into the outcomes associated with the drug under
consideration. For example, a study using QALYs to examine the cost-effectiveness (i.e.,
reviewing the cost per outcome) of drug A compared to drug B for the treatment of
cardiovascular disease will describe the population of interest and quantify the outcomes. Factors
in the study that do not treat extending the life of an individual who is elderly, disabled, or
terminally ill as of lower value than extending the life of an individual who is younger,
nondisabled, or terminally ill, such as demographic information, blood pressure, cardiovascular
events, and mortality before and after starting drug A versus starting drug B may provide
important data to CMS about the clinical benefit of drug A when compared to drug B. Reviewing
demographic information and outcomes, such as in this example, does not require CMS to
review the results of the QALY calculation but may still provide important clinical information.
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 49 of 199

                                                                                                48


This approach aligns with CMS’ decision to not use QALYs in the Negotiation Program while
also enabling CMS to review and consider relevant information.

Comment: Many commenters requested that CMS simplify the process by which the public,
including patients and caregivers, can submit information on the negotiation factors described in
section 1194(e)(2) of the Act and the Negotiation Data Elements ICR (CMS-10847 / OMB 0938-
NEW). Commenters requested additional time for submissions and clarity on the format in which
information should be submitted to ensure usability for the submission of factors related to
sections 1194(e)(1) and 1194(e)(2) of the Act.

Response: CMS appreciates commenters’ feedback. Due to the statutory timeline of the
negotiation period, including the requirement under sections 1191(d)(5)(B) and 1194(b)(2)(B) of
the Act for CMS to issue an initial offer by February 1, 2024, it is not feasible to extend the
timeframe for the submission of information under section 1194(e)(2) of the Act. However, as
described in section 60.4 of this revised guidance, CMS will host patient-focused listening
sessions that will be open to the public, including patients, beneficiaries, caregivers, consumer
and patient organizations, and other interested parties, to share patient-focused input on the
therapeutic alternative(s) and other section 1194(e)(2) information regarding selected drugs.
These patient-focused listening sessions will occur in Fall 2023 after the section 1194(e) data
submission, which will give patients and other interested parties additional time to prepare their
feedback. Regarding the standardization of submissions, CMS expects a wide range of data to be
appropriately submitted as part of the process and does not seek to limit the types of data
submitted based on format. CMS will review submissions in alignment with sections 50 and 60
of this revised guidance.

Comment: Some commenters supported CMS’ decision to open the submission of section
1194(e)(2) factors to the public. Some commenters suggested evaluating bias in information
submitted or requiring a conflict of interest disclosure.

Response: CMS appreciates commenters’ feedback. As described in section 50.2 of this revised
guidance, CMS will consider, among other factors, the source of information, whether the study
has been through peer review, as well as risk of bias during review. CMS also requires that
declarative statements submitted via the Negotiations Data Elements ICR be supported by cited
evidence unless the submission is a description of personal experience. This approach focuses on
the merit of the information provided.

Comment: One commenter suggested requiring an executive summary of manufacturer-
submitted data and another suggested requiring manufacturers to report rebates at the drug level.

Response: CMS appreciates commenters’ suggestions. The comment suggesting that CMS
require an executive summary of manufacturer-submitted data is out of scope for the Negotiation
Program guidance and will be considered for the revised Negotiation Data Elements ICR.
Regarding the comment suggesting manufacturers be required to report rebates at the drug level,
CMS consulted with subject matter experts and representatives of the pharmaceutical and
biotechnology industry in developing the definitions described in Appendix C of this guidance to
align with statutory data collection requirements and other federal programs.
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 50 of 199

                                                                                                  49



Comment: A few commenters suggested that CMS validate manufacturer data using
independent data sources or suggested a third-party entity validate manufacturer data instead of
CMS. One commenter recommended that CMS specify that submissions may be audited to
ensure accuracy.

Response: CMS will validate manufacturer-submitted data to the extent possible, including via
audit as deemed appropriate, pursuant to compliance monitoring activities under section 1196(b)
of the Act.

Comment: Some commenters stated that the Negotiation Data Elements ICR included unclear
expectations or data formatting inconsistent with current manufacturer approaches to tracking
such data. A few commenters stated this could generate risk for the manufacturer and that a
standard data format should be clarified. One commenter requested that CMS clarify that only
the Primary Manufacturer is responsible for submitting data on factors described in section
1194(e)(1) of the Act.

Response: The Primary Manufacturer is responsible for providing manufacturer-submitted data
described in section 1194(e)(1) of the Act and section 50.1 of this revised guidance. More
information on what must be reported can be found in Appendix C of this revised guidance.
Comments on formatting are out of scope for the Negotiation Program guidance and will be
considered in the revised Negotiation Data Elements ICR.

Comment: A couple of commenters requested that CMS accept any information provided by a
manufacturer of a selected drug even if such information is not tied to a specific statutory factor.

Response: CMS will accept information as outlined in this revised guidance and the Negotiation
Data Elements ICR in accordance with statutory requirements.

Comment: One commenter requested manufacturer data submissions be provided to CMS on a
rolling basis to permit adequate time to compile accurate and complete data given the
relationship between inadequate submissions and CMPs. Another commenter requested
sufficient time for manufacturers to evaluate requests for information and price offers from CMS
before a manufacturer is determined to be noncompliant and/or enforcement actions are taken.
This commenter suggested that CMS has flexibility to establish the timeframe between
publication of the selected drug list (September 1, 2023 for initial price applicability year 2026)
and submission of data required under section 1194(e) of the Act (stated in the initial
memorandum as October 2, 2023), particularly given the resulting tax liability for failure to
submit data.

Response: CMS appreciates commenters’ concerns regarding deadlines. Pursuant to sections
1191(d)(5)(A) and 1194(b)(2)(A) of the Act, Primary Manufacturers must submit the
manufacturer-specific data described in sections 1193(a)(4)(A) and 1194(e) of the Act to CMS
by October 2, 2023 for initial price applicability year 2026. CMS will use data submitted by the
Primary Manufacturer and other interested parties when developing the initial offer for a selected
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 51 of 199

                                                                                                    50


drug along with CMS analyses and assessments of evidence as described in section 50.2 of this
guidance. CMS is abiding by the statutory deadlines in this revised guidance.

Comment: One commenter requested that CMS clarify that consideration of manufacturer
average net unit price will not trigger a future renegotiation of MFP.

Response: Renegotiation is out of scope for this revised guidance for initial price applicability
year 2026 and will be addressed in future guidance or rulemaking, as appropriate.

Establishment of a Single MFP for Negotiation Purposes (Section 60.1)

Comment: Some commenters expressed concern with CMS’ proposal to use a 30-day equivalent
supply to apply the MFP across dosage forms and strengths, particularly for drugs with irregular
intervals, topicals, and drugs taken for acute symptoms. Some commenters requested that CMS
provide alternative options, consult with manufacturers on the methodology to be used for a
selected drug, and/or work with interested parties to better understand how 30-day equivalent
supplies are calculated for those medicines that have irregular or varied dosing schedules.

Response: CMS appreciates commenters’ feedback and requests for clarity. This revised
guidance provides additional detail about how CMS will use the days’ supply field in PDE data
to calculate 30-day equivalent supply using the methodology described in
42 C.F.R. § 423.104(d)(2)(iv)(A)(2) when calculating the MFP ceiling (described in section 60.2
of this revised guidance) and using the WAC ratio for initial price applicability year 2026 to
apply the MFP across dosage forms and strengths (described in section 60.5 of this revised
guidance). For purposes of weighting across dosage forms and strengths, CMS believes that
calculating a 30-day equivalent supply, using the days’ supply field, is feasible for the high-
expenditure, single source Part D drugs that might be subject to negotiation for initial price
applicability year 2026. As described in section 60.3.2 of this revised guidance, when comparing
prices of the therapeutic alternative(s) for purposes of informing a starting price for the initial
offer, CMS may use an alternative methodology for calculating a 30-day equivalent supply when
appropriate.

Limitations on Offer Amount (Section 60.2)

Comment: A few commenters opposed the approach described in the initial memorandum,
which these commenters asserted would result in the ceiling being applied twice. One
commenter agreed with CMS that an MFP should be calculated specific to dosage forms and
strengths and account for the variation in prices “specific to each dosage form and strength of the
selected drug,” but proposed negotiating multiple MFPs per drug by calculating the ceiling for
the lowest unit of measure of a selected drug and establishing a metric from which CMS may
negotiate a percent of the MFP ceiling to arrive at the published MFP per lowest unit of measure.

Response: CMS appreciates commenters’ feedback. CMS disagrees that the procedure that it
described in the initial memorandum would have applied the MFP ceiling twice. However, after
consideration of the comments, for initial price applicability period 2026, CMS has revised
section 60.2 of the guidance to use the single ceiling per 30-day equivalent supply across all
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 52 of 199

                                                                                                      51


dosage forms and strengths of the selected drug. This approach aligns with the concept of
negotiating an MFP for a whole selected drug across multiple dosage forms and strengths (as
identified on the list of NDC-11s of the selected drug in the CMS HPMS, per section 40.2 of this
revised guidance) subject to a single MFP ceiling, and then applying that MFP across dosage
forms and strengths as required under section 1196(a)(2) of the Act. As discussed in the response
to comments under section 60.5 below, CMS intends to monitor the practical effect of its
procedures for applying the MFP across the dosage forms and strengths of the selected drug to
inform its use of its section 1196(a)(2) authority for initial price applicability years after 2026.

Comment: A few commenters recommended that CMS revise the non-FAMP calculation to use
the four quarters of the fiscal year, as opposed to the calendar year, to align with the Veterans
Health Care Act of 1992 and reduce burden on manufacturers. Relatedly, commenters
recommended that CMS develop mechanisms to account for anomalies in the non-FAMP and to
permit restatements of the average non-FAMP due to data or other errors identified after the fact.

Response: Section 1194(c)(6) of the Act defines average non-FAMP to mean “the average of the
non-Federal average manufacturer price... for the 4 calendar quarters of the year involved.” As a
result, the statutory language requires that the calendar year be used to calculate the average non-
FAMP. CMS has revised the definition of non-FAMP in Appendix C to clarify that any
restatements of the non-FAMP made in any applicable manufacturer non-FAMP submissions to
the Department of Veterans Affairs (VA) must be reflected in the non-FAMP submitted to CMS
as part of the section 1193(a)(4)(A) manufacturer data submission. Section 50.1.1 and Appendix
C of this guidance discuss how manufacturers should report non-FAMP to CMS in cases where
there are no data or data are insufficient to calculate non-FAMP for at least one calendar quarter
of 2021.

Comment: A few commenters requested clarification as to whether the time period for
determining if a selected drug is an extended or long-monopoly drug runs to the start of the
applicable initial price applicability year or selected drug publication date. Commenters noted
that the initial memorandum is inconsistent, applying the length of time one way when
describing the initial delay request made by a biosimilar manufacturer (i.e., to the start of the
initial price applicability year) and another when determining the monopoly type as well as the
applicable percent specified for the purposes of establishing a ceiling (i.e., to the selected drug
publication date).

Response: CMS thanks these commenters for their careful review of the initial memorandum
and appreciates their flagging this inconsistency. CMS has revised section 60.2.3 of this
guidance to clarify that the time period for determining whether a selected drug is an extended-
or long-monopoly drug runs to the start of the applicable initial price applicability year, as
specified in sections 1194(c)(4)(A) and 1194(c)(5)(A) of the Act, respectively. However, CMS
notes that, as discussed in section 60.2.3 of this guidance, the definition of “extended-monopoly
drug” under section 1194(c)(4)(B)(ii) of the Act expressly excludes a selected drug for which a
manufacturer has entered into an Agreement with CMS with respect to an initial price
applicability year that is before 2030. CMS interprets this to mean that no selected drug will be
considered an extended-monopoly drug for purposes of calculating the ceiling prior to initial
price applicability year 2030.
       Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 53 of 199

                                                                                                                   52



Comment: A couple of commenters requested that CMS clarify whether unit refers to non-
FAMP units or PDE units in the calculation of the annual non-FAMP for the dosage forms and
strengths of the selected drug.

Response: CMS thanks these commenters for their careful review of the initial memorandum
and appreciates the requests for clarification. CMS has revised section 60.2.3 of this guidance to
clarify that PDE units will be used when averaging non-FAMP across NDC-11s. This is
consistent with the use of PDE units to average NDC-9 15 non-FAMP amounts to a whole drug
non-FAMP amount.

Comment: A few commenters disagreed with CMS’ intent to use DIR data in calculating the
“sum of the plan-specific enrollment weighted amounts” for purposes of determining the MFP
ceiling. These commenters claim that the “plan specific enrollment weighted amount” is defined
by reference to the Part D negotiated price, which does not include price concessions from
manufacturers.

Response: Section 1194(c)(2)(A) of the Act states that the “plan-specific enrollment weighted
amount” for a Part D or MA-PD plan with respect to a covered Part D drug is calculated using
the negotiated price of the drug under the plan “net of all price concessions received by such plan
or pharmacy benefit managers on behalf of such plan,” and as such CMS plans to use DIR data,
including information on manufacturer rebates and other price concessions collected through
DIR reporting, in calculating the “sum of the plan-specific enrollment weighted amounts” under
section 1194(c)(1)(B) of the Act.

Comment: One commenter recommended that CMS provide manufacturers with an opportunity
to review and reconcile CMS’ data for the MFP ceiling calculation for a selected drug. One
commenter expressed concern that CMS is engaging in various conversion calculations to move
from data at the NDC-11 level to the NDC-9 level to the whole drug level without providing
sufficient detail to interested parties.

Response: CMS appreciates commenters’ feedback. As discussed in section 60.4 of this revised
guidance, CMS will provide the Primary Manufacturer information on the calculation of the
statutorily-determined ceiling price. However, CMS is not able to provide manufacturers with all
data used in ceiling calculations, as some of the calculations use proprietary information.

Comment: One commenter suggested that CMS should consider that the manufacturer-specific
factors in section 1194(e)(1) of the Act could constitute the floor for price negotiations while the
factors in section 1194(e)(2) could constitute the ceiling, keeping in mind the statutory ceiling in
section 1194(c).

Response: As the commenter notes, section 1194(c) of the Act provides a specific formula for
the calculation of the ceiling on the MFP for a selected drug, which is further described in
section 60.2 of this guidance. The statute also requires CMS to consider the nine factors

15
  In this guidance, the NDC-9 refers to the first two segments of the NDC-11 that represent the labeler code and
product portions of the NDC and indicate a drug’s dosage, form, and strength regardless of the package size.
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 54 of 199

                                                                                                 53


described in sections 1194(e)(1) and 1194(e)(2) when developing the initial offer. The statute
does not direct CMS to use the manufacturer-submitted data or the section 1194(e)(2) data to
establish a floor or ceiling, respectively, for price negotiations.

Methodology for Developing an Initial Offer (Section 60.3)

Comment: Many commenters recommended that CMS set the initial offer at or near the ceiling
for all or a subset of selected drugs; for example, drugs that have provided therapeutic
advancements, filled an unmet need, or otherwise demonstrated significant patient benefit; drugs
under patent protection; small molecule drugs; and all drugs for initial price applicability year
2026 and for several subsequent price applicability years thereafter.

Response: CMS appreciates commenters’ input. Section 1194(b)(1) of the Act instructs CMS to
develop and use a consistent methodology and process for negotiations that aims to achieve
agreement on the lowest MFP for each selected drug and in doing so, to consider the nine factors
described in sections 1194(e)(1) and 1194(e)(2) of the Act. Offering the ceiling without a more
thorough review of those statutory factors, including manufacturer-submitted data, may not
achieve that objective and is inconsistent with the statutory directive.

Comment: CMS received many comments related to the identification of therapeutic
alternative(s). Some commenters expressed concern regarding CMS’ intent to use the price of the
therapeutic alternative(s) in developing the offer starting point, including that drugs would be
identified as the therapeutic alternative(s) based on cost rather than clinical appropriateness and
that patients’ needs will be overlooked when identifying the therapeutic alternative(s). A few
commenters also noted that drugs in certain classes have few equivalent or substitutable
alternatives. Some commenters were generally supportive of CMS’ approach to identifying the
therapeutic alternative(s), including limiting comparators to pharmaceutical alternatives,
identifying therapeutic alternative(s) by indication, and considering off-label use when
appropriate. However, a few commenters opposed CMS’ approach to consider off-label use
when identifying the therapeutic alternative(s). One commenter recommended that CMS identify
no more than two comparators, one of which should be the lowest cost alternative and the other
the most commonly used alternative. Another commenter stated that there is variability in how
different entities define therapeutic categories, which results in different combinations of drugs
in that therapeutic category. Many commenters recommended that CMS provide manufacturers,
health care providers, and patients with the opportunity to participate in the selection of the
therapeutic alternative(s).

Response: CMS appreciates commenters’ feedback. As described in section 60.3.1 of this
guidance, CMS will identify the therapeutic alternative(s) based on clinical appropriateness and
consideration of various sources of evidence including clinical guidelines, peer-reviewed
literature, drug compendia, and data submitted by manufacturers and the public, and not based
on the cost of therapeutic alternative(s). CMS also may consult with FDA in the process of
identifying other approved therapies for the same indication and with health care providers,
patients or patient organizations, and academic experts to ensure that the appropriate therapeutic
alternative(s) are selected. CMS expects that the negotiation offer/counteroffer exchange, as well
as the negotiation meetings, will offer an opportunity for discussion about the therapeutic
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 55 of 199

                                                                                                   54


alternative(s) with manufacturers. Further, as described in section 60.4 of this guidance, CMS
will provide additional engagement opportunities for interested parties via manufacturer data
submission-focused meetings and patient-focused listening sessions after the October 2, 2023
deadline for submission of information on the section 1194(e) data. CMS will provide additional
information about these engagement opportunities at a later date.

Comment: Some commenters requested clarification as to whether generic drugs and
biosimilars may be included as the therapeutic alternative(s). A few commenters opposed such
inclusion because it would enable CMS to undervalue medicines. A few commenters expressed
support for including generic and biosimilar therapeutic alternative(s) to establish the starting
point for the initial offer.

Response: CMS appreciates commenters’ feedback. As described in sections 60.3.1 and 60.3.2
of this guidance, CMS will consider the range of Part D net prices and/or ASPs of therapeutic
alternative(s) for the selected drug, including prices of generic and biosimilar therapeutic
alternative(s) if clinically appropriate.

Comment: Some commenters expressed support for CMS’ proposal to consider the Part D net
price or ASP of therapeutic alternative(s) for the selected drug as the starting point for the initial
offer. A few commenters had concerns that considering Part D net prices would result in an
inflated starting point and recommended CMS use the lowest net price or ASP as the starting
point or the manufacturing cost and adjust based on clinical benefit. Another commenter
recommended that CMS go beyond the net price of therapeutic alternative(s) to include all health
system costs associated with the selected drug and its therapeutic alternative(s). One commenter
recommended that if there are multiple therapeutic alternatives, CMS should use the highest-
value alternative. Some commenters proposed additional options for the offer starting point,
including using the MFP ceiling as the starting point or using comparative effectiveness to
establish a price range or threshold for the initial offer.

Response: CMS understands concerns that using the Part D net price or ASP of a therapeutic
alternative for the selected drug may result in a higher starting point; however, using net price(s)
and ASP(s) of therapeutic alternative(s) enables CMS to start developing the initial offer within
the context of the cost and clinical benefit of a group of drugs that treat the same disease or
condition. As described in section 60.3.2 of this guidance, CMS will consider the range of Part D
net prices and/or ASP(s) of therapeutic alternative(s), which may include consideration of
generics and biosimilars as well as on- and off-label use (if such use is included in nationally
recognized, evidence-based guidelines and recognized in CMS-approved Part D compendia).
Some of the proposed alternatives for determining an offer starting point would not consider the
clinical benefit provided by the selected drug relative to its therapeutic alternative(s). For
example, if CMS were to use the MFP ceiling for the selected drug as the starting point, all
adjustments to the starting point would be decreases, which could limit CMS’ ability to adjust
the starting point to recognize superior clinical benefit of the selected drug compared to
therapeutic alternative(s). Rather than using manufacturing costs as a starting point, CMS will
adjust the preliminary price based on manufacturer-specific data elements, including but not
limited to the unit costs of production.
       Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 56 of 199

                                                                                                              55


Comment: A couple of commenters indicated that CMS’ intent to cap the offer starting point at
the MFP ceiling is inconsistent with the statute. These commenters noted that the statute only
requires that CMS not make an initial offer or accept a counteroffer that is above the statutory
ceiling, and that limiting each step of the initial offer development process at the ceiling would
lower the amount CMS could subsequently adjust based on other statutory factors (i.e.,
manufacturer-submitted data and clinical benefit).

Response: CMS appreciates commenters’ feedback. CMS believes that the statute grants CMS
flexibility to determine the amount of the initial offer, provided that the offer does not exceed the
ceiling. Specifically, section 1194(b)(2)(F) of the Act requires that CMS may not make an offer
or agree to a counteroffer for an MFP that exceeds the ceiling, but does not prohibit CMS from
applying the ceiling when determining the starting point of the initial offer. Further, section
1194(b)(1) of the Act instructs CMS to develop and use a consistent methodology and process
for negotiations that aims to achieve agreement on the lowest MFP for each selected drug. CMS’
approach of using the Part D net price or ASP of the therapeutic alternative(s), as applicable, as
the starting point to determine the initial offer only if it is lower than the ceiling is consistent
with this directive. As discussed in section 60.3 of this revised guidance, CMS will further adjust
the starting point by the other factors specified in section 1194(e) of the Act.

Comment: CMS received many comments regarding its intent to use the Federal Supply
Schedule (FSS) or Big Four price 16 as an offer starting point for selected drugs with no
therapeutic alternative(s) or for selected drugs with therapeutic alternative(s) with Part D net
prices and/or ASPs greater than the statutory ceiling. Some commenters disagreed with CMS’
approach, noting that these prices do not reflect market prices because of certain required
discounts. Other commenters were concerned that if Medicare uses these prices, it could put
upward pressure on the FSS and Big Four prices, or manufacturers would be less willing to
provide price concessions to the Big Four.

Response: CMS thanks these commenters for their remarks and understands the concerns raised.
As discussed in section 60.3 of this revised guidance, CMS will use FSS/Big Four prices in
situations where the selected drug has no therapeutic alternative(s) or the price of the therapeutic
alternative(s) exceeds the ceiling. CMS believes use of FSS/Big Four prices is appropriate in
these situations, as these prices are publicly available and are reflective of prices available to
other federal payers.

Comment: A commenter requested that CMS limit downward adjustments related to prior
Federal financial support to an amount proportional to the amount of prior Federal financial
support as a share of total investment in research and development (R&D) in the selected drug.

Response: CMS appreciates these suggestions. As described in section 60.3.4 of this guidance,
for each selected drug, CMS may consider each factor outlined in section 1194(e)(1) in isolation
or in combination with other factors. With respect to prior Federal financial support specifically,

16
  The Big Four price is the maximum price a drug manufacturer is allowed to charge the “Big Four” federal
agencies, which are the Department of Veterans Affairs (VA), Department of Defense (DoD), the Public Health
Service, and the Coast Guard. See section 8126 of title 38 of the U.S. Code. See:
https://www.cbo.gov/publication/57007.
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 57 of 199

                                                                                                   56


CMS will consider the extent to which the Primary Manufacturer benefited from such Federal
financial support with respect to the selected drug. For example, CMS may consider adjusting
the preliminary price downward if funding for the discovery and development of the drug was
received from Federal sources.

Comment: Many commenters indicated the definition of unmet medical need provided in
section 60.3.3.1 of the initial memorandum was too narrow and should include situations where
patients may not respond to or tolerate available treatments or disease burden remains
significant. Some commenters suggested the definition should consider populations with
disparities in outcomes or access. Some commenters proposed adopting the definition of unmet
need from the FDA’s expedited review programs. One commenter suggested looking to the
National Comprehensive Cancer Network (NCCN) definition. A couple of commenters
suggested looking to the framework used for New Technology Add-On Payments (NTAP).
Many commenters recommended incorporating the patient perspective and/or broader societal or
public health benefits when determining whether a selected drug fulfills an unmet medical need.
A few commenters suggested reviewing unmet medical need across a product’s lifecycle. A
couple of commenters suggested reviewing unmet medical need at the time of FDA approval.

Response: CMS appreciates commenters’ feedback and has reviewed the variety of definitions
and frameworks suggested. After consideration of these comments, CMS revised the definition
of unmet medical need to further align with section 1194(e)(2)(D) of the Act and FDA’s
“Guidance for Industry Expedited Programs for Serious Conditions – Drugs and Biologics” to
include drugs that may have a therapeutic alternative but the existing alternative does not
adequately address the condition or disease indicated (as described in section 60.3.3.1 of this
revised guidance). Because the FDA guidance was issued in May 2014 and includes nonbinding
recommendations, CMS will consider the guidance a reference and will consider any updates
concerning unmet medical need that may be issued by FDA. CMS encourages patients and other
interested parties to submit their perspective on how a selected drug meets an unmet medical
need through the Negotiation Data Elements ICR submission and in the patient-focused listening
sessions that will be held in Fall 2023, per revised section 60.4. More information on patient-
focused listening sessions is forthcoming.

CMS also appreciates comments suggesting unmet medical need should be evaluated across a
product’s lifecycle. CMS will evaluate unmet medical need as of the time the section 1194(e)(2)
data is submitted, which aligns with CMS’ approach to reviewing manufacturer costs and data,
therapeutic alternative(s), and other negotiation factors.

Comment: Many commenters supported using clinical benefit as the primary means for
developing the initial offer. A few commenters stated CMS should deemphasize distribution
costs when reviewing manufacturer-submitted data. A commenter suggested manufacturer-
submitted data only be considered for selected drugs that provide fewer clinical benefits than the
therapeutic alternative(s).

Response: CMS appreciates commenters’ support for using clinical benefit to inform the initial
offer. CMS is required to consider the factors described in section 1194(e) of the Act, as
applicable to the selected drug, but there is flexibility to use these factors to inform the initial
       Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 58 of 199

                                                                                                                    57


offer and final offer, if applicable, in such a way as to recognize the unique characteristics of a
selected drug. Regarding distribution costs, as described in section 60.3 of this guidance, CMS
will adjust the starting point for the initial offer based on factors related to clinical benefit and
then consider manufacturer-submitted data for additional adjustments, as appropriate. CMS also
notes that the information submitted by the manufacturer and the public as well as information
gathered through CMS’ analysis will be considered in totality.

Comment: A few commenters suggested CMS should apply special considerations when
evaluating orphan drugs or apply an upward adjustment for drugs with orphan indications, drugs
that represent a significant therapeutic advance, and drugs that address an unmet medical
need(s).

Response: As noted in the guidance, CMS will consider the totality of evidence when
developing the initial offer. If a selected drug represents a significant therapeutic advance or
addresses an unmet medical need, all other factors held constant, the initial offer for that selected
drug would be higher than if this were not the case. CMS continues to explore whether there are
additional actions that can be taken in the Negotiation Program to support orphan drug
development, and CMS appreciates continued input from interested parties on this topic.

Comment: Many commenters requested additional detail on how negotiation factors, including
those submitted by the Primary Manufacturer, would be weighted and how evidence would be
evaluated and prioritized, stating additional transparency is needed. Many commenters suggested
developing or adopting an existing framework for evaluating submitted information. A
commenter requested CMS define “therapeutic advance.”

Response: CMS appreciates commenters’ feedback and recognizes the importance of balancing
transparency and confidentiality in the negotiation process. CMS believes it is important to
maintain flexibility when considering how each negotiation factor contributes to the initial offer
and final offer, if applicable, which may be impacted by the unique characteristics of each
selected drug, the populations each selected drug is intended to treat, and information that may
emerge from meaningful discussions with manufacturers, patients, and patient representatives.
Regarding therapeutic advance, CMS will determine whether a selected drug represents a
therapeutic advance by examining improvements in outcomes for the selected drug compared to
its therapeutic alternative(s) as described in section 60.3.3.1 of this revised guidance. CMS also
included considerations for how evidence will be prioritized in section 50.2 of the initial
memorandum and this revised guidance.

Comment: Many commenters recommended that real-world evidence, 17 information from
clinical experts, and/or patient and caregiver perspectives be prioritized when reviewing
negotiation factors. A few commenters suggested both qualitative and quantitative approaches be
used to review negotiation factors and develop an initial offer. One commenter noted that CMS


17
  Real-world evidence is clinical evidence about the usage and potential health benefits or risks of a medical
product derived from real-world data. Real-world data are data relating to patient health status and/or the delivery of
health care routinely collected from a variety of sources. From Framework for FDA’s Real-World Evidence
Program, December 2018. See: https://www.fda.gov/media/120060/download.
          Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 59 of 199

                                                                                                      58


should consider the limitations of real-world evidence, particularly real-world evidence based on
patient registry data and the limitations of data from electronic health records and billing records.

Response: CMS agrees with commenters on the importance of real-world evidence as well as
the limitations of such evidence, as with any type of data. CMS also agrees with commenters on
the importance of the perspective of clinicians, patients, and caregivers. CMS included real-
world evidence and consultation with clinical experts and academic researchers in the initial
memorandum and, as described in section 60.4 of this revised guidance, CMS will host patient-
focused listening sessions that would be open to the public, including patients, beneficiaries,
caregivers, consumer and patient advocacy organizations, and other interested parties, to share
patient-focused input on therapeutic alternative(s) and other section 1194(e)(2) data regarding
selected drugs. CMS may also consider the caregiver perspective to the extent that it reflects
directly upon the experience or relevant health outcomes of the patient taking the selected drug.
As noted in the initial and revised guidance, CMS will take a qualitative perspective when
reviewing a selected drug and consider the evidence, including real-world evidence, clinical
input, and patient and caregiver input, in totality. By employing a qualitative approach to
information review rather than a more formulaic quantitative approach, CMS is able to preserve
flexibility in negotiation, including the ability to consider nuanced differences between different
drugs that might not be captured in a more thoroughly pre-specified quantitative approach.

Comment: A few commenters noted that CMS should include the caregiver experience and
equity as factors in the negotiation process. A couple of commenters requested that for specific
populations, CMS relax data prioritization standards to ensure underserved and underrepresented
populations are considered. One commenter recommended that CMS prioritize studies that
include individuals from diverse racial and ethnic backgrounds.

Response: CMS thanks these commenters for their feedback. Health equity is the first pillar of
the CMS Strategic Plan, which builds health equity into the core functions of CMS, including the
Negotiation Program. 18 As noted in the initial memorandum, CMS will consider information
related to a selected drug within specific populations. In this revised guidance, CMS clarified
that this includes underserved and underrepresented populations, as applicable, that may be
experiencing disparities in health outcomes or access to the selected drug. As noted above, CMS
will also consider the caregiver perspective to the extent that input reflects directly upon the
experience or relevant health outcomes of the patient taking the selected drug. This information
will be collected using the Negotiation Date Elements ICR and is open to the public. All
applicable negotiation factors will be considered in totality for each selected drug.

Comment: Some commenters suggested that the negotiation factors be expanded to include
adherence, convenience, societal impact, caregiver burden, independence, lost wages, travel
expenses, costs to patients, medical costs, value of hope, cost of side effects, and other indirect
costs. One commenter recommended that CMS de-prioritize or exclude indirect health benefits
and instead focus solely on health outcomes to develop the initial offer.

Response: CMS agrees that factors such as adherence and convenience (as applicable to patient
experience and outcomes) are important to consider for a selected drug. CMS views such factors

18
     See: https://www.cms.gov/cms-strategic-plan.
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 60 of 199

                                                                                                     59


as directly related to patient experience and as such, considers these to be included in the factors
outlined in the guidance. CMS appreciates commenters’ suggestions to add broader societal,
economic, and public health factors to those that will be considered during negotiation. Upon
reviewing commenters’ suggestions for additional factors, CMS revised the guidance to include
consideration of both health outcomes and other outcomes when evaluating the benefit of the
selected drug and therapeutic alternative(s). Outcomes such as changes to productivity,
independence, and quality of life will be considered to the extent that these outcomes correspond
with a direct impact on individuals taking the drug and are permitted in accordance with section
1194(e)(2).

Comment: Some commenters recommended using Multi-Criteria Decision Analysis (MCDA) as
a framework for evaluating evidence related to a selected drug and its therapeutic alternative(s).

Response: CMS appreciates this suggestion. Due to the statutory timeline, conducting a full
MCDA is not feasible. CMS will consider whether the general approach used in MCDA can
serve as an informative framework for evaluating evidence.

Comment: A few commenters suggested that CMS share its literature review and other
materials related to the selected drug and its therapeutic alternative(s) with the manufacturer of
the selected drug.

Response: Per section 1194(b)(2) of the Act and this revised guidance, CMS will provide each
manufacturer of a selected drug with an initial offer and a concise justification of the factors used
to develop the offer.

Comment: Many commenters stated that CMS should not decrease the initial offer based on
existing patents and exclusivities provided by the FD&C Act or PHS Act and recommended the
initial offer be increased in cases where a drug has existing patents and exclusivities. Many
commenters are concerned that a downward adjustment based on patents and exclusivities will
stifle innovation, may impact patient access, disincentivize R&D, and work against the purpose
of the patent system. A few commenters believe a downward adjustment based on patents and
exclusivities exceeds CMS’ statutory authority. A few commenters noted that CMS’ action may
constitute “a taking requiring just compensation” under the Fifth Amendment’s Takings Clause
and stated that patents are a constitutionally protected property right.

Response: CMS appreciates commenter feedback on adjusting the initial offer price based on
patents and exclusivities provided by the FD&C Act or PHS Act (“exclusivities”). The statute
explicitly directs CMS to consider data on approved patents and exclusivities in its determination
of the amount of the initial offer. CMS does not believe that its implementation of this statutory
mandate constitutes a taking or otherwise implicates or violates the Fifth Amendment Takings
Clause. CMS also notes that the example provided in the initial memorandum was intended to
provide an illustrative example of how such data could be considered in developing an initial
offer. However, as discussed in section 60.3.4 of this revised guidance, following further
consideration of the issue, CMS has omitted the example provided in the initial memorandum.
This revised guidance clarifies CMS’ belief that this information will support CMS’
consideration of the 1194(e)(1) and 1194(e)(2) factors described in section 60 of this revised
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 61 of 199

                                                                                                  60


guidance. For instance, patents and exclusivities may inform CMS’ understanding of therapeutic
alternatives and other available therapy for the purposes of adjusting for clinical benefit,
including consideration of whether the selected drug represents a therapeutic advance or meets
an unmet medical need. More specifically, in light of exclusivities, there may be no other
available therapy aside from the selected drug that adequately addresses treatment or diagnosis
of a condition; consideration of such information would be relevant to CMS’ consideration of the
extent to which the selected drug addresses an unmet medical need for that condition.

Comment: Many commenters requested that CMS develop additional opportunities for patient,
caregiver, and clinician input throughout the negotiation process, particularly to provide input on
therapeutic alternative(s) to the selected drug, patient-reported outcomes, health outcomes,
whether the drug fulfills an unmet medical need, weighing evidence, and benefits and impacts of
the selected drug. Many commenters requested a structured, standardized means for such input to
be provided such as roundtables, an advisory or stakeholder panel, listening sessions, town halls,
additional meetings, or creating a patient ombudsman to engage with interested parties. A few
commenters pointed to FDA’s Patient-Focused Drug Development program as one that CMS can
adopt or model. Some commenters requested that patients be recognized in this revised guidance
as subject matter experts. Some commenters requested that patients and clinical experts be
included early and throughout the negotiation process to provide input on therapeutic
alternative(s) and negotiation factors such as outcomes of importance and care preferences.

Response: CMS appreciates commenters’ recommendation to incorporate additional
opportunities for patient, caregiver, and clinician input. In this revised guidance, patients and
caregivers have been added as interested parties with whom CMS may consult. CMS will host
patient-focused listening sessions that will be open to the public, including patients,
beneficiaries, caregivers, consumer and patient advocacy organizations, health care providers,
and other interested parties to share patient-focused input on therapeutic alternative(s) and other
data on the factors in section 1194(e)(2) for a selected drug and its therapeutic alternative(s).
These patient-focused listening sessions will occur in Fall 2023 after the section 1194(e) data
submission, which will give patients and other interested parties additional time to prepare their
feedback. CMS may draw from the principles and strategies in FDA’s “Patient-Focused Drug
Development – Collecting Comprehensive and Representative Patient Input” guidance when
facilitating patient-focused listening sessions. Additional information is forthcoming.

Negotiation Process (Section 60.4)

Comment: Some commenters suggested that interested parties should be allowed to submit new
section 1194(e) data after the October 2, 2023 initial price applicability year 2026 deadline when
there is good cause. Commenters also said that not allowing new data submission until the
negotiation meetings could result in an inefficient process. One commenter also mentioned that
some new data may be in formats that are not conducive to meetings, such as graphs and charts.

Response: CMS recognizes the interest of manufacturers to be involved early in the negotiation
process beyond the section 1194(e) data submission due on October 2, 2023. CMS also
recognizes the value of current and future patient and other interested parties’ input in the
negotiation process as well as throughout the implementation of the Negotiation Program. CMS
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 62 of 199

                                                                                                    61


revised this guidance to allow for meetings after the section 1194(e) data submission deadline of
October 2, 2023, where manufacturers can provide context for their submissions, and listening
sessions where patients and interested parties can provide input as CMS begins reviewing data.

First, CMS would meet with the Primary Manufacturer of each selected drug once after the
October 2, 2023 deadline so that the manufacturer has an opportunity to present its section
1194(e) data submission and share its perspective. These meetings will occur in Fall 2023.
Primary Manufacturers may bring materials to facilitate discussion and CMS may request any
materials presented afterwards. Primary Manufacturers are limited to sharing 50 pages (or a
combination of pages, slides, and/or charts totaling 50 pages) of material, in order to focus the
discussion on issues that can reasonably be discussed within the scope of the meeting,
anticipating that these materials may contain cross-references to other material, particularly other
material already submitted to CMS. This material is meant to provide context on the Primary
Manufacturer’s 1194(e)(1) submission and may also be used to share any new information
regarding the section 1194(e)(2) data that has been identified following the October 2nd data
submission.

Second, CMS will host patient-focused listening sessions for the selected drugs that would be
open to the public, including patients, beneficiaries, caregivers, consumer and patient
organizations, and other interested parties to share patient-focused input on therapeutic
alternatives and other section 1194(e)(2) data regarding selected drugs. Interested parties may
also use these listening sessions to orally share new information regarding the section 1194(e)(2)
data that has been identified since the October 2nd deadline. These patient-focused listening
sessions will occur in Fall 2023 after the section 1194(e) data submission deadline, which will
give patients and other interested parties additional time to prepare their input. Additional
information about these listening sessions will be shared in the future.

Manufacturers are required to provide information on the non-FAMP and information required to
carry out negotiation (i.e., the section 1194(e)(1) data), by October 2, 2023 for initial price
applicability year 2026. CMS expects Primary Manufacturers to submit information that is
complete and accurate by this deadline. Information shared during the Primary Manufacturer
meetings described above and materials shared afterwards should only contextualize the Primary
Manufacturer’s October 2nd section 1194(e)(1) submission; new section 1194(e)(1) data will not
be considered. But, as described above, new information on section 1194(e)(2) data will be
considered. Similarly, patients, beneficiaries, caregivers, consumer and patient advocacy
organizations, and other interested parties may provide contextual information on their October
2nd section 1194(e)(2) data submission and/or share new section 1194(e)(2) data.

Comment: Some commenters recommended that CMS should allow negotiation meetings to
happen throughout the negotiation period (i.e., between the publication of the selected drug list
through the conclusion of negotiations), and not just in the situation when a manufacturer’s
counteroffer is rejected. A few commenters suggested specific periods during the negotiation
process where CMS should hold meetings with manufacturers of selected drugs, such as after
drug selection and prior to the initial offer.
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 63 of 199

                                                                                                62


Response: In response to comments requesting the opportunity to provide additional section
1194(e) data submissions to inform CMS’ initial offer and negotiations after October 2, 2023,
concerns about the tight timeline for data submission, and recommendations to remove any
meeting caps and allow meetings throughout the negotiation period, CMS has revised this
guidance to allow for manufacturer meetings and patient-focused listening sessions after the
October 2, 2023 deadline. CMS would hold one meeting with the Primary Manufacturer of each
selected drug to allow the Primary Manufacturer to provide context for the section 1194(e) data
submission as CMS reviews the submitted data and develops its initial offer. The patient-focused
listening sessions will be open to patients, beneficiaries, caregivers, consumer and patient
advocacy organizations, and other interested parties and will invite attendees to share patient-
focused input on therapeutic alternatives and other section 1194(e)(2) data regarding selected
drugs. Manufacturer meetings and patient-focused listening sessions will occur in Fall 2023.
CMS will schedule the meeting with the Primary Manufacturer once the selected drug list is
published, and more information will be forthcoming from CMS regarding the patient-focused
listening sessions after the selected drug list is published.

Comment: Some commenters stated that limiting negotiation meetings to a maximum of three
meetings is restrictive and recommend that CMS allow for more exchanges throughout the
negotiation period. One commenter asked that CMS make the meetings more transparent through
recorded minutes, records of attendees, and allow any interested party to participate.

Response: The timeline for the negotiations extends from February 1, 2024, the statutory
deadline for CMS to make the initial offer on a selected drug to a manufacturer, to July 31, 2024,
a total of six months. The statutory deadline for the conclusion of negotiations is August 1, 2024.
Up to three negotiation meetings with the manufacturer can occur. During these meetings, the
Primary Manufacturer may provide context on the section 1194(e) data submission and
additional relevant input on CMS’ initial offer and the Primary Manufacturer’s counteroffer as
CMS reviews data and develops its final offer. Additional meetings (i.e., more than the
maximum of three) during the negotiation period after the Primary Manufacturer’s counteroffer,
if applicable, are not feasible due to time constraints.

As part of the public explanation of the MFP, CMS will publish redacted information on any
negotiation meetings that occur if a Primary Manufacturer’s counteroffer is rejected.

As mentioned in the responses to the comments directly above, CMS is adding one meeting for
each manufacturer and listening sessions for other interested parties after the data submission
deadline and before CMS’ initial offer is made. These meetings will allow Primary
Manufacturers and other interested parties to share their perspectives as CMS reviews data and
develops initial offers.

Comment: A few commenters suggested that CMS provide justifications for counteroffer
responses and not just initial offers.

Response: CMS thanks these commenters for their feedback. Section 1194(b)(2)(D) of the Act
requires that CMS provide the manufacturer with a written response to the manufacturer’s
counteroffer. CMS believes that if CMS declines the Primary Manufacturer’s counteroffer and
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 64 of 199

                                                                                                 63


offers a meeting, the first meeting between CMS and the Primary Manufacturer will provide an
opportunity for CMS to explain its rationale for not accepting the manufacturer’s counteroffer.

Comment: Some commenters asked that CMS’ justification of its initial offer be meaningful and
explain how CMS arrived at the offer. Commenters mentioned that the justification should
include sources CMS referenced, section 1194(e) data considered and how they were weighted,
therapeutic alternatives considered, interested parties consulted, and benefits and impacts of the
drugs considered. One commenter asked that CMS issue a template for the initial offer
justification in the final guidance.

Response: CMS thanks these commenters for their feedback and will consider the suggestion to
include the information listed in the comment above when developing initial offers and concise
justifications for selected drugs. Section 1194(b)(2)(B) of the Act directs CMS to provide a
“concise justification” to the Primary Manufacturer when the initial offer is made. CMS will
include information that helps the Primary Manufacturer understand the range of evidence and
other information submitted pursuant to section 1194(e) that CMS found compelling in
developing its initial offer. Because this information will be shared with the Primary
Manufacturer, CMS believes the concise justification will be meaningful and provide
information that will enable the manufacturer to develop its counteroffer. CMS does not plan on
issuing a template for the initial offer or the concise justification but will release redacted
information regarding the initial offer with the MFP explanation no later than March 1, 2025.

Comment: One commenter suggested that CMS issue a confidential report to manufacturers
alongside the initial offer and concise justification. This confidential report would make
manufacturers aware of section 1194(e)(2) data submitted by other interested parties and allow
manufacturers to use that information in counteroffers, if applicable, and in future data
submissions.

Response: CMS understands that manufacturers may benefit from awareness of section
1194(e)(2) data submitted by other interested parties during the negotiation period and that all
interested parties would value receiving access to this information ahead of data submission for
initial price applicability year 2027. CMS revised this guidance to state that CMS will aim to
share with the Primary Manufacturer of a selected drug the section 1194(e)(2) data received from
other interested parties during the negotiation period when feasible. These data will be
appropriately redacted and will not include proprietary information, protected health information
(PHI) / personally identifiable information (PII), or information that is protected from disclosure
under other applicable law. If an MFP is reached during the negotiation period, CMS will issue
the public explanation of the MFP no later than March 1, 2025. As part of this public
explanation, CMS will share redacted information regarding the section 1194(e) data received,
exchange of offers and counteroffers, and the negotiation meetings, if applicable. This redacted
information will not contain any proprietary data, as described in section 40.2.1 of this guidance,
PHI / PII, or other information that is protected from disclosure under other applicable law.
However, as described in section 40.2.1, if a Primary Manufacturer chooses to disclose any
material that is made public that CMS has previously deemed to be proprietary information of
that Primary Manufacturer, CMS will no longer consider that material proprietary and will not
redact it in the public explanation.
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 65 of 199

                                                                                               64



Comment: A few commenters asked CMS to commit to responding to counteroffers within 30
days of receipt. Commenters also recommended CMS give manufacturers at least 30 days to
review and comment on CMS’ response to counteroffers and asked CMS to consider these
comments before setting the MFP.

Response: Section 60.4.3 of this revised guidance reaffirms the statement from section 60.4.4 of
the initial memorandum that CMS will provide a written response to the manufacturer’s
counteroffer, if applicable, no later than 30 days after the receipt of the manufacturer’s
counteroffer. CMS made minor revisions to section 60.4.3 to clarify that CMS will respond in
writing no later than 30 days after receipt of a manufacturer’s counteroffer regardless of the
nature of the response.

CMS declines to revise the guidance to allow manufacturers 30 days to review and comment on
CMS’ response to counteroffers. If a manufacturer’s counteroffer is rejected, negotiation
meetings with the Primary Manufacturer and CMS will span from approximately April 1, 2024
to June 28, 2024. This period exceeds 30 days and will give Primary Manufacturers the
opportunity to comment on CMS’ response to the counteroffer in negotiation meetings.

If applicable, CMS will issue a “Notification of Final Maximum Fair Price Offer” no later than
July 15, 2024, and require Primary Manufacturers to respond to this final offer by July 31, 2024.
Although this turnaround is less than 30 days, it will come at the end of approximately six
months of negotiations (February 2024-July 2024) where there will have been ample opportunity
for the Primary Manufacturer to review the initial offer, respond in writing via a counteroffer,
and consider the discussions that occurred within the context of up to three negotiation meetings,
including any additional proposals for an MFP made by CMS.

Comment: A couple of commenters recommended CMS establish a definition for “meeting” and
consider adopting a policy similar to the 2017 FDA guidance “Formal Meetings Between the
FDA and Sponsors or Applicants of PDUFA Products: Guidance for Industry,” which details
meeting criteria and has definitions for different tiers of meetings.

Response: CMS thanks these commenters for their feedback. CMS has updated the description
of meeting criteria in section 60.4.3 of this guidance to provide more information on the number
of permitted attendees, length of each meeting, meeting scope, and meeting logistics. CMS
believes that the meetings as part of the negotiation process under the Negotiation Program have
a different purpose than FDA’s formal meetings under the user fee agreements and therefore has
taken a different approach when defining its meeting standards.

Comment: One commenter suggested CMS allow Secondary Manufacturers to participate in the
negotiation process, including negotiation meetings.

Response: CMS thanks this commenter for this feedback. As described in section 60.4.3 of this
memorandum, negotiation meetings would be attended solely by representatives of both the
Primary Manufacturer and of CMS. CMS will defer to the Primary Manufacturer to identify its
preferred representatives it plans to have attend any negotiation meetings.
       Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 66 of 199

                                                                                                      65



Comment: One commenter stated that if CMS and a manufacturer engage in bona fide
negotiations that result in no agreement, then the MFP should be set at the ceiling.

Response: CMS believes that this suggestion does not align with the statute. The statute
envisions a period of negotiations that are expected to result in an agreement between the two
parties on MFP by a certain date. The statute does not provide a “default” option if negotiations
are not successful. This recommendation is inconsistent with the framework of the statute and
would undermine the purpose of the Negotiation Program if manufacturers are assured the
ceiling as long as they engage in good faith efforts to negotiate on an MFP.

Comment: One commenter suggested CMS consider issuing further guidance in the future on
how data will be used in the negotiation process to determine MFP, as this may promote
reaching agreements during negotiations.

Response: CMS will consider the totality of evidence throughout the negotiation period,
including when developing the initial offer, reviewing a possible counteroffer, and participating
in negotiation meetings when applicable. CMS will leverage the negotiation data described in
section 50 to inform the methodology described in section 60.3 and the negotiation process
described in section 60.4. Additional documents, such as the various ICRs associated with the
Negotiation Program and this revised guidance, provide more detail related to the negotiation
process and how data will be used. 19

Application of the MFP Across Dosage Forms and Strengths (Section 60.5)

Comment: Some commenters indicated that CMS’ methodology for calculating the MFP and
applying it across dosage forms and strengths is overcomplicated, arbitrary, and inconsistent with
the statute. Some commenters also opposed CMS’ proposal to use a 30-day equivalent supply to
apply the MFP across dosage forms and strengths. A few commenters expressed support for
CMS’ approach to applying the MFP across dosage forms and strengths, including to new
NDAs, BLAs, and NDCs.

Response: CMS appreciates commenters’ feedback. The statute requires a single price
negotiation to agree upon an MFP for a selected drug, and contemplates that CMS will establish
“procedures to compute and apply the maximum fair price across different strengths and dosage
forms of a selected drug and not based on the specific formulation or package size or package
type of such drug.” As such, CMS will identify one MFP for a selected drug, which it will base
on the cost of the selected drug per 30-day equivalent supply, weighted across dosage forms and
strengths.

Comment: Some commenters opposed CMS’ proposed approach to apply the MFP across
dosage forms and strengths by calculating a WAC ratio that represents the WAC of a given
dosage form and strength compared to the WAC of the whole drug. A few commenters indicated


 For ICRs related to the Negotiation Program, see: https://www.cms.gov/inflation-reduction-act-and-
19

medicare/medicare-drug-price-negotiation.
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 67 of 199

                                                                                               66


that WAC is a flawed measure because it does not reflect discounts and that it changes over time.
A couple of commenters recommended that CMS consider other price metrics such as AMP.

Response: CMS appreciates commenters’ concerns regarding the use of the published WAC.
For initial price applicability year 2026, CMS will use the WAC ratio to apply the MFP across
dosage forms and strengths of a selected drug and will monitor changes to WAC relative to other
pricing data, as well as shifts in utilization across dosage forms and strengths. CMS appreciates
the commenters’ recommendation to use AMP, but is concerned that using AMP prices in place
of WAC could potentially disclose manufacturers’ proprietary data. CMS recognizes there may
be other ways to apply the MFP to dosage forms and strengths and will monitor whether this
policy serves the intent of the Negotiation Program. As noted throughout this revised guidance,
the policies described for the Negotiation Program are for initial price applicability year 2026,
and CMS may consider additional policies for future years of the Negotiation Program.

Comment: Some commenters requested that for purposes of transparency and clarity, CMS
provide to manufacturers the data used in MFP calculations, include example calculations in
guidance, and publish a decision-making framework.

Response: CMS agrees with commenters about the importance of clarity and transparency in
MFP calculations. CMS believes the discussion in sections 60.2 and 60.5 of this revised
guidance sufficiently describes the methodologies CMS will use to calculate a single ceiling for a
selected drug and to apply the single MFP negotiated for a selected drug across dosage forms and
strengths of the selected drug (as identified at the NDC-11 level on the list of NDC-11s of the
selected drug in the CMS HPMS, per section 40.2 of this revised guidance) and as such, this
revised guidance does not include example calculations. However, as discussed in section 60.4 of
this revised guidance, CMS will provide to the Primary Manufacturer information on the
calculation of the statutorily-determined ceiling and application of a single MFP across dosage
forms and strengths. However, CMS is not able to provide manufacturers with all data used in
MFP calculations, as some of the calculations use proprietary pricing information.

Publication of the MFP (Section 60.6)

Comment: Some commenters recommended that the public explanation of the MFP provide
details on the negotiation process, what data were considered, and how they were weighted when
arriving at the final MFP. Commenters also suggested CMS share information on methodologies,
therapeutic alternatives, outcomes metrics, interested parties engaged, and comparative
effectiveness research considered. Several commenters also requested CMS explain how patient
experience data and real-world evidence were used and how unmet need was factored in when
developing the MFP. Commenters also broadly recommended that the public explanation of the
MFP be transparent and detailed.

Response: CMS believes that all interested parties should have a transparent understanding of
the process and rationale that CMS and the Primary Manufacturer of the selected drug used when
negotiating the MFP and how that reasoning evolved over time. In addition to the data elements
required by law to be submitted by the Primary Manufacturer regarding the selected drug, CMS
expects robust participation by interested parties in submitting information and participating in
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 68 of 199

                                                                                                  67


the patient-focused listening sessions for the selected drugs. As required under section
1195(a)(1) of the Act, CMS will publish the public explanation of the MFP for each selected
drug no later than March 1, 2025. The public explanation, as described in the revised section
60.6.1 of this guidance, will include a narrative explanation of the negotiation process that
occurred with that manufacturer and redacted information regarding the section 1194(e) data
received, exchange of offers and counteroffers, and the negotiation meetings, if applicable, in
alignment with the confidentiality policy described in section 40.2. CMS will also strive to share
the section 1194(e)(2) data submitted by the public with the Primary Manufacturer of a selected
drug during the negotiation period. This data will be redacted as per the confidentiality standards
described in section 40.2 and will not include proprietary information, PHI / PII, or other
information that is protected from disclosure under other applicable law. CMS thanks these
commenters for their feedback.

Comment: A few commenters recommended CMS make the publication of the MFP and
explanation clear, accessible, and transparently available for the public. These comments
mention ensuring the information is easy to read, easy to access, and developed in a consumer-
friendly format. A couple of commenters suggested CMS include information on how
beneficiaries can access the MFP and provide a process to follow if the MFP is not honored. One
commenter suggested a webpage that provides the brand name (proprietary name) and generic
name (non-proprietary name) for each selected drug where there is an MFP, MFPs for all dosage
forms, and the dates the prices are in effect. Another commenter suggested providing a summary
in the public explanation so that patients can understand the negotiation process and what to
expect when procuring a medication with an MFP.

Response: CMS thanks these commenters for their feedback regarding the publication of the
MFPs of the selected drugs and explanations of those MFPs. As described in section 60.6 of this
revised guidance, CMS will publish the following on the CMS website by September 1, 2024 for
all initial price applicability year 2026 selected drugs where an MFP was agreed upon: the
selected drug, the initial price applicability year, and the MFP pricing file for that selected drug.
The MFP file will contain the MFP as applied to each selected drug at the single MFP for a 30-
day equivalent supply, NDC-9 per unit price, and NDC-11 per package price and will be updated
annually to show the inflation-adjusted MFP for the selected drug. CMS will also publish on the
CMS website: when a drug is no longer a selected drug and the reason for that change, and
situations in which an MFP between a Primary Manufacturer and CMS is not agreed upon. No
later than March 1, 2025, CMS will publish the public explanation of the MFP for each initial
price applicability year 2026 selected drug. CMS is committed to providing accessible
educational materials to beneficiaries, and the pharmacies, mail order services and other
dispensers that serve them, about the MFPs for selected drugs and how they can report a
violation if they do not believe that they were able to access the MFP for a selected drug.

Comment: Some commenters urged CMS to provide as much information as legally possible
when issuing the public explanation of the MFP. These commenters stated that a high level of
transparency will garner confidence that the negotiated MFP is the lowest price that CMS could
obtain. One commenter asked that CMS release at minimum non-FAMP, R&D costs and
recoupment, and unit costs of production, and distribution. Other commenters stated that the only
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 69 of 199

                                                                                                  68


information that should be withheld from public explanations are R&D costs, unit costs of
production, and certain net pricing information.

Response: CMS thanks these commenters for their feedback. CMS is committed to a negotiation
process that is transparent and respects confidentiality of proprietary information. CMS
appreciates the need to balance both transparency in the negotiation process to assure interested
parties and the public that the negotiations were conducted in a fair manner, and that CMS
attempted to achieve agreement on the lowest possible MFP for the selected price for Medicare
beneficiaries, with the need to maintain the confidentiality of certain information, including
manufacturers’ proprietary data. As part of the public explanation of the MFP, CMS will release
a narrative explanation of the negotiation process and redacted information regarding the section
1194(e) data received, exchange of offers and counteroffers, and the negotiation meetings, if
applicable. All information that CMS publishes as part of the public explanation and any other
public documents related to the MFP and negotiation process will abide by the confidentiality
policy described in section 40.2 and redact proprietary information, PHI / PII, and information
that is protected from disclosure under other applicable law.

Comment: One commenter expressed concern that CMS’ definition of R&D costs and
recoupment was too narrow and suggested that CMS broaden its scope for R&D costs for failed
and abandoned products to include all products in the relevant disease state, not just products
with the same active moiety / active ingredient as the selected drug. The commenter also felt that
CMS’ intent to compare R&D costs and global, net revenue reported resulted in an unfair
comparison, as global revenue may include products and indications without FDA approval and
be supported by separate clinical trials. The commenter asked, if CMS does not revise the
definitions, that CMS explain the calculation methodology and inputs in all publications
regarding the negotiation process, especially the public explanation of the MFP. The commenter
also said CMS should note where its definitions of concepts may differ from others.

Response: CMS thanks this commenter for this feedback. CMS believes that for the purpose of
the Negotiation Program, the definition of R&D costs is sufficiently broad, as reflected in the
additional revisions and clarifications made to Appendix C, as noted below. To the extent R&D
costs and recoupment inform the final MFP for a selected drug, this information and how it was
used will be described, with appropriate redactions for proprietary information, as part of the
public explanation of the MFP. For more information on CMS’ consideration of R&D costs and
recoupment definitions, please see the comment and response section for Appendix C.

Comment: One commenter recommended that CMS carefully evaluate what information to
include in the public explanation of the MFP and consider whether requests not to disclose some
information are to protect business interests or to undermine a transparent process.

Response: CMS thanks the commenter for this feedback. CMS is committed to a transparent
process and will follow the confidentiality policy as described in section 40.2 in this revised
guidance when developing the public explanation of the MFP. As discussed earlier in this
section, as part of the public explanation, CMS will publish redacted information regarding the
section 1194(e) data received, exchange of offers and counteroffers, and the negotiation
meetings, if applicable. CMS’ publication of this information will abide by the confidentiality
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 70 of 199

                                                                                                  69


policy described in section 40.2 and redact proprietary information, PHI / PII, and information
that is protected from disclosure under other applicable law.

Comment: One commenter suggested CMS limit its disclosure of information in the public
explanation of the MFP to only information that is already public information.

Response: CMS thanks the commenter for this feedback. CMS is committed to a transparent
process and will follow the confidentiality policy as described in section 40.2 in this revised
guidance when developing the public explanation of the MFP.

Comment: Some commenters recommended that CMS allow manufacturers to review the
explanation for the MFP before it is published so that manufacturers can provide comments and
raise concerns about inadvertent disclosure of confidential information.

Response: CMS recognizes the interests of the manufacturers in making sure that certain data
they provided to CMS for the negotiation process remain confidential. The statute does not
require disclosure of the explanations of the MFP provided to manufacturers before the
explanations are made public. Additionally, section 40.2 of this revised guidance describes the
information from manufacturers that CMS will consider and maintain as confidential. CMS does
not intend to share the explanations of the MFP with manufacturers before releasing the
explanations to the public.

Comment: Many commenters suggested that CMS publish the explanation of MFP for all
selected drugs with an MFP before the statutorily defined deadline for initial price applicability
year 2026 of March 1, 2025. Some commenters recommended that CMS release the explanations
along with the first set of MFPs for selected drugs on September 1, 2024, while other
commenters did not specify a date. Commenters suggested an earlier publication so that
interested parties can review the explanation and understand CMS’ negotiation process ahead of
submitting section 1194(e) data for initial price applicability year 2027 by the March 1, 2025
deadline.

Response: CMS thanks these commenters for their feedback. According to the statute, the public
explanation of the MFP must be published no later than March 1, 2025 for initial price
applicability year 2026 selected drugs. CMS understands commenters’ interest in reviewing
these public explanations in advance of the deadline for manufacturers of drugs selected for
negotiation for initial price applicability year 2027 to submit their information, and will strive to
release the public explanation of the MFP as soon as practicable. CMS notes that the policies for
initial price applicability year 2027 will be shared in future guidance, including whether the
policies adopted for section 1194(e)(2) submissions for initial price applicability year 2026 will
apply in a similar manner for initial price applicability year 2027, and if so, when those
submissions would be due.

Comment: One commenter recommended that, in addition to the public explanation of the MFP,
CMS issue a summary report for all negotiated drugs in initial price applicability year 2026 and
provide data on various negotiation outcomes. The commenter also suggested a summary report
       Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 71 of 199

                                                                                                              70


and using SSR Health and IQVIA data may avoid confidentiality concerns around data from
manufacturers.

Response: CMS thanks these commenters for their feedback. In response to comments, CMS
revised section 60.6.1 of this guidance so that the public explanation of the MFP now includes a
narrative explanation of the negotiation process and redacted information regarding the section
1194(e) data received, exchange of offers and counteroffers, and the negotiation meetings, if
applicable. CMS’ publication of this information will abide by the confidentiality policy
described in section 40.2 and redact any proprietary information, PHI / PII, and information that
is protected from disclosure under other applicable law. CMS believes that, with these revisions,
the public explanation of the MFP will be sufficiently comprehensive and will achieve the goals
suggested by the commenter.

Comment: One commenter recommended that CMS publish the NDCs along with the list of
MFPs for selected drugs. One commenter recommended that when CMS releases MFPs and
associated data, the list should include selected drug active moieties / active ingredients, their
respective NDCs, and unit-level MFPs in a structured and machine-readable format. The
commenter also suggested CMS provide additional context on how CMS will use NDC-9s to
calculate the unit-level MFPs for every dosage form and strength of the selected drug and how
the structure and formatting of the MFP file release will be affected by FDA’s proposed rule on
the NDC-12 format. 20

Response: CMS thanks the commenter for this recommendation. CMS will publish by
September 1, 2024 the MFP for each drug selected for initial price applicability year 2026 for
which CMS and the Primary Manufacturer have reached an agreement on an MFP. Related to
this requirement, CMS will publish the following on the CMS website: the selected drug, the
initial price applicability year, the MFP file (which will contain the MFP as applied to each
selected drug at the single MFP for a 30-day equivalent supply, NDC-9 per unit price, and NDC-
11 per package price and will be updated annually to show the inflation-adjusted MFP for the
selected drug), and the explanation for the MFP (published at a later date). The MFP file will be
machine-readable and in a .CSV format. While CMS understands FDA has issued a proposed
rule regarding changes to the format of FDA-issued NDCs, CMS does not believe that this
proposed rule is relevant to the Negotiation Program or the establishment of the MFP for initial
price applicability year 2026 because the policy, if finalized as proposed, would take effect five
years after the final rule is published.

Exclusion from the Negotiation Process Based on Generic or Biosimilar Availability
(Section 60.7) and Establishment of MFPs After the Negotiation Deadline (Section 60.8)

CMS solicited comment on these sections, but did not receive any comments that are not
otherwise addressed elsewhere (see the “Bona Fide Marketing” section below).



20
  Revising the National Drug Code Format and Drug Label Barcode Requirements, July 25, 2022, available at
https://www.federalregister.gov/documents/2022/07/25/2022-15414/revising-the-national-drug-code-format-and-
drug-label-barcode-requirements
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 72 of 199

                                                                                                   71


Removal from the Selected Drug List (Section 70)

Comment: Some commenters recommended CMS not apply the MFP to a selected drug if CMS
determines that a generic drug or biosimilar is approved and marketed after the negotiation
period but before the start of initial price applicability year 2026. One commenter recommended
that CMS replace a selected drug that is removed from the selected drug list. One commenter
recommended that, if a generic drug or biosimilar competitor of a selected drug receives FDA
approval or licensure before the end of the negotiation period, CMS should establish a grace
period after the negotiation period ends (e.g., 30 days) for CMS to consider whether that generic
or biosimilar has been bona fide marketed. One commenter asserted that section 1192(e) of the
Act requires CMS to remove a selected drug from the selected drug list if a generic drug or
biosimilar is approved and marketed before the start of the applicable initial price applicability
year.

Response: CMS thanks these commenters for the recommendations. Section 1192(c), not section
1192(e) of the Act, governs the circumstances under which a selected drug would be removed
from the selected drug list after the date that that list is published. Section 1192(c) of the Act
requires a selected drug that is included on the selected drug list to remain a selected drug for
that year and each subsequent year beginning before the first year that begins at least nine
months after the date on which CMS determines the statutory criteria in section 1192(c) are met
unless CMS makes the determination before or during the negotiation period that a generic drug
or biosimilar product for the selected drug is approved or licensed and is marketed. CMS
interprets this requirement such that a drug included on the selected drug list published for initial
price applicability year 2026 will remain a selected drug for initial price applicability year 2026
unless CMS determines on or before August 1, 2024 that a generic drug or biosimilar product for
the selected drug has been approved for marketing by the FDA, and that bona fide marketing
exists for the generic drug or biosimilar product. If CMS determines between August 2, 2024
through March 31, 2026 that bona fide marketing exists for the generic drug or biosimilar, the
selected drug would cease to be a selected drug after 2026, and no MFP would apply for 2027.

MFP-Eligible Individuals (Section 80)

Comment: One commenter recommended CMS clarify whether an MFP-eligible individual that
is enrolled in Part D can receive a selected drug at the MFP if it is paid under Part B. The
commenter also requested clarification that the MFP must be made available to an individual
with Part D coverage, even if they choose not to use their insurance. One commenter
asked CMS to detail how it will ensure access to an MFP for individuals seeking to obtain a
selected drug under Part B or Part C. A couple of commenters recommended that CMS clarify
that the MFP for initial price applicability year 2026 only applies when the beneficiary receives a
selected drug under Part D and that the MFP does not apply when the beneficiary is administered
a selected drug under Part B. One commenter stated that the definition of MFP-eligible
individual includes an individual enrolled in a Medicare Advantage (MA) Plan who is furnished
or administered the selected drug for which payment may be made under Part B.

Response: CMS thanks these commenters for their recommendations. CMS has clarified in
section 80 of the guidance that for initial price applicability year 2026, an MFP for a selected
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 73 of 199

                                                                                                72


drug must be provided to a Medicare beneficiary who uses their Part D plan (including an MA-
PD plan under Medicare Part C or an Employer Group Waiver Plan, but not a plan that receives
the Retiree Drug Subsidy) if Part D coverage is provided under such plan for such selected
drug. For initial price applicability year 2026, the MFP is not required to be made available to a
Medicare beneficiary who uses other sources of prescription drug coverage, prescription drug
discount cards, or cash. CMS has made conforming changes throughout this revised guidance to
clarify the scope of the requirement to provide access to the MFP for initial price applicability
year 2026. For initial price applicability year 2026, CMS does not expect manufacturers to
provide access to the MFP of a selected drug to hospitals, physicians, and other providers of
services and suppliers with respect to MFP eligible individuals enrolled under Part B, including
an individual who is enrolled in an MA plan.

Bona Fide Marketing (Sections 30.1, 60.7, 70, and 90.4)
                                  --- --- --
Comment: Several commenters supported CMS’ proposal to determine whether bona fide
marketing exists for a generic or biosimilar to (1) determine whether a drug should be selected as
a qualifying single source drug, (2) determine whether a selected drug should be deselected, and
(3) monitor in cases where a drug is not selected or after it has been deselected to ensure that
bona fide marketing is still occurring. These commenters agreed with this approach to ensure
that the presence in the market of a generic drug means that there is meaningful competition.
Other commenters said that such monitoring is warranted given manufacturers’ past market
behavior, and identified certain market-limiting agreements that some brand name manufacturers
have entered into with generic drug manufacturers to limit the supply of the generic drug and
thus inhibit competition. The commenters maintained that such arrangements justify CMS’
proposal to determine whether bona fide marketing of a generic or biosimilar is actually
occurring. Some commenters suggested that CMS require that manufacturers attest that they
have not entered into any agreements that would limit the market share of the generic or
biosimilar products, either implicitly or explicitly. One commenter also suggested that CMS
require manufacturers submit all agreements provided to the Federal Trade Commission (FTC).

Response: CMS appreciates the support for its reading of the statute to contemplate a
determination by the agency that a generic drug or biosimilar is being marketed on a bona fide
basis as part of drug selection, deselection, and monitoring of the Negotiation Program. CMS
agrees with these commenters that manufacturers’ past behavior warrants CMS review on an
ongoing basis as to whether a generic drug or biosimilar is being bona fide marketed. Absent this
review, a generic drug or biosimilar manufacturer could launch into the market a token or de
minimis amount of a generic drug or biosimilar for the selected drug and the manufacturer of that
selected drug could claim that the MFP should no longer apply. This result would be inconsistent
with the text of the statute as well as its purpose, which is to lower drug prices for Medicare
through either negotiation or price competition. Consistent with this statutory purpose, section
1192(e)(1) of the Act requires that a generic drug or biosimilar “is … marketed” in order for a
drug or biological product to be excluded from the definition of a qualifying single source drug,
and section 1192(c)(1) likewise requires that a generic or biosimilar “is marketed” in order for a
selected drug to be deselected. This terminology demonstrates that Congress contemplated that a
generic or biosimilar must have a continuing presence on the market in order to affect CMS’
determination whether a drug should be selected as a qualifying single source drug or whether a
       Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 74 of 199

                                                                                                                   73


selected drug should be deselected. Manufacturers are welcome and encouraged to provide
information to CMS about the market for generic drugs or biosimilars for the selected drug.

Comment: Many commenters stated CMS lacks statutory authority to define “marketed” for
purposes of selected drug eligibility under the statute, including sections 1192(e)(1),
1192(e)(2)(B), and 1192(c) of the Act 21 differently from the first market date reported by the
manufacturer to the Medicare Part D Drug Inflation Rebate Program. Further, these commenters
stated that CMS lacks statutory authority to address “bona fide marketing” to implement the
statutory requirement of determining if a generic or biosimilar is “approved and marketed” or
“licensed and marketed” under sections 1192(c) and (e) of the Act. These commenters also
asserted that CMS lacks statutory authority to review product utilization or assess “robust and
meaningful competition” as part of a determination of whether a generic or biosimilar is
“marketed.” In addition, these commenters stated that “marketing” is already a term defined in
the pharmaceutical industry, including by FDA and CMS, noting that in Appendix C of the
initial memorandum, marketing is defined as the “introduction or delivery for introduction into
interstate commerce of a drug product.” These commenters stated that any review of “marketing”
for purposes of drug selection under section 1192(e) of the Act or deselection under section
1192(c) of the Act must be based on the first “market date.” One commenter stated that the IRA
is not intended to review market performance across an arbitrary period of time but rather
whether a generic or biosimilar is marketed at the point in time of CMS’ determination of drug
selection. Additionally, some commenters suggested that CMS lacks statutory authority to
monitor marketing after a drug/biological is determined ineligible for selection or removed from
the selected drug list.

Other commenters suggested that CMS clarify the term “bona fide marketing” and its application
to the Biosimilar Delay special rule and drug selection and deselection.

Response: Section 1192 of the Act requires CMS to make a determination whether a generic
drug or biosimilar “is marketed” in order to determine whether a listed drug / reference product
should be selected as a qualifying single source drug or whether a selected drug should be
deselected. Congress purposefully used different terminology in section 1192 than it did in
section 1860D-14B of the Act, which established the new Medicare Part D Drug Inflation Rebate
Program. In the latter provision, Congress referred to the date that a drug is “first marketed.” The
absence of similar terminology in section 1192 demonstrates that, for purposes of the
Negotiation Program, Congress contemplated that a generic drug or biosimilar would have a
continuing presence on the market in order to affect the status of a listed drug / reference
product.

Consistent with the purpose of the statute to lower prices for Medicare through negotiation or
price competition, the statute contemplates that, in making this determination, CMS would
consider whether meaningful competition exists on an ongoing basis between a listed drug or

21
   These determinations include whether a drug/biologic is eligible as a qualifying single source drug under section
30.1 of this guidance and whether a selected drug should be removed under sections 60.7 and 70 of this guidance
because either (1) the listed drug has an approved generic drug (under section 505(j) of the Federal Food, Drug, &
Cosmetic Act) or (2) the reference product has a licensed biosimilar (under section 351(k) of the Public Health
Service Act) that is marketed pursuant to that approval or license.
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 75 of 199

                                                                                                74


reference product and a generic drug or biosimilar. This determination requires more than solely
token or de minimis availability of the products. For example, CMS is aware of situations in
which a manufacturer of a brand name drug or biologic has entered into a market-limiting
agreement with a manufacturer of a generic drug or biosimilar, where the generic drug
manufacturer agrees to limit production or distribution of the generic version of the drug, such
that only a nominal quantity of product is allowed to enter the market. The result is a lack of
meaningful price competition, and in that circumstance the generic drug or biosimilar is not
“marketed” within the meaning of that term as it is used in the IRA.

Given the Negotiation Program is targeted at single source drugs and biologics that have been on
the market for some time, for which no generic drug or biosimilar competition currently exists,
the statutory directive would not be met if a qualifying single source drug were to avoid selection
or be removed from the selected drug list where generic drug or biosimilar availability is limited
by the Primary Manufacturer. It is consistent with the purpose of the statute to remove the MFP
for a selected drug only when there is evidence that the selected drug or biological product is
subject to meaningful competition. For example, Section 1192(e)(2)(A) of the statute provides
that an “authorized generic” drug or biosimilar product “shall be treated as the same qualifying
single source drug.” Although an authorized generic may appear to be competing with the
reference drug, authorized generics are typically marketed by the brand name drug company or
another company with the brand company’s permission, meaning that the relationship between
the brand drug and its authorized generic is not meaningful competition in the way envisioned by
Congress.

Whether such competition exists between a listed drug or reference product and a generic drug or
biosimilar will depend on the totality of circumstances in existence at the time that CMS
performs its function of making the determination whether a generic is being marketed.
Accordingly, CMS maintains the approach in this guidance of determining if the manufacturer of
the generic/biosimilar is engaged in bona fide marketing of the generic/biosimilar.

For a discussion of CMS’ approach to the Biosimilar Delay rule, which under section
1192(f)(1)(A) requires CMS to make the statutory determination that there is a “high likelihood”
that a biosimilar “will be licensed and marketed” within the relevant statutory time frame, see
section 30.3.1 of this revised guidance.

Comment: Some commenters stated CMS lacks statutory authority to establish metrics of
“sufficient quantities” and “market share” to assess bona fide marketing. These same
commenters suggested these terms are vague and represent arbitrary requirements. A few
commenters suggested specific thresholds that CMS could use to determine if meaningful
competition exists. For example, one commenter suggested pulling a threshold from literature on
competitive generic markets (which the commenter suggested is at least half of the market for
small molecule drugs and at least 25 percent for biosimilars) and based on standardized
prescriptions (e.g., a 30-day Part D supply) to estimate the generic drug penetration relative to
the total volume of products dispensed in Medicare. Specifically, the commenter suggested the
calculation of the number of standardized prescriptions dispensed for the generic product divided
by the number of standardized prescriptions dispensed for the selected drug aggregated across all
dosage forms and strengths, plus the number of standardized prescriptions dispensed for the
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 76 of 199

                                                                                                  75


generic/biosimilar. Another commenter suggested a generic/biosimilar was effectively marketed
when its market share is within a standard deviation of the mean for a given period of time since
market entry and/or if its market share is at or above the mean of uptake at the point in time of
CMS review regarding selection or deselection of the product.

One commenter requested CMS carefully consider what bar might be too high for a sufficient
market share if certain factors of a market share are out of a manufacturer’s control and limit
competition, for example, this commenter said certain rebates can limit competitive entry.

Response: The statute requires CMS to determine whether a generic drug or biosimilar has been
approved or licensed and is marketed pursuant to such approval or licensure for which the
selected drug is the listed drug / reference product. Consistent with the purpose of the statute to
lower prices for Medicare through negotiation or price competition, the statute contemplates that,
in making this determination, CMS would consider whether meaningful competition exists on an
ongoing basis between a listed drug or reference product and a generic drug or biosimilar. This
determination requires more than solely token or de minimis availability of the products.
However, CMS agrees with the commenter than CMS will not set a single specific numeric
threshold for meaningful generic drug or biosimilar competition for selected drugs because CMS
does not believe there is one specified threshold that would appropriately capture meaningful
competition in the market for every selected drug. As described below, CMS will review
multiple data sources to inform its determination whether a generic drug or biosimilar is being
marketed on a meaningful basis.

CMS clarified in this revised guidance that these data sources will be reviewed holistically to
determine if meaningful competition exists in the market for purposes of: (1) the identification of
qualifying single source drugs for initial price applicability year 2026 (see section 30.1), (2)
removal from the selected drug list before or during negotiation or after an MFP is in effect (see
section 70), and (3) monitoring whether a manufacturer of a generic or biosimilar is engaged in
bona fide marketing of a drug/biologic determined ineligible as a qualifying single source drug
as described in section 30.1 of this guidance or removed from selection as described in section
70 of this guidance because the selected drug was the listed drug or reference biologic for a
generic or biosimilar (see section 90.4). Manufacturers can provide evidence to CMS regarding
the market for an approved generic drug or biosimilar that references its drug(s) to inform CMS’
monitoring for bona fide marketing after a drug is not selected or after deselection.

Comment: Some commenters expressed concern regarding the time difference between the
actual date of marketing and the date of CMS’ determination of bona fide marketing using PDE
data because of the time lag for sales to be captured in PDE data. One commenter suggested that
a 12-month review period is arbitrary and CMS failed to explain why this period was selected to
establish if a generic/biosimilar is marketed. Another commenter stated that the initial six months
of PDE data after market entry reflect a limited uptake because Part D plan sponsors add the
drug to their formulary at the 180-day CMS deadline for Part D formulary inclusion, or not at all,
and additionally there is a gradual transition for product uptake by providers and patients.
Another commenter stated that CMS was relying on the indicator that shows slowest generic
drug uptake by relying on PDE data.
       Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 77 of 199

                                                                                                                   76


Response: CMS thanks these commenters for their feedback regarding the timing of data review.
CMS chose to review data over this 12-month time period for initial price applicability year 2026
because it believes that this time range will provide a sufficient window of opportunity to
demonstrate whether a generic drug or biosimilar is marketed on a continuing basis while still
allowing for sufficient time for that data to inform the selected drug list published on September
1, 2023 in accordance with section 1192(a) of the Act.

While CMS appreciates commenters’ concerns regarding the time lag between a generic drug’s
availability and the ability to detect it in PDE data resulting from filled Part D prescriptions,
CMS understands that generally this timing lag is relatively short as Part D plans are instructed
to submit original PDEs to CMS within 30 days following the date the claim is received or date
of service (whichever is greater) 22 and the average turnaround time to date of submission is
fewer days.

Under Medicare Part D rules, 42 C.F.R. § 423.120(b)(5)(iv) permits immediate substitution of a
generic drug for a brand name drug on a Part D formulary, and section 1860D-4(b)(3)(I)(ii) of
the Act permits removal of a selected drug if permitted by § 423.120(b)(5)(iv) (or any successor
regulation). CMS expects that Part D plans would immediately substitute a generic version of the
selected drug for the brand version of the selected drug. In addition, Part D sponsors may add
new generic drugs and biosimilars to their formularies at any time. Thus, the Part D rules allow
for relatively quick formulary substitution of generic drugs for selected drugs and the addition of
generic drug and biosimilar versions of selected drugs such that both should be evident in the
PDE data relatively quickly.

Nonetheless, to address commenters’ concerns about the implications of any lags in timing of
data used and its implications on drug selection, CMS will also review AMP 23 data at the time of
the initial qualifying single source drug determination under section 30.1 of this revised
guidance, any subsequent removal from selection under sections 60.7 and 70 of this revised
guidance, and when monitoring whether a manufacturer of a generic drug or biosimilar is
engaged in bona fide marketing of a drug/biologic determined ineligible as a qualifying single
source drug as described in section 30.1 of this guidance or removed from selection as described
in section 70 of this guidance because the selected drug was the listed drug or reference biologic
for a generic drug or biosimilar under section 90.4 of this revised guidance. AMP data may
capture sales transactions in the supply chain in situations when use of the generic drugs in Part
D plans has not yet become evident in the PDE data. A drug’s AMP units (which represent
manufacturer sales to retail pharmacies and wholesalers that distribute to retail community

22
   Timely Submission of Prescription Drug (PDE) Event Records and Resolution of Rejected PDEs, Centers for
Medicare & Medicaid Services, October 6, 2011, available at: https://www.hhs.gov/guidance/document/revision-
previous-guidance-titled-timely-submission-prescription-drug-event-pde-records.
23
   See definition at Section 1927(k)(1) of the Act. Average Manufacturer Price (AMP) is the average price paid to
manufacturers by wholesalers for drugs distributed to retail community pharmacies and retail community
pharmacies that purchase drugs directly from the manufacturers. AMP was established under the Omnibus Budget
Reconciliation Act of 1990 for the Medicaid Drug Rebate Program and is calculated using manufacturer sales
transaction data, which include cash discounts, volume discounts, and other reductions in the actual price paid to the
manufacturer. CMS receives AMP data from manufacturers that have an agreement with the Secretary of HHS as
specified under Section 1927(a)(1) for all Medicaid-covered outpatient drugs on a monthly and quarterly basis, as
well as data on the number of units sold by the manufacturer during those time periods.
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 78 of 199

                                                                                                 77


pharmacies) are reported monthly to CMS as part of a manufacturer’s reporting responsibilities
under the Medicaid Drug Rebate Program. PDE data and AMP data will be reviewable once the
generic drug is listed in the FDA Orange Book (using at least one dosage form and strength of
the selected drug as the listed drug) or the biosimilar is listed in the FDA Purple Book (using at
least one dosage form and strength of the selected drug as the reference product).

Comment: A few commenters requested CMS include other data sources in addition to PDE
data, such as data from NADAC, IQVIA, and DailyMed data; determinations of national market
share; presence at distributors and in group purchasing organization (GPO) contracts; and
presence on formularies, to determine the presence of a marketed generic or biosimilar for the
selection and/or deselection of a drug or biologic. One commenter requested that CMS permit
manufacturers to certify the status of the marketing of generic drugs and biosimilars and
determine this marketing status on an ongoing basis.

Response: CMS thanks these commenters for these suggestions of additional sources that may
include useful information to demonstrate bona fide marketing of a generic drug or biosimilar.
The determination whether a generic drug or biosimilar is being bona fide marketed on an
ongoing basis is a totality-of-the-circumstances inquiry that will not necessarily turn on any one
source of data. Manufacturers of selected drugs can provide evidence to CMS regarding the
market for the generic drug or biosimilar versions of their selected drug(s) to inform CMS’
monitoring for bona fide marketing before drug selections are made, or after deselection. In
addition to also reviewing AMP data, given commenters’ suggestions to include additional
examples of such other data that may be used, CMS clarified in sections 70 and 90.4 of this
guidance (with application to sections 30.1 and 60.7 by way of cross-reference to the discussion
of bona fide marketing), that CMS will use multiple sources, including but not limited to, the
examples as described in sections 70 and 90.4 of this revised guidance to determine if bona fide
marketing exists of the generic drug or biosimilar under review. This monitoring will ensure that
drugs and biologicals ineligible for selection or removed from selection are subject to
competition from generic drugs and biologicals that are marketed on a meaningful basis. CMS
retains the right to consider other data in monitoring if manufacturers of the applicable generic
drug or biosimilar continue to engage in bona fide marketing once a selected drug is deselected.

Comment: A few commenters encouraged CMS to monitor for manufacturing and/or marketing
arrangements that intend to limit generic competition. One commenter suggested that a drug or
biologic should remain eligible as a selected drug, so long as the drug or biologic otherwise
qualifies, in the presence of limited distribution agreements. Another commenter suggested CMS
publish arrangements that CMS views as limiting competition as a component of monitoring
bona fide marketing. A couple of commenters stated that monitoring of market competition is
not within CMS’ authority and cited FTC and FDA regulatory frameworks to address biosimilar
and generic competition.

Response: CMS thanks these commenters for these suggestions. CMS believes that limited-
distribution agreements can in fact limit the supply of an available generic drug. CMS reiterates
that, for the purposes of the Negotiation Program, the statute instructs CMS to make a
determination whether a generic drug or biosimilar “is marketed,” which requires a
determination whether the generic drug or biosimilar has a continuing presence on the market.
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 79 of 199

                                                                                                  78


Congress used this language in furtherance of the purpose of the Negotiation Program, which is
to lower costs for Medicare through negotiation or price competition. The statute accordingly
contemplates that CMS’ determination will turn on a finding whether meaningful market
competition for such given generic drug or biosimilar biological product exists. While these
market-limiting agreements may make CMS aware of a limitation on meaningful market
competition, these agreements do not necessarily inform the agency whether such a limitation is
manifesting itself in the marketplace. For this reason, CMS intends to monitor actual conditions
in the marketplace through PDE and AMP data. However, as commenters suggest, CMS may
consult with FTC to identify the types of agreements or arrangements that limit competition.
FDA does not receive agreements of this type in the normal course of its operations.

Comment: One commenter asked what action might result if CMS determines through
monitoring that a generic drug/biosimilar manufacturer is not engaging in bona fide marketing
after CMS determined that there was an applicable generic drug/biosimilar for which the
manufacturer was engaged in bona fide marketing.

Response: If the reason for disqualification as a qualifying single source drug is removed, the
drug/biologic could be eligible for negotiation in a future price applicability year.

Comment: One commenter requested CMS evaluate whether its monitoring approach accurately
captures true competition and whether any specific types of drug marketing/distribution
agreements limit generic competition and include in this review the impact on payers, providers
and insurers. A few commenters generally expressed concerns about potential impacts they
suggested that the Negotiation Program might have on generic drug markets, which they
suggested could broadly include reducing the impact to a manufacturer of being the first filer for
generics, promoting pricing via negotiation in lieu of market competition, or deterring generic
competition and increasing drug pricing costs to payers in certain drug market segments.

Response: CMS thanks these commenters for their input and will keep these comments in mind
as CMS implements the Negotiation Program and monitors for bona fide marketing over time.

Monitoring Compliance and Civil Monetary Penalties (Sections 90.1 and 100)

Comment: Many commenters requested additional details regarding the scope and amount of
the CMPs, detailed procedures for determining violations and imposing fines, and a review and
appeal process for determinations of noncompliance prior to the imposition of CMPs and
initiation of the procedures described in section 1128A of the Act. Additionally, some
commenters suggested CMS undertake notice and comment rulemaking to provide the process
steps and requirements of involved parties prior to imposing any CMPs, and a few commenters
requested that CMS use a single notice and comment rulemaking process to capture all instances
of CMP triggers under the IRA. A few commenters instructed CMS to look to examples of CMP
application in other CMS programs, including Medicare Advantage and the HHS Office of the
Inspector General (HHS OIG), when establishing its procedures for the Negotiation Program. A
couple of commenters suggested that the dollar amount required by the IRA for a CMP requires
rulemaking under the Excessive Fines Clause of the Eighth Amendment of the U.S. Constitution.
A few commenters requested a delay in the implementation of CMPs until rulemaking occurs.
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 80 of 199

                                                                                               79



Response: CMS appreciates the concern for ensuring that administration of CMPs under section
1197 of the IRA and in accordance with the requirements of section 1128A of the Act is
achieved via defined procedures, and appreciates the suggestions offered by commenters. In this
revised guidance, CMS has provided additional information about compliance violations that
may result in CMPs being issued; the notification process surrounding compliance violations,
including reminders, warnings, Notices of Potential Noncompliance, and formal CMP
Notifications; and has provided a series of informative example scenarios on the scope and
calculation of CMPs when applicable. CMS has also added detail to the CMP Notification
process, following the requirements of section 1128A of the Act. CMS directs commenters to
section 100 of this guidance for additional information. CMS reviewed examples of CMP
processes in other CMS programs to develop the procedures outlined in this guidance. The
amounts of CMPs are defined in section 1197 of the IRA and will be applied accordingly. CMS
defines the start date and end dates for calculating violations in section 100.2 of this revised
guidance.

Sections 11001(c) and 11002(c) of the IRA provide that the Secretary “shall implement” the
Negotiation Program “for 2026, 2027, and 2028 by program instruction or other forms of
program guidance.” Thus, the initial memorandum is not subject to the notice-and-comment
requirement of the Administrative Procedure Act or the Medicare statute. Section 1197 of the
Act indicates violations that warrant a CMP. This guidance is consistent with the statutory
requirement to use program guidance to implement the Negotiation Program for 2026, 2027, and
2028 and to impose certain penalties for violations of the Negotiation Program.

Comment: Some commenters requested that CMS share information with the Primary
Manufacturer in advance of the notice of imposition of a CMP and permit the Primary
Manufacturer to cure the violation for which a CMP could be imposed. Some commenters also
requested a reasonable time period be specified for this cure period and a process be provided to
appeal a finding of noncompliance, including as a means to safeguard against a perceived or
actual legal or factual error of CMS.

Response: CMS has added in this revised guidance additional details about how Primary
Manufacturers will have an opportunity for corrective action in applicable circumstances. For
example, CMS revised section 100.2 of this revised guidance to clarify that CMS may request
additional information to administer or monitor compliance with the Negotiation Program in
accordance with section 1193(a)(5) of the Act. In addition, CMS will issue a written reminder of
the impending deadline for submission of information to include a warning of potential liability
for a CMP upon failure to comply with the deadline.

Comment: A few commenters expressed support for the IRA’s inclusion of CMPs to support the
negotiation of the MFP.

Response: CMS thanks these commenters for their feedback.

Comment: Some commenters raised concerns regarding the application of CMPs to Primary
Manufacturers due to the actions of a Secondary Manufacturer that does not provide data
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 81 of 199

                                                                                                80


required under section 1194(e)(1) of the Act or the action of other third parties, including
pharmacies and providers, that do not provide access to the MFP for MFP-eligible individuals. A
few commenters requested CMS limit the imposition of CMPs to only a Primary Manufacturers’
actions, or alternatively, refrain from enforcement of the CMP on a Primary Manufacturer for a
third party’s actions in initial price applicability year 2026. One commenter suggested a Primary
Manufacturer be able to raise a defense against a CMP when the violation at issue was
committed by a Secondary Manufacturer. A few other commenters supported monitoring and
imposition of CMPs on third parties via the Primary Manufacturer, and one commenter
encouraged CMS to monitor Secondary Manufacturers directly.

Response: CMS appreciates commenters’ feedback regarding the imposition of a CMP on the
Primary Manufacturer based on the actions of a Secondary Manufacturer or other third party. Per
section 40 of this revised guidance, a Secondary Manufacturer is defined as either (1) a
manufacturer listed in an NDA or BLA for the selected drug or (2) an entity that has entered into
an agreement with the Primary Manufacturer to market the selected drug. A Secondary
Manufacturer will include any manufacturer of any authorized generics and any repackager or
relabeler of the selected drug that meet these criteria. As such, a Primary Manufacturer may be
required to request data from a Secondary Manufacturer including non-FAMP, current unit costs
of production and distribution, and certain market data elements. As described in section 1193 of
the Act (described in section 40 of this revised guidance) and included in the Manufacturer
Agreement, the Primary Manufacturer is also responsible for ensuring access to the MFP for
MFP-eligible individuals and to pharmacies, mail order services, and other dispensers that
dispense the selected drug to an MFP-eligible individual. Because CMS is entering into the
Agreement with the Primary Manufacturer, it is the Primary Manufacturer that will be
responsible for adhering to the terms of the Agreement. CMS believes the Primary Manufacturer,
based on its arrangements with Secondary Manufacturer(s), can reasonably ensure that the
Primary Manufacturer can comply with its Negotiation Program obligations with regards to data
submission and ensuring the availability of the MFP for the selected drug sold by a Secondary
Manufacturer(s). CMS is not aware of circumstances where a Secondary Manufacturer can
operate without a formal arrangement of the Primary Manufacturer, through which the Primary
Manufacturer can ensure compliance by the Secondary Manufacturer.

As is clarified in section 100 of this revised guidance, CMS will provide an opportunity for
corrective action in certain instances of potential violation prior to imposing CMPs, which may
provide Primary Manufacturers an opportunity to mitigate noncompliance related to Secondary
Manufacturers in applicable situations.

Comment: One commenter requested CMS identify a pathway by which third parties could
provide information regarding potential violations to CMS for investigation, while another
commenter suggested an online form and toll-free phone number be established for consumer
complaints on MFP availability.

Response: CMS appreciates commenters’ feedback. CMS will establish a dedicated telephone
line and/or e-mail inbox for interested parties to report any perceived MFP availability
violations. Section 90.1 provides additional information regarding monitoring of manufacturer
compliance. CMS anticipates providing more information on public monitoring in the future.
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 82 of 199

                                                                                                  81



Comment: Several commenters requested CMS provide information about how CMS will
interpret the term “knowingly” with regard to knowingly providing false information under
section 100.3 of this guidance and as applicable to violations of the Agreement under section
100.2 of this guidance. Some commenters requested that CMS interpret “knowingly” based on a
plain meaning of the term or uses by other CMS programs, OIG and the False Claims Act, while
others requested CMS require “actual knowledge” of the act or omission.

Response: CMS appreciates these comments. After considering the comments received, CMS
has adopted a standard for “knowingly” within the context of the Negotiation Program that
conforms with the HHS OIG definition at 42 C.F.R. § 1003.110. Specifically, “knowingly” is
interpreted to mean that a person, with respect to an act, has actual knowledge of the act, acts in
deliberate ignorance of the act, or acts in reckless disregard of the act, and no proof of specific
intent to defraud is required. CMS adopts this standard for “knowingly” in section 100.3 of this
revised guidance for purposes of whether a manufacturer knowingly provides false information
under the procedures to apply the aggregation rule in section 1192(d)(2)(B) of the Act for the
Small Biotech Exception and whether any Biosimilar Manufacturer knowingly provides false
information under the procedures to apply the aggregation rule in section 1192(f)(1)(C) of the
Act for the Biosimilar Delay, as provided in section 1197(d) of the Act.

In applying CMPs, CMS intends to use discretion such that CMPs are reserved for instances of
substantive noncompliance. These violations do not necessarily require the violation to be
“knowing.” Based on statutory requirements, CMS has clarified in section 100.2 that CMS
maintains the authority to issue CMPs for substantive violations of the Agreement even in cases
that violations are not “knowing.”

Comment: Several commenters raised concerns that the detailed and numerous Primary
Manufacturer data submission requirements under the Agreement will result in violations of
compliance unintended by the Primary Manufacturer unless CMS allows for Primary
Manufacturers to submit data based on a reasonable assumption of the IRA statutory data
requirements.

Response: CMS appreciates commenters’ feedback regarding the perceived potential for CMP
liability based on unintended noncompliance with data submission requirements as set forth in
section 1194(e)(1) and section 50 and Appendix C of the initial memorandum. As previously
noted, CMS clarified in section 100 of this revised guidance that CMS will provide
manufacturers with an opportunity, via the Notice of Potential Noncompliance, for corrective
action in certain instances of potential violation prior to determining whether to impose a CMP.
CMS has also provided responses regarding data submissions within the responses to Appendix
C comments, including revisions to Appendix C definitions in response to commenters’ requests
for clarifications (e.g., unit type for non-FAMP, patents to be included). CMS also directs
commenters to the 30-day notice for public comment on the Negotiation Data Elements ICR
(CMS-10847 / OMB 0938-NEW), which incorporates revisions to instructions in response to
comments CMS received in response to the 60-day notice for public comment. CMS is not
adopting the recommendation that Primary Manufacturers submit a statement of reasonable
assumptions with submissions under section 1194(e)(1) of the Act or otherwise use reasonable
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 83 of 199

                                                                                                  82


assumptions in lieu of the definitions in Appendix C of this revised guidance. Submitted data
must align with the instructions in CMS’ Negotiation Data Elements ICR and the definitions in
Appendix C of this guidance to ensure that the data submitted by Primary Manufacturers are
based on consistent definitions and scope.

Part D Formulary Inclusion of Selected Drugs (Section 110)

Comment: Many commenters expressed support for requiring selected drugs to be included on
Part D formularies. Several other commenters noted that the IRA does not detail how selected
drugs should be included on formularies; therefore, CMS should confirm plan formulary
flexibilities for selected drugs. A few commenters also requested CMS clarify when the
formulary inclusion requirement would not apply, such as when a selected drug is excluded from
negotiation because of the introduction of a generic or biosimilar competitor. Additionally, a
couple of commenters expressed concern that mandating inclusion of selected drugs on Part D
formularies—without establishing guardrails to ensure beneficiary access—could create perverse
incentives because plans could place selected drugs on less favorable tiers compared to
non-selected drugs. Finally, a couple of commenters requested CMS clarify that it will not
require that Part D formularies include every dosage form and strength of a selected drug, noting
that plans could comply with the IRA if only one dosage form and strength of the selected drug
is included. One commenter stated Congress did not intend that every dosage form and strength
of a selected drug be included on formularies.

Response: CMS appreciates commenters’ feedback and agrees with commenters about the
importance of ensuring meaningful beneficiary access to selected drugs and their MFPs and
ensuring that plans do not engage in gaming behavior. CMS shares concerns that Part D sponsors
may be incentivized in certain circumstances to disadvantage selected drugs by placing selected
drugs on less favorable tiers compared to non-selected drugs, or by applying utilization
management that is not based on medical appropriateness to steer Part D beneficiaries away from
selected drugs in favor of non-selected drugs. CMS expects Part D sponsors to provide their
enrollees with meaningful access to selected drugs and will use its comprehensive formulary
review process to assess any practices that may undermine beneficiary access to selected drugs,
as discussed in section 110 of this guidance. CMS maintains a robust, clinical formulary review
process to ensure that all Part D plan formularies comply with statutory and regulatory
requirements, including the requirement under section 1860D-11(e)(2)(D)(i) of the Act that CMS
may only approve a Part D plan if it “does not find that the design of the plan and its benefits
(including any formulary and tiered formulary structure) are likely to substantially discourage
enrollment by certain Part D eligible individuals under the plan.” Further, if CMS identifies that
Part D sponsors are not providing beneficiaries with meaningful access to selected drugs, CMS
may consider implementing new requirements for future contract years. CMS believes this
approach will provide Part D sponsors with the flexibility to continue to manage costs when
clinically appropriate while allowing CMS to monitor practices that may undermine enrollee
access to selected drugs and inform further action, as necessary.

Section 1860-D-4(b)(3)(I) of the Act requires Part D plan formularies to include each covered
Part D drug that is a selected drug under section 1192 of the Act for which an MFP is in effect
with respect to the year. Accordingly, all dosage forms and strengths of the selected drug that
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 84 of 199

                                                                                                83


constitute a covered Part D drug and for which the MFP is in effect must be included on
formulary. In response to the comments requesting clarification on when the formulary inclusion
requirement would cease to apply, CMS refers readers to section 70 of this revised guidance,
which, in accordance with section 1192(c) of the Act, details when a selected drug will cease to
be a selected drug because CMS determines that a generic or biosimilar competitor to the
selected drug has been approved or licensed and marketed pursuant to such approval or
licensure. CMS notes that, as specified by section 1860D-4(b)(3)(I)(ii) of the Act, nothing shall
prohibit a Part D sponsor from removing a selected drug from a formulary if such removal would
be permitted under 42 C.F.R. § 423.120(b)(5)(iv) (or any successor regulation).

Comment: A couple of commenters stated CMS should require selected drugs to be placed on
lower (preferred) formulary tiers, noting that this would reduce out-of-pocket costs for
beneficiaries. A couple of commenters recommended CMS ensure parity between selected drugs
and non-selected drugs, such as requiring plans to cover selected drugs on the most favorable tier
as any brand name drug in the therapeutic class. One commenter stated CMS should require
plans to place selected drugs on lower or equivalent tiers as their competitors. A few commenters
indicated that selected drugs should be placed on formulary tiers with copayments rather than
coinsurance to help beneficiaries plan for their drug expenses. One of these commenters added
CMS should prohibit plans from placing selected drugs on tiers that require coinsurance. Finally,
one commenter recommended CMS use the specialty tier cost threshold to determine tier
placement of selected drugs. Specifically, selected drugs with monthly costs less than the
specialty tier threshold could be placed on the lowest generic tier and selected drugs with
monthly costs greater than the threshold could be placed on higher copayment tiers.

Response: CMS appreciates commenters’ feedback. For contract year 2026, CMS is not
implementing explicit tier placement requirements for selected drugs, but section 110 of this
revised guidance indicates how CMS will use its formulary review process to assess potentially
concerning review findings. CMS generally expects that Medicare beneficiaries taking selected
drugs will benefit from the lower negotiated MFPs. While CMS understands that not all selected
drugs and drug classes will present Part D sponsors and their Pharmacy & Therapeutics (P&T)
Committees with the same formulary considerations and might not warrant the same formulary
placement in all situations, CMS is concerned that Part D sponsors may be incentivized in certain
circumstances to disadvantage selected drugs by placing selected drugs on less favorable tiers
compared to non-selected drugs. To help ensure that beneficiaries have meaningful access to
selected drugs and consistent with the agency’s statutory obligation to monitor plan compliance
with all applicable formulary requirements, CMS will use its formulary review process to assess
any instances where Part D sponsors place selected drugs on non-preferred tiers or where a
selected drug is placed on a higher tier than non-selected drugs in the same class. As discussed in
section 110 of this revised guidance, as part of the annual bid review process, CMS will expect
Part D sponsors to provide CMS with a reasonable justification to support the submitted plan
design that includes any such practices. This justification should address applicable clinical
factors, such as clinical superiority, non-inferiority, or equivalence of the selected and non-
selected drugs, as well as the plan design’s compliance with applicable statutory and regulatory
requirements (e.g., the requirement to have a cost-effective drug utilization management program
that bases decisions on the strength of the clinical evidence and standards of practice). As CMS
reviews Part D plan formularies to ensure they comply with statutory and regulatory
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 85 of 199

                                                                                                  84


requirements, pursuant to section 1860D-11(e)(2)(D)(i) of the Act, CMS will only approve a Part
D plan bid submitted by a Part D plan sponsor if CMS does not find that the design of the plan
and its benefits (including any formulary and tiered formulary structure) are likely to
substantially discourage enrollment by certain Part D eligible individuals under the plan. CMS
believes this approach will provide Part D sponsors with the flexibility to continue to manage
costs through tier placement in a clinically appropriate manner, while allowing CMS to monitor
practices that may undermine beneficiary access to selected drugs and inform new requirements
for future contract years.

Comment: Many commenters expressed concern that plans will use utilization management not
based on medical appropriateness to steer Part D beneficiaries away from selected drugs in favor
of non-selected drugs that may be associated with higher rebates. Therefore, commenters
suggested CMS should limit or prohibit utilization management for selected drugs. A few
commenters asserted that maintaining the ability to use utilization management will best ensure
that plans can negotiate effectively with interested parties to lower prescription drug costs.

Response: CMS appreciates commenters’ feedback. For contract year 2026, CMS is not
implementing explicit utilization management requirements for selected drugs, but section 110 of
this revised guidance indicates how CMS will use its formulary review process to assess
potentially concerning review findings. CMS shares the commenters’ concerns that Part D
sponsors may be incentivized in certain circumstances to disadvantage selected drugs by
applying utilization management that is not based on medical appropriateness to steer Part D
beneficiaries away from selected drugs in favor of non-selected drugs. To help ensure that
beneficiaries have meaningful access to selected drugs and consistent with the agency’s statutory
obligation to monitor plan compliance with all applicable utilization management requirements,
CMS will use its formulary review process to assess any instances where Part D sponsors require
utilization of an alternative brand drug prior to a selected drug with an MFP (i.e., step therapy) or
where Part D sponsors impose more restrictive utilization management (i.e., step therapy and/or
prior authorization) for a selected drug compared to a non-selected drug in the same class. As
discussed in section 110 of this guidance, as part of the annual bid review process, CMS will
expect Part D sponsors to provide CMS with a reasonable justification to support the submitted
plan design that includes any such practices. This justification should address applicable clinical
factors, such as clinical superiority, non-inferiority, or equivalence of the selected and non-
selected drugs, as well as the plan design’s compliance with applicable statutory and regulatory
requirements (e.g., the requirement to have a cost-effective drug utilization management program
that bases decisions on the strength of the clinical evidence and standards of practice). CMS
reviews all Part D plan formularies to ensure they comply with statutory and regulatory
requirements and, pursuant to section 1860D-11(e)(2)(D)(i) of the Act, will only approve a Part
D plan bid submitted by a Part D plan sponsor if CMS does not find that the design of the plan
and its benefits (including any formulary and tiered formulary structure) are likely to
substantially discourage enrollment by certain Part D eligible individuals under the plan. CMS
believes this approach will provide Part D sponsors with the flexibility to continue to manage
costs through utilization management in a clinically appropriate manner, while allowing CMS to
monitor practices that may undermine beneficiary access to selected drugs and inform new
requirements for future contract years.
          Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 86 of 199

                                                                                                    85


Comment: Many commenters expressed concern that price negotiation, combined with changes
in interested party liability from Part D redesign, will have significant impacts on the structure of
Part D and could negatively impact patient access to medicines. These commenters
recommended CMS monitor plan formularies and the extent to which plans are using utilization
management and tiering for selected drugs. Some commenters also recommended CMS update
rules and guidance around plan coverage decisions and create safeguards to ensure patient access
to a selected drug.

Response: CMS thanks these commenters for sharing their concerns regarding patient access to
selected drugs. CMS agrees with commenters about the importance of beneficiaries having
meaningful access to selected drugs. As such, as discussed in section 110 of this guidance and
consistent with the agency’s statutory obligation to monitor plan compliance with all applicable
formulary requirements, CMS will use its formulary review process to assess (1) any instances
where Part D sponsors place selected drugs on non-preferred tiers, (2) any instances where a
selected drug is placed on a higher tier than non-selected drugs in the same class, (3) any
instances where Part D sponsors require utilization of an alternative brand drug prior to a
selected drug with an MFP (i.e., step therapy), or (4) any instances where Part D sponsors
impose more restrictive utilization management (i.e., step therapy and/or prior authorization) for
a selected drug compared to a non-selected drug in the same class. As CMS reviews Part D plan
formularies to ensure they comply with statutory and regulatory requirements, pursuant to
section 1860D-11(e)(2)(D)(i) of the Act, CMS will only approve a Part D plan if it does not find
that the design of the plan and its benefits (including any formulary and tiered cost-sharing
structure) are likely to substantially discourage enrollment by certain Part D eligible individuals
under the plan. While CMS is not implementing additional tier placement or utilization
management requirements for selected drugs for contract year 2026, if CMS identifies that Part
D sponsors are not providing beneficiaries with meaningful access to selected drugs, CMS may
consider implementing new requirements for future contract years to ensure that Part D sponsors
are not undermining beneficiary access to selected drugs.

Application of Medicare Part B and D Prescription Drug Inflation Rebate Programs to
Selected Drugs (Section 120)

Comment: A few commenters stated that selected drugs should not be subject to inflation
rebates. These commenters pointed to the Part B inflation rebate calculation in statute to assert
that Congress did not intend for rebates to apply to selected drugs.

Response: The statute provides that the inflation rebates apply to selected drugs. 24 Specifically,
the rebate calculation specified in section 1847A(i)(3)(A)(ii)(l) of the Act references section
1847A(b)(1)(B) of the Act, which includes payment for selected drugs. That is, there is no
statutory exemption from inflation rebates for selected drugs. Note that CMS intends to issue
final guidance relating to the Part B and Part D inflation rebates later in 2023.

Comment: Commenters requested clarification regarding the application of inflation rebates to
selected drugs. One commenter asked CMS to clarify how MFPs will be factored into the
inflation rebate calculations for selected drugs under the Part B and Part D programs. Another

24
     See sections 1847A(i) and 1860D-14B of the Act.
          Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 87 of 199

                                                                                                  86


commenter urged CMS to issue guidance to ensure that the Negotiation Program and Part B
Inflation Rebate Program do not have an interactive effect, and that inflation rebates should only
apply when the manufacturer has increased its price.

Response: Section 120 of this guidance clarifies that the MFP for a selected drug is not included
in the AMP for the selected drug and thus will not affect the Part D inflation rebate calculation. 25
CMS will provide additional information about how Part B inflation rebates apply to selected
drugs in future guidance.

Appendix C: Definitions for Purposes of Collecting Manufacturer-Specific Data

Comment: Some commenters stated that the proposed framework for CMS’ data collection and
corresponding definitions to capture information required in sections 1194(e)(1) and (2) of the
Act lacks the flexibility necessary to accommodate unique characteristics of different
drugs/products that will be reviewed through the Negotiation Program. These commenters
requested CMS rescind the proposed definitions and permit manufacturers to provide statutorily
required data submissions based on reasonable assumptions along with a justification of such
assumptions when interpreting the applicable IRA statutory requirements. Some commenters
stated that because of the assumptions inherent in responding to a data request, CMS must use
notice-and-comment rulemaking to provide information about required data. A few commenters
raised concerns about differences between the definitions proposed in the initial memorandum
and other pharmaceutical industry and/or government reporting requirements with related terms,
and some commenters included specific term examples of these situations (included in other
comments below). A couple of commenters expressed broad support for the definitions in
Appendix C. Additionally, some commenters requested CMS allow manufacturers to provide
supplemental data without text limits. Another commenter requested CMS establish a uniform
starting point across data collections and not require data prior to this point because it could
unfairly penalize manufacturers for previous pricing practices and data collection before the IRA
went into effect.

Response: CMS thanks these commenters for articulating the considerations they will need to
address when preparing to conform data submissions to the definitions provided in Appendix C
of this guidance. CMS consulted with subject matter experts and federal agencies regarding the
terms defined in this guidance. As already discussed herein, CMS engaged (and continues to
engage) with interested parties through various platforms since passage of the IRA in August
2022. CMS has considered recommendations and suggestions in revising the definitions included
in Appendix C of this guidance, which serve as the basis for the information to be collected
under sections 1194(e)(1) and (2) of the Act. CMS is not adopting the recommendation that
Primary Manufacturers submit a statement of reasonable assumptions with submissions under
section 1194(e)(1) of the Act or otherwise use reasonable assumptions. CMS believes it is
important that data submissions reflect the application of consistent standards and definitions to
permit appropriate consideration of such data, timely execution of the negotiation process, and
enforcement actions, as warranted. As such, data submitted in response to this revised guidance
must be based on consistent definitions and scope, as reflected in Appendix C of this revised
guidance. CMS appreciates the resources required to meet these submission requirements. On

25
     See section 1927(k)(1)(B)(i)(VI) of the Act.
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 88 of 199

                                                                                                   87


March 21, 2023, CMS released the Negotiation Data Elements ICR (CMS-10847 / OMB 0938-
NEW) to detail the specific data that CMS is requesting for purposes of implementing the
negotiation process to determine the MFP. The comment period in response to the 60-day notice
closed on May 22, 2023. CMS is releasing a revised version of the Negotiation Data Elements
ICR on June 30, 2023, and the 30-day comment period will close on July 31, 2023. The revised
ICR is available here: https://www.cms.gov/regulations-and-
guidance/legislation/paperworkreductionactof1995/pra-listing/cms-10847. Comments must be
submitted through www.regulations.gov.

Additionally, as explained in response to comments received regarding CMS’ statutory authority
to issue program instruction, sections 11001(c) and 11002(c) of the IRA state that CMS “shall
implement” the Negotiation Program “for 2026, 2027, and 2028 by program instruction or other
forms of program guidance”; thus, this revised guidance and corresponding data collection
requirements are not subject to the notice-and-comment requirements of the Administrative
Procedure Act or the Medicare statute. However, CMS is following requirements pursuant to the
Paperwork Reduction Act of 1995 for information collection requests related to the
administration of the Negotiation Program.

Comment: A few commenters asked for clarification on the requested data elements related to
R&D costs. Some commenters expressed concern that CMS’ definition of R&D costs is too
narrow and excludes relevant costs such as those related to acquisition, ongoing studies or
monitoring of a drug, and costs related to investments in technology that may apply to multiple
drugs. One commenter recommended CMS exclude from the definition of R&D costs post-
marketing clinical trials that were not completed and limit consideration of spending on
abandoned and failed projects to those that were conducted within a narrower timeframe. One
commenter expressed concern that the 8.1 percent capital rate specified in the guidance is too
low. A few commenters stated CMS’ approach for calculating recoupment of R&D costs by
comparing global net lifetime revenue for the selected drug with R&D costs attributable to FDA-
approved indications of the selected drug is imprecise or flawed and disadvantages the
manufacturer.

Response: CMS thanks these commenters for their feedback. After consideration of the
comments on this guidance and the Negotiation Data Elements ICR, CMS has revised Appendix
C to consolidate several R&D cost categories. Specifically, as revised, the category “Post-
Investigational New Drug (IND) Application Costs” includes costs for completed, FDA-required
post-marketing trials, which were previously in their own category. The category “All Other
R&D Direct Costs” includes costs associated with post-marketing trials that were not completed
or were conducted for the purposes of marketing claims, which were previously in their own
category. In addition, CMS revised the guidance to require reporting of acquisition costs as part
of R&D costs rather than market data and revenue and sales volume data. CMS also revised the
definition of basic pre-clinical research costs to clarify that the relevant time period for reporting
such costs begins on the later of the date of initial discovery or the date the Primary
Manufacturer acquired the right to hold the NDA(s) / BLA(s) of the selected drug. This revision
was made to clarify that CMS does not expect the Primary Manufacturer to submit R&D costs
for the time period prior to its acquisition of the rights to the selected drug.
       Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 89 of 199

                                                                                                              88


Acknowledging that not all costs are mutually exclusive among products and that manufacturer
investments can include failed drug candidates, CMS believes that for the purpose of the
Negotiation Program, the definition of R&D costs is sufficiently broad. As required in section
1194(e)(1)(A), CMS must consider R&D “costs of the manufacturer related to the [selected]
drug.” Expanding the definition of such costs to include failures of products with different active
moieties / active ingredients or mechanisms of action or in different therapeutic classes or other
non-specific innovation-related costs goes beyond considering costs related to the R&D of the
selected drug and does not provide a clear accounting of drug-specific R&D expenditures. In
defining R&D costs, CMS considered a multitude of sources including government reports,
literature searches, the FDA website, and discussions with experts. The definition is intended to
be sufficiently broad to accommodate differences in accounting policies and cost allocations
across different manufacturers. Manufacturers should submit additional R&D costs not included
in other R&D definitions as part of “All Other R&D Direct Costs”, as applicable. The 8.1
percent capital rate is consistent with assumptions used by the Congressional Budget Office in an
April 2021 study on R&D in the pharmaceutical industry. 26

CMS appreciates commenters sharing their concerns regarding comparisons of global, lifetime
net revenue for the selected drug with R&D costs attributable to FDA-approved indications of
the selected drug. CMS understands that R&D occurs globally and, as stated in the Negotiation
Data Elements ICR instructions, the Primary Manufacturer must report R&D costs incurred in
other countries that are related to the FDA-approved indication of a selected drug. As noted in
the ICR and Appendix C of this revised guidance, R&D costs exclude costs associated with
applying for and receiving foreign regulatory approvals. In response to commenters’ concerns,
CMS has revised Appendix C of this guidance, as well as the ICR, to clarify that CMS will
consider both a Primary Manufacturer’s global and also U.S. revenue when determining whether
to adjust the preliminary price based on manufacturer-submitted data. Further, to align reporting
of U.S. revenue with global total lifetime net revenue, CMS has (1) eliminated reporting of
quarterly gross U.S. revenue and (2) replaced reporting of quarterly net revenue for the selected
drug with U.S. lifetime net revenue for the selected drug.

Comment: Some commenters recommended CMS remove federal tax credits from the definition
of prior Federal financial support and limit consideration of prior Federal financial support to
only products with a patent application containing a Government Interest Statement and/or
research where a patent assignee was a U.S. government agency. One commenter recommended
that prior Federal financial support exclude indirect federal funding (e.g., provision of funding to
a third party which then provides funding to the manufacturer). One commenter suggested
including tax credits provided under the Orphan Drug Act and similar subsidies in addition to
grants and contracts. Another commenter recommended CMS use broad definitions for
“preclinical” and “novel discovery” to capture prior Federal financial support that occurs before
a manufacturer acquires a viable drug product.

Response: CMS thanks these commenters for their feedback. CMS disagrees that tax credits
should be excluded from the definition of prior Federal financial support. The federal
government supports drug research through tax incentives. The statute does not require that CMS

26
   Congressional Budget Office, “Research and Development in the Pharmaceutical Industry,” April 2021, available
at https://www.cbo.gov/publication/57126.
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 90 of 199

                                                                                                  89


only consider direct expenditures in prior Federal financial support or only government interest
patents. CMS believes that the definition of prior Federal financial support appropriately
captures industry and/or government standards in a manner that is consistent with the statutory
requirements to use such information.

Comment: Several commenters raised concerns about challenges with obtaining requested
information about current unit costs of production and distribution at the drug-specific level,
which they stated is inconsistent with reporting requirements of other governmental bodies such
as the SEC. One commenter recommended CMS allow manufacturers to use reasonable
assumptions based on existing audited financial reports submitted to the SEC and/or generally
accepted accounting principles. One commenter noted that it may not be able to obtain some of
these data from Secondary Manufacturers. One commenter recommended CMS include channel
fees in its definition of distribution costs. Several commenters recommended CMS allow
manufacturers discretion to include production and distribution costs that are available to them
and provide a narrative rationale for any factors they are not able to include.

Response: CMS appreciates commenters’ concerns and feedback. In response to comments,
CMS revised Appendix C to note that costs should be determined and reported in accordance
with generally accepted accounting principles. CMS believes the Primary Manufacturer, based
on its arrangements with Secondary Manufacturer(s), can reasonably ensure that the Primary
Manufacturer can comply with its negotiation program obligations with regarding to data
submission and ensuring the availability of MFP for selected drug sold by Secondary
Manufacturer(s). CMS notes that because the agreement is between CMS and the Primary
Manufacturer, it is the Primary Manufacturer’s responsibility to submit certain data that will
serve as the basis for offers and counteroffers. CMS declines to explicitly include channel fees in
its definition of costs of distribution and notes that the definition generally refers to all (direct
and allocation of indirect) costs related to packaging, labeling, and shipping operating costs for
facilities and transportation. CMS refers commenters to the Negotiation Data Elements ICR for
information about submitting explanations of various calculations, including unit production and
distribution costs. Finally, CMS notes that the definitions of unit costs of production and
distribution are intended to be sufficiently broad to account for various costs associated with
producing and distributing drugs or biological products.

Comment: One commenter noted that manufacturers define kits differently than the National
Council for Prescription Drug Programs (NCPDP) Billing Unit Standards that are referenced in
Appendix C. This commenter recommended including the definition to avoid confusion.

Response: This revised guidance includes a footnote to provide clarification with respect to the
definition of kits to be clear that CMS is adopting the NCPDP definition for kits.

Comment: Some commenters disagreed with the scope of patent and exclusivity information
that CMS proposed to collect and recommended CMS clarify and narrow the scope of these
reporting requirements to, for example, include only U.S. patents and applications directly
related to the Primary Manufacturer and/or selected drug. Some commenters also disagreed with
the patent-related definitions adopted by CMS. A few commenters requested clarity with respect
to certain terms used in this section, including the meaning of patents “linked to” or “relating to”
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 91 of 199

                                                                                                  90


the selected drug. One commenter recommended removing required reporting of reference
product exclusivity for biologics, stating that FDA only makes this determination if there is a
regulatory necessity (as opposed to at the time of approval). A few commenters also
recommended CMS obtain information about approved patent applications and marketing
applications from FDA resources such as the Orange Book and Purple Book and that
manufacturers be allowed to reference those sources in their submissions to CMS to reduce
burden. One commenter recommended CMS align its terminology and standards with other
federal laws and regulations such as those of FDA.

Response: CMS thanks these commenters for their suggestions. In drafting the Patents,
Exclusivities, and Approvals section of Appendix C and the Negotiation Data Elements ICR,
CMS consulted with the United States Patent and Trademark Office (USPTO) and reviewed the
FD&C Act and FDA regulations. After consideration of the comments, CMS has revised
Appendix C of this guidance to remove certain definitions and provide additional information
about the types of patents and patent applications that CMS considers to be “related to” the
selected drug. While CMS understands that certain patent information is submitted to other
agencies and is publicly available in the FDA Orange and Purple Books, section 1194(e)(1)(D)
of the Act requires that manufacturers submit patent information to CMS. Although some of the
requested data may be publicly available, CMS may not be able to ensure that such data are
complete or up-to-date. Further, other information required by section 1194(e)(1)(D) of the Act,
for example, information about pending patent applications, may not be publicly available. CMS
understands that FDA has not made a determination of first licensure for each 351(a) biological
product included in the Purple Book and that the absence of a date of first licensure in the Purple
Book does not mean that a biological product on the list is not, or was not, eligible for the
periods of exclusivity described under the PHS Act. CMS expects that the Primary Manufacturer
will report any periods of reference product exclusivity for the selected drug to the extent the
determination of exclusivity is listed in the Purple Book.

Comment: A few commenters raised concerns that CMS’ definitions in the Market Data
Revenue and Sales Volume Data section were too broad and burdensome given the timeframe to
collect data from all Secondary Manufacturers. Some commenters opposed CMS’ intent to
collect certain metrics such as “U.S. commercial average net unit price” and “manufacturer
average net unit price to Part D plan sponsors.” A few commenters requested CMS withdraw or
clarify these metrics. Some commenters also were concerned with CMS requesting data on
patient assistance, noting that patient assistance is not a form of price concession or
remuneration. One commenter requested CMS remove all reporting of patient assistance or,
minimally, clarify that patient assistance programs are defined as charitable free drug programs.
One commenter noted the definitions included vague timeframes, which could lead to data
discrepancies, and recommended CMS consider including firm dates in definitions. For example,
the commenter suggested clarifying “quarterly total U.S. unit volume” and providing a specific
quarter on which to report, including which specific quarter in the past five years. One
commenter stated that the information collected pursuant to the definitions are considered
confidential and proprietary information.

Response: CMS appreciates commenters’ concerns. The statute requires CMS to broadly
consider market data and revenue and sales data. As noted in guidance, CMS considers these
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 92 of 199

                                                                                              91


data to include WAC, Medicaid best price, AMP, FSS price, Big Four price, and U.S.
commercial average net unit price, among other data. Data related to these definitions will be
considered, in part, as the basis for offers and counteroffers. CMS clarified in Appendix C that
patient assistance programs include manufacturer-run patient assistance programs that provide
financial assistance such as coupons or copayment assistance or free drug products. In response
to comments, CMS removed the metrics “manufacturer average net unit price to Part D plan
sponsors” and “quarterly total U.S. unit volume.” CMS removed “manufacturer average net unit
price to Part D plan sponsors” because CMS does not plan to consider this information for the
purposes of developing the initial offer. CMS removed “quarterly total U.S. volume” because
CMS collects this information in other questions in the Negotiation Data Elements ICR (CMS-
10847 / OMB 0938-NEW). CMS refers interested parties to the revised version of the
Negotiation Data Elements ICR that is open for a 30-day public comment period through July
31, 2023. With respect to the comment about confidential and proprietary information,
proprietary information, including trade secrets and confidential commercial or financial
information, CMS will protect the confidentiality of any proprietary information from Primary
Manufacturers or Secondary Manufacturers (described in section 40.2.1) as required under
section 1193(c) of the Act and other applicable law.

  Timeline for Medicare Drug Price Negotiation Program Initial Price Applicability Year
                                         2026

 Date           Milestone
 June 30, 2023  Revised Negotiation Program guidance is published by CMS.
 July 3, 2023   Latest date to submit Small Biotech Exception request to CMS for initial
                price applicability year 2026.
 September 1,   CMS publishes list of up to 10 selected drugs for initial price applicability
 2023*          year 2026 of the Negotiation Program.
 October 1,     Latest date for manufacturers of selected drugs to enter into a Medicare
 2023*          Drug Price Negotiation Program Agreement with CMS. Manufacturers of
                selected drugs without an Agreement in place are referred to IRS.
 October 2,     Manufacturers’ section 1194(e)(1) data submissions due to CMS. All
 2023*          voluntary submissions of section 1194(e)(2) data are also due on this date.
 Fall 2023      CMS meets with the manufacturer of each selected drug to review data
                submissions, subject to manufacturer’s interest in such meeting.
 Fall 2023      CMS holds listening sessions with patients, consumer groups, and other
                interested parties to obtain input on selected drugs.
 February 1,    Latest date for CMS initial offers to manufacturers for selected drugs,
 2024*          including concise justification of the initial offer.
 March 2, 2024* Latest date for counteroffers from manufacturers, if applicable, assuming
                initial offer sent to manufacturer by CMS on February 1, 2024.
 April 1, 2024  Latest date for CMS to act on manufacturer counteroffer, assuming
                counteroffer is received by CMS on March 2, 2024. CMS may accept or
                decline such counteroffer.
 April 1, 2024  Latest date for first CMS-manufacturer negotiation meeting to be scheduled
                if CMS declines the counteroffer, assuming initial offer was sent by CMS on
                February 1, 2024.
       Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 93 of 199

                                                                                                                    92


 ~April 1, 2024 Up to three possible negotiation meetings between the manufacturer and
 through June   CMS to negotiate MFP for the selected drug. Meetings can begin in late
 28, 2024       March or April depending on when CMS declines the counteroffer, if
                applicable, and scheduling.
 July 15, 2024  Latest date for final CMS MFP offers to manufacturers if MFP not agreed to
                during negotiations.
 July 31, 2024  Manufacturer response due to CMS regarding final CMS MFP offer.
 August 1,      End of negotiation period for initial price applicability year 2026.
 2024*          Manufacturers of selected drugs without an MFP in place are referred to
                IRS.
 September 1,   MFPs published for up to 10 selected drugs for 2026 for which MFP
 2024*          agreement has been reached with the manufacturer. CMS will publish the
                following on the CMS website: the selected drug, the initial price
                applicability year, and the MFP file (which would be updated annually to
                show the inflation-adjusted MFP for a selected drug).
 March 1, 2025* CMS publishes explanation of MFP for each selected drug for which MFP
                agreement has been reached with the manufacturer. CMS will also release
                redacted information regarding the section 1194(e) data received, exchange
                of offers and counteroffers, and the negotiation meetings, if applicable.
 January 1,     MFPs for the selected drugs for which MFP agreement has been reached
 2026*          with the manufacturer go into effect.

*Denotes statutory dates

D. Revised Guidance on Medicare Prescription Drug Negotiation Program

10. Introduction
The purpose of this revised guidance is to provide interested parties with information regarding
CMS’ implementation of sections 11001 and 11002 of the Inflation Reduction Act (IRA) (P.L.
117-169), signed into law on August 16, 2022, which establish the Medicare Drug Price
Negotiation Program (hereafter the “Negotiation Program”) to negotiate maximum fair prices
(MFPs) 27 for certain high expenditure, single source drugs and biological products. The
requirements for this program are described in sections 1191 through 1198 of the Social Security
Act (hereafter “the Act”) as added by sections 11001 and 11002 of the IRA.

Sections 11001(c) and 11002(c) of the IRA direct the Secretary of the Department of Health and
Human Services (hereafter “the Secretary”) to implement the Negotiation Program for 2026,
2027, and 2028 by program instruction or other forms of program guidance. In accordance with
the law, the Centers for Medicare & Medicaid Services (CMS) is issuing this revised guidance
for implementation of the Negotiation Program for initial price applicability year 2026.



27
  In accordance with section 1191(c)(3) of the Social Security Act, maximum fair price means, with respect to a
year during a price applicability period and with respect to a selected drug (as defined in section 1192(c) of the Act)
with respect to such period, the price negotiated pursuant to section 1194 of the Act, and updated pursuant to section
1195(b) of the Act, as applicable, for such drug and year.
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 94 of 199

                                                                                                 93


This revised guidance is not subject to the notice-and-comment requirements of the
Administrative Procedure Act (“APA”) or the Medicare statute, due to the requirement in
sections 11001(c) and 11002(c) of the IRA to implement the Negotiation Program for 2026,
2027, and 2028 by program instruction or other forms of program guidance. The terms “program
instruction” and “program guidance” are terms of art that Congress routinely uses in Medicare
statutes to refer to agency pronouncements other than notice-and-comment rulemaking. The
statutory directive in sections 11001(c) and 11002(c) thus specifies that CMS shall follow
policymaking procedures that differ from the notice-and-comment procedures that would
otherwise apply under the APA or the Medicare statute. Congress underscored this directive by
placing the Negotiation Program in the newly-enacted Part E of Title XI of the Social Security
Act.

Moreover, as explained in the initial memorandum, to the extent that this revised guidance
establishes or changes any substantive legal standard, CMS found that notice and public
procedure on this revised guidance would be impracticable, unnecessary, and contrary to the
public interest in light of the statutory requirement to implement the Negotiation Program for
2026 by program instruction and in light of the complexity of the preparation that must be
undertaken in advance of the publication by September 1, 2023 of the selected drug list for initial
price applicability year 2026. In particular, manufacturers need to take a number of actions well
in advance of September 1, 2023, to prepare for the possibility that a drug that they manufacture
might be included on the selected drug list for initial price applicability year 2026. For example,
manufacturers may need to engage in internal discussions regarding whether the manufacturer
would choose to participate in the Negotiation Program if its drug is included among the selected
drug list published on September 1, 2023, review the template Medicare Drug Price Negotiation
Program Agreement and guidance to understand Negotiation Program requirements for
participating manufacturers in advance of the statutory deadline for entering agreements of
October 1, 2023, and gather information for potential submission to CMS by the statutory
deadline of October 2, 2023. In addition, for the reasons explained below, the deadline for a
biosimilar manufacturer to submit a delay request under section 1192(f) was May 22, 2023. CMS
could not have proceeded through notice-and-comment rulemaking and still provided interested
parties with guidance sufficiently far in advance of these statutory deadlines to allow them
adequate time to complete their preparations for participation in the Negotiation Program. Thus,
CMS concluded that there was good cause to issue certain specified parts of the initial
memorandum as final (i.e., section 30) without public comment and without a delayed effective
date. Although CMS has endeavored to solicit public comment and to respond to comments to
the extent that it would be feasible to do so consistent with the statutory deadlines for
implementation of the Negotiation Program, CMS also concludes that there is good cause to
issue this revised guidance as final without the 60-day period for public comment under the
Medicare statute, and without a delayed effective date, in order to meet the statutory deadlines of
the Negotiation Program and consistent with the authority provided to CMS in sections 11001(c)
and 11002(c) of the IRA. See 5 U.S.C. § 553(b)(B) & (d)(3); see also section 1871(b)(2)(C) of
the Act.

In this revised guidance, CMS has made clarifications and changes to the policies described in
the initial memorandum in response to comments and based on CMS’ further consideration of
the relevant issues, including policies on which CMS did not expressly solicit comment.
       Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 95 of 199

                                                                                                94



This revised guidance describes how CMS will implement the Negotiation Program for initial
price applicability year 2026 (January 1, 2026 to December 31, 2026), and specifies the
requirements that will be applicable to manufacturers of drugs that are selected for negotiation
and the procedures that may be applicable to drug manufacturers, Medicare Part D plans (both
Prescription Drug Plans (PDPs) and Medicare Advantage Prescription Drug (MA-PD) Plans),
pharmacies, mail order services, and other dispensing entities that dispense drugs covered under
Medicare Part D.

If any provision in this revised guidance is held to be invalid or unenforceable, it shall be
severable from the remainder of this revised guidance, and shall not affect the remainder thereof,
or the application of the provision to other persons or circumstances.
The table of contents for this revised guidance is as follows:
   •   Section 10 – Introduction
   •   Section 20 – Overview
   •   Section 30 – Identification of Selected Drugs for Initial Price Applicability Year 2026
          o 30.1 Identification of Qualifying Single Source Drugs for Initial Price
              Applicability Year 2026
                   30.1.1 Orphan Drug Exclusion from Qualifying Single Source Drugs
                   30.1.2 Low-Spend Medicare Drug Exclusion from Qualifying Single
                      Source Drugs
                   30.1.3 Plasma-Derived Product Exclusion from Qualifying Single Source
                      Drugs
          o 30.2 Identification of Negotiation-Eligible Drugs for Initial Price Applicability
              Year 2026
                   30.2.1 Exception for Small Biotech Drugs
          o 30.3 Selection of Drugs for Negotiation for Initial Price Applicability Year 2026
                   30.3.1 Delay in the Selection and Negotiation of Certain Biologics with
                      High Likelihood of Biosimilar Market Entry
                          • 30.3.1.1 Requirements for Granting an Initial Delay Request for
                              Initial Price Applicability Year 2026
                          • 30.3.1.2 High Likelihood
                          • 30.3.1.3 Submitting an Initial Delay Request for Initial Price
                              Applicability Year 2026
                          • 30.3.1.4 Process and Timing After Submission of an Initial Delay
                              Request for Initial Price Applicability Year 2026
          o 30.4 Publication of the Selected Drugs List
   •   Section 40 – Requirements for Manufacturers of Selected Drugs for Initial Price
       Applicability Year 2026
          o 40.1 Entrance into an Agreement with CMS and Alternatives
          o 40.2 Submission of Manufacturer Data to Inform Negotiation
                   40.2.1 Confidentiality of Proprietary Information
                   40.2.2 Data and Information Use Provisions and Limitations
                   40.2.3 Opportunity for Corrective Action Following Information
                      Submission
    Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 96 of 199

                                                                                    95


       o 40.3 Negotiation and Agreement to an MFP and Renegotiation in Later Years
       o 40.4 Providing Access to the MFP
                40.4.1 Nonduplication with 340B Ceiling Price
       o 40.5 Compliance with Administrative Actions and Monitoring of the Drug Price
           Negotiation Program
       o 40.6 Termination of the Agreement
       o 40.7 Other Provisions in the Agreement
•   Section 50 – Negotiation Factors
       o 50.1 Manufacturer-Specific Data
                50.1.1 Non-FAMP Data
       o 50.2 Evidence About Therapeutic Alternatives for the Selected Drug
•   Section 60 – Negotiation Process
       o 60.1 Establishment of a Single MFP for Negotiation Purposes
       o 60.2 Limitations on Offer Amount
                60.2.1 Determination of the Ceiling for the MFP
                60.2.2 Sum of the Plan-Specific Enrollment Weighted Amounts
                60.2.3 Average Non-Federal Average Manufacturer Price
                60.2.4 Selection and Application of the Ceiling for the MFP
       o 60.3 Methodology for Developing an Initial Offer
                60.3.1 Identifying Indications for the Selected Drug and Therapeutic
                  Alternatives for Each Indication
                60.3.2 Developing a Starting Point for the Initial Offer
                60.3.3 Adjusting the Starting Point Based on Clinical Benefit
                      • 60.3.3.1 Analysis for Selected Drugs with Therapeutic
                          Alternative(s)
                      • 60.3.3.2 Analysis for Selected Drugs Without Therapeutic
                          Alternatives
                      • 60.3.3.3 Preliminary Price
                60.3.4 Adjusting the Preliminary Price Based on Consideration of
                  Manufacturer-Specific Data
       o 60.4 Negotiation Process
                60.4.1 Provision of an Initial Offer and Justification
                60.4.2 Required Components of a Counteroffer
                60.4.3 Negotiation Process After Manufacturer Counteroffer
                60.4.4 Determination that Negotiations Have Finished
       o 60.5 Application of the MFP Across Dosage Forms and Strengths
                60.5.1 Application of the MFP to New NDAs / BLAs or NDCs
       o 60.6 Publication of the MFP
                60.6.1 Explanation for the MFP
       o 60.7 Exclusion from the Negotiation Process Based on Generic or Biosimilar
           Availability
       o 60.8 Establishment of MFPs After the Negotiation Deadline
•   Section 70 – Removal from the Selected Drug List Before or During Negotiation, or
    After an MFP is in Effect
•   Section 80 – MFP-Eligible Individuals
•   Section 90 – Manufacturer Compliance and Oversight
           Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 97 of 199

                                                                                                         96


               o 90.1 Monitoring of Manufacturer Compliance
               o 90.2 Monitoring of Access to the MFP
               o 90.3 26 U.S.C. Section 5000D Excise Tax on Sale of Designated Drugs
               o 90.4 Monitoring for Bona Fide Marketing of Generic or Biosimilar Product
       •   Section 100 – Civil Monetary Penalties
               o 100.1 Failure of Manufacturer to Ensure Access to a Price Less than or Equal to
                   the MFP
               o 100.2 Violations of the Agreement
               o 100.3 Provision of False Information Related to the Small Biotech Exception and
                   the Biosimilar Delay Rule
               o 100.4 Notice and Appeal Procedures
       •   Section 110 – Part D Formulary Inclusion of Selected Drugs
       •   Section 120 – Application of Medicare Part B and Part D Prescription Drug Inflation
           Rebate Programs to Selected Drugs
       •   Appendix A – Email Template for Biosimilar Manufacturer to Indicate Intent to Submit
           an Initial Delay Request for Initial Price Applicability Year 2026
       •   Appendix B – Template for the Initial Delay Request Form
       •   Appendix C – Definitions for Purposes of Collecting Manufacturer-Specific Data

20. Overview
In accordance with sections 11001 and 11002 of the IRA, which created Part E under Title XI of
the Act (sections 1191 through 1198), the Secretary is required to establish the Negotiation
Program to negotiate MFPs for certain high expenditure, single source Medicare drugs. With
respect to each initial price applicability year, CMS shall (1) publish a list of selected drugs in
accordance with section 1192 of the Act; (2) enter into agreements with manufacturers of
selected drugs in accordance with section 1193 of the Act; (3) negotiate and, if applicable,
renegotiate MFPs for such selected drugs, in accordance with section 1194 of the Act; (4)
publish MFPs for selected drugs in accordance with section 1195 of the Act; (5) carry out
administrative duties and compliance monitoring in accordance with section 1196 of the Act; and
(6) impose civil monetary penalties (CMPs) in accordance with section 1197 of the Act. Section
1198 of the Act establishes certain limitations on administrative and judicial review relevant to
the Negotiation Program.

As noted above, in order to facilitate the timely implementation of the Negotiation Program,
CMS issued section 30 of the initial memorandum as final, without a comment solicitation (with
the exception of the Small Biotech Exception Information Collection Request (ICR), 28 as
discussed in section 30.2.1 of this revised guidance). To allow for public input, CMS voluntarily
solicited comments on all other sections of the initial memorandum except for section 90.3
(which states that the Treasury Department will issue guidance relating to the excise tax in the
coming weeks), and specifically on certain topics in the initial memorandum, including:
    • Terms and conditions contained in the manufacturer agreement, including the
        manufacturer’s and CMS’ responsibilities (included in section 40 of this revised
        guidance);


28
     This ICR was approved on May 26, 2023. Small Biotech Exception (CMS-10844; OMB Control No. 1938-1443).
         Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 98 of 199

                                                                                                                     97


     •   Approach for considering (1) the manufacturer-reported data elements and (2) evidence
         about alternative treatments (included in section 60 of this revised guidance);
     •   Process for the offer and counteroffer exchange between CMS and manufacturers
         (included in section 60 of this revised guidance);
     •   Content of an explanation for the MFP (included in section 60 of this revised guidance);
     •   Method for applying the MFP across different dosage forms and strengths of a selected
         drug (included in section 60 of this revised guidance);
     •   Dispute resolution process for specific issues that are not exempt from administrative and
         judicial review under section 1198 (included in section 40.5 of this revised guidance);
         and
     •   Processes for compliance monitoring and imposition of CMPs for violations (included in
         sections 90 and 100 of this revised guidance).

In this revised guidance, CMS has made clarifications and changes in response to comments and
based on CMS’ further consideration of the relevant issues, including policies on which CMS did
not expressly solicit comment.

30. Identification of Selected Drugs for Initial Price Applicability Year 2026
In order to facilitate the timely implementation of the Negotiation Program in accordance with
statutory deadlines, CMS issued section 30 of the initial memorandum as final, without a
comment solicitation (with the exception of the Small Biotech Exception ICR, as described in
section 30.2.1 of this revised guidance). While CMS did not solicit comment in response to
section 30, CMS did receive many thoughtful comments, and based on these comments and
further consideration of the relevant issues, CMS identified certain policies where revisions to
clarify the policy described in the initial memorandum would facilitate the implementation of the
Negotiation Program for initial price applicability year 2026. CMS has noted in section 30, and
in the summary of key changes and clarifications, where clarifying revisions were made.

Section 1192 of the Act establishes the requirements governing the identification of qualifying
single source drugs, the identification of negotiation-eligible drugs, the ranking of negotiation-
eligible drugs and identification of selected drugs, and the publication of the list of selected drugs
for an initial price applicability year. First, CMS will identify qualifying single source drugs in
accordance with section 1192(e) of the Act, as described in section 30.1 of this revised guidance.
CMS will exclude certain drugs in accordance with section 1192(e)(3) of the Act. Next, in
accordance with section 1192(d) of the Act, using Total Expenditures 29 under Part D of Title
XVIII for these qualifying single source drugs calculated using Part D prescription drug event
(PDE) data for dates of service between June 1, 2022, and May 31, 2023, and other information
described below, CMS will identify negotiation-eligible drugs for initial price applicability year

29
   For the purposes of the Negotiation Program, Total Expenditures under Part D of Title XVIII are defined in
section 1191(c)(5) as total gross covered prescription drug costs (as defined in section 1860D-15(b)(3)). The term
“gross covered prescription drug costs” is also defined in the Part D regulations at 42 C.F.R. § 423.308. In the initial
memorandum, CMS indicated that it had proposed to update this regulatory definition of gross covered prescription
drug costs to eliminate any potential ambiguity in the regulation text and help to ensure there is a consistent
understanding of the term for purposes of both the Part D program and the IRA. Since the initial memorandum was
issued, CMS has issued a final rule adopting the proposed revisions to 42 C.F.R. § 423.308. (See Contract Year
2024 Policy and Technical Changes to the Medicare Advantage and Medicare Prescription Drug Benefit Programs
Final Rule (0938-AU96), 88 Fed. Reg. 22,120, 22,259 (Apr. 12, 2023)).
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 99 of 199

                                                                                                   98


2026 as described in section 30.2 of this revised guidance (in this step, CMS will also exclude
certain drugs in accordance with section 1192(d)(2) and (3) of the Act).

In accordance with section 1192(d)(1) of the Act, CMS will rank negotiation-eligible drugs for
initial price applicability year 2026 according to the Total Expenditures for such drugs under Part
D of Title XVIII for the 12-month period described above (described in section 30.3 of this
revised guidance). In accordance with section 1192(a) of the Act and subject to the Special Rule
to delay the selection and negotiation of biologics for biosimilar market entry described in
section 1192(f) of the Act, CMS will select the 10 negotiation-eligible drugs with the highest
Total Expenditures under Part D of Title XVIII for negotiation for initial price applicability year
2026 (described in section 30.3 of this revised guidance) and publish a list of those ten selected
drugs not later than September 1, 2023 (described in section 30.4 of this revised guidance).
Figure 1 provides a visual depiction of this process, and detailed guidance pertaining to this
process for initial price applicability year 2026 is included below.

Figure 1: Diagram of Process for Selecting Drugs for Negotiation for Initial Price
Applicability Year 2026


                                                                   Removal:
                                             Exception:               Delayed biologics due
                                                Small biotech         to high likelihood of
                                                drugs                 biosimilar market
                                                                      entry




                         Excludes:
                             Certain orphan drugs
                             Low-spend Medicare drugs
                             Plasma-derived products




30.1 Identification of Qualifying Single Source Drugs for Initial Price Applicability Year
2026
For initial price applicability year 2026, in accordance with section 1192(e)(1) of the Act, CMS
will define a qualifying single source drug as a covered Part D drug (as defined in section
1860D-2(e) of the Act) that meets the following criteria:
    • For drug products, a qualifying single source drug is a drug (1) that is approved under
        section 505(c) of the Federal Food, Drug, and Cosmetic Act (FD&C Act) and marketed
        pursuant to such approval; (2) for which, as of the selected drug publication date with
        respect to a given initial price applicability year, at least 7 years have elapsed since the
         Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 100 of 199

                                                                                                                 99


          date of such approval; and (3) that is not the listed drug for any drug approved and
          marketed under an Abbreviated New Drug Application (ANDA) under section 505(j) of
          the FD&C Act.
     •    For biological products, a qualifying single source drug is a biological product (1) that is
          licensed under section 351(a) of the Public Health Service Act (PHS Act) and marketed
          pursuant to such licensure; (2) for which, as of the selected drug publication date with
          respect to a given initial price applicability year, at least 11 years have elapsed since the
          date of such licensure; and (3) that is not the reference product for any biological product
          that is licensed and marketed under section 351(k) of the PHS Act.

Section 1192(d)(3)(B) of the Act states that CMS shall use data that are aggregated across
dosage forms and strengths of the drug, including new formulations of the drug, such as an
extended release formulation, and not based on the specific formulation, package size, or
package type of the drug for purposes of determining whether a qualifying single source drug is a
negotiation-eligible drug under section 1192(d)(1) of the Act and applying the exception for
small biotech drugs under section 1192(d)(2) of the Act. Similarly, section 1196(a)(2) of the Act
directs CMS to establish procedures “to compute and apply the maximum fair price across
different strengths and dosage forms of a selected drug and not based on the specific formulation
or package size or package type of such drug.”

Identifying potential qualifying single source drugs:
In accordance with the statutory language cited above, for purposes of the Negotiation Program,
CMS will identify a potential qualifying single source drug 30 using:
     • For drug products, all dosage forms and strengths of the drug with the same active
        moiety and the same holder of a New Drug Application (NDA) 31, inclusive of products
        that are marketed pursuant to different NDAs. The potential qualifying single source
        drug will also include all dosage forms and strengths of the drug with the same active
        moiety and marketed pursuant to the same NDA(s) described in the prior sentence that
        are: (1) repackaged and relabeled products that are marketed pursuant to such NDA(s),
        (2) authorized generic drugs that are marketed pursuant to such NDA(s), and (3) multi-
        market approval (MMA) products imported under section 801(d)(1)(B) of the FD&C
        Act that are marketed pursuant to such NDA(s);
     • For biological products, all dosage forms and strengths of the biological product with the
        same active ingredient and the same holder of a Biologics License Application (BLA), 32
        inclusive of products that are marketed pursuant to different BLAs. The potential
        qualifying single source drug will also include all dosage forms and strengths of the
        biological product with the same active ingredient and marketed pursuant to the same
        BLA(s) described in the prior sentence that are: (1) repackaged and relabeled products
        that are marketed pursuant to such BLA(s), (2) authorized biologic products that are
        marketed pursuant to such BLA(s), and (3) MMA products imported under section
        801(d)(1)(B) of the FD&C Act that are marketed pursuant to such BLA(s).

30
   Throughout this revised guidance, a qualifying single source drug means the specific constituent dosage forms and
strengths (at the NDC-9 or NDC-11 level) that are identified as aggregated under the NDA(s) / BLA(s) for the active
moiety / active ingredient as outlined in section 30.1 of this revised guidance.
31
   As described in section 505(c) of the FD&C Act.
32
   As described in section 351(a) of the PHS Act.
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 101 of 199

                                                                                                                100



As an example, entity A holds three NDAs for drug products with the same active moiety
approved in NDA-1, NDA-2, and NDA-3. Entity A manufactures and markets three different
strengths as an immediate release tablet pursuant to NDA-1, three different strengths as an
extended-release tablet pursuant to NDA-2, and three different strengths as a subcutaneous
injectable pursuant to NDA-3. Additionally, under an agreement with entity A, entity B
repackages three strengths of the immediate release tablets manufactured by entity A and
markets them pursuant to NDA-1. In this scenario, all 12 of these drug products, including the
repackaged products, will be aggregated as a single potential qualifying single source drug for
purposes of identifying negotiation-eligible drugs.

This approach to identifying a potential qualifying single source drug aligns with the requirement
in section 1192(d)(3)(B) of the Act to use data aggregated across dosage forms and strengths of
the drug, including new formulations of the drug. Consistent with this statutory instruction, this
approach is also appropriate because CMS is aware that new dosage forms or different routes of
administration of the same active moiety / active ingredient have been submitted by the same
NDA / BLA holder and approved under different NDAs or BLAs.

Section 1192(e)(2)(A) of the Act states that an authorized generic drug and the qualifying single
source drug that is the listed drug or reference product of that authorized generic drug shall be
treated as the same qualifying single source drug. An authorized generic drug is defined in
section 1192(e)(2)(B) of the Act as (1) in the case of a drug product, an authorized generic drug
(as such term is defined in section 505(t)(3) of the FD&C Act), and (2) in the case of a biological
product, a product that has been licensed under section 351(a) of the PHS Act 33 and is marketed,
sold, or distributed, directly or indirectly to the retail class of trade under a different labeling,
packaging (other than repackaging as the reference product in blister packs, unit doses, or similar
packaging for institutions), product code, labeler code, trade name, or trademark.

If a drug is a fixed combination drug 34 with two or more active moieties / active ingredients, the
distinct combination of active moieties / active ingredients will be considered as one active
moiety / active ingredient for the purpose of identifying qualifying single source drugs.
Therefore, all formulations of this distinct combination offered by the same NDA / BLA holder
will be aggregated across all dosage forms and strengths of the fixed combination drug. A
product containing only one (but not both) of the active moieties / active ingredients that is
offered by the same NDA / BLA holder will not be aggregated with the formulations of the fixed
combination drug and will be considered a separate potential qualifying single source drug. For
example, a long-acting corticosteroid inhaler would not be aggregated with a fixed combination
inhaler from the same NDA / BLA holder that contains the same corticosteroid combined with a
long-acting beta agonist. In this example, the long-acting corticosteroid inhaler would be
considered as a separate potential qualifying single source drug from the fixed combination
inhaler.


33
   CMS is interpreting the reference to “licensed under section 351(a) of such Act” to mean licensed under section
351(a) of the PHS Act. Section 351(a) of the PHS Act addresses the licensure of a biological product.
34
   For purposes of the Negotiation Program, the term “fixed combination drug” has the meaning specified in 21
C.F.R. § 300.50.
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 102 of 199

                                                                                                                   101


Applying statutory criteria for qualifying single source drugs:
In accordance with section 1192(e)(1) of the Act, to be considered a qualifying single source
drug, at least 7 years (for drug products) or 11 years (for biological products) must have elapsed
between the U.S. Food and Drug Administration (FDA) date of approval or licensure, as
applicable, and the selected drug publication date. To determine the date of approval or licensure
for a potential qualifying single source drug with more than one FDA application number, CMS
will use the earliest date of approval or licensure of the initial FDA application number assigned
to the NDA / BLA holder for the active moiety / active ingredient, or in the case of fixed
combination drugs, for the distinct combination of active moieties / active ingredients. The
selected drug publication date for initial price applicability year 2026 is September 1, 2023, as
specified in section 1191(d)(1) of the Act. As such, for initial price applicability year 2026, the
initial approval for a drug product to be considered a qualifying single source drug must have
been on or before September 1, 2016, and the date of initial licensure for a biological product to
be considered a qualifying single source drug must have been on or before September 1, 2012.

For example, if 12 years had elapsed between the original approval for NDA-1 cited in the
previous example above and September 1, 2023, then the potential qualifying single source drug
defined above would meet this statutory criterion for qualifying single source drugs (even if less
than seven years had elapsed between the approval dates for NDA-2 or NDA-3 and September 1,
2023), consistent with the statutory directives in section 1192(d)(3)(B) of the Act to aggregate
data across dosage forms and strengths of the drug, including new formulations of the drug.

In accordance with section 1192(e)(1) of the Act, to be considered a qualifying single source
drug, a product cannot be the listed drug for any drug approved and marketed under an ANDA
under section 505(j) of the FD&C Act, and a biological product cannot be the reference product
for any biological product that is licensed and marketed under section 351(k) of the PHS Act.
CMS will use FDA reference sources, including the Orange Book 35 and Purple Book, 36 to
determine whether a generic drug or biosimilar biological product has been approved or licensed
for any of the strengths or dosage forms of the potential qualifying single source drugs for initial
price applicability year 2026.

In accordance with section 1192(c) and (e) of the Act for the purpose of identifying qualifying
single source drugs for initial price applicability year 2026, CMS is clarifying in this revised
guidance that it will review PDE data for the 12-month period beginning August 16, 2022 and
ending August 15, 2023, using PDE data available on August 16, 2023, as well as Average
Manufacturer Price (AMP) 37 data for the 12-month period beginning August 1, 2022 and ending
July 31, 2023, using the AMP data available on August 16, 2023, for a given generic drug or
biosimilar biological product for which a potential qualifying single source drug is the listed drug
or reference product. The determination whether a generic drug or biosimilar is marketed on a
bona fide basis will be a holistic inquiry, but these sources of data over the specified intervals

35
   See: https://www.accessdata.fda.gov/scripts/cder/ob/index.cfm.
36
   See: https://purplebooksearch.fda.gov/.
37
   Average Manufacturer Price means, with respect to a covered outpatient drug of a manufacturer for a rebate
period (calendar quarter), the average price paid to the manufacturer for the drug in the United States by: (i)
wholesalers for drugs distributed to retail community pharmacies; and, (ii) retail community pharmacies that
purchase drugs directly from the manufacturer, subject to certain exclusions. See section 1927(k)(1) of the Act.
         Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 103 of 199

                                                                                                102


will be informative for that determination. CMS will consider a generic drug or biosimilar
biological product to be marketed when the totality of the circumstances, including these data,
reveals that the manufacturer of that drug or product is engaging in bona fide marketing of that
drug or product (see section 70 of this revised guidance for additional details). CMS has chosen
these time periods to enable CMS to use the most recent possible data to make this determination
while still allowing for sufficient time to inform the selected drug list published by September 1,
2023 in accordance with section 1192(a) of the Act.

If any strength or dosage form of a potential qualifying single source drug is the listed drug or
reference product, as applicable, for one or more generic or biosimilar biological products that
CMS determines are approved and marketed based on the process described in this revised
guidance, the potential qualifying single source drug will not be considered a qualifying single
source drug for initial price applicability year 2026. If CMS determines that the potential
qualifying single source drug will not be considered a qualifying single source drug for initial
price applicability year 2026 because a manufacturer of such generic drug or biosimilar
biological product has engaged in bona fide marketing of the generic drug or biosimilar
biological product, CMS will monitor to ensure continued bona fide marketing of the generic
drug or biosimilar biological product based on the approach described in section 90.4 of this
revised guidance.
30.1.1 Orphan Drug Exclusion from Qualifying Single Source Drugs
In accordance with section 1192(e)(3)(A) of the Act, CMS will exclude certain orphan drugs
when identifying qualifying single source drugs (“the Orphan Drug Exclusion”). Specifically,
CMS will exclude a drug or biological product that is designated as a drug for only one rare
disease or condition under section 526 of the FD&C Act and for which the only approved
indication (or indications) is for such disease or condition. To be considered for the Orphan Drug
Exclusion, the drug or biological product must (1) be designated as a drug for only one rare
disease or condition under section 526 of the FD&C Act and (2) be approved by the FDA only
for one or more indications within such designated rare disease or condition. CMS is clarifying
in this revised guidance that a drug that has orphan designations for more than one rare disease
or condition will not qualify for the Orphan Drug Exclusion, even if the drug has not been
approved for any indications for the additional rare disease(s) or condition(s). CMS further
clarifies that it will consider only active designations and active approvals when evaluating a
drug for the Orphan Drug Exclusion; that is, CMS will not consider withdrawn orphan
designations or withdrawn approvals as disqualifying a drug from the Orphan Drug Exclusion.

In order to qualify for the Orphan Drug Exclusion, all dosage forms and strengths of the
qualifying single source drug described in section 30.1 of this revised guidance must meet the
criteria for exclusion. CMS will use the FDA Orphan Drug Product designation database 38 and
approvals on the FDA website 39 to determine whether a drug meets the requirements in section
1192(e)(3)(A) of the Act to qualify for the Orphan Drug Exclusion. CMS will also consult with
FDA as needed, including to determine whether a drug is designated for, or approved for
indications for, one or more rare disease(s) or condition(s). In this revised guidance, CMS is
clarifying that, in the event that a drug or biological product loses Orphan Drug Exclusion status,

38
     See: https://www.accessdata.fda.gov/scripts/opdlisting/oopd/.
39
     See: https://www.accessdata.fda.gov/scripts/cder/daf/.
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 104 of 199

                                                                                                                103


pursuant to sections 1192(e)(1)(A)(ii) and (B)(ii) of the Act, CMS will use the date of the earliest
approval or licensure of the drug or biological product (as described above in section 30.1) to
determine whether the product is a qualifying single source drug that may be selected for
negotiation if it meets all other Negotiation Program eligibility criteria, regardless of whether the
drug or biological product previously qualified for an exclusion under section 1192(e)(3)(A) of
the Act.

As noted in the initial memorandum, CMS is considering whether there are additional actions
CMS can take in its implementation of the Negotiation Program to best support orphan drug
development, and CMS appreciates continued input from interested parties on this topic.
Additional information about how CMS will consider the impact of a selected drug (and its
therapeutic alternative(s)) on specific populations as well as the extent to which the selected drug
(and its therapeutic alternative(s)) meets an unmet medical need in CMS’ development of an
initial offer is in section 60.3.3 of this revised guidance.
30.1.2 Low-Spend Medicare Drug Exclusion from Qualifying Single Source Drugs
In accordance with section 1192(e)(3)(B) of the Act, CMS will also exclude low-spend Medicare
drugs or biological products with less than $200,000,000 in combined expenditures under
Medicare Parts B and D when identifying qualifying single source drugs (“the Low-Spend
Medicare Drug Exclusion”). For initial price applicability year 2026, CMS will identify low-
spend Medicare drugs as follows:
    • CMS will identify PDE data combined with Part B claims data for each potential
       qualifying single source drug for dates of service during the 12-month period beginning
       June 1, 2022, and ending May 31, 2023. To allow a reasonable amount of time for Part D
       plan sponsors to submit PDE data, CMS will use PDE data for the dates of service
       described above that have been submitted no later than 30 days 40 after May 31, 2023, i.e.,
       by June 30, 2023. To allow a reasonable amount of time for providers and suppliers to
       submit Part B claims, CMS will use Part B claims data for the dates of service described
       above that have been submitted no later than 30 days after May 31, 2023, i.e., by June 30,
       2023.
    • For each potential qualifying single source drug as described in section 30.1 of this
       revised guidance, CMS will use the PDE data to calculate the Total Expenditures under
       Part D and CMS will use the Part B claims data to calculate the total allowed charges
       under Part B, inclusive of beneficiary cost sharing, for purposes of determining Total
       Expenditures under Part B. CMS is clarifying in this revised guidance that expenditures
       for a drug or biological product that are bundled or packaged into the payment for
       another service will be excluded from the calculation of total allowed charges under Part
       B.
    • CMS will exclude from the final list of qualifying single source drugs for initial price
       applicability year 2026 any drugs for which the sum of Total Expenditures under Part D
       and Part B is less than $200 million.




40
  For purposes of this revised guidance, CMS defines all days as calendar days unless otherwise specified in statute,
guidance, or regulation.
         Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 105 of 199

                                                                                                       104


30.1.3 Plasma-Derived Product Exclusion from Qualifying Single Source Drugs
In accordance with section 1192(e)(3)(C) of the Act, CMS will exclude plasma-derived products
when identifying qualifying single source drugs as described in section 30.1 of this revised
guidance (“the Plasma-Derived Product Exclusion”). For purposes of this exclusion, a plasma-
derived product is a licensed biological product that is derived from human whole blood or
plasma, as indicated on the approved product labeling. CMS will refer to product information
available on the FDA Approved Blood Products website, including the list of fractionated plasma
products, 41 and will refer to the FDA Online Label Repository 42 to verify if the product is
derived from human whole blood or plasma. CMS will also consult with FDA as needed.

30.2 Identification of Negotiation-Eligible Drugs for Initial Price Applicability Year 2026
In accordance with sections 1192(a) and 1192(d)(1) of the Act, a negotiation-eligible drug for
initial price applicability year 2026 is a qualifying single source drug that is among the 50
qualifying single source drugs with the highest Total Expenditures under Part D. CMS will
identify the negotiation-eligible drugs for initial price applicability year 2026 as follows:
     • CMS will identify all qualifying single source drugs for initial price applicability year
         2026 using the process described in section 30.1 of this revised guidance. CMS will
         exclude any drugs that qualify for the exclusions listed in sections 30.1.1 – 30.1.3 of this
         revised guidance.
     • CMS will identify PDE data for each NDC-11 of a qualifying single source drug for dates
         of service during the 12-month period beginning June 1, 2022, and ending May 31, 2023.
         To allow a reasonable time for Part D plan sponsors to submit PDE data, CMS will use
         PDE data for the dates of service described above that have been accepted no later than
         30 days after May 31, 2023, i.e., by June 30, 2023.
     • CMS will use this PDE data to calculate the Total Expenditures under Part D for each
         qualifying single source drug during the 12-month applicable period.
     • CMS will (1) remove drugs that are subject to the exception for small biotech drugs,
         described in section 30.2.1 of this revised guidance; (2) rank the remaining qualifying
         single source drugs by Total Expenditures under Part D during the applicable 12-month
         period; and (3) identify the 50 qualifying single source drugs that have the highest Total
         Expenditures under Part D during the applicable 12-month period.
     • These 50 drugs will be considered negotiation-eligible drugs for initial price applicability
         year 2026.
When two or more qualifying single source drugs have the same Total Expenditures to the dollar
under Part D, and such Total Expenditures are the 50th highest among qualifying single source
drugs, CMS will rank the qualifying single source drugs based on which drug has the earlier
approval or licensure date, as applicable, for the initial FDA application number with its active
moiety(ies) / active ingredient(s), until CMS has identified 50 negotiation-eligible drugs. CMS
believes that this approach would not be likely to alter which drugs are selected drugs because a
maximum of 10 drugs will be selected for initial price applicability year 2026 (see section 30.3
of this revised guidance for details).



41
     See: https://www.fda.gov/vaccines-blood-biologics/blood-blood-products/approved-blood-products,
42
     See: https://labels.fda.gov/.
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 106 of 199

                                                                                                           105


30.2.1 Exception for Small Biotech Drugs
In accordance with section 1192(d)(2) of the Act, the term “negotiation-eligible drug” excludes,
with respect to initial price applicability years 2026, 2027, and 2028, a qualifying single source
drug that meets the requirements for the exception for small biotech drugs (“the Small Biotech
Exception”). The statute requires that CMS consider, for Part D drugs, Total Expenditures under
Part D for all covered Part D drugs during 2021, Total Expenditures for the qualifying single
source drug under Part D during 2021, and Total Expenditures under Part D for all covered Part
D drugs for which the manufacturer that had a Coverage Gap Discount Program (CGDP)
agreement in effect under section 1860D-14A of the Act for the qualifying single source drug
during 2021 also had a CGDP agreement in effect during 2021. 43 To identify and exclude such
small biotech drugs, CMS will consider whether, for dates of services in calendar year 2021, the
Total Expenditures under Part D for the qualifying single source drug (1) were equal to or less
than one percent of the Total Expenditures under Part D for all covered Part D drugs; and (2)
were equal to at least 80 percent of the Total Expenditures under Part D for all covered Part D
drugs for which the manufacturer of the qualifying single source drug had a CGDP agreement in
effect during 2021.

For the purposes of the Small Biotech Exception for initial price applicability year 2026, the
aggregation rule at section 1192(d)(2)(B)(i) of the Act requires that CMS treat as a single
manufacturer all entities that, as of December 31, 2021, were treated as a single employer under
subsection (a) or (b) of section 52 of the Internal Revenue Code (IRC) of 1986 with the entity
that had the CGDP agreement for the qualifying single source drug on that date. However, CMS
does not have information about which entities were treated as a single employer under the
applicable IRC provisions. Therefore, a manufacturer that seeks the Small Biotech Exception for
its qualifying single source drug (“Submitting Manufacturer”) must submit information to CMS
about the company and its products in order for the drug to be considered for the exception. To
the extent that more than one entity meets the statutory definition of a manufacturer of a
qualifying single source drug, only the holder of the NDA(s) / BLA(s) for the qualifying single
source drug may be the Submitting Manufacturer. CMS made this decision to ensure that only
the entity with which CMS would negotiate in the event that the qualifying single source drug is
selected for negotiation, as described in section 40 of this revised guidance, is able to seek the
Small Biotech Exception.

On January 24, 2023, CMS released the Small Biotech Exception ICR (CMS-10844 / OMB
0938-1443) to detail the specific data that CMS is requesting for purposes of implementing this
exception. The comment period in response to the 60-day notice closed on March 27, 2023. CMS
released a revised version of the Small Biotech Exception ICR on April 24, 2023, and the
comment period in response to the 30-day Federal Register notice closed on May 24, 2023. CMS
published the final, approved version of the Small Biotech Exception ICR on May 26, 2023. 44

43
   For the purposes of this determination, a manufacturer that participated in the CGDP in 2021 by means of an
arrangement whereby its labeler codes were listed on another manufacturer’s CGDP agreement would be considered
to have had an agreement in effect during 2021.
44
   To view the Small Biotech ICR Form, a summary of changes made to the Small Biotech ICR in response to
comments received during the 60-day and 30-day notice periods, as well as comments received on the Small Biotech
ICR and CMS’ responses to those comments, see
https://www.reginfo.gov/public/do/PRAViewICR?ref_nbr=202304-0938-016.
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 107 of 199

                                                                                                               106



The Small Biotech Exception ICR addresses the collection of information for initial price
applicability year 2026 only. For initial price applicability year 2026, Sections 1191(a) and
1192(d) of the Act require CMS to evaluate whether a qualifying single source drug qualifies as
a negotiation-eligible drug under 1192(d) based on Total Expenditures under Part D only,
including with respect to the Small Biotech Exception. As a result, this ICR addresses the
collection of information relevant to Total Expenditures only under Part D. Additionally, this
ICR does not address the collection of information relevant to the statutory limitation found in
section 1192(d)(2)(B)(ii) of the Act (which precludes the application of the Small Biotech
Exception to a qualifying single source drug if the manufacturer of that drug is acquired after
2021 by a manufacturer that does not meet the definition of a specified manufacturer under
section 1860D–14C(g)(4)(B)(ii) because the earliest effective date specified in that limitation
(January 1, 2025) has no impact until initial price applicability year 2027 (the first initial price
applicability year with a selected drug publication date after January 1, 2025).

As CMS announced on May 26, 2023, after approval of the ICR, to receive consideration for the
Small Biotech Exception for initial price applicability year 2026, the Submitting Manufacturer
must submit the Small Biotech Exception ICR Form using the CMS Health Plan Management
System (CMS HPMS) by July 3, 2023. 45 CMS will notify the Submitting Manufacturer in
September 2023 of the determination of whether the Submitting Manufacturer’s qualifying
single source drug qualifies for the Small Biotech Exception for initial price applicability year
2026. CMS is clarifying in this revised guidance that information in a Small Biotech Exception
ICR Form that is a trade secret or confidential commercial or financial information will be
protected from disclosure if the information meets the requirements set forth under Exemptions 3
and/or 4 of the Freedom of Information Act (FOIA) (5 U.S.C. § 552(b)(3), (4)).

CMS will not consider incomplete submissions. Upon receipt of a complete Small Biotech
Exception ICR Form, CMS will take the following approach to identify whether a qualifying
single source drug qualifies for the Small Biotech Exception:
    • CMS will identify the manufacturer that had a CGDP agreement for the qualifying single
        source drug in effect as of December 31, 2021 (“2021 Manufacturer”) based on the
        information submitted in the Small Biotech Exception ICR Form.
    • CMS will use the information submitted in that form to identify the complete set of 11-
        digit National Drug Codes (NDC-11s) 46 for which any member of the 2021
        Manufacturer’s controlled group as of December 31, 2021 had a CGDP agreement as of
        December 31, 2021. “Controlled group” means all corporations or partnerships,
        proprietorships and other entities treated as a single employer under
        26 U.S.C. § 52(a) or (b).
    • Using the complete set of NDC-11s for which the 2021 Manufacturer or any member of
        the 2021 Manufacturer’s controlled group had a CGDP agreement in effect on December

45
   On June 2, 2023, CMS released the Small Biotech Exception functionality in CMS HPMS, and manufacturers
could begin submitting their requests on that date. To view instructions for requesting the Small Biotech Exception
in CMS HPMS, see https://www.cms.gov/files/document/small-biotech-exception-guidance-6223.pdf.
46
   NDC-9 and NDC-11 numbers are identical except for two numbers in NDC-11s that indicate package size.
Because of this, NDC-11 is more granular than NDC-9, and multiple NDC-11 numbers can aggregate under a single
NDC-9 number.
       Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 108 of 199

                                                                                                    107


        31, 2021, CMS will identify PDE data for dates of service during the 12-month period
        beginning January 1, 2021 and ending December 31, 2021.
   •    Using the PDE data for (1) the qualifying single source drug, (2) the complete set of
        covered Part D drugs for which the 2021 Manufacturer or any member of the 2021
        Manufacturer’s controlled group had a CGDP agreement as of December 31, 2021, and
        (3) all covered Part D drugs, CMS will determine whether:
             o The Total Expenditures under Part D for the qualifying single source drug were
                 equal to or less than one percent of the Total Expenditures under Part D for all
                 covered Part D drugs; and
             o The Total Expenditures under Part D for the qualifying single source drug were
                 equal to at least 80 percent of the Total Expenditures under Part D for all covered
                 Part D drugs for which the 2021 Manufacturer or any member of the 2021
                 Manufacturer’s controlled group had a CGDP agreement in effect during 2021.
        CMS is clarifying in this revised guidance that the Total Expenditures under Part D for
        all covered Part D drugs will be determined using PDE data for all covered Part D drugs.
        The Total Expenditures under Part D for the qualifying single source drug and the Total
        Expenditures under Part D for all covered Part D drugs for which the 2021 Manufacturer
        or any member of the 2021 Manufacturer’s controlled group had a CGDP agreement in
        effect during 2021 will only include PDE data for NDC-11s with labeler codes associated
        with the 2021 Manufacturer or any member of the 2021 Manufacturer’s controlled group.

For initial price applicability year 2026, the term “negotiation-eligible drug” will exclude any
covered Part D drugs that are qualifying single source drugs that meet these criteria to qualify for
the Small Biotech Exception.

A determination by CMS that a given qualifying single source drug qualifies for the Small
Biotech Exception for initial price applicability year 2026 does not mean that this drug will
continue to qualify for the Small Biotech Exception for future initial price applicability years.
The Submitting Manufacturer must resubmit a request for the drug to be considered for the
exception for initial price applicability years 2027 and 2028. The process for resubmitting a
request will be addressed in future guidance.

In this revised guidance, CMS is clarifying that it will publish the number of drugs that applied
for and received the Small Biotech Exception for initial price applicability year 2026 as part of
publishing the selected drug list on September 1, 2023.

30.3 Selection of Drugs for Negotiation for Initial Price Applicability Year 2026
In accordance with sections 1192(a) and 1192(b) of the Act, CMS will select 10 (or all, if such
number is less than 10) negotiation-eligible drugs for initial price applicability year 2026 as
follows:
    • CMS will rank the 50 negotiation-eligible drugs identified in section 30.2 of this revised
       guidance by Total Expenditures under Part D (based on the data described in section 30.2
       of this revised guidance) in descending order: the negotiation-eligible drug with the
       highest Total Expenditures under Part D will be listed first and the negotiation-eligible
       drug with the lowest Total Expenditures under Part D will be listed last.
       Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 109 of 199

                                                                                                     108


   •    CMS will remove any biological products that qualify for delayed selection under section
        1192(f) of the Act as described in section 30.3.1 of this revised guidance.
   •    CMS will select for negotiation the 10 (or all, if such number is less than 10) highest
        ranked negotiation-eligible drugs remaining on the ranked list for initial price
        applicability year 2026.
           o In the event that two or more negotiation-eligible drugs have the same Total
               Expenditures under Part D to the dollar and such Total Expenditures are the 10th
               highest among negotiation-eligible drugs, CMS will rank those negotiation-
               eligible drugs based on which drug has the earlier approval or licensure date, as
               applicable, associated with the initial FDA application number for its active
               moiety(ies) / active ingredient(s), and select based on that ranking until there are
               10 selected drugs (or until all drugs are selected if the number of negotiation-
               eligible drugs is less than 10).
30.3.1 Delay in the Selection and Negotiation of Certain Biologics with High Likelihood of
Biosimilar Market Entry
In accordance with section 1192(b)(1)(C) of the Act, CMS will remove from the ranked list of 50
negotiation-eligible drugs described in section 30.3 of this revised guidance any negotiation-
eligible drug for which the inclusion on the selected drug list is delayed in accordance with
section 1192(f) of the Act. This section 30.3.1 describes the implementation of section 1192(f) of
the Act (the “Biosimilar Delay”).

Under section 1192(f)(1)(B) of the Act, the manufacturer of a biosimilar biological product
(“Biosimilar Manufacturer” of a “Biosimilar”) may submit a request, prior to the selected drug
publication date, for CMS’ consideration to delay the inclusion of a negotiation-eligible drug that
includes the reference product for the Biosimilar (such a negotiation-eligible drug is herein
referred to as a “Reference Drug”) on the selected drug list for a given initial price applicability
year. The Biosimilar Manufacturer eligible to submit the request is the holder of the BLA for the
Biosimilar or, if the Biosimilar has not yet been licensed, the sponsor of the BLA submitted for
review by FDA. CMS believes that this approach is appropriate because (1) it clearly identifies
one manufacturer that may submit a Biosimilar Delay request for a given Biosimilar, avoiding
the possibility that CMS would receive two such requests naming the same Biosimilar for the
same initial price applicability year, and (2) the status of the application for licensure for the
Biosimilar is material to CMS’ consideration of a Biosimilar Delay request, as described in this
section 30.3.1.

Section 1192(f) of the Act contemplates two potential requests under the Biosimilar Delay: (1) a
request to delay the inclusion of a Reference Drug by one initial price applicability year (“Initial
Delay Request”), as stated in section 1192(f)(1)(B)(i)(I) of the Act; and (2) a request to delay the
inclusion of a Reference Drug for which an Initial Delay Request has been granted for a second
initial price applicability year (“Additional Delay Request”) as stated in section
1192(f)(1)(B)(i)(II) of the Act.

The following subsections of this section 30.3.1 include details on the implementation of the
Biosimilar Delay for initial price applicability year 2026. Topics related to future initial price
applicability years (including Additional Delay Requests) will be covered in future guidance.
     Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 110 of 199

                                                                                               109


30.3.1.1 Requirements for Granting an Initial Delay Request for Initial Price Applicability Year
2026
The statute specifies that the following requirements must be met in order for CMS to grant an
Initial Delay Request:
    1. In accordance with section 1192(f)(1)(A) of the Act, it is required that the Reference
         Drug would be, absent the Biosimilar Delay, a selected drug for the initial price
         applicability year.
             o Biosimilar Manufacturers that think that a Reference Drug for their Biosimilar
                may be a selected drug for initial price applicability year 2026 may submit an
                Initial Delay Request, and CMS will disregard that application if the Reference
                Drug would not, in fact, be a selected drug for initial price applicability year.
                Biosimilar Manufacturers are encouraged to consult publicly available data on
                expenditures for covered Part D drugs, including data published by CMS, which
                may allow them to determine the likelihood that a given drug may be a selected
                drug.
    2. In accordance with section 1192(f)(1)(A) of the Act, it is required that the Reference
         Drug would be an extended-monopoly drug, as defined in section 1194(c)(4) of the Act,
         included on the selected drug list for the initial price applicability year, absent the
         Biosimilar Delay. For Initial Delay Requests submitted with respect to initial price
         applicability year 2026, this means that the Reference Drug must have received its initial
         BLA licensure between January 1, 2010, and January 1, 2014.
             o Section 1194(c)(4)(B)(ii) of the Act specifies that selected drugs for which a
                manufacturer had an agreement under the Negotiation Program for an initial price
                applicability year prior to 2030 are excluded from the definition of extended-
                monopoly drugs. Importantly, however, an Initial Delay Request must be
                submitted by a Biosimilar Manufacturer before the selected drug publication date
                for an initial price applicability year and before the Primary Manufacturer (as
                defined in section 40 of this revised guidance) of the Reference Drug (“Reference
                Manufacturer”) would have entered into an agreement under the Negotiation
                Program. Therefore, CMS believes the exception to the definition of “extended-
                monopoly drug” in section 1194(c)(4)(B)(ii) of the Act will not apply at the time
                that a delay would be requested for initial price applicability years 2026 through
                2029. Accordingly, CMS believes that the Biosimilar Delay under section 1192(f)
                of the Act is applicable beginning with initial price applicability year 2026. As
                such, Biosimilar Manufacturers may submit an Initial Delay Request for initial
                price applicability year 2026, provided that the Reference Drug named in the
                request will have been licensed for between 12 and 16 years prior to the start of
                the initial price applicability year on January 1, 2026.
    3. In accordance with section 1192(f)(1)(A) of the Act, the Reference Drug must include the
         reference product identified in the Biosimilar’s application for licensure under section
         351(k) of the PHS Act that has been approved by the FDA or accepted for review, as
         described below in section 30.3.1.2 of this revised guidance.
             o Please note that in order for CMS to grant an Initial Delay Request, the licensure
                application for the Biosimilar does not need to include all of the dosage forms,
                strengths, and indications for which the Reference Drug has received approval.
     Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 111 of 199

                                                                                                110


   4. In accordance with section 1192(f)(2)(D)(iii) of the Act, an Initial Delay Request cannot
      be granted if more than one year has elapsed since the licensure of the Biosimilar and
      marketing of the Biosimilar has not commenced.
          o For Initial Delay Requests submitted with respect to initial price applicability year
              2026, this requirement means that if the Biosimilar has already received approval
              by the FDA for its application for licensure under section 351(k) of the PHS Act,
              the date of such licensure must be on or after September 1, 2022 for a delay to be
              granted. If the Biosimilar is already licensed and marketed by September 1, 2023,
              the selected drug publication date for initial price applicability year 2026, the
              Reference Drug would by definition no longer be a qualifying single source drug
              and therefore would fail requirement #1 on this list. If the Biosimilar was licensed
              prior to September 1, 2022 and is not marketed before September 1, 2023, more
              than one year would have elapsed since the licensure of the Biosimilar without
              marketing of the Biosimilar having commenced.
   5. In accordance with section 1192(f)(2)(D)(iv) of the Act, the Biosimilar Manufacturer
      must not be the same as the Reference Manufacturer and must not be treated as being the
      same pursuant to section 1192(f)(1)(C) of the Act.
          o For the purposes of this determination, all persons treated as a single employer
              under subsection (a) or (b) of section 52 of the IRC of 1986, or in a partnership,
              shall be treated as one manufacturer, as stated in section 1192(f)(1)(C) of the Act.
          o For the purposes of this determination, “partnership” is defined at section
              1192(f)(1)(C)(ii) of the Act as a syndicate, group, pool, joint venture, or other
              organization through or by means of which any business, financial operation, or
              venture is carried on by the Reference Manufacturer and the Biosimilar
              Manufacturer.
   6. In accordance with section 1192(f)(2)(D)(iv) of the Act, the Biosimilar Manufacturer and
      the Reference Manufacturer must not have entered into an agreement that either:
          o requires or incentivizes the Biosimilar Manufacturer to submit an Initial Delay
              Request; or
          o directly or indirectly restricts the quantity of the Biosimilar that may be sold in the
              United States over a specified period of time. For Initial Delay Requests
              submitted with respect to initial price applicability year 2026, CMS will consider
              any agreement between the Biosimilar Manufacturer and the Reference
              Manufacturer that directly or indirectly restricts the quantity of the Biosimilar that
              the Biosimilar Manufacturer may sell during any period of time on or after
              September 1, 2023 as violating this requirement.
   7. In accordance with section 1192(f)(1)(A) of the Act and as described in detail in section
      30.3.1.2 of this revised guidance, CMS must determine that there is a high likelihood that
      the Biosimilar will be licensed and marketed before the date that is two years after the
      selected drug publication date for the initial price applicability year.
30.3.1.2 High Likelihood
In accordance with section 1192(f)(1)(A) of the Act, CMS will review Initial Delay Requests to
determine whether there is a high likelihood that the Biosimilar will be licensed and marketed
before the date that is two years after the selected drug publication date for the initial price
applicability year. Accordingly, for Initial Delay Requests submitted with respect to initial price
       Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 112 of 199

                                                                                                                   111


applicability year 2026, CMS must find a high likelihood that the Biosimilar will be licensed and
marketed before September 1, 2025, in order to grant the request. If CMS does not find that there
is a high likelihood that the Biosimilar will be licensed and marketed before September 1, 2025,
based on the criteria described below, CMS will deny the Initial Delay Request.

In accordance with section 1192(f)(3) of the Act, Initial Delay Requests must demonstrate both
of the following in order meet the high likelihood threshold:
     1. An application for licensure under section 351(k) of the PHS Act for the Biosimilar has
         been accepted for review or approved by the FDA. 47
             o For Initial Delay Requests submitted with respect to initial price applicability
                 year 2026, the Biosimilar’s application for licensure must be approved or
                 accepted for review by the FDA no later than August 15, 2023, in order to permit
                 CMS time to review the information and finalize the selected drug list prior to the
                 selected drug publication date of September 1, 2023.
             o Please note that if the Biosimilar’s application for licensure has not been
                 accepted for review by August 15, 2023, including in the case where the
                 Biosimilar Manufacturer has submitted an application for licensure that has not
                 been accepted for review by the FDA or for which a filing determination is
                 pending, CMS will deny the Initial Delay Request for initial price applicability
                 year 2026.
     2. Clear and convincing evidence that the Biosimilar will be marketed before September 1,
         2025 (the date that is two years after the selected drug publication date for the initial
         price applicability year), based on the information from the items described in sections
         1192(f)(1)(B)(ii)(I)(bb) and (III) of the Act as submitted to CMS.

For Initial Delay Requests submitted for initial price applicability year 2026, to demonstrate
clear and convincing evidence that the Biosimilar will be marketed before September 1, 2025,
CMS requires that the information from the items described in sections 1192(f)(1)(B)(ii)(I)(bb)
and (III) of the Act as submitted to CMS by the Biosimilar Manufacturer as part of its Initial
Delay Request demonstrates both (1) that patents related to the Reference Drug are unlikely to
prevent the Biosimilar from being marketed and (2) that the Biosimilar Manufacturer will be
operationally ready to market the Biosimilar. These requirements address the two primary
contributing factors to delays in marketing of biosimilars approved in the U.S. to date, and so
CMS believes that evidence showing that a Biosimilar meets these two requirements is sufficient
to establish clear and convincing evidence that the Biosimilar will be marketed.

First, the Initial Delay Request must clearly demonstrate that patents related to the Reference
Drug are unlikely to prevent the Biosimilar from being marketed before September 1, 2025.
CMS is clarifying in this revised guidance that, in its evaluation of whether this requirement is
met, CMS will only consider patents relating to the reference product included in the Reference
Drug that are applicable to the Biosimilar. Specifically, CMS will consider this requirement met
if (1) there are no unexpired patents relating to the reference product included in the Reference

47
  CMS is clarifying in this revised guidance that it will consider an application for licensure under section 351(k) of
the PHS Act that has been accepted for review and that received a Complete Response letter to meet the section
1192(f)(3)(A) requirement that an application for licensure under section 351(k) for the biosimilar biological
product has been accepted for review by FDA.
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 113 of 199

                                                                                                              112


Drug that are applicable to the Biosimilar; (2) one or more court decisions establish the
invalidity, unenforceability, or non-infringement of any potentially applicable unexpired patent
relating to the reference product included in the Reference Drug that the patent holder asserted
was applicable to the Biosimilar; or (3) the Biosimilar Manufacturer has a signed legal
agreement with the Reference Manufacturer that permits the Biosimilar Manufacturer to market
the Biosimilar before September 1, 2025, without imposing improper constraints on the
Biosimilar Manufacturer. 48 CMS will deny all Initial Delay Requests for Biosimilars that do not
meet this requirement with respect to at least one reference product included in the Reference
Drug. However, active litigation related to another reference product included in the Reference
Drug that is not applicable to the Biosimilar will not be disqualifying.

Second, the Initial Delay Request must clearly demonstrate that the Biosimilar Manufacturer will
be operationally ready to market the Biosimilar before September 1, 2025. To assess this
requirement, CMS will consider the Biosimilar Manufacturer’s progress against the actions,
activities, and milestones that are typical of the normal course of business leading up to the
marketing of a drug as evidenced by both: (1) disclosures about capital investment, revenue
expectations, and actions consistent with the normal course of business for marketing of a
biosimilar biological product before September 1, 2025, and (2) a manufacturing schedule that is
consistent with the public-facing statements and, as clarified in this revised guidance,
demonstrates readiness to meet revenue expectations. CMS chose these criteria because they are
indicative of operational readiness and should be available in the elements that CMS must
consider in making this determination as required by section 1192(f)(1)(B)(ii) of the Act.

In determining whether an Initial Delay Request satisfies the high likelihood threshold, CMS
may use all the information described in section 30.3.1.3 of this revised guidance to determine
whether an application for licensure under section 351(k) of the PHS Act for the Biosimilar has
been accepted for review or approved by the FDA. In accordance with section 1192(f)(3)(B) of
the Act, CMS is required to use information from the following items when assessing whether
there is clear and convincing evidence that the Biosimilar will be marketed before September 1,
2025:
    • All agreements related to the Biosimilar filed with the Federal Trade Commission or the
        Assistant Attorney General pursuant to subsections (a) and (c) of section 1112 of the
        Medicare Prescription Drug, Improvement, and Modernization Act of 2003;
    • The manufacturing schedule for the Biosimilar submitted to the FDA during its review of
        the application for licensure under section 351(k) of the PHS Act for the Biosimilar; and
    • Disclosures (in filings by the Biosimilar Manufacturer with the Securities and Exchange
        Commission required under section 12(b), 12(g), 13(a), or 15(d) of the Securities
        Exchange Act of 1934 about capital investment, revenue expectations, and actions taken
        by the manufacturer that are typical of the normal course of business in the year (or the
        two years, as applicable) before marketing of a biosimilar biological product) that pertain
        to the marketing of the Biosimilar, or comparable documentation that is distributed to the
        shareholders of privately held companies.

48
  As described in section 30.3.1.1 of this revised guidance, an Initial Delay Request will not be granted if the
Biosimilar Manufacturer enters into an agreement with the Reference Manufacturer that requires or incentivizes the
Biosimilar Manufacturer to submit an Initial Delay Request or directly or indirectly restricts the quantity of the
Biosimilar sold in the United States on or after September 1, 2023.
       Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 114 of 199

                                                                                                                  113



In accordance with section 1198(2) of the Act, there will be no administrative or judicial review
of CMS’ determinations under section 1192(f) of the Act.
30.3.1.3 Submitting an Initial Delay Request for Initial Price Applicability Year 2026
A Biosimilar Manufacturer intending to submit an Initial Delay Request for initial price
applicability year 2026 was required to submit a complete request by 11:59 pm PT on May 22,
2023. The process for Biosimilar Manufacturers to submit an Initial Delay Request, including the
required documentation, for initial price applicability year 2026 is detailed below.

A Biosimilar Manufacturer should have submitted an Initial Delay Request for initial price
applicability year 2026 only if it (1) plans for its Biosimilar to be licensed and marketed before
September 1, 2025, (2) believes its request will satisfy the statutory requirements for granting an
Initial Delay Request, as described in section 30.3.1.1 of this revised guidance, and (3) believes
that its request demonstrates that there is a high likelihood that the Biosimilar will be licensed
and marketed before September 1, 2025, based on the criteria described in section 30.3.1.2 of
this revised guidance. 49

CMS has designed the process for Initial Delay Request submission for initial price applicability
year 2026 to allow CMS time to adjudicate all requests in advance of September 1, 2023, the
selected drug publication date, and to be operationally feasible. For initial price applicability year
2026, CMS accepted Initial Delay Requests submitted via email and Box 50 as described below,
whereas, for future initial price applicability years, CMS plans to issue guidance on use of the
CMS HPMS to receive and process these requests. Accordingly, Initial Delay Requests for initial
price applicability year 2026 were able to be submitted via the following process:
    1. The Biosimilar Manufacturer emailed IRARebateandNegotiation@cms.hhs.gov to
        indicate its intention to submit an Initial Delay Request for initial price applicability year
        2026. The Biosimilar Manufacturer was encouraged to use the template, including
        subject line and body content, described in Appendix A of this revised guidance. Emails
        must have been received by 11:59 pm PT on May 10, 2023.
    2. Within 5 business days of receipt, CMS responded by providing the Biosimilar
        Manufacturer with (1) a fillable template for the Initial Delay Request form, available in
        Appendix B of this revised guidance, and (2) access to a Box folder specific to the
        Biosimilar Manufacturer’s Initial Delay Request. No parties other than the Biosimilar
        Manufacturer and CMS and its contractors have access to this folder.
    3. The Biosimilar Manufacturer must have uploaded a complete Initial Delay Request with
        the following documentation to the Box folder or using an alternative submission
        approach approved by CMS by 11:59 pm PT on May 22, 2023. CMS deemed an Initial
        Delay Request to be complete if it included:

49
   For initial price applicability year 2026, an Initial Delay Request should have been submitted by a Biosimilar
Manufacturer that anticipated the reference product for its Biosimilar will be included in one of the ten covered Part
D Drugs that will be a selected drug for this initial price applicability year. Biosimilar Manufacturers are encouraged
to consult publicly available data on expenditures for covered Part D drugs, including data published by CMS,
which may allow them to determine the likelihood that a given drug may be a selected drug for a future initial price
applicability year.
50
   See: https://www.box.com/; if a Biosimilar Manufacturer is unable to use Box, it should have included an
explanation in its email in step #1 below and request an alternative submission method.
     Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 115 of 199

                                                                                               114


           a. A complete Initial Delay Request form using the fillable template that the
              Biosimilar Manufacturer received from CMS. This template allowed submission
              of:
                    i. information used to identify the Biosimilar Manufacturer, the Biosimilar,
                       the Biosimilar’s reference product, and the Reference Manufacturer;
                   ii. attestations that the Initial Delay Request meets the statutory requirements
                       listed in section 30.3.1.1 of this revised guidance; and
                  iii. information on the status of licensure for the Biosimilar under section
                       351(k) of the PHS Act;
           b. All agreements related to the Biosimilar filed with the Federal Trade Commission
              or the Assistant Attorney General pursuant to subsections (a) and (c) of section
              1112 of the Medicare Prescription Drug, Improvement, and Modernization Act of
              2003;
           c. The manufacturing schedule for the Biosimilar submitted to the FDA during its
              review of the application for licensure under section 351(k) of the PHS Act, to the
              extent available; and
           d. Disclosures (in filings by the Biosimilar Manufacturer with the Securities and
              Exchange Commission required under section 12(b), 12(g), 13(a), or 15(d) of the
              Securities Exchange Act of 1934 about capital investment, revenue expectations,
              and actions taken by the manufacturer that are typical of the normal course of
              business in the year (or the two years, as applicable) before marketing of a
              biosimilar biological product) that pertain to the marketing of the Biosimilar, or
              comparable documentation that is distributed to the shareholders of privately held
              companies, to the extent available.

In accordance with section 1192(f)(1)(B)(ii) of the Act, Initial Delay Requests for initial price
applicability year 2026 that were not submitted by 11:59 pm PT on May 22, 2023 or that did not
include all elements will be denied. CMS is clarifying in this revised guidance that information
in an Initial Delay Request that is a trade secret or confidential commercial or financial
information will be protected from disclosure if the information meets the requirements set forth
under Exemptions 3 and/or 4 of the FOIA (5 U.S.C. § 552(b)(3), (4)).
30.3.1.4 Process and Timing After Submission of an Initial Delay Request for Initial Price
Applicability Year 2026
Within 5 business days after the Biosimilar Manufacturer uploaded the required documentation
to its Box folder or using an alternative submission approach approved by CMS, CMS sent an
email confirming receipt to the email address used by the Biosimilar Manufacturer in its initial
email to CMS expressing its intent to submit an Initial Delay Request. In accordance with section
1192(f)(1)(B)(ii)(II) of the Act, after reviewing an Initial Delay Request, inclusive of the
materials submitted therein, CMS may request additional information from the Biosimilar
Manufacturer as necessary to make a determination with respect to the Initial Delay Request. For
initial price applicability year 2026, CMS made any such follow-up request in writing to the
Biosimilar Manufacturer via the same email address on or before June 20, 2023. Any such
written request specified the additional information required, the format and manner in which the
Biosimilar Manufacturer must provide the additional information, and the deadline for providing
such information, which will be no later than July 3, 2023. The one exception to these deadlines
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 116 of 199

                                                                                                   115


is as follows: per section 30.3.1.2 of this revised guidance, for CMS to determine that there is a
high likelihood of the Biosimilar being licensed and marketed prior to September 1, 2025, the
Biosimilar’s application for licensure must be accepted for review or approved by the FDA no
later than August 15, 2023. CMS will permit the Biosimilar Manufacturer to update CMS on the
status of the Biosimilar’s application for licensure before 11:59 pm Pacific Time (PT) on August
15, 2023, in order to enable CMS to use the most recent possible data to make this determination
while still allowing for sufficient time to inform the selected drug list published on September 1,
2023, in accordance with section 1192(a) of the Act.

Prior to September 1, 2023, the selected drug publication date for initial price applicability year
2026, CMS will review each Initial Delay Request in the following manner. First, CMS will
review each Initial Delay Request to determine whether it includes all of the elements for an
Initial Delay Request and was submitted by the applicable deadline in accordance with section
30.3.1.3 of this revised guidance. Second, if an Initial Delay Request includes all required
elements and was timely submitted, CMS will review the Initial Delay Request to determine if it
meets all of the statutory requirements described in section 30.3.1.1 of this revised guidance,
with the exception of the high likelihood requirement. Third, if the Initial Delay Request meets
all statutory requirements other than the high likelihood requirement, CMS will review the Initial
Delay Request to determine whether it demonstrates a high likelihood that the Biosimilar will be
licensed and marketed by September 1, 2025, as described in section 30.3.1.2 of this revised
guidance. In considering an Initial Delay Request, CMS will cease consideration upon finding
that the Initial Delay Request has failed to meet any of these requirements. For example, if CMS
determines an Initial Delay Request was not submitted by the established deadline, CMS will not
review that request against other statutory requirements; if CMS determines an Initial Delay
Request fails to meet one or more of the statutory requirements described in section 30.3.1.1 of
this revised guidance, with the exception of the high likelihood requirement, CMS will not
consider whether that Initial Delay Request demonstrates a high likelihood that the Biosimilar
will be licensed and marketed before September 1, 2025.

The list of selected drugs published for initial price applicability year 2026 will reflect the results
of CMS’ determinations with respect to any Initial Delay Requests that are submitted, i.e., a
Reference Drug that, absent a successful Initial Delay Request, would have been selected, will
not appear on the selected drug list published by September 1, 2023 if it is named in a successful
Initial Delay Request.

After completing its review, CMS will notify each Biosimilar Manufacturer that submits an
Initial Delay Request for initial price applicability year 2026 in writing of CMS’ determination
regarding such request. This notification will occur on or after September 1, 2023, but no later
than September 30, 2023, and will include a brief summary of CMS’ determination, including:
    • Whether the Initial Delay Request was successful or unsuccessful; and
    • If unsuccessful, the reason CMS determined that the Initial Delay Request was
         unsuccessful, including but not limited to:
            o failure to submit all elements of the Initial Delay Request by the applicable
                deadline;
            o failure to meet another statutory requirement for granting a request (other than the
                high likelihood requirement), including in the case that the Reference Drug would
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 117 of 199

                                                                                                 116


             not have been a selected drug for initial price applicability year 2026 absent the
             Initial Delay Request; or
           o failure to demonstrate a high likelihood that the Biosimilar will be licensed and
             marketed before September 1, 2025.

CMS will also notify each Reference Manufacturer named in a successful Initial Delay Request
using the CMS HPMS to identify the relevant point(s) of contact. Such notification will be in
writing and will identify the Reference Drug that would have been a selected drug in initial price
applicability year 2026, absent the successful Initial Delay Request. Reference Manufacturers
named in unsuccessful Initial Delay Requests will not be notified. In this revised guidance, CMS
is clarifying that it will publish the number of Reference Drugs that would have been selected
drugs for initial price applicability year 2026, absent successful Initial Delay Requests, as part of
publishing the selected drug list on September 1, 2023.

In accordance with section 1192(f)(2)(B) of the Act, CMS must determine whether each
Biosimilar named in a successful Initial Delay Request is licensed and marketed during the initial
delay period. For successful Initial Delay Requests submitted with respect to initial price
applicability year 2026, CMS will make this determination by mid-2024; CMS is still
determining the appropriate date by which this determination should be made and plans to
publish a specific date in future guidance. The timing, content, and format of this notification
will be specified in future guidance.

The following table provides a summary of key dates related to implementation of the Biosimilar
Delay for initial price applicability year 2026, as specified in this section 30.3.1:
         Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 118 of 199

                                                                                                    117


 Date                       Deadline / milestone
 11:59 pm PT on             Deadline for Biosimilar Manufacturer to email CMS regarding intent to
 May 10, 2023               submit Initial Delay Request for initial price applicability year 2026
 11:59 pm PT on             Deadline for Biosimilar Manufacturer to submit the documentation for its
 May 22, 2023               Initial Delay Request as specified in section 30.3.1.3 of this revised
                            guidance
 June 20, 2023              Deadline for CMS to request follow-up information for a submitted Initial
                            Delay Request, if applicable
 July 3, 2023               Deadline for Biosimilar Manufacturer to submit any follow-up
                            information requested by CMS, if applicable
 11:59 pm PT on             Deadline for Biosimilar application for licensure to be accepted for review
 August 15, 2023            or approved by the FDA; deadline for Biosimilar Manufacturer to submit
                            any follow-up information requested by CMS related to the Biosimilar
                            application for licensure
 September 1,               Statutory deadline for CMS to publish the selected drug list for initial
 2023                       price applicability year 2026. Along with the selected drug list, CMS will
                            publish the number of drugs that would have been selected drugs, absent
                            successful Initial Delay Requests.
 September, 2023            CMS informs each Biosimilar Manufacturer that submitted an Initial
                            Delay Request of the results of such request, in writing; for successful
                            Initial Delay Requests, CMS also informs the Reference Manufacturer
 Mid-2024 51                For successful Initial Delay Requests, CMS determines whether the
                            Biosimilar has been licensed and marketed during the initial delay period

Information on other policies related to section 1192(f) of the Act will be included in future
guidance, including, but not limited to:
    • the deadline and process for submitting an Initial Delay Request for initial price
       applicability year 2027;
    • the deadline and process for submitting an Additional Delay Request for initial price
       applicability year 2027, in the event an Initial Delay Request for initial price applicability
       year 2026 is granted and CMS determines by mid-2024 that the Biosimilar was not
       licensed and marketed during the initial delay period; 52
    • the criteria for adjudicating Additional Delay Requests;
    • the impact of Initial Delay Requests and Additional Delay Requests on the selected drug
       list for initial price applicability year 2027; and
    • the application and calculation of rebates for a Reference Drug for 2026, as applicable.

30.4 Publication of the Selected Drug List
In accordance with section 1192(a) of the Act, CMS will publish the selected drug list for initial
price applicability year 2026 no later than September 1, 2023. This list will include the 10 (or all,
if such number is less than 10) drugs selected for negotiation for initial price applicability year
2026, including the active moiety / active ingredient for each selected drug, and the list of NDC-
9s and NDC-11s for the selected drug that either had PDE utilization in the 12-month period

51
     CMS plans to publish a specific date in future guidance.
52
     CMS plans to publish a specific date in future guidance.
       Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 119 of 199

                                                                                                                  118


beginning June 1, 2022 and ending May 31, 2023 or that CMS believes are likely to have PDE
utilization in the future (for example, NDC-11s associated with recently approved NDAs /
BLAs). 53 CMS will post the selected drug list on the CMS IRA webpage and update this list in
accordance with the process described in section 40.2 of this guidance. 54

40. Requirements for Manufacturers of Selected Drugs for Initial Price Applicability Year
2026
In accordance with section 1193(a) of the Act, the Secretary shall enter into agreements with
manufacturers of selected drugs. In section 1191(c)(1) of the Act, the Negotiation Program
statute adopts the definition of “manufacturer” established in section 1847A(c)(6)(A) of the Act.
Section 1193(a)(1) of the Act establishes that CMS will negotiate an MFP with “the
manufacturer” of the selected drug. To the extent that more than one entity meets the statutory
definition of manufacturer for a selected drug for purposes of initial price applicability year
2026, CMS will designate the entity that holds the NDA(s) / BLA(s) for the selected drug to be
“the manufacturer” of the selected drug (hereinafter “Primary Manufacturer”).
Likewise, for initial price applicability year 2026, CMS will refer to any other entity that meets
the statutory definition of manufacturer for a drug product included in the selected drug and that
either (1) is listed as a manufacturer in an NDA or BLA for the selected drug or (2) markets the
selected drug pursuant to an agreement with the Primary Manufacturer but is not listed on the
NDA or BLA as a “Secondary Manufacturer.” A Secondary Manufacturer will include any
manufacturer of any authorized generics and any repackager or relabeler of the selected drug that
meet these criteria. A manufacturer that is not listed as a manufacturer on the NDA / BLA and
without an agreement in place with the Primary Manufacturer would not be considered a
Secondary Manufacturer.

In the example described in section 30.1 of this revised guidance, if the potential qualifying
single source drug described was selected for negotiation, entity “A” would be considered the
Primary Manufacturer while entity “B” would be considered a Secondary Manufacturer either
because it was listed as a manufacturer in NDA-1 or if it was not listed as a manufacturer in
NDA-1 because it markets the three strengths of the immediate release tablets manufactured by
entity A pursuant to an agreement with entity A.

CMS will sign an agreement (a “Medicare Drug Price Negotiation Program Agreement,” herein
referred to as an “Agreement”) with the willing Primary Manufacturer of each selected drug and
believes this approach aligns with the statute’s requirement to negotiate to determine an MFP
with “the manufacturer” of a selected drug in accordance with section 1193(a) of the Act. This
Agreement, as described in this section 40, will set forth requirements of the Primary
Manufacturer with respect to its participation in the Negotiation Program, including with respect
to section 1193(a)(5) of the Act, which requires the Primary Manufacturer to comply with


53
   CMS acknowledges that, for some selected drugs, the list of NDC-9s and NDC-11s might not reflect all NDCs
marketed pursuant to the approved NDA(s) / BLA(s). For example, if a selected drug includes one NDC-9 that has
no current or future Part D PDE utilization (e.g., the NDC-9 is utilized only in Part B settings of care), that NDC-9
and associated NDC-11s would not be included on the published list of NDC-9s and NDC-11s of the selected drug
for initial price applicability year 2026.
54
   See: https://www.cms.gov/inflation-reduction-act-and-medicare.
     Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 120 of 199

                                                                                                119


requirements set forth in this revised guidance, which CMS has determined are necessary for
purposes of administering and monitoring compliance with the Negotiation Program.

CMS will not enter into an Agreement with any Secondary Manufacturer of a selected drug with
respect to that drug. As such, under section 1193(a)(4), a Primary Manufacturer that enters into
an Agreement must collect and report necessary information applicable to any Secondary
Manufacturer(s) as described in section 40.2 of this revised guidance. As the entity that is party
to the Agreement, the Primary Manufacturer will be solely responsible for compliance with all
provisions of the Agreement and will be accountable for ensuring compliance with respect to
units of the selected drug manufactured by the Secondary Manufacturer or marketed by any
Secondary Manufacturer pursuant to an agreement with the Primary Manufacturer. In accordance
with section 1193(a)(1) of the Act and section 40.4 of this revised guidance, the Primary
Manufacturer must ensure that any Secondary Manufacturer(s) make the MFP available to MFP-
eligible individuals and to pharmacies, mail order services, and other dispensers. For initial price
applicability year 2026, the scope of Primary Manufacturer responsibility to provide access to
the MFP for the selected drug is limited to units of such drug sold by the Primary Manufacturer
or a Secondary Manufacturer. CMS reiterates that the requirement for Primary Manufacturers to
provide access to the MFP applies to all sales of the selected drug to MFP-eligible individuals
and to pharmacies, mail order services, and other dispensers that are providing a selected drug to
an MFP-eligible individual, as described in section 80 of this revised guidance. Failure to comply
with obligations to make the MFP available may result in civil monetary penalties being assessed
on the Primary Manufacturer pursuant to section 1197(a) of the Act.

CMS requires that for initial price applicability year 2026, the Primary Manufacturer of a
selected drug is the entity that does each of the following:
    1. Signs the Agreement with CMS, as described in section 40.1 of this revised guidance;
    2. Collects and reports all data required for negotiation under section 1193(a)(4) of the Act,
        including the negotiation data elements, as described in section 40.2, section 50.1, and
        Appendix C of this revised guidance;
    3. Negotiates an MFP with CMS, as described in section 40.3 of this revised guidance;
    4. Ensures the MFP is made available to all MFP-eligible individuals and to pharmacies,
        mail order services, and other dispensers that dispense the selected drug to those
        individuals, as described in section 40.4 of this revised guidance; and
    5. Responds to CMS requests within specified timeframes with documentation
        demonstrating compliance and remedial actions, as applicable, pursuant to reports of
        noncompliance or other CMS compliance and oversight activities, and pays any CMPs
        for violations, including: violating the terms of the Agreement; providing false
        information under the procedures to apply the aggregation rule for the Small Biotech
        Exception or the Biosimilar Delay; failing to pay the rebate amount for a biological
        product for which inclusion on the selected drug list was delayed but which has since
        undergone negotiation as described in section 1192(f)(4) of the Act; or not providing
        access to the MFP to MFP-eligible individuals, pharmacies, mail order services, and
        other dispensers, as described in section 40.5, section 90, and section 100 of this revised
        guidance.
         Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 121 of 199

                                                                                                120


Termination of an Agreement for the Negotiation Program is described in section 40.6 of this
revised guidance, and other relevant provisions from the Agreement are described in section
40.7. of this revised guidance.

40.1 Entrance into an Agreement with CMS and Alternatives
Section 1193(a) of the Act instructs CMS to enter into agreements with manufacturers of
selected drugs for a price applicability period. The deadline for the Primary Manufacturer of a
selected drug to enter into an Agreement for initial price applicability year 2026 is October 1,
2023. The Primary Manufacturer must use the CMS HPMS to identify relevant authorized
representative(s) and effectuate the Agreement. 55

CMS recommends, but does not require, that within five days following publication by CMS on
September 1, 2023 of the list of selected drugs for an initial price applicability year, the Primary
Manufacturer submit to CMS the name(s), title(s), and contact information for the
representative(s) authorized to execute the Agreement. CMS recommends taking this action as
soon as possible to facilitate timely communication and effectuation of the Agreement. The
authorized representative(s) must be legally authorized to bind the Primary Manufacturer to the
terms and conditions contained in the Agreement, including any Addenda. The authorized
representatives should follow instructions made available on the CMS HPMS webpage to gain
access to the CMS HPMS. To be eligible for electronic signature access in CMS HPMS, an
authorized representative must be the Primary Manufacturer’s Chief Executive Officer, Chief
Financial Officer, an individual with equivalent authority to a Chief Executive Officer or Chief
Financial Officer, or an individual that has been granted direct delegated authority to perform
electronic signatures on behalf of one of the individuals previously noted. CMS notes that it is a
requirement of the CMS HPMS that the person accessing the CMS HPMS have a Social Security
Number (SSN). An authorized representative of the Primary Manufacturer must access the CMS
HPMS and sign the Agreement by October 1, 2023.

The negotiation period for initial price applicability year 2026 will begin on the earlier of two
dates: the date on which the Agreement is executed (i.e., signed by both CMS and the Primary
Manufacturer) or October 1, 2023. If an Agreement is fully executed before October 1, 2023, the
negotiation period (as defined in section 1191(b)(4) of the Act) will begin on the date on which
the Agreement is signed by the last party to sign it. If the Agreement is not fully executed by
October 1, 2023, then pursuant to 26 U.S.C. § 5000D(b)(1), a period will begin on October 2,
2023, during which the manufacturer could be exposed to potential excise tax liability. CMS will
make reasonable efforts to make the final text of the Agreement available to the public before the
selected drug list for initial price applicability year 2026 is published.

Section 11003 of the IRA expressly connects a Primary Manufacturer’s financial responsibilities
under the voluntary Negotiation Program to that manufacturer’s voluntary participation in the
Medicaid Drug Rebate Program, the Medicare Coverage Gap Discount Program, and the
Manufacturer Discount Program. If a Primary Manufacturer decides it is unwilling to enter into
an Agreement for the Negotiation Program, it may expedite its exit from the Medicare Coverage
Gap Discount Program and the Manufacturer Discount Program by submitting to CMS a notice
that incorporates both: (1) a notice of decision not to participate in the Negotiation Program; and

55
     See: https://hpms.cms.gov/app/ng/home/.
     Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 122 of 199

                                                                                                121


(2) a request for termination of the Primary Manufacturer’s applicable agreements under the
Medicaid Drug Rebate Program, the Medicare Coverage Gap Discount Program, and the
Manufacturer Discount Program. When a Primary Manufacturer submits such a notice, CMS will
find good cause to terminate the Primary Manufacturer’s agreement(s) under the Medicare
Coverage Gap Discount Program and the Manufacturer Discount Program, as applicable,
pursuant to section 1860D-14A(b)(4)(B)(i) and section 1860D-14C(b)(4)(B)(i) of the Act to
expedite the date on which none of the drugs of the Primary Manufacturer are covered by an
agreement under section 1860D-14A or section 1860D-14C. CMS has determined (and hereby
provides notice) that it will automatically grant such termination requests upon receipt, and that
it will expedite the effective date of the Primary Manufacturer’s termination of its Medicare
Coverage Gap Discount Program and/or Manufacturer Discount Program agreements consistent
with the statutory limitation that termination shall not be effective earlier than 30 calendar days
after the date of notice to the manufacturer of such termination.

If a Primary Manufacturer has determined it would not be willing to enter into an Agreement for
the Negotiation Program if one of its drugs is listed as a selected drug and has submitted a notice
of its decision and its request for termination as described above, CMS shall, upon written
request from such Primary Manufacturer, provide a hearing concerning its termination request.
Such a hearing will be held prior to the effective date of termination with sufficient time for such
effective date to be repealed. Such a hearing will be held solely on the papers; because CMS’
determination that there is good cause for termination depends solely on the Primary
Manufacturer’s request for termination to effectuate its decision not to participate in the
Negotiation Program, the only question to be decided in the hearing is whether the Primary
Manufacturer has asked to rescind its termination request prior to the effective date of the
termination. CMS will automatically grant such request from the Primary Manufacturer to
rescind its termination request.

40.2 Submission of Manufacturer Data to Inform Negotiation
After entering into an Agreement with CMS and in accordance with section 1193(a)(4) of the
Act, the Primary Manufacturer of each selected drug must submit to CMS the following
information with respect to the selected drug: information on the non-Federal average
manufacturer price (“non-FAMP”) (defined in section 8126(h)(5) of title 38, United States
Code), as described in section 50.1.1 and Appendix C of this revised guidance, and any
information that CMS requires to carry out negotiation, including but not limited to the factors
listed in section 1194(e)(1) of the Act, as described in section 50.1 and Appendix C of this
revised guidance. This information must be submitted by the Primary Manufacturer to CMS no
later than October 2, 2023, for initial price applicability year 2026.

The Agreement must be fully executed, meaning both the Primary Manufacturer and CMS have
signed the Agreement, before the Primary Manufacturer may submit the data elements described
in this section. While these data elements may not be submitted prior to execution of the
Agreement, Primary Manufacturers will be able to access the data elements template in the CMS
HPMS, and CMS believes Primary Manufacturers will be able to gather these data prior to the
Agreement being executed. By signing the Agreement, a Primary Manufacturer agrees to use the
CMS HPMS and comply with all relevant procedures and policies set forth in the CMS HPMS
for utilizing the system.
     Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 123 of 199

                                                                                                 122



Certain data, as described in section 50.1 and Appendix C of this revised guidance, must reflect
any products included in the selected drug marketed by a Secondary Manufacturer(s), and the
Primary Manufacturer is responsible for collecting such data from such Secondary
Manufacturer(s) and including this information in its submission to CMS.

For each selected drug for initial price applicability year 2026, CMS will populate the CMS
HPMS with the list of the NDC-11s published in accordance with section 30.4 of this revised
guidance, meaning those NDC-11s of the selected drug that either had Part D PDE utilization in
the 12-month period beginning June 1, 2022 and ending May 31, 2023 or which CMS believes
are likely to have PDE utilization in the future (for example, NDC-11s associated with recently
approved NDAs / BLAs). This list will include any NDC-11s of the selected drug marketed by
the Primary Manufacturer and any Secondary Manufacturer. CMS will transmit the list to the
Primary Manufacturer of the selected drug. In connection with the data submission described in
section 50.1 of this revised guidance, the Primary Manufacturer must provide CMS with
information regarding the NDC-11s that may be appropriate to ensure the list is complete and
accurate, including but not limited to, whether any NDC-11s associated with the NDA(s) /
BLA(s) of the selected drug are missing from the list (e.g., because they are new NDC-11s),
including any missing NDC-11s of a Secondary Manufacturer of the selected drug; whether any
of the listed NDC-11s are marketed or controlled solely by a manufacturer that is not the Primary
Manufacturer or a Secondary Manufacturer; and whether any of the listed NDC-11s have been
discontinued. CMS will collect this information in the CMS HPMS as part of the collection of
the other data elements described in section 50.1 of this revised guidance and update this list as
necessary (e.g., based on supplements from the Primary Manufacturer or other updates).

This list of NDC-11s constitutes the baseline of NDCs of the selected drug as described in
section 30 of this revised guidance that will be subject to the negotiation process for initial price
applicability year 2026. The NDC-11s on this list will be included in ceiling calculations for
initial price applicability year 2026 as described in section 60.2, to the extent data are available
to support such calculations. CMS will also use the NDC-11s on this list for the calculations used
to apply the MFP across dosage forms and strengths of the selected drug for initial price
applicability year 2026 as described in section 60.5 of this revised guidance. In addition, CMS
will use the information supplied by the Primary Manufacturer about discontinued NDC-11s as
additional context for the data elements described in section 50.1 of this revised guidance (e.g.,
notice that an NDC-11 has been discontinued may explain why a Primary Manufacturer
submitted partial year data for a particular NDC-11 of a selected drug).

The Primary Manufacturer has an ongoing obligation to timely report any changes in this
information to ensure the list of NDC-11s of the selected drug in the CMS HPMS remains
complete and accurate consistent with this revised guidance and any future guidance and
regulations. For example, a Primary Manufacturer must report to CMS any new NDC-11s of the
selected drug at least 30 days prior to their first marketed date for any Primary Manufacturer or
any Secondary Manufacturer(s) of such selected drug; if CMS believes these new NDC-11s are
likely to have PDE utilization in the future, these NDC-11s will be added to the list of NDC-11s
of the selected drug. The Primary Manufacturer also must report to CMS the delisting of any
NDC-11 of the selected drug that is no longer marketed by the Primary Manufacturer or any
         Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 124 of 199

                                                                                               123


Secondary Manufacturer(s) within 30 days after its discontinuation. Failure of the Primary
Manufacturer to provide timely information material to the accuracy of the list of NDC-11s of
the selected drug as described in this section 40.2 of the revised guidance will be considered a
violation of the Agreement pursuant to section 1193(a)(5) of the Act and may cause the Primary
Manufacturer to be subject to civil monetary penalties per section 1197(c) of the Act.
40.2.1 Confidentiality of Proprietary Information
Section 1193(c) of the Act states that CMS must determine which information submitted to CMS
by a manufacturer of a selected drug is proprietary information of that manufacturer. Information
that is deemed proprietary shall only be used by CMS or disclosed to and used by the
Comptroller General of the United States for purposes of carrying out the Negotiation Program.
Proprietary information, including trade secrets and confidential commercial or financial
information, will also be protected from disclosure if the proprietary information meets the
requirements set forth under Exemptions 3 and/or 4 of the FOIA (5 U.S.C. § 552(b)(3), (4)). 56

CMS will implement a confidentiality policy that is consistent with existing federal requirements
for protecting proprietary information, including Exemptions 3 and/or 4 of the FOIA, and that
strikes an appropriate balance between (1) protecting the highly sensitive information of
manufacturers and ensuring that manufacturers submit the information CMS needs for the
Negotiation Program, and (2) avoiding treating information that does not qualify for such
protection as proprietary. Thus, for initial price applicability year 2026, CMS will treat
information on non-FAMP as proprietary.

For initial price applicability year 2026, CMS will also treat certain data elements submitted by a
Primary Manufacturer of a selected drug in accordance with section 1194(e)(1) and section
1194(e)(2) of the Act as proprietary if the information constitutes confidential commercial or
financial information of the Primary Manufacturer or a Secondary Manufacturer. Specifically,
CMS will treat research and development costs and recoupment, unit costs of production and
distribution, pending patent applications, market data, revenue, and sales volume data as
proprietary, unless the information that is provided to CMS is already publicly available, in
which case it would be considered non-proprietary. CMS will treat the data on prior Federal
financial support and approved patent applications, exclusivities, and applications and approvals
under section 505(c) of the FD&C Act or section 351(a) of the PHS Act as non-proprietary
because CMS understands these data are publicly available.

Pursuant to section 1195(a)(2) of the Act, CMS is required to publish the explanation of the MFP
by March 1, 2025, for initial price applicability year 2026 (see section 60.6.1 of this revised
guidance). In this public explanation and any other public documents discussing the MFP, CMS
will make public the section 1194(e)(1) and section 1194(e)(2) data submitted by the Primary
Manufacturer and the public that are determined to be non-proprietary, but will not include any
protected health information (PHI) or personally identifiable information (PII). CMS will also
make public high-level comments about the section 1194(e)(1) and section 1194(e)(2) data
submitted to CMS that are determined to be proprietary, without sharing any PHI / PII or any
proprietary information reported to CMS under section 1193(a)(4) for purposes of the
negotiation. For example, CMS will not make public the research and development costs
56
     See: https://www.justice.gov/oip/doj-guide-freedom-information-act-0.
     Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 125 of 199

                                                                                               124


reported by a Primary Manufacturer, as CMS would treat that data as proprietary, but CMS may
say “the manufacturer has recouped its research and development costs.” Any proprietary
information obtained during the course of an audit will also remain confidential, except as
necessary to use that information in the course of a judicial enforcement proceeding.
40.2.2 Data and Information Use Provisions and Limitations
CMS will not publicly discuss ongoing negotiations with a Primary Manufacturer, except as
outlined below. As described in section 60.6.1, CMS will make public a narrative explanation of
the negotiation process and share redacted information regarding the section 1194(e) data
received, exchange of offers and counteroffers, and the negotiation meetings, if applicable.

Primary Manufacturers may choose to publicly disclose information regarding its ongoing
negotiations with CMS at its discretion. If a Primary Manufacturer discloses information that is
made public regarding any aspect of the negotiation process prior to the explanation of the MFP
being released by CMS, CMS reserves the right to publicly discuss the specifics of the
negotiation process regarding that Primary Manufacturer. If a Primary Manufacturer chooses to
disclose any material that is made public that CMS has previously deemed to be proprietary
information of that Primary Manufacturer, CMS will no longer consider that material proprietary
consistent with section 40.2.1 of this guidance. For example, if a Primary Manufacturer chooses
to publicly disclose the unit cost of production, CMS will no longer consider the unit cost of
production to be proprietary. If the Primary Manufacturer chooses to disclose proprietary
information prior to the explanation of the MFP, then it will not be redacted in the explanation of
the MFP. Primary Manufacturers negotiating an MFP with CMS pursuant to the process set forth
in section 60 are reminded that statements to or discussions with other Primary Manufacturers
also engaged in the MFP negotiation process with CMS could negatively impact the competitive
process for each independent MFP negotiation. Information exchanges concerning confidential
and strategic business negotiations may violate the antitrust laws under certain circumstances and
lead to other anticompetitive agreements. Primary Manufacturers should consider the antitrust
implications of any such actions.

CMS will prohibit audio or video recording of any negotiation meetings between CMS and a
Primary Manufacturer. CMS will maintain written records of the negotiation process, including
negotiation meetings, in compliance with applicable federal law, including the Federal Managers
Financial Integrity Act and the Federal Records Act. A Primary Manufacturer can maintain its
own written record of these exchanges.
40.2.3 Opportunity for Corrective Action Following Information Submission
Recognizing the substantial role that manufacturer-submitted information will play in the
negotiation process and in administering and monitoring the Negotiation Program, CMS will
provide an opportunity for corrective action in the event a submission is incomplete or
inaccurate. Upon receipt of Primary Manufacturer-submitted information – for example,
information on the section 1194(e)(1) factors – CMS will review the submission for
completeness and accuracy. Should CMS determine a submission is incomplete or contains
inaccurate information, CMS will provide a written request that the Primary Manufacturer take
corrective action and resubmit the information. CMS will provide five business days for the
Primary Manufacturer to correct the submission and/or provide additional information to validate
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 126 of 199

                                                                                                 125


the accuracy/completeness of the original submission. Following resubmission, CMS may follow
up with the Primary Manufacturer to clarify any information included in the resubmission and
confirm full accuracy and completeness of the required information.

To facilitate the corrective action process, CMS will provide the Primary Manufacturer with a
written request for the corrected information, which will be transmitted to the Primary
Manufacturer following CMS’ discovery of any inaccurate or incomplete submissions. The
written request will include a deadline for resubmitting the information (i.e., the end of the five-
business day period). CMS will make efforts to be available to engage with the Primary
Manufacturer about the specifics of the request for corrected information and to answer
questions and provide clarification. Note that failure to engage in timely corrective action may
result in the Primary Manufacturer being subject to civil monetary penalties as authorized under
section 1197(c) for failure to submit required information.
40.3 Negotiation and Agreement to an MFP and Renegotiation in Later Years
CMS will use the CMS HPMS to share the initial offer and concise justification, any subsequent
offer and justification, and to receive any counteroffer(s) from the Primary Manufacturer of a
selected drug. A Primary Manufacturer that signs the Agreement will be required to adhere to the
process and deadlines described in section 60 of this revised guidance. CMS will also use the
CMS HPMS to share and receive an Addendum to the Agreement, as applicable, in order for
CMS and the Primary Manufacturer to effectuate agreement upon the MFP that results from the
negotiation process. For example, concurrent with the agency’s provision of the initial offer,
CMS will populate an Addendum in the CMS HPMS containing the MFP identified in the initial
offer; if a Primary Manufacturer wishes to accept CMS’ initial offer, it can sign the Addendum
in the CMS HPMS. Similarly, concurrent with the Primary Manufacturer’s submission of a
written counteroffer, the Primary Manufacturer will populate an Addendum in the CMS HPMS
containing the MFP identified in the counteroffer and sign the Addendum; if CMS wishes to
accept the counteroffer, it will countersign the Addendum in the CMS HPMS. CMS will
determine that negotiations have concluded upon execution by both parties of the Addendum
setting forth the agreed-upon MFP.

Pursuant to section 1194(f) of the Act, CMS and a Primary Manufacturer may renegotiate the
MFP for a selected drug, beginning with 2028. CMS plans to release guidance related to the
renegotiation process in future years.

40.4 Providing Access to the MFP
After entering into an Agreement with CMS and in accordance with section 1193(a) of the Act,
the manufacturer of a selected drug must provide access to the MFP to MFP-eligible individuals
(defined in section 1191(c)(2)(A) of the Act and section 80 of this revised guidance) and to
pharmacies, mail order services, and other dispensers with respect to such MFP-eligible
individuals who are dispensed that drug during a price applicability period. That is, the
manufacturer is required to provide access to the MFP for all dosage forms, strengths, and
package sizes of the selected drug (i.e., NDCs included in the MFP file published in accordance
with section 60.6 of this revised guidance), including any additional such dosage forms,
strengths, and package sizes that may be further included in the MFP file, if coverage is being
provided for such dosage forms, strengths, and package sizes under a prescription drug plan
     Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 127 of 199

                                                                                                126


under Medicare Part D or an MA–PD plan under Medicare Part C (including an Employer Group
Waiver Plan).

Under section 1860D-2(d)(1)(D) of the Act, as amended by section 11001(b) of the IRA, the
negotiated prices used in payment by each Part D plan sponsor for each selected drug must not
exceed the MFP plus any dispensing fees for such drug. In Part D, the negotiated price of a drug
is the basis for determining beneficiary cost-sharing and for benefit administration at the point of
sale. Therefore, the requirement that the price used for beneficiary cost-sharing and benefit
administration cannot exceed the MFP (plus dispensing fees) helps to ensure that Part D MFP-
eligible individuals will have access to the MFP at the point of sale. Therefore, while section
1193(a) of the Act requires manufacturers to provide access to the MFP to MFP-eligible
individuals, as a practical matter, this would be facilitated by Part D plan sponsors in the normal
course.

However, section 1193(a) of the Act also requires that the manufacturer of a selected drug
provide access to the MFP for the selected drug to pharmacies, mail order services, and other
dispensers with respect to MFP-eligible individuals who are dispensed such drugs. CMS requires
that the Primary Manufacturer ensures that entities that dispense drugs to MFP-eligible
individuals, including pharmacies, mail order services, and other dispensers, have access to the
MFP for the selected drug in accordance with section 1193(a) of the Act and as further described
in section 90.2 of this revised guidance. CMS defines “providing access to the MFP” as ensuring
that the amount paid by the dispensing entity for the selected drug is no greater than the MFP.

Primary Manufacturers must provide access to the MFP in one of two ways: (1) prospectively
ensuring that the price paid by the dispensing entity when acquiring the drug is no greater than
the MFP; or (2) providing retrospective reimbursement for the difference between the dispensing
entity’s acquisition cost and the MFP. As part of this obligation, the Primary Manufacturer must
ensure the MFP is made available to pharmacies, mail order services, and other dispensers for
units of the selected drug for which there is a Secondary Manufacturer. With respect to the
second option, CMS plans to issue further information regarding the specific calculation that the
manufacturer could use in the determination of the refund to the dispenser. CMS is exploring
whether manufacturers could offer a standardized refund amount, such as the Wholesale
Acquisition Cost (WAC) of the selected drug minus the MFP (WAC-MFP), in order to meet this
obligation.

CMS intends to engage with a Medicare Transaction Facilitator (MTF) to facilitate the exchange
of data between pharmaceutical supply chain entities to support the verification of an MFP-
eligible individual who is dispensed a selected drug. CMS intends to continue to work with
interested parties to identify existing processes and any new processes that would be the most
viable for the supply chain to operationalize to ensure that pharmacies, mail order services, and
other dispensers have access to the MFP during the price applicability period. CMS will consult
with pharmacies, mail order services, and other dispensers, as well as with industry standard
development organizations (SDOs), 340B covered entities and related organizations,
pharmaceutical/biotechnology manufacturers, and other supply chain participants to understand
existing data flows and identify opportunities for increased connectivity and data sharing. CMS
is also exploring options to facilitate retrospective payment exchange between manufacturers and
     Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 128 of 199

                                                                                                127


dispensing entities to help effectuate access to the MFP. CMS plans to release more information
in advance of initial price applicability year 2026 regarding such issues related to ensuring access
to the MFP, including how CMS might support and facilitate data exchange between
pharmaceutical supply chain entities.

A Primary Manufacturer must ensure that pharmacies, mail order services, and other dispensers
are reimbursed timely. That is, CMS requires that the MFP must be passed through to the
dispensers within 14 days of the manufacturer receiving sufficient information to verify that an
individual is eligible for access to the MFP. Neither Primary Manufacturers nor their contracted
entities shall charge any transaction fees for the data exchanges that would be facilitated through
an MTF. Regardless of whether existing processes or new processes are used to facilitate access
to the MFP, manufacturers are expected to comply with existing applicable data privacy and
security laws. Primary Manufacturers must work with any Secondary Manufacturer of a selected
drug to determine how the MFP will be passed through in a manner that complies with
applicable data privacy and security laws.

Further, CMS requires that a Primary Manufacturer submit its process for making the MFP
available, including to 340B covered entities, for the selected drug in writing to CMS at least 30
days before the start of the initial price applicability year for the selected drug. CMS intends to
publish these processes on the CMS IRA website. For initial price applicability year 2026, a
Primary Manufacturer of a selected drug must send its process for ensuring MFP availability to
CMS in writing by December 2, 2025. A Primary Manufacturer must notify CMS of any changes
to its process for making the MFP available at least 30 days before the change goes into effect.
CMS will monitor for compliance, and will audit as needed, to ensure that the MFP is being
made available for the selected drug (see section 90.2 of this revised guidance for additional
details). A Primary Manufacturer must retain for at least ten years from the date of sale any
records relating to sales of the selected drug to entities that dispense the selected drug to MFP-
eligible individuals, including pharmacies, mail order services, and other dispensers for units of
selected drug, in alignment with the statute of limitations period under the False Claims Act.

CMS notes that the Agreement would not restrict the Primary Manufacturer or Secondary
Manufacturer(s) from offering to the Part D plans a price lower than the MFP that would be
passed through to the beneficiary by the dispenser. CMS reiterates that Primary Manufacturers
are responsible for ensuring that the MFP is made available to pharmacies, mail order services,
and other dispensers that dispense the selected drug to MFP-eligible individuals, including
ensuring that MFP is available for units of the selected drug for which there is a Secondary
Manufacturer. Commercial and other payers will continue to have discretion to consider
Medicare payment rates among other considerations in establishing their own payment policies.

40.4.1 Nonduplication with 340B Ceiling Price
In accordance with 1193(d) of the Act and as further described in section 90.2 of this revised
guidance, the Primary Manufacturer of a selected drug is not required to provide access to the
MFP for a selected drug to MFP-eligible individuals who are eligible to be dispensed such
selected drug at a covered entity described in section 340B(a)(4) of the PHS Act if the selected
drug is subject to an agreement described in section 340B(a)(1) of the PHS Act and the 340B
     Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 129 of 199

                                                                                                128


ceiling price (defined in section 340B(a)(1) of the PHS Act) is lower than the MFP for such
selected drug.

A manufacturer that provides an MFP on a selected drug is not also required to provide a 340B
discount on that same drug. That is, these price concessions are not cumulative. CMS expects
that the ingredient cost component of all Part D prescriptions filled for a selected drug will be no
greater than the drug’s MFP, including when those prescriptions are filled at 340B covered
entities and their contract pharmacies. CMS understands that 340B covered entities and their
contract pharmacies currently use different inventory management processes for 340B drugs,
such as separate physical drug inventories or a retrospective replenishment model. Regardless of
the specific inventory management process used, the same policies regarding the MFP will
apply, including that the manufacturer must provide access to the lower of the MFP or 340B
ceiling price, such as through a replenished 340B inventory or an MFP refund within 14 days of
determining that the selected drug was dispensed to an MFP-eligible individual.

CMS intends to work with the Health Resources and Services Administration, which administers
the 340B Drug Pricing Program, to help to ensure that the MFP is made available to 340B
covered entities where appropriate and that there is no duplication with the 340B ceiling price.

40.5 Compliance with Administrative Actions and Monitoring of the Drug Price
Negotiation Program
Pursuant to CMS’ statutory obligation under sections 1191(a)(4), 1196, and 1197 of the Act,
CMS will establish a robust program for monitoring compliance with the Negotiation Program.
After entering into an Agreement with CMS and in accordance with section 1193(a)(5) of the
Act, the Primary Manufacturer must comply with requirements determined by CMS to be
necessary for purposes of administering the Negotiation Program and monitoring compliance
with the Negotiation Program. For example, CMS anticipates engaging in auditing processes to
verify the accuracy and completeness of any information provided by the Primary Manufacturer
under the requirements of section 1193(a)(4) of the Act. CMS also may audit any data related to
the Primary Manufacturer providing access to the MFP, including where the selected drug is
provided by a Secondary Manufacturer. CMS will document all requests for information
required to administer or monitor compliance with the Negotiation Program in accordance with
section 1193(a)(5) of the Act. Written requests from CMS to the Primary Manufacturer will
include a date by which the requested information shall be submitted to CMS. If the Primary
Manufacturer fails to submit complete and accurate information to CMS by the deadline stated in
a request for information, CMS will consider the Primary Manufacturer in violation of the
Agreement and the Manufacturer may be subject to civil monetary penalties as outlined in
section 1197(c) of the Act.

CMS will allow a Primary Manufacturer that believes in good faith that CMS has made an error
in the calculation of the ceiling or the computation of how CMS will apply a single MFP across
dosage forms and strengths to submit a suggestion of error for CMS’ consideration. As feasible,
CMS will provide information on these calculations to the Primary Manufacturer within 60 days
of the Primary Manufacturer’s submission of data that complies with the requirements described
in section 50.1. A Primary Manufacturer will have 30 days to submit a suggestion of error and
may do so by submitting the request via email to IRARebateandNegotiation@cms.hhs.gov with
     Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 130 of 199

                                                                                             129


the subject line “Suggestion of Error for [name of the selected drug].” This notification should
include supporting information documenting why the Primary Manufacturer believes that CMS
made a mathematical error in its calculations and corresponding steps that should be reviewed.
CMS will review and respond within 30 days of receiving the suggestion of error from the
Primary Manufacturer if feasible. The suggestion of error process does not imply that a Primary
Manufacturer need not comply with Negotiation Program requirements and will not affect any
timelines or requirements of the Negotiation Program.

40.6 Termination of the Agreement
In accordance with section 1193(b) of the Act, when the Primary Manufacturer enters into the
Agreement described in section 40.1 of this revised guidance, the Agreement will remain in
effect, including through renegotiation, as applicable, until the selected drug is no longer
considered a selected drug under section 1192(c) of the Act as described in section 70 of this
revised guidance unless the Agreement is terminated sooner by the Primary Manufacturer under
the conditions specified below. Accordingly, the Agreement will have an effective date as of the
date the Agreement is signed by both parties (the “Effective Date”), and the term of the
Agreement will be from the Effective Date of the Agreement to the earlier of the first year that
begins at least 9 months after the date on which CMS determines that the selected drug is no
longer a selected drug under section 1192(c) of the Act or the Agreement is terminated by either
party in accordance with this section (the “Termination Date”).

In accordance with section 1193(a)(5) of the Act, a Primary Manufacturer may terminate its
Agreement with respect to a selected drug with respect to a price applicability period, before
reaching an agreement with CMS as to the MFP for the selected drug or after such an MFP is
agreed to, if the Primary Manufacturer meets certain conditions for termination consistent with
the provisions in 26 U.S.C. § 5000D(c). Specifically, a Primary Manufacturer seeking to
terminate its Agreement with respect to a selected drug must submit to CMS a notice of request
to terminate. As noted in section 40.1, section 11003 of the IRA expressly connects a Primary
Manufacturer’s financial responsibilities under the voluntary Negotiation Program to that
manufacturer’s voluntary participation in the Medicaid Drug Rebate Program and the Medicare
Coverage Gap Discount Program and the Manufacturer Discount Program. The provisions
enacted at 26 U.S.C. § 5000D give the Primary Manufacturer choices with regard to the
Negotiation Program. The Primary Manufacturer may participate in the Negotiation Program.
The Primary Manufacturer may opt out of the Negotiation Program and pay the excise tax on the
sale of the selected drug during defined periods. Alternatively, the Primary Manufacturer may
opt out of the Negotiation Program and avoid the excise tax on sales of the selected drug during
the period for which the manufacturer does not have applicable agreements with the Medicare
and Medicaid programs and none of its drugs are covered by an agreement under section 1860D-
14A or section 1860D-14C of the Act. Promoting continuity in the administration of the
Negotiation Program warrants extending parallel options to a Primary Manufacturer with respect
to potential CMP liability. A Primary Manufacturer with an Agreement with respect to the price
applicability period with respect to a selected drug may opt out of the Negotiation Program and
pay CMPs associated with violations of program requirements. Alternatively, a Primary
Manufacturer seeking to cease participation in the Negotiation Program through the end of the
price applicability period for a selected drug may avoid CMP liability by terminating its
Agreement if it also ceases participation in the Medicaid Drug Rebate Program and the Medicare
     Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 131 of 199

                                                                                                130


Coverage Gap Discount Program and the Manufacturer Discount Program through the end of the
price applicability period for the selected drug.

Thus, in accordance with section 1193(a)(5) of the Act, CMS has determined that the Primary
Manufacturer’s notice of termination of the Agreement must incorporate both (1) a request for
termination of the Primary Manufacturer’s applicable agreements under the Medicaid Drug
Rebate Program and the Medicare Coverage Gap Discount Program and the Manufacturer
Discount Program, consistent with the requirements as set forth in 26 U.S.C. §
5000D(c)(1)(A)(i), and (2) an attestation that through the end of the price applicability period for
the selected drug, the Manufacturer (a) shall not seek to enter into any subsequent agreement
with any such program and (b) shall not seek coverage for any of its drugs under the Medicare
Coverage Gap Discount Program under section 1860D-14A of the Act or the Manufacturer
Discount Program under section 1860D-14C of the Act, consistent with the requirements as set
forth in 26 U.S.C. § 5000D(c)(1)(B). A Primary Manufacturer later seeking to re-enter any
applicable agreement or obtain coverage for any of its drugs under the Medicare Coverage Gap
Discount Program or the Manufacturer Discount Program would be deemed to have provided an
invalid attestation that was a condition of termination, and the Agreement would once again
become operative as of the date of re-entry into the applicable agreements or coverage for any of
its drugs under the Medicare Coverage Gap Discount Program or the Manufacturer Discount
Program. If a Primary Manufacturer terminated its Agreement prior to completing the
negotiation process and agreeing to an MFP, such process will be initiated or resumed in
accordance with the negotiation process described in section 60 of this revised guidance. In
addition, the timing of the Primary Manufacturer’s decision to resume participation in the
Negotiation Program may implicate the renegotiation process beginning with 2028, for which
guidance will be forthcoming for future years of the Negotiation Program.

If the conditions for termination of the Agreement for the Negotiation Program described above
are met, CMS will terminate such Agreement effective on the first date on which the notices of
termination for all applicable agreements have been received and none of the drugs of the
Primary Manufacturer are covered by an agreement under the Medicare Coverage Gap Discount
Program or the Manufacturer Discount Program. As is noted above, section 11003 of the IRA
expressly connects a Primary Manufacturer’s financial responsibilities under the voluntary
Negotiation Program to that manufacturer’s voluntary participation in the Medicaid Drug Rebate
Program and the Medicare Coverage Gap Discount Program and the Manufacturer Discount
Program. If a Primary Manufacturer determines after executing its Agreement that it is unwilling
to continue its participation in the Negotiation Program and provides a termination notice that
complies with the requirements in this section 40.6, CMS will find good cause to terminate the
Primary Manufacturer’s agreement(s) under the Medicare Coverage Gap Discount Program and
the Manufacturer Discount Program, as applicable, pursuant to section 1860D-14A(b)(4)(B)(i)
and section 1860D-14C(b)(4)(B)(i) of the Act to expedite the date on which none of the drugs of
the Primary Manufacturer are covered by an agreement under section 1860D-14A or section
1860D-14C and thus facilitate an expedited Termination Date.

Moreover, consistent with the process described in Section 40.1 above, if a Primary
Manufacturer has determined it is unwilling to continue its participation in the Negotiation
Program and provides a termination notice that complies with the requirements in this section
     Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 132 of 199

                                                                                                131


40.6, CMS shall, upon written request from such Primary Manufacturer, provide a hearing
concerning its termination request for its applicable agreements under the Medicare Coverage
Gap Discount Program and the Manufacturer Discount Program, as applicable. Such a hearing
will be held prior to the effective date of termination with sufficient time for such effective date
to be repealed. Such a hearing will be held solely on the papers; because CMS’ determination
that there is good cause for termination depends solely on the Primary Manufacturer’s request for
termination to effectuate its decision not to participate in the Negotiation Program, the only
question to be decided in the hearing is whether the Primary Manufacturer has asked to rescind
its termination request prior to the effective date of the termination. CMS will automatically
grant such request from the Primary Manufacturer to rescind its termination request.

Notwithstanding any termination of the Agreement, the MFP shall continue to apply for any
selected drugs that were dispensed prior to the Termination Date. Also, notwithstanding the
termination of the Agreement, any confidentiality, record retention, and/or data requirements and
any requirements for Primary Manufacturer participation in audit and other Negotiation Program
oversight activities shall continue to apply.

40.7 Other Provisions in the Agreement
Additional terms in the Agreement set forth general provisions in accordance with requirements
determined by CMS to be necessary for purposes of administering or monitoring compliance
with the Negotiation Program. For example, any notice required to be given by the manufacturer
or CMS must be sent in writing via email to CMS- and manufacturer-designated email addresses.
CMS retains the authority to amend the Agreement to reflect changes in law, regulation, or
guidance, and, when possible, CMS will give the Manufacturer at least 60-day notice of any
change to the Agreement.

In accordance with section 1193(a)(5) of the Act, if, after entering in an Agreement with CMS,
the Primary Manufacturer of a selected drug transfers ownership of one or more NDAs / BLAs
of the selected drug to another entity, the Primary Manufacturer remains responsible for all
requirements of the Agreement, including the requirement to provide access to the MFP,
associated with the transferred NDAs / BLAs unless and until the Primary Manufacturer
transfers all the NDAs / BLAs of the selected drug that it holds to an entity and such acquiring
entity assumes responsibility as the new Primary Manufacturer. Those steps must be evidenced
by a novation to the transferring Primary Manufacturer’s original Agreement for the Negotiation
Program. The transferring Primary Manufacturer remains responsible for any outstanding
Negotiation Program rebate liabilities related to the biosimilar delay provision under section
1192(f) of the Act unless and until such liabilities are transferred to the acquiring entity as the
new Primary Manufacturer. The transferring Primary Manufacturer shall provide CMS at least
30 calendar days written notice before the effective date of any such transfer and, if applicable,
any novation.

If the Primary Manufacturer of a selected drug transfers all NDAs / BLAs of the selected drug
pursuant to the preceding paragraph, such that an acquiring entity assumes responsibility as the
new Primary Manufacturer of the selected drug for purposes of the Negotiation Program, CMS
recognizes that this transfer of ownership could affect the Primary Manufacturer’s potential
excise tax liability as well as the impact on the Primary Manufacturer of the statutory suspension
     Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 133 of 199

                                                                                                132


of excise tax provisions and the termination process as described in section 40.6 of this revised
guidance. CMS recognizes that whether this transfer of ownership would have these impacts
would depend on whether the transfer of the NDAs / BLAs was made to an entity that is not a
related party (e.g., not treated as part of the same employer under subsections (a) and (b) of
section 52 of the Internal Revenue Code of 1986) and complied with relevant principles of tax
law.

If any provision of the Agreement is found to be invalid by a court of law, the Agreement will be
construed in all respects as if the invalid or unenforceable provision(s) were eliminated, and
without any effect on any other provisions.

50. Negotiation Factors
In accordance with sections 1193(a)(4) and 1194(b)(2)(A) of the Act, the Primary Manufacturer
of a selected drug that has chosen to sign the Agreement must submit, in a form and manner
specified by CMS, information on the non-FAMP for the selected drug (described in section
50.1.1 of this revised guidance). The Primary Manufacturer must also submit information on
certain factors (described in section 1194(e)(1) of the Act and described further in section 50.1 of
this revised guidance). The Primary Manufacturer will be responsible for aggregating and
reporting information from any applicable Secondary Manufacturer(s). In addition, the statute
prescribes that CMS also consider available evidence about therapeutic alternatives to the
selected drug(s) (described in section 1194(e)(2) of the Act and described further in section 50.2
of this revised guidance).

While the statute requires that CMS consider manufacturer-specific data for the factors described
at section 1194(e)(1) of the Act, the statute does not specify what sources CMS must use for the
factors described at section 1194(e)(2) regarding therapeutic alternatives to a selected drug. CMS
will consider evidence about therapeutic alternatives relevant to the factors described in section
1194(e)(2) of the Act submitted by members of the public, including manufacturers, Medicare
beneficiaries, academic experts, clinicians, caregivers, and other interested parties. CMS believes
that by allowing any interested party to submit data, CMS will be best positioned to identify all
available, relevant evidence for the factors described at section 1194(e)(2).

CMS published the Negotiation Data Elements ICR in the Federal Register on March 21, 2023.
The Negotiation Data Elements ICR describes how CMS will collect the data outlined in sections
1193(a)(4)(A), 1194(e)(1), and 1194(e)(2) of the Act. This ICR includes instructions on how
Primary Manufacturers and members of the public may submit relevant data. The comment
period for the Negotiation Data Elements ICR closed on May 22, 2023. CMS is releasing a
revised version of the Negotiation Data Elements ICR on June 30, 2023, and the 30-day
comment period will close on July 31, 2023.

The definitions that CMS is adopting for the purposes of describing the data to be collected for
use in the Negotiation Program under sections 1193(a)(4)(A) and 1194(e)(1) of the Act are
specified in Appendix C of this revised guidance.

In accordance with sections 1191(d)(5)(A), 1194(b)(2)(A), and 1193(a)(4)(B) of the Act, the data
described in sections 50.1 and 50.2 of this revised guidance for drugs selected for initial price
applicability year 2026 must be submitted to CMS by October 2, 2023. CMS’ determination to
     Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 134 of 199

                                                                                               133


require public submission on the same date as manufacturer submission (i.e., October 2, 2023)
serves to enable CMS to consider all submitted evidence in totality and meet the statutory
deadline for the initial offer, pursuant to general program administration authority.

50.1 Manufacturer-Specific Data
Section 1194(e) of the Act directs CMS, for purposes of negotiating the MFP for a selected drug
with the Primary Manufacturer, to consider certain factors, as applicable to the selected drug, as
the basis for determining its offers, as described in section 60 of this revised guidance. These
factors include data submitted by the Primary Manufacturer, as specified in section 1194(e)(1) of
the Act. Submission of these data by the Primary Manufacturer is required if an Agreement is
signed; details related to the submission process are described in section 40.2 of this revised
guidance.

These data include the following and are required to be reported by the Primary Manufacturer to
CMS by October 2, 2023:
   1. Research and development (R&D) costs of the Primary Manufacturer for the selected
       drug and the extent to which the Primary Manufacturer has recouped those costs;
   2. Current unit costs of production and distribution of the selected drug, averaged across the
       Primary Manufacturer and any Secondary Manufacturer(s);
   3. Prior Federal financial support for novel therapeutic discovery and development with
       respect to the selected drug;
   4. Data on pending and approved patent applications, exclusivities recognized by the FDA,
       and applications and approvals under section 505(c) of the FD&C Act or
       section 351(a) of the PHS Act for the selected drug; and
   5. Market data and revenue and sales volume data for the selected drug in the United States
       for the Primary Manufacturer and any Secondary Manufacturer(s).

The Primary Manufacturer should submit information in the CMS HPMS for the NDC-11s of the
selected drug, inclusive of any NDC-11s that the Primary Manufacturer submits for the list of
NDC-11s pursuant to section 40.2 of this revised guidance. As noted above, CMS requires the
Primary Manufacturer to aggregate data from both the Primary Manufacturer and any Secondary
Manufacturer(s) for the following: non-FAMP, current unit costs of production and distribution,
and certain data pertaining to market data and revenue and sales volume data for the selected
drug.

Please see Appendix C of this revised guidance for a list of definitions that apply for purposes of
describing these data to be collected for use in the Negotiation Program.
50.1.1 Non-FAMP Data
The Primary Manufacturer must submit data on non-FAMP for the selected drug for the Primary
Manufacturer and any Secondary Manufacturer(s), as required under section 1193(a)(4)(A) of
the Act. CMS will be collecting these data through the Negotiation Data Elements ICR described
above. Specifically, for initial price applicability year 2026, the Primary Manufacturer must
submit the non-FAMP, unit type, and total unit volume for each NDC-11 of the selected drug for
the four quarters of calendar year 2021, or in the case that there is not an average non-FAMP
price available for such drug for 2021, the non-FAMP, unit type, and total unit volume for each
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 135 of 199

                                                                                                                 134


NDC-11 of the selected drug for the four quarters of the first full calendar year following market
entry of such drug. For purposes of determining the applicable year, CMS will consider the
average non-FAMP price to be available for a selected drug for calendar year 2021 if the Primary
Manufacturer reports at least one quarter of non-FAMP data for at least one NDC-11 of the
selected drug in calendar year 2021. As described in Appendix C, when there are at least 30 days
of commercial sales data but less than a calendar quarter of data to calculate the non-FAMP in
calendar year 2021 (or the first full year following market entry of such drug, when applicable)
for a given NDC-11 of such drug, the non-FAMP reported by the manufacturer to CMS for that
calendar quarter should reflect the temporary non-FAMP predicated upon the first 30 days of
commercial sales data. The temporary non-FAMP should be calculated following the same
methodology used to calculate the temporary non-FAMP amount used to determine the
Temporary Federal Ceiling Price as described in the Department of Veterans Affairs’ (VA) 2023
Updated Guidance for Calculation of Federal Ceiling Prices (FCPs) for New Drugs subject to
Public Law 102-585. Any restatements of the non-FAMP made in any manufacturer non-FAMP
submissions to the VA must be reflected in the non-FAMP submitted to CMS. The use of these
data to calculate the ceiling for the MFP is further described in section 60.2 of this revised
guidance. Details on how CMS defines the parameters of the non-FAMP data collection are
included in Appendix C of this revised guidance and are also included in the Negotiation Data
Elements ICR.

50.2 Evidence About Therapeutic Alternatives for the Selected Drug
As noted above, section 1194(e)(2) of the Act directs CMS to consider evidence about
alternative treatments to the selected drug, as available, including:
    1. The extent to which the selected drug represents a therapeutic advance compared to
        existing therapeutic alternatives for the selected drug and the costs of such existing
        therapeutic alternatives;
    2. FDA-approved prescribing information for the selected drug and its therapeutic
        alternatives;
    3. Comparative effectiveness of the selected drug and its therapeutic alternatives, including
        the effects of the selected drug and its therapeutic alternatives on specific populations
        (including individuals with disabilities, the elderly, the terminally ill, children, and other
        patient populations, herein referred to as “specific populations”); and
    4. The extent to which the selected drug and the therapeutic alternatives to the drug address
        unmet medical needs for a condition for which treatment or diagnosis is not addressed
        adequately by available therapy.

Section 1194(e)(2) of the Act additionally requires that CMS not use evidence from comparative
clinical effectiveness research in a manner that treats extending the life of an individual who is
elderly, disabled, or terminally ill as of lower value than extending the life of an individual who
is younger, nondisabled, or not terminally ill. Information submitted by members of the public,
including manufacturers, Medicare beneficiaries, academic experts, clinicians, caregivers, and
other interested parties, or other information found by CMS that treats extending the life of
individuals in these populations as of lower value will not be used in the Negotiation Program. 57

57
  Some uses of QALY treat extending the life of an individual who is elderly, disabled, or terminally ill as of lower
value than extending the life of an individual who is younger, nondisabled, or not terminally ill. CMS will not use
any QALY in the Negotiation Program.
     Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 136 of 199

                                                                                                135


CMS will review cost-effectiveness measures used in studies relevant to a selected drug to
determine whether the measure used is permitted in accordance with section 1194(e)(2), as well
as with section 1182(e) of Title XI of the Act. CMS may use content in a study that uses a cost
effectiveness-measure if it determines that the cost-effectiveness measure used is permitted in
accordance with the law and does not treat extending the life of an individual who is elderly,
disabled, or terminally ill as of lower value than extending the life of an individual who is
younger, nondisabled, or not terminally ill. In instances where some, but not all, content in a
study is excluded (e.g., QALYs), CMS may still consider content that is relevant and allowable
(e.g., clinical effectiveness, risks, harms) under section 1194(e)(2) of the Act and section 1182(e)
of Title XI of the Act. CMS requires respondents submitting information to indicate whether
their submission contains information from studies that use measures that treat extending the life
of an individual who is elderly, disabled, or terminally ill as of lower value than extending the
life of an individual who is younger, nondisabled, or not terminally ill. CMS also requests that
respondents submitting information under 1194(e)(2) provide a short description of any cost-
effectiveness measures included in the research they are submitting, and how they believe the
data avoids treating extending the life of an individual who is elderly, disabled, or terminally ill
as of lower value than extending the life of an individual who is younger, nondisabled, or not
terminally ill.

The Primary Manufacturer and members of the public, including other manufacturers, Medicare
beneficiaries, academic experts, clinicians, caregivers, and other interested parties, may submit
information on selected drugs and their therapeutic alternatives (specifically pharmaceutical
therapeutic alternatives, as described in detail in section 60.3.1 of this revised guidance),
including information on whether the selected drug represents a therapeutic advance over its
therapeutic alternative(s), prescribing information for the selected drug and its therapeutic
alternative(s), comparative effectiveness data for the selected drug and its therapeutic
alternative(s), information about the impact of the selected drug and its therapeutic alternative(s)
on specific populations, information about patient experience, and/or information on whether the
selected drug addresses unmet medical need, as described in section 1194(e)(2) of the Act.
Outcomes such as changes to productivity, independence, and quality of life will also be
considered when these outcomes correspond with a direct impact on the individuals taking the
selected drug or therapeutic alternative and are appropriately measurable and quantifiable.

CMS will additionally review existing literature and real-world evidence, conduct internal
analytics, and consult subject matter and clinical experts on these topics (described in section
60.3.1 of this revised guidance) when considering available evidence about alternative treatments
to the selected drug. When reviewing the literature from the public and manufacturer
submissions as well as literature from CMS’ review, CMS will consider the source, rigor of the
study methodology, current relevance to the selected drug and its therapeutic alternative(s),
whether the study has been through peer review, study limitations, degree of certainty of
conclusions, risk of bias, study time horizons, generalizability, study population, and relevance
to the negotiation factors listed in section 1194(e)(2) of the Act to ensure the integrity of the
contributing data within the negotiation process. CMS will prioritize research, including both
observational research and research based on randomized samples, that is methodologically
rigorous, appropriately powered (i.e., has sufficient sample size) to answer the primary question
     Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 137 of 199

                                                                                                136


of the research, and structured to avoid potential false positive findings due to multiple subgroup
analyses.

CMS will consider research and real-world evidence relating to Medicare populations, including
on individuals with disabilities, patients with end-stage renal disease (ESRD), and Medicare-
aged populations, as particularly important. In considering impact on specific populations and
patients with unmet medical needs, CMS will prioritize research specifically designed to focus
on these populations over studies that include outcomes for these populations but for which these
populations were not the primary focus.

All information on the factors described in section 1194(e)(2) of the Act related to drugs selected
for initial price applicability year 2026 must be submitted to CMS by October 2, 2023.

Please see Appendix C of this revised guidance for a list of definitions that CMS adopted for the
purposes of describing these data to be collected for use in the Negotiation Program.

60. Negotiation Process
In accordance with section 1194(b)(1) of the Act, CMS will develop and use a consistent
methodology and process for negotiation with the aim of achieving agreement on “the lowest
maximum fair price for each selected drug.” This section 60 describes the negotiation process,
including the development of the written initial offer, the process for making such offer and
providing a concise justification to the Primary Manufacturer of a selected drug, the process and
requirements for accepting an offer or providing a counteroffer, the potential for up to three
negotiation meetings between CMS and the Primary Manufacturer, the conclusion of
negotiation, the publication of the MFP, and explanation of the MFP.

60.1 Establishment of a Single MFP for Negotiation Purposes
In accordance with section 1191(c)(3) of the Act, MFP means, with respect to a year during a
price applicability period and with respect to a selected drug, the price negotiated pursuant to
section 1194 of the Act, and updated pursuant to section 1195(b), as applicable, for such drug
and year. CMS interprets this language to refer to negotiation of a single price for a selected drug
with respect to its price applicability period. Accordingly, CMS will identify a single price for
use at each step in the negotiation process described in this section 60, meaning each offer and
counteroffer, described in section 60.4 of this revised guidance, will include a single price, even
for a selected drug with multiple dosage forms and strengths. Once the MFP has been agreed
upon, section 1196(a)(2) of the Act directs CMS to establish procedures to compute and apply
the MFP across different dosage forms and strengths of a selected drug.

For the purposes of determining a single price included in an initial offer (including evaluating
clinical benefit compared to the therapeutic alternative(s), as described in section 60.3 of this
revised guidance) and conducting the negotiation, CMS will base the single price on the cost of
the selected drug per 30-day equivalent supply (rather than per unit – such as tablet, capsule,
injection – or per volume or weight-based metric), weighted across dosage forms and strengths.
This approach of negotiating a single price across all dosage forms and strengths aligns with the
statutory requirement to negotiate an MFP for a selected drug. CMS believes this will also allow
for a more direct comparison with the therapeutic alternative(s), which might have different
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 138 of 199

                                                                                                         137


dosage forms, strengths, and treatment regimens (e.g., daily consumption of tablets versus
monthly injections of solutions) than the selected drug.

Section 60.5 of this revised guidance describes the methodology CMS will use to translate the
MFP once finalized (which, per above, will be an average price per 30-day equivalent supply for
the selected drug) back into per unit (e.g., tablet) prices at the dosage form and strength level for
the purposes of publishing per-unit MFPs for the different dosage forms and strengths of the
selected drug at the NDC- 9 and NDC-11 levels, as contemplated under section 1196(a)(2). In
addition to the description of that methodology included in this revised guidance, CMS will
share the inputs behind that methodology specific to the selected drug with the Primary
Manufacturer of the selected drug during the negotiation period such that the Primary
Manufacturer will have visibility into the implied unit prices based on the MFP for each dosage
form and strength throughout the negotiation process (i.e., any offer or counteroffer that
identifies a single price would be clearly translatable to per unit prices at the dosage form and
strength level). Please see section 60.5 of this revised guidance for details.

60.2 Limitations on Offer Amount
In accordance with section 1194(b)(2)(F)(i) of the Act, in negotiating the MFP of a selected
drug, with respect to initial price applicability year 2026, CMS will not make an offer (or agree
to a counteroffer) for an MFP that exceeds the ceiling specified in section 1194(c) of the Act.
This section 60.2 of this revised guidance provides details on the determination of the ceiling for
the MFP and comparison of the ceiling to the MFP.
60.2.1 Determination of the Ceiling for the MFP
In accordance with section 1194(c) of the Act, for initial price applicability year 2026, the ceiling
for the MFP for a selected drug shall not exceed the lower of the following:
    • As described in section 60.2.2 of this revised guidance, an amount equal to the sum of the
        plan-specific enrollment weighted amounts; or
    • As described in section 60.2.3 of this revised guidance, an amount equal to the applicable
        percent, with respect to the selected drug, of the average non-FAMP as defined in section
        1194(c)(6) of the Act for such drug for calendar year 2021 (or in the case that there is not
        an average non-FAMP for such drug for calendar year 2021, for the first full year
        following the market entry for such drug), increased by the percentage increase in the
        consumer price index for all urban consumers (all items; United States city average) from
        September 2021 (or December of such first full year following the market entry), as
        applicable, to September 2022. 58

CMS interprets the language in section 1194(c)(1)(A) of the Act to mean it should calculate a
single amount across all dosage forms and strengths of the selected drug for the sum of the plan-
specific enrollment weighted amounts and for the applicable percent of the average non-FAMP
in order to determine which one is lower and will serve as the ceiling for the MFP. To determine
whether the sum of the plan-specific enrollment weighted amounts or the applicable percent of
the average non-FAMP will be used to calculate the ceiling for the MFP, CMS will aggregate the

58
  The September 2021 CPI-U, not seasonally unadjusted, was 274.310; the September 2022 CPI-U, not seasonally
adjusted, was 296.808. The percentage increase was 8.202 percent. Data retrieved from
https://www.bls.gov/cpi/data.htm on May 16, 2023.
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 139 of 199

                                                                                                              138


amounts determined for each NDC-11 for the selected drug to calculate a single amount –
separately for each methodology – across dosage forms, strengths, and package sizes of the
selected drug. These amounts can then be directly compared, and the ceiling for the single MFP
of the selected drug (including all dosage forms and strengths) will be the lower amount.

CMS will calculate a single ceiling per 30-day equivalent supply (please see 42 C.F.R. §
423.104(d)(2)(iv)(A)(2) for details on 30-day equivalent supply methodology) across all dosage
forms and strengths of the selected drug. Using the price per 30-day equivalent supply to
calculate this amount facilitates aggregation across dosage forms and strengths of a selected drug
where units (e.g., mg versus ml) and treatment regimens (e.g., daily consumption of tablets
versus monthly injections of solutions) differ. Sections 60.2.2 and 60.2.3 of this revised guidance
describe the process for calculating the sum of the plan-specific enrollment weighted amounts
and for calculating the applicable percent of the average non-FAMP, respectively, and section
60.2.4 describes the selection of the ceiling for the single MFP.

For new NDCs included in the definition of the selected drug that are marketed before the ceiling
is calculated, the new NDC will be included in the ceiling calculation (as described in this
section) provided that CMS receives non-FAMP price data for at least one calendar quarter in
calendar year 2021 (or for the first full calendar year following market entry) and observes PDE
days supply, PDE quantity dispensed, and PDE gross expenditures for at least one quarter in
calendar year 2022, and DIR amounts for calendar year 2022.

CMS will not include a new NDC in the ceiling calculation if any of the above PDE elements do
not have at least one calendar quarter of data in calendar year 2022 or if there are no DIR
amounts for calendar year 2022 or the Primary Manufacturer did not submit non-FAMP price
data for at least one quarter of calendar year 2021 (or for the first full calendar year following
market entry).
60.2.2 Sum of the Plan-Specific Enrollment Weighted Amounts
In accordance with section 1194(c)(1)(B)(i) of the Act, CMS will calculate for a selected drug an
amount equal to the sum of the plan-specific enrollment weighted amounts determined using the
methodology described in section 1194(c)(2) of the Act. Plan sponsors report Part D PDE data to
CMS at the NDC-11 level. Sponsors also report Direct and Indirect Remuneration (DIR) data to
CMS at the NDC-11 level in the annual Detailed DIR Report. CMS will use these reported data
for plan year 2022, which is the most recent year for which data will be available, for the purpose
of determining the sum of the plan-specific enrollment weighted amounts for a selected drug for
initial price applicability year 2026.

CMS will include all Part D plans that have PDE data for dosage forms and strengths of the
selected drug in this calculation. Because CMS will have no PDE data for Part D plans in the
following circumstances, such Part D plans will, by definition, be excluded from the calculation
of the plan-specific enrollment weighted amounts: (1) plans that have no utilization for the
selected drug and (2) plans that have no enrollment for 2022. 59 CMS will also exclude any PDE


59
  CMS notes that employer sponsored plans that receive the retiree drug subsidy and health plans that offer
creditable prescription drug coverage are not included because they are not Part D plans.
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 140 of 199

                                                                                                              139


records for the selected drug for which the total gross covered prescription drug cost is equal to
$0.

CMS will calculate the sum of the plan-specific enrollment weighted amounts in two stages.
First, CMS will calculate the sum of the plan-specific enrollment weighted amounts for each
NDC-9 associated with NDC-11s included on the list of NDC-11s of the selected drug in the
CMS HPMS (see section 40.2 of this revised guidance). Second, CMS will calculate the sum of
the plan-specific enrollment weighted amounts across these NDC-9s. The amounts calculated at
each stage are for a 30-day equivalent supply (see 42 C.F.R. § 423.104(d)(2)(iv)(A)(2) for details
on 30-day equivalent supply methodology).

To determine the sum of the plan-specific enrollment weighted amounts for each NDC-9 and
across all NDC-9s of the selected drug, CMS will conduct the following steps.

Steps 1 through 8 will result in the sum of the plan-specific enrollment weighted amounts for
each NDC-9 of the selected drug:
   1. For each Part D plan, CMS will identify the PDE data for the selected drug for 2022 (that
       is, PDE records with dates of service during the period beginning on January 1, 2022 and
       ending on December 31, 2022).
   2. For each Part D plan and each NDC-9, CMS will separately sum the negotiated price
       amounts (as defined in 42 C.F.R. § 423.100), the estimated rebate at point-of-sale
       amounts (ERPOSA), and units dispensed.
   3. For each Part D plan and each NDC-9, CMS will sum the total DIR amounts found in the
       2022 Detailed DIR Report and subtract the total ERPOSA calculated in step 2 to avoid
       double counting price concessions applied at the point of sale.
   4. For each Part D plan and each NDC-9, CMS will subtract the total DIR minus ERPOSA
       amount calculated in step 3 from the total negotiated price amounts calculated in step 2
       and then divide by the total units dispensed also determined in step 2. This calculation
       results in the NDC-9 price per unit, net of all price concessions received by such Part D
       plan or pharmacy benefit manager on behalf of such Part D plan.
   5. Separately, CMS will identify the total number of individuals enrolled in all Part D plans
       in December 2022 and the total number of individuals enrolled in each Part D plan in that
       same month. 60 The Part D plans included in both calculations of step 5 will be restricted
       to Part D plans with at least one PDE record for the selected drug in calendar year 2022.
   6. For each Part D plan and each NDC-9, CMS will divide the total number of Part D
       beneficiaries enrolled in the Part D plan during December 2022 as identified in step 5 by
       the total number of individuals enrolled in all Part D plans in December 2022 also as
       identified in step 5, and multiply this quotient by the price per unit, net of all price
       concessions received by such plan or pharmacy benefit manager on behalf of such Part D
       plan, calculated in step 4, to arrive at the plan-specific enrollment weighted amount.
   7. For each NDC-9, CMS will then sum the amounts calculated in step 6 across all Part D
       plans to calculate the sum of the plan-specific enrollment weighted amounts.

60
   CMS conducted an analysis of monthly Part D plan enrollment changes during 2022 and determined that monthly
enrollment changes were the lowest from November to December, so CMS chose December as the most stable
month to identify enrollment. The choice of one month to identify enrollment also allows the weights calculated in
step 6 to sum to one.
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 141 of 199

                                                                                                         140


   8. For each NDC-9, CMS will then multiply the sum of the plan-specific enrollment
       weighted amounts calculated in step 7, which are a per unit price, by the NDC-9 average
       number of units per 30-day equivalent supply calculated from PDE data for 2022 to yield
       the price of a 30-day equivalent supply.
Steps 9 through 10 result in the sum of the plan-specific enrollment weighted amounts across all
NDC-9s of the selected drug:
   9. For each NDC-9, CMS will divide the total 30-day equivalent supply for that NDC-9 by
       the total 30-day equivalent supply across all NDC-9s, both calculated from 2022 PDE
       data, and multiply this quotient by the sum of the plan-specific enrollment weighted
       amounts for a 30-day equivalent supply as calculated in step 8.
   10. CMS will then sum amounts calculated in step 9 across all NDC-9s to generate the sum
       of the plan-specific enrollment weighted amounts for the selected drug for a 30-day
       equivalent supply.
60.2.3 Average Non-Federal Average Manufacturer Price
In accordance with section 1194(c)(1)(C)(i) of the Act, for initial price applicability year 2026,
CMS will calculate an amount equal to the applicable percent, with respect to the selected drug,
of the average non-FAMP in calendar year 2021 (or in the case that there is not an average non-
FAMP for such drug for calendar year 2021, CMS will use the first full year following the
market entry for such drug), increased by the percentage increase in the consumer price index for
all urban consumers (all items; United States city average) (CPI-U) from September 2021 (or
December of such first full year following the market entry), as applicable, to September 2022. 61

For this calculation, CMS will use the non-FAMP price and unit volume data, as provided by the
Primary Manufacturer, for each NDC-11 included on the list of NDC-11s of the selected drug in
the CMS HPMS (see section 40.2 of this revised guidance), for each quarter of calendar year
2021 that is submitted to CMS by the Primary Manufacturer pursuant to section 1193(a)(4)(A) of
the Act (as described in section 50.1 of this revised guidance) to calculate an annual average
non-FAMP per unit. CMS will use 2022 PDE quantity dispensed and days supply data submitted
to CMS at the NDC-11 level by Part D plan sponsors for the following: to calculate an annual
average non-FAMP per unit for each NDC-9 of the selected drug, to calculate the annual average
non-FAMP per 30-day equivalent supply for each NDC-9 of the selected drug, and to calculate
the annual average non-FAMP per 30-day equivalent supply for the selected drug. In order to
directly compare the amount calculated based on the applicable percent of average non-FAMP
and the amount calculated based on the sum of the plan-specific enrollment weighted amounts
(as described in section 60.2.2 above), CMS will base the average non-FAMP calculations on a
30-day equivalent supply and use the same 2022 PDE data for weighting both the sum of the
plan-specific enrollment weighted amounts and the average non-FAMP across dosage forms and
strengths to determine which amount is lower.

CMS will calculate the applicable percent of the average non-FAMP in two stages to determine
the ceiling for the MFP. First, CMS will calculate the applicable percent of the average non-
FAMP for each NDC-9 of the selected drug. Second, CMS will calculate the applicable percent

61
  The September 2021 CPI-U, not seasonally adjusted, was 274.310; the September 2022 CPI-U, not seasonally
adjusted, was 296.808. The percentage increase was 8.202 percent. Data retrieved from
https://www.bls.gov/cpi/data.htm on May 16, 2023.
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 142 of 199

                                                                                                           141


of the average non-FAMP across NDC-9s of the selected drug. The amounts calculated in each
stage are for a 30-day equivalent supply (see 42 C.F.R. § 423.104(d)(2)(iv)(A)(2) for details on
30-day equivalent supply methodology).

To determine the applicable percent of the average non-FAMP for each NDC-9 and across all
NDC-9s of the selected drug, CMS will conduct the following steps.

Steps 1 through 9 will result in the average non-FAMP, adjusted for inflation and with the
applicable percent applied, for each NDC-9 of the selected drug:
   1. To calculate an average non-FAMP that is comparable to the sum of the plan-specific
       enrollment weighted amounts described in section 60.2.2 of this revised guidance, CMS
       will compare the non-FAMP unit type (e.g., tablet) to the PDE units (i.e., each, milliliter,
       and grams). In instances where the units are different, CMS will convert the non-FAMP
       unit type to the PDE units so that the two amounts (average non-FAMP and sum of the
       plan-specific enrollment weighted amounts) represent the same quantity of the selected
       drug. 62
   2. For each NDC-11 and for each quarter during calendar year 2021, CMS will calculate the
       non-FAMP per unit by dividing the non-FAMP per package by the total number of units
       per package.
           • Note: If the non-FAMP is missing for all NDC-11s of the selected drug for
                calendar year 2021 (as described in section 50.1.1 of this revised guidance), CMS
                will use the non-FAMP for the quarters of the first full calendar year following
                the market entry for such drug.
   3. For each NDC-11 and for each quarter during calendar year 2021, CMS will divide the
       total unit volume (calculated as the product of the total number of packages sold by the
       number of units per package from manufacturer-reported non-FAMP data) in that quarter
       by the total unit volume across all four quarters during calendar year 2021 (also from
       manufacturer reported non-FAMP data), and multiply this quotient by the non-FAMP per
       unit calculated in step 2.
           • Note: If the non-FAMP is missing for all NDC-11s of the selected drug for
                calendar year 2021 (as described in section 50.1.1 of this revised guidance), CMS
                will use the non-FAMP and total unit volumes for the quarters of the first full
                calendar year following the market entry for such drug.
   4. For each NDC-11, CMS will sum the amounts calculated in step 3 across quarters to
       calculate the average non-FAMP per unit for that NDC-11 for the calendar year CMS
       believes steps 3 and 4 are necessary to account for non-FAMP unit volume fluctuations
       that may occur across quarters.
   5. For each NDC-11, CMS will divide the total quantity dispensed for that NDC-11 by the
       total quantity dispensed for all applicable NDC-11s of the same NDC-9 (both calculated
       from 2022 PDE data) and multiply this quotient by the average non-FAMP per unit for
       the calendar year calculated in step 4.
   6. For each NDC-9, CMS will sum the amounts calculated in step 5 to calculate the average
       non-FAMP per unit for that NDC-9 for the calendar year. CMS believes steps 5 and 6 are

62
  PDE units are industry standard National Council for Prescription Drug (NCPDP) defined values of each,
milliliter, and grams. See: https://standards.ncpdp.org/Billing-Unit-
Request.aspx#:~:text=Billing%20Unit%20Requests,grams%22%20or%20%22milliliters.%22.
  Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 143 of 199

                                                                                          142


   necessary to account for fluctuations in quantity dispensed that may occur across NDC-
   11s of an NDC-9 in the Medicare Part D population.
7. For each NDC-9, CMS will then increase the average non-FAMP per unit for calendar
   year 2021 calculated in step 6 by the percentage increase in CPI-U (all items; United
   States city average) from September 2021 until September 2022 as specified in section
   1194(c)(1)(C)(i) of the Act.
        • Note: For initial price applicability year 2026, if the non-FAMP is missing for all
            NDC-11s of the selected drug for calendar year 2021(as described in section
            50.1.1 of this revised guidance), and the non-FAMP is based on data from the first
            full calendar year following the market entry of the such drug, which can only be
            calendar year 2022, CMS will not apply the CPI-U adjustment.
8. For each NDC-9, after CMS has calculated the average non-FAMP per unit for the
   calendar year, adjusted for inflation, if applicable, CMS will then apply the applicable
   percent specified in section 1194(c)(3) of the Act for the monopoly type determined for
   the selected drug based on its initial approval date (described in section 30.1 of this
   revised guidance). Applying the applicable percent here, in step 8, results in the same
   step 11 amount as would result if CMS were to apply the applicable percent to the
   average non-FAMP per 30-day equivalent supply for the selected drug in step 11. The
   definition of each monopoly type and the applicable percentage are described below for
   initial price applicability year 2026. CMS notes that the “extended-monopoly” type is not
   discussed below because the definition of extended-monopoly drug under section
   1194(c)(4)(B)(ii) of the Act expressly excludes a selected drug for which a manufacturer
   has entered into an Agreement with CMS with respect to an initial price applicability year
   that is before 2030. CMS interprets this to mean that no selected drug will be considered
   an extended-monopoly drug for purposes of calculating the ceiling prior to initial price
   applicability year 2030.
       Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 144 of 199

                                                                                                                    143


Figure 2: Monopoly Types and Applicable Percentage for Initial Price Applicability Year
2026
 Monopoly       Definition                  Applicable Note
 Type                                       Percentage
 Short-         For initial price           75%        The first approval date, under
 monopoly       applicability year 2026, a             section 505(c) of the FD&C Act,
 drugs and      selected drug that is not a            associated with the initial FDA
 vaccines       long-monopoly drug or a                application number for the active
 (section       selected drug that is a                moiety (or fixed combination
 1194(c)(3)(A) vaccine licensed under                  drug) must be after January 1,
             63
 of the Act)    section 351(a) of the PHS              2010 and before September 1,
                Act and marketed pursuant              2016. The first licensure date,
                to that section.                       under section 351(a) of the PHS
                                                       Act, associated with the initial
                                                       FDA application number for the
                                                       active ingredient (or fixed
                                                       combination drug) must be after
                                                       January 1, 2010 and before
                                                       September 1, 2012.
 Long-          A selected drug for which   40%        The first approval date under
 monopoly       at least 16 years have                 section 505(c) of the FD&C Act
 drug (section elapsed since the date of               or the first licensure date under
 1194(c)(5)(A) approval under section                  section 351(a) of the PHS Act, as
 of the Act)    505(c) of the FD&C Act or              applicable, associated with the
                since the date of licensure            initial FDA application number
                under section 351(a) of the            for the active moiety / active
                PHS Act, as applicable.                ingredient (or fixed combination
                The term ‘long-monopoly                drug) must be on or before
                drug’ does not include a               January 1, 2010.
                vaccine that is licensed
                under section 351(a) of the
                PHS Act and marketed
                pursuant to that section.

     9. For each NDC-9, CMS will then multiply the average non-FAMP per unit for the
        calendar year, adjusted for inflation, if applicable, and with the applicable percent applied
        as calculated in step 8 by the quotient of the total quantity dispensed divided by the total
        30-day equivalent supply (i.e., this quotient represents the average units per 30-day
        supply equivalent for that NDC-9) calculated from 2022 PDE data to determine the

63
   Because the definition of extended-monopoly drug at section 1194(c)(4)(B)(ii) of the Act expressly excludes a
selected drug for which a manufacturer has entered into an agreement with CMS with respect to an initial price
applicability year before 2030, for initial price applicability year 2026, any drug, biological product, or vaccine that
is not considered a long-monopoly drug will be considered a short monopoly drug.
     Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 145 of 199

                                                                                                 144


       average non-FAMP for a 30-day equivalent supply. As described above in section 60.2.1
       of this revised guidance, CMS believes calculating the average non-FAMP for a 30-day
       equivalent supply is necessary to account for different units and treatment regimens
       across dosage forms and strengths.

Steps 10 and 11 will calculate the average non-FAMP per 30-day equivalent supply for the
calendar year, adjusted for inflation, if applicable, and with applicable percent applied, across all
NDC-9s of the selected drug:
    10. For each NDC-9, CMS will divide the total 30-day equivalent supply for that NDC-9 by
        the total 30-day equivalent supply across all NDC-9s of the selected drug, both calculated
        from 2022 PDE data, and multiply this quotient by the average non-FAMP per 30-day
        equivalent supply for the calendar year, adjusted for inflation, if applicable, and with the
        applicable percent applied, calculated in step 9.
    11. CMS will then sum amounts calculated in step 10 across all NDC-9s of the selected drug
        to calculate the average non-FAMP per 30-day equivalent supply for the calendar year,
        adjusted for inflation, if applicable, and with the applicable percent applied, for the
        selected drug.
60.2.4 Selection and Application of the Ceiling for the MFP
CMS will compare the values calculated in step 10 of section 60.2.2 of this revised guidance
(sum of the plan-specific enrollment weighted amounts) and step 11 of section 60.2.3 of this
revised guidance (applicable percent of the average non-FAMP) and select the lower value as the
ceiling for the selected drug. Once CMS has identified whether the ceiling would be determined
by the sum of the plan-specific enrollment weighted amounts or the applicable percent of the
average non-FAMP, CMS will ensure that the MFP per 30-day equivalent supply, as negotiated
through the process described in sections 60.3 and 60.4 of this revised guidance, is no greater
than the lower ceiling.

60.3 Methodology for Developing an Initial Offer
Section 1194(e) of the Act directs CMS to consider certain factors related to manufacturer-
specific data and available evidence about therapeutic alternative(s) as the basis for determining
offers and counteroffers in the negotiation process. The statute requires CMS to provide the
manufacturer of a selected drug with an initial offer and a concise justification based on the
factors described in section 1194(e) that were used in developing the offer; however, CMS has
the discretion to determine how and to what degree each factor should be considered.

As discussed in greater detail below, consistent with section 1194(e) of the Act, for the purposes
of determining an initial offer, CMS will (1) identify therapeutic alternative(s), if any, for the
selected drug as described in section 60.3.1 of this revised guidance; (2) use the Part D net price
for the therapeutic alternative(s) that is covered under Part D and/or the Average Sales Price
(ASP) for the therapeutic alternative(s) that is covered under Part B to determine a starting point
for developing an initial offer as described in section 60.3.2 of this revised guidance; (3) evaluate
the clinical benefit of the selected drug (including compared to its therapeutic alternative(s)) for
the purposes of adjusting the starting point using the negotiation factors outlined in section
1194(e)(2) of the Act, including whether the selected drug meets an unmet medical need and the
selected drug’s impact on specific populations, as described in section 60.3.3 of this revised
         Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 146 of 199

                                                                                                                 145


guidance (resulting in the “preliminary price”); and (4) further adjust the preliminary price by the
negotiation factors outlined in section 1194(e)(1) of the Act (described in section 60.3.4 of this
revised guidance) to determine the initial offer price.

Pursuant to section 1194(b)(2)(F) of the Act, CMS will not make any offers or accept any
counteroffers for the MFP that are above the statutorily defined ceiling.
60.3.1 Identifying Indications for the Selected Drug and Therapeutic Alternatives for Each
Indication
For initial price applicability year 2026, CMS will identify the FDA-approved indication(s) not
otherwise excluded from coverage or otherwise restricted under section 1860D-2(e)(2) of the Act
for a selected drug, using prescribing information approved by the FDA for the selected drug, in
accordance with section 1194(e)(2)(B) of the Act. CMS will consider off-label use when
identifying indications if such use is included in nationally recognized, evidence-based
guidelines and recognized in CMS-approved Part D compendia. 64

For each indication of the selected drug, CMS will next identify a pharmaceutical therapeutic
alternative(s). CMS considered evaluating non-pharmaceutical therapeutic alternatives; however,
for initial price applicability year 2026, CMS will only consider therapeutic alternatives that are
drugs or biologics covered under Part D or Part B. CMS believes that pharmaceutical therapeutic
alternatives will be the most analogous alternatives to the selected drug when considering
treatment effect and price differentials. For purposes of this revised guidance, the term
“therapeutic alternative” may refer to one or more therapeutic alternative(s) or a subset of the
most clinically comparable therapeutic alternatives.

To identify potential therapeutic alternatives for the indications of a selected drug, CMS will use
data submitted by the Primary Manufacturer and the public, FDA-approved indications, drug
classification systems commonly used in the public and commercial sector for formulary
development, indications included in CMS-approved Part D compendia, widely accepted clinical
guidelines, the CMS-led literature review, drug or drug class reviews, and peer-reviewed studies.
In addition to brand name drugs and biologics, CMS will consider generic drugs and biosimilars
when identifying a therapeutic alternative(s) to a selected drug. CMS will consider off-label use
for therapeutic alternatives when identifying indications if such use is included in nationally
recognized, evidence-based guidelines and recognized in CMS-approved Part D compendia.

CMS will begin by identifying therapeutic alternatives within the same drug class as the selected
drug based on properties such as chemical class, therapeutic class, or mechanism of action before
considering therapeutic alternatives in other drug classes. In cases where there are many potential
therapeutic alternatives for a given indication of the selected drug, CMS may focus on the subset
of therapeutic alternatives that are most clinically comparable to the selected drug for the
purpose of developing the initial offer. CMS may consult with FDA to obtain information
regarding other approved therapies for the same indication and may also consult with clinicians,
patients or patient organizations, and/or academic experts, to ensure that appropriate therapeutic
alternatives are identified. If a therapeutic alternative has not yet been incorporated into
nationally recognized, evidence-based guidelines, CMS will consider clinical evidence available
64
     CMS-approved Part D compendia are described in Chapter 6, § 10.6 of the Prescription Drug Benefit Manual.
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 147 of 199

                                                                                                         146


through a literature search and information submitted by the Primary Manufacturer and the
public to inform the selection of a therapeutic alternative(s). In all cases, CMS will select
therapeutic alternatives based on clinical appropriateness.
60.3.2 Developing a Starting Point for the Initial Offer
CMS considered several options for what price should be used as the starting point for
developing the initial offer. Options considered included the use of the Part D net price(s) and/or
the ASP(s) of therapeutic alternative(s), if any, to the selected drug, the unit cost of production
and distribution for the selected drug, the ceiling for the selected drug (as described in section
60.2 of this revised guidance), a domestic reference price for the selected drug (e.g., the Federal
Supply Schedule 65 (FSS) price), or a “fair profit” price for the selected drug based on whether
R&D costs have been recouped and margin on unit cost of production and distribution. Under
any of these options, the initial offer and final MFP would be capped at the statutory ceiling.

After considering these options and in accordance with section 1194(e)(2)(A) of the Act which
directs CMS to consider the cost of therapeutic alternative(s), CMS will use the Part D net
price(s) (“net price(s)”) and/or ASP(s) of the therapeutic alternative(s) (or a subset of the most
clinically comparable therapeutic alternatives) for the selected drug, as applicable, as the starting
point for developing the initial offer unless this net price or ASP is greater than the statutory
ceiling (described in section 60.2 of this revised guidance), and will then consider adjustments
based on section 1194(e)(2) data and manufacturer-submitted data per section 1194(e)(1). CMS
intends to identify the price of each therapeutic alternative that is covered under Part D net of all
price concessions received by any Part D plan or pharmacy benefit manager on behalf of the Part
D plan by using PDE data and detailed DIR report data. In taking this approach, CMS
acknowledges that the therapeutic alternative(s) for a selected drug may not be priced to reflect
its clinical benefit, however, using net prices and ASPs of therapeutic alternatives enables CMS
to start developing the initial offer within the context of the cost and clinical benefit of one or
more drugs that treat the same disease or condition. By using the price(s) of the selected drug’s
therapeutic alternative(s), CMS will be able to focus the initial offer on clinical benefit by
adjusting this starting point relative to whether the selected drug offers more, less, or similar
clinical benefit compared to its therapeutic alternative(s). The other options considered do not
provide a starting point that reflects the cost of therapeutic alternatives in the current market,
which is an important factor when considering the overall benefit that a treatment brings to
Medicare beneficiaries relative to the other drug(s) available to treat the patient’s disease or
condition.

When comparing prices of therapeutic alternatives for purposes of informing a starting point for
the initial offer, CMS may use an alternative methodology for calculating a 30-day equivalent
supply as appropriate. For example, because Part B claims data do not contain a “days’ supply”
field similar to PDE data, CMS may use an alternative methodology to calculate the price per 30-
day equivalent supply for therapeutic alternatives covered under Part B.

65
   The Federal Supply Schedule (FSS) represents long-term government-wide contracts with commercial companies
that provide access to millions of commercial products and services to the government. See:
https://www.gsa.gov/buy-through-us/purchasing-programs/gsa-multiple-award-schedule/about-gsa-
schedule#:~:text=The%20GSA%20Schedule%2C%20also%20known,reasonable%20prices%20to%20the%20gover
nment.
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 148 of 199

                                                                                                              147



If there is one therapeutic alternative for the selected drug, CMS will use the net price or ASP, as
applicable, of the therapeutic alternative (if it is lower than the ceiling) as the starting point to
develop CMS’ initial offer for the MFP. If there are multiple therapeutic alternatives, CMS will
consider the range of net prices and/or ASPs, including the prices of generic and biosimilar
therapeutic alternatives, as well as the utilization of each therapeutic alternative relative to the
selected drug, to determine the starting point within that range. If the selected drug has no
therapeutic alternative, if the prices of the therapeutic alternatives identified are above the
statutory ceiling for the MFP (as described in section 60.2 of this revised guidance), or if there is
a single therapeutic alternative with a price above the statutory ceiling for the MFP, then CMS
will determine the starting point for the initial offer based on the FSS or “Big Four Agency” 66
price (“Big Four price”). If the FSS and Big Four prices are above the statutory ceiling, then
CMS will use the statutory ceiling as the starting point for the initial offer. In all cases, this
starting point will be subject to adjustments as described further below.
60.3.3 Adjusting the Starting Point Based on Clinical Benefit
To evaluate the clinical benefit conferred by the selected drug compared to its therapeutic
alternative(s), as applicable, CMS will broadly evaluate the body of clinical evidence, including
data received from the public and manufacturers as described in section 50.2 of this revised
guidance, and data identified through a CMS-led literature review. CMS may also analyze
Medicare claims or other datasets for utilization patterns of the selected drug versus its
therapeutic alternative(s), clinical data, or other information relevant to the selected drug and its
therapeutic alternative(s) and may consult with clinicians, patients or patient organizations,
academic experts, and/or the FDA. As described in section 60.4 of this revised guidance, CMS
will provide additional engagement opportunities for interested parties—specifically, meetings
with manufacturers and patient-focused listening sessions—after the October 2, 2023 deadline
for submission of section 1194(e)(2) data (further described in section 60.4 of this revised
guidance).

This approach provides a pathway for CMS to consider the multitude of information expected
from public input, including but not limited to peer-reviewed research, expert reports or
whitepapers, clinician expertise, real-world evidence, and patient experience. This approach also
provides flexibility for CMS to consider multiple perspectives on the clinical benefit of the
selected drug and its therapeutic alternative(s), including potential risks, harms, or side effects,
and any unique scenarios or considerations related to clinical benefit, safety, and patient
experience.

Once the starting point for the initial offer has been established and evidence on clinical benefit
has been considered, CMS will adjust the starting point for the initial offer based on the review
of the clinical benefit. CMS will not, per section 1194(e)(2) of the Act, use evidence from
comparative effectiveness research in a manner that treats extending the life of an individual who
is elderly, disabled, or terminally ill as of lower value than extending the life of an individual

66
  The Big Four price is the maximum price a drug manufacturer is allowed to charge the “Big Four” federal
agencies, which are the Department of Veterans Affairs (VA), Department of Defense (DoD), the Public Health
Service, and the Coast Guard. See section 8126 of title 38 of the U.S. Code. See:
https://www.cbo.gov/publication/57007.
       Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 149 of 199

                                                                                                                    148


who is younger, non-disabled, or not terminally ill, and will not, per section 1182(e) of the Act,
use QALYs. CMS considered employing both a qualitative approach (e.g., adjusting the starting
point upward or downward relative to the clinical benefit offered by the selected drug compared
to its therapeutic alternatives) and a more thoroughly pre-specified quantitative approach. CMS
will use a qualitative approach to preserve flexibility in negotiation, including the ability to
consider nuanced differences between different drugs, for example interactions with other
treatments commonly prescribed simultaneously for a condition or disease, and other factors that
might not be captured in a more thoroughly pre-specified quantitative approach.
60.3.3.1 Analysis for Selected Drugs with Therapeutic Alternative(s)
To consider comparative effectiveness between a selected drug and its therapeutic alternative(s),
CMS will identify outcomes to evaluate for each indication of the selected drug. CMS will
consider the identified outcomes, including patient-centered outcomes 67 and patient experience
data, when reviewing the clinical benefit of the selected drug and its therapeutic alternative(s).
When reviewing such information, as noted above, CMS will not, per section 1194(e)(2), use
evidence in a manner that treats extending the life of an individual who is elderly, disabled, or
terminally ill as lower value than extending the life of an individual who is younger, non-
disabled, or not terminally ill, and will not, per section 1182(e) of the Act, use QALYs.
Outcomes such as cure, survival, progression-free survival, or improved morbidity could be
considered when comparing the selected drug to its therapeutic alternative(s). Outcomes such as
changes in symptoms or other factors that are of importance to patients and patient-reported
outcomes will also be identified and considered in determining clinical benefit, if available.
Additional outcomes such as changes to productivity, independence, and quality of life will also
be considered to the extent that these outcomes correspond with a direct impact on individuals
taking the drug, including patient-centered outcomes when available. CMS may also consider the
caregiver perspective to the extent that it reflects directly upon the experience or relevant
outcomes of the patient taking the selected drug. Relevant outcomes will be identified using the
CMS-led literature review and information submitted by manufacturers and the public, including
patients and caregivers, through the Negotiation Data Elements ICR described in section 50 of
this revised guidance, as well as in the patient-focused listening sessions described in section
60.4.

In all cases, CMS will consider applicable evidence and other input collectively, within the
context of the course of care for the condition(s) or disease(s) that the selected drug is indicated
to treat, and in accordance with section 50 of this revised guidance. As noted previously, this
approach provides flexibility to consider multiple perspectives on the clinical benefit of the
selected drug and its therapeutic alternative(s), including potential risks, harms, or side effects,
and any unique scenarios or considerations related to clinical benefit, safety, and patient
experience.



67
  A patient-centered outcome is defined as: An outcome that is important to patients’ survival, functioning, or
feelings as identified or affirmed by patients themselves, or judged to be in patients’ best interest by providers and/or
caregivers when patients cannot report for themselves. (Source: ISPOR Plenary, Patrick (2013) via FDA’s Patient-
Focused Drug Development: Collecting Comprehensive and Representative Input – Guidance for Industry, Food
and Drug Administration Staff, and Other Stakeholders, June 2020.) See:
https://www.fda.gov/media/139088/download.
       Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 150 of 199

                                                                                                                  149


CMS will also consider the effects of the selected drug and its therapeutic alternative(s) on
specific populations as required by section 1194(e)(2)(C) of the Act. In doing so, CMS will
evaluate access, equity, and health outcomes for specific populations. To do so, CMS will seek
to identify studies focused on the impact of the selected drug and its therapeutic alternative(s) on
individuals with disabilities, the elderly, individuals who are terminally ill, children, and other
patient populations among Medicare beneficiaries. Specific populations may include underserved
and underrepresented populations, as applicable. Further, CMS will consider whether the
selected drug fills an unmet medical need, which CMS will define as treating a disease or
condition in cases where no other treatment options exist or existing treatments do not
adequately address the disease or condition. CMS will consider each selected drug and its
therapeutic alternatives to determine whether the drug fills an unmet medical need at the
indication level as of the time the section 1194(e)(2) data is submitted. CMS will consider the
nonbinding recommendations in the FDA’s “Guidance for Industry Expedited Programs for
Serious Conditions – Drugs and Biologics,” 68 as well as any updates that may be issued by FDA
in the future, when determining if a selected drug addresses an unmet medical need.

CMS will determine whether a selected drug represents a therapeutic advance by examining
improvements in outcomes compared to its therapeutic alternative(s) (e.g., selected drug is
curative versus a therapeutic alternative that delays progression). CMS understands that a
selected drug can be first in class, 69 however, other drugs may have become available since the
selected drug’s initial approval. In accordance with section 1194(e)(2)(A) of the Act, CMS will
review the analyses detailed above for each indication for the selected drug and its therapeutic
alternative(s) and determine, based on the relevant information and evidence, what the difference
in clinical benefit is between the selected drug and the therapeutic alternative(s).

As previously noted, CMS will take a qualitative approach to adjusting the starting point based
on the unique characteristics of the drug and its therapeutic alternative(s) as well as the patient
population(s) taking the selected drug. For each selected drug, the applicable starting point will
first be adjusted (i.e., apply an upward or downward adjustment, or no adjustment) based on the
totality of the relevant information and evidence submitted and gathered through CMS’ analysis
based on the clinical benefit the selected drug provides (and then subsequently it will be adjusted
by the manufacturer-submitted data described in section 60.3.4). Because the extent of clinical
benefit may vary across different indications, CMS may adjust the starting point based on the
clinical benefit for an individual indication in cases where the clinical benefit of the selected
drug is notably different than the therapeutic alternative(s) for that specific indication.
60.3.3.2 Analysis for Selected Drugs Without Therapeutic Alternatives
Similar to a selected drug with at least one therapeutic alternative, the starting point for a
selected drug without a therapeutic alternative will be adjusted based on the totality of relevant
information and evidence as detailed above, such as outcomes and impact on specific

68
   FDA Guidance for Industry Expedited Programs for Serious Conditions – Drugs and Biologics, May 2014. See:
https://www.fda.gov/regulatory-information/search-fda-guidance-documents/expedited-programs-serious-
conditions-drugs-and-biologics.
69
   First in class drugs are those that have a new mechanism of action, defined by the National Cancer Institute as “a
term used to describe how a drug or other substance produces an effect in the body.” See:
https://www.cancer.gov/publications/dictionaries/cancer-terms/def/mechanism-of-action.
     Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 151 of 199

                                                                                               150


populations, submitted through the Negotiation Data Elements ICR and gathered through CMS’
analysis of the clinical benefit the selected drug provides.

CMS will consider whether the selected drug fills an unmet medical need separately for each
indication. A selected drug will be considered to meet an unmet medical need for an indication
included in the analysis when it is used to treat a disease or condition where no other treatment
options exist or existing treatments do not adequately address the disease or condition. As noted
previously, CMS will consider the nonbinding recommendations in the FDA “Guidance for
Industry Expedited Programs for Serious Conditions – Drugs and Biologics,” as well as any
updates that may be issued by FDA in the future, when considering if a drug addresses an unmet
medical need for the purpose of the Negotiation Program. A selected drug may be considered a
therapeutic advance when a substantial improvement in outcomes is observed for an indication.
60.3.3.3 Preliminary Price
After the starting point has been adjusted, as appropriate, based on section 1194(e)(2) data
submitted by manufacturers and the public through the Negotiation Data Elements ICR and
gathered through CMS-led analyses and literature review, the resulting price is referred to as “the
preliminary price.” As described in section 60.3.4 of this revised guidance, the preliminary price
will be adjusted, as appropriate, based on data submitted by the Primary Manufacturer in
accordance with section 1194(e)(1) of the Act.
60.3.4 Adjusting the Preliminary Price Based on Consideration of Manufacturer-Specific Data
Under section 1194(e)(1) of the Act, CMS must also consider data reported by the Primary
Manufacturer, as described in section 50.1 of this revised guidance. The adjustment to the
preliminary price applied on the basis of these data, if any, may be upward or downward, as
needed to account for these manufacturer-specific data elements. These data elements are: (1)
R&D costs of the manufacturer for the drug and the extent to which the manufacturer has
recouped R&D costs; (2) current unit costs of production and distribution of the drug; (3) prior
Federal financial support for novel therapeutic discovery and development with respect to the
drug; (4) data on pending and approved patent applications or exclusivities recognized by the
FDA, and applications and approvals under section 505(c) of the FD&C Act or section 351(a) of
the PHS Act for the drug; and (5) market data and revenue and sales volume data for the drug in
the United States.

CMS will consider the five elements outlined in section 1194(e)(1) of the Act in totality and
apply an upward adjustment, downward adjustment, or no adjustment to the preliminary price.
To do this, CMS may consider each factor in isolation or in combination with other factors. CMS
provides illustrative examples for the manufacturer-specific data elements below. However, the
overall adjustment, inclusive of all five elements taken together, may differ from the example
adjustment for any single element viewed in isolation.

In considering element (1) above on R&D costs, CMS will consider the extent to which the
Primary Manufacturer has recouped its R&D costs. CMS will compare the R&D costs with the
global and U.S. total lifetime net revenue for the selected drug reported by the Primary
Manufacturer to determine the extent to which the Primary Manufacturer has recouped its R&D
costs. For example, if a Primary Manufacturer has not recouped its R&D costs, CMS may
     Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 152 of 199

                                                                                                151


consider adjusting the preliminary price upward. Conversely, if a Primary Manufacturer has
recouped its R&D costs, CMS may consider adjusting the preliminary price downward or apply
no adjustment. CMS may use the R&D costs reported by the Primary Manufacturer and the
calculated recouped costs, including the assumptions and calculations in the accompanying
narrative text, and/or other factors as described in the Negotiation Data Elements ICR and in
Appendix C of this revised guidance to adjust the preliminary price.

In considering element (2) on current unit costs of production and distribution, CMS will
consider the relationship between the preliminary price and the unit costs of production and
distribution. For example, CMS may consider adjusting the preliminary price downward if the
unit costs of production and distribution are lower than the preliminary price, or upward if the
unit costs of production and distribution are greater than the preliminary price. Again, CMS may
consider the assumptions and calculations in the accompanying narrative text submitted by the
Primary Manufacturer of the selected drug to determine if an adjustment is appropriate.

In considering element (3) on prior Federal financial support, CMS will consider the extent to
which the Primary Manufacturer benefited from Federal financial support with respect to the
selected drug. For example, CMS may consider adjusting the preliminary price downward if
funding for the discovery and development of the drug was received from Federal sources.

In considering element (4) on patent applications, exclusivities, and applications and approvals
for the selected drug, CMS will review the patents and exclusivities reported as it develops its
initial offer. CMS believes that this information will support CMS’ consideration of the
1194(e)(1) and 1194(e)(2) factors described in section 50 of this revised guidance. For instance,
patents and exclusivities may inform CMS’ understanding of therapeutic alternatives and other
available therapy for the purposes of adjusting for clinical benefit, including consideration of
whether the selected drug represents a therapeutic advance or meets an unmet medical need.
More specifically, in light of exclusivities, there may be no other available therapy aside from
the selected drug that adequately addresses treatment or diagnosis of a disease or condition, and
consideration of such information would be relevant to CMS’ consideration of the extent to
which the selected drug addresses an unmet medical need for that disease or condition.

Finally, in considering element (5) on market data and revenue and sales volume data for the
U.S., CMS will consider how the data compare to the CMS preliminary price. For example, if
the average commercial net price is lower than the preliminary price, CMS may consider
adjusting the preliminary price downward. If the average commercial net price is greater than the
preliminary price, CMS may consider adjusting the preliminary price upward.

Appendix C of this revised guidance includes a list of definitions that CMS adopts for the
purposes of describing the data to be collected with respect to the data elements listed in section
1194(e)(1) of the Act.

After any adjustments to the preliminary price are made under this section 60.3.4 of this revised
guidance, the result is the initial offer.
     Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 153 of 199

                                                                                                 152


60.4 Negotiation Process
In accordance with sections 1191(b)(4)(A) and 1191(d)(2)(A) of the Act, and as described in
section 40.1 of this revised guidance, the negotiation period begins on the earlier of the date that
the Primary Manufacturer enters into an Agreement, or, for initial price applicability year 2026,
October 1, 2023. CMS will implement the negotiation process consistent with the requirements
of the statute, with the aim of achieving “the lowest maximum fair price for each selected drug”
consistent with section 1194(b)(1) of the Act.

After the submission of the section 1194(e) data by manufacturers and other interested parties by
October 2, 2023, CMS will host meetings with Primary Manufacturers of selected drugs that
have submitted section 1194(e) data and other interested parties. CMS will invite the Primary
Manufacturer for each selected drug to one meeting in Fall 2023 after the data submission
deadline. The purpose of this meeting will be for the Primary Manufacturer to provide additional
context on its data submission and share new section 1194(e)(2) data, if applicable, as CMS
begins reviewing the data and developing an initial offer. Primary Manufacturers may bring
materials to facilitate discussion and CMS may request any materials presented afterwards.
Primary Manufacturers are limited to sharing 50 pages (or a combination of pages, slides, and/or
charts and graphs totaling 50 pages) of material, in order to focus the discussion on issues that
can reasonably be discussed within the scope of the meeting, anticipating that these materials
may contain cross-references to other material, particularly other material already submitted to
CMS. CMS will also host patient-focused listening sessions with interested parties. These
meetings are intended to bring together patients, beneficiaries, caregivers, and consumer and
patient organizations as well as other interested parties to share patient-focused feedback with
CMS on therapeutic alternatives and other information as CMS reviews section 1194(e)(2) data
submissions and develops an initial offer for each selected drug. More information about these
listening sessions will be forthcoming.

CMS acknowledges that Primary Manufacturers may benefit from having access to the section
1194(e)(2) data submitted by other interested parties during the negotiation period. In addition to
offering the meetings above, CMS will aim to share redacted section 1194(e)(2) data with the
Primary Manufacturer of a selected drug during the negotiation process when feasible. The data
will be redacted as per the confidentiality standards described in section 40.2 of this revised
guidance and will not include proprietary information, PHI / PII, or information that is protected
from disclosure under other applicable law.

In accordance with sections 1191(d)(5)(B) and 1194(b)(2)(B) of the Act, CMS will make a
written initial offer to the Primary Manufacturer with the proposal for the MFP for a selected
drug for initial price applicability year 2026 no later than February 1, 2024. This written initial
offer will be accompanied by an Addendum to the Agreement populated with the proposal for
the MFP, in order for CMS and the Primary Manufacturer to effectuate agreement upon the MFP
if such agreement is reached at this stage.

After the written initial offer from CMS is sent to the Primary Manufacturer, the negotiation
process may include the following steps, depending on when and whether agreement on the MFP
is reached and an offer is accepted:
     Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 154 of 199

                                                                                              153


   (1) in accordance with section 1194(b)(2)(C) of the Act, an optional written counteroffer,
       including an Addendum populated with the counteroffer MFP as described in section
       60.4.2 of this revised guidance, from the Primary Manufacturer (if CMS’ written initial
       offer is not accepted by the Primary Manufacturer) that must be submitted no later than
       30 days after the date of receipt of the written initial offer from CMS;
   (2) in accordance with section 1194(b)(2)(D) of the Act, a written response from CMS to the
       optional written manufacturer counteroffer, which CMS will provide within 30 days;
   (3) if the Primary Manufacturer’s written counteroffer is not accepted by CMS, up to three
       possible in-person or virtual negotiation meetings between the Primary Manufacturer and
       CMS; and
   (4) a final written offer, including an Addendum containing the final offer MFP as described
       in section 60.4.4 of this revised guidance, made by CMS to the Primary Manufacturer, if
       no agreement is reached before the end of the negotiation meetings.

Every offer and counteroffer will include an Addendum populated with the
offered/counteroffered MFP. If an agreement is reached at any point during the negotiation
process by the Primary Manufacturer accepting CMS’ written initial offer or final offer (as
described in section 60.4.4 of this revised guidance), CMS accepting the Primary Manufacturer’s
counteroffer, or an agreement being reached in association with the negotiation meetings, the
Addendum to the Agreement, as described in section 40.3 of this revised guidance, will be
executed by both parties and will constitute agreement on the MFP. Section 60.4.4 of this revised
guidance describes how and when the Addendum will be created and signed. The MFP included
in the executed Addendum will apply for the selected drug for initial price applicability year
2026 and will be updated according to section 1195(b)(1)(A) of the Act for subsequent years in
the price applicability period, as applicable. The diagram below provides a non-exhaustive list of
possible paths the negotiation process could take after CMS’ initial offer, for a process taking
place within the statutorily specified timelines.
       Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 155 of 199

                                                                                                                                                                                            154


Figure 3. Possible Negotiation Paths

                                       Manufacturer
                                          A«epu              CMS
                                                                             N~oti..ations
                                        lniti..alOffer   Countet$e,'1$
                                         andSifJM         Addendum
                                                                                 Eoo
                                        Addendum

                                   -                --              -                             Agreement
                                                                                                  RHch.d ln
                                                                                                                      CMS
                                                                                                                    Populates     l      CMS         l   Negotiations
                                                                                                  Association      Addelldum,         Countersigns
                                                                                                                                                            End
                                                                                                     With         Manufacturer        Addendum
                                                                                                  Meetln8(sl          Signs

                                                                                                                                  1                  h
  Negotiation
                J   CMS Issues
                    lnhlalOffer,
                                   I   Manufacturer
                                          O.Cl i.nes
                                        lnltlalOffer
                                                         CMS 0.Clines
                                                         Counteroffer    J Negotiation
                                                                              l •l           I    Agreement
                                                                                                  Not RHch.d
                                                                                                                   CMS Issues
                                                                                                                   Flnal Offer.
                                                                                                                                  J Manufacw,e,
                                                                                                                                   Accepts Flnal             CMS
                                                                                                                                                                           Negot lat Ions
    Process

                1
                     Including
                                   I   and Submits
                                       Counteroffer,
                                                         and Requests
                                                          Negotiation
                                                                              Meetlng(s)
                                                                                                 In Association
                                                                                                     with
                                                                                                                    lttdudlng
                                                                                                                                     Offer and
                                                                                                                                       Signs
                                                                                                                                                         Countersigns
                                                                                                                                                     ~ Addendum
                                                                                                                                                                                Eod


                                                                         l                   I                                    l
                    Addendum                                                    Oocu,                              Addelldum
                                         lttdudlng        Meetln8(sl                              Meetln8(sl                        Addendum
                                        Addelldum




                                                                                                                                                         Manufactur~
                                                                                                                                                                           Ne5'0tiations
                                                                                                                                                         Decli nes Final
                                                                                                                                                                                End
                                                                                                                                                             Offer


                                                         CMSA.ecepts
                                                         Counteroffer
                                                                             Negotiations
                                                             and
                                                                                End
                                                         Countersigns
                                                          Addelldum



During the entire negotiation process, CMS cannot offer or agree to any manufacturer
counteroffer that exceeds the statutorily determined ceiling as defined in section 1194(c) of the
Act and as described in section 60.2 of this revised guidance.

If the Primary Manufacturer is delayed in meeting one or more deadlines related to establishing
the Agreement, submitting required data, and/or submitting the counteroffer, CMS will continue
to engage in the negotiation process and will take the time to complete the established process as
described in this section. During the period of time from when the Primary Manufacturer fails to
meet a deadline until the date the Primary Manufacturer comes into compliance with the
negotiation process, CMS will consider the Primary Manufacturer in violation of the Agreement
and the Primary Manufacturer may be subject to civil monetary penalties as outlined in section
1197(c) of the Act. Section 90.3 and section 100 of this revised guidance further address possible
actions to address noncompliance.
60.4.1 Provision of an Initial Offer and Justification
In accordance with section 1194(b)(2)(B) of the Act, the written initial offer from CMS,
provided no later than February 1, 2024, must include a concise justification for the offer based
on the data described in section 50 of this revised guidance. The justification will include a
qualitative description of the factors from section 1194(e) (further described in sections 50 and
60.3 of this revised guidance) and a description of the methodology that CMS used to determine
the initial offer. The information contained in the concise justification will provide the Primary
Manufacturer with information on the range of evidence and other information considered
pursuant to section 1194(e) that CMS found compelling during the development of the initial
offer, thereby providing the Primary Manufacturer the necessary information to build a
counteroffer if the Primary Manufacturer decides to reject the initial offer. The initial offer and
     Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 156 of 199

                                                                                               155


justification will not include information that CMS determines to be third-party proprietary
pricing information, information that could lead to the calculation of a third party’s proprietary
information, PHI / PII, other information that is protected from disclosure under other applicable
law, or the starting point.

No offer can exceed the statutorily determined ceiling as defined in section 1194(c) of the Act
and described in section 60.2 of this revised guidance. As feasible, CMS will provide
information on the calculation of the statutorily-determined ceiling and the computation of how
CMS will apply a single MFP across dosage forms and strengths of the selected drug to the
Primary Manufacturer within 60 days of the Primary Manufacturer’s submission of data that
complies with the requirements described in section 50.1 of this revised guidance. As described
in section 40.2.3 of this revised guidance, CMS may reach out to the Primary Manufacturer for
clarity on its data submission if CMS determines the information is not complete or accurate. In
situations when additional outreach to the Primary Manufacturer is required to clarify the
submitted data, CMS will aim to provide information on the calculation of the statutorily-
determined ceiling and computation of how CMS will apply a single MFP across dosage forms
and strengths of the selected drug to the Primary Manufacturer as close to 60 days from the
initial data submission as feasible. As described in section 40.5 of this revised guidance, a
Primary Manufacturer will have 30 days to submit a suggestion of error regarding the calculation
of the ceiling and computation of how CMS will apply a single MFP across dosage forms and
strengths for CMS’ consideration.
60.4.2 Required Components of a Counteroffer
In accordance with section 1194(b)(2)(C) of the Act, the Primary Manufacturer will have no
more than 30 days from receipt of the written initial offer from CMS to respond in writing by
either accepting the initial offer for the selected drug or making a written counteroffer and
providing a justification for such counteroffer based on the data described in section 50 of this
revised guidance. Any counteroffer should also respond to the justification provided in CMS’
written initial offer. The Primary Manufacturer’s response should focus on the elements
described in section 1194(e) and indicate the reasons the Primary Manufacturer believes that the
information submitted by the Primary Manufacturer on the data in section 1194(e)(1) or (e)(2) of
the Act, or other available data related to the selected drug and its therapeutic alternatives as
described in section 1194(e)(2) of the Act, does not support the written initial offer made by
CMS. Primary Manufacturers may also include in their counteroffer justification new
information regarding the selected drug and its therapeutic alternative(s) as described in section
1194(e)(2) that supports the counteroffer MFP.

The Primary Manufacturer should provide a suggested MFP for the selected drug in its written
counteroffer. As described in section 60.1 of this revised guidance, the counteroffer MFP should
be made consistent with the manner that CMS’ written initial offer was made; that is, a single
price for the cost of the selected drug per 30-day equivalent supply, weighted across dosage
forms and strengths. In accordance with section 1194(b)(2)(F) of the Act, CMS cannot accept a
written counteroffer from a manufacturer that exceeds the statutorily determined ceiling as
defined in section 1194(c) of the Act and described in section 60.2 of this revised guidance.
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 157 of 199

                                                                                                          156


On April 18, 2023, CMS published the Drug Price Negotiation Process ICR for 60-day comment
to capture information related to the counteroffer that Primary Manufacturers may submit after
receiving CMS’ initial offer. 70 The Drug Price Negotiation Process ICR includes instructions and
a form for Primary Manufacturers to submit written counteroffers in the case where CMS’
written initial offer of an MFP for a selected drug is not accepted. The comment period for the
Drug Price Negotiation Process ICR closed on June 20, 2023. There will be an additional
opportunity to submit comments for 30 days after revisions and re-publication in the Federal
Register.

In order for a written counteroffer to be considered complete, a Primary Manufacturer must
complete an Addendum in the CMS HPMS in addition to responding to the Drug Price
Negotiation Process ICR, as described in section 40.3 of this revised guidance. A completed
Addendum would include, but is not limited to, the MFP the Primary Manufacturer is
counteroffering and a signature by an authorized representative.
60.4.3 Negotiation Process After Manufacturer Counteroffer
In accordance with section 1194(b)(2)(D) of the Act, CMS will respond in writing to a written
counteroffer made by the Primary Manufacturer. Although the statute does not specify a
timeframe for CMS’ response to the counteroffer, negotiations for initial price applicability year
2026 must end prior to August 1, 2024, i.e., an agreement on MFP for the selected drug must be
reached no later than July 31, 2024, to avoid potential excise tax liability under 26 U.S.C. §
5000D(b)(2).

In the case CMS’ written initial offer is not accepted, and the Primary Manufacturer submits a
written counteroffer, CMS will consider the counteroffer and either accept or reject it in writing
within 30 days of receipt of the counteroffer. When considering a counteroffer, CMS will
evaluate whether accepting the counteroffer is consistent with the statutory directive to aim to
arrive at an agreement that achieves the lowest possible MFP for the selected drug. If CMS’
written response to the counteroffer rejects the Primary Manufacturer’s written counteroffer,
CMS will extend an invitation to the Primary Manufacturer for a negotiation meeting. CMS will
offer to hold a minimum of one meeting between CMS and the Primary Manufacturer to discuss
CMS’ written initial offer, the Primary Manufacturer’s written counteroffer, and data considered.
After this initial meeting, CMS will give each party (CMS and the Primary Manufacturer) the
opportunity to request one additional meeting, resulting in a maximum of three meetings
between CMS and the Primary Manufacturer.

The scope for these negotiation meetings will focus on the section 1194(e) data, including the
therapeutic alternative(s) for the selected drug, and how they should inform the MFP. During
these negotiation meetings, discussion of disputes and program policies regarding the negotiation
process will be considered out of scope. CMS and the Primary Manufacturer will each be
permitted to bring up to six meeting attendees, and both parties must share its participant lists
ahead of each meeting. CMS arrived at this meeting attendee number after considering the roles
from each party that would be critical to the conversation while ensuring that the meeting is sized
appropriately to encourage active discussion. Additionally, a maximum of six attendees per side

70
  Drug Price Negotiation Process under Sections 11001 and 11002 of the Inflation Reduction Act (IRA). See:
https://www.cms.gov/regulations-and-guidance/legislation/paperworkreductionactof1995/pra-listing/cms-10849.
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 158 of 199

                                                                                                  157


is in line with requirements for similar meetings between government entities and manufacturers.
Each meeting will last no more than two hours and may be conducted in-person at CMS or HHS
headquarters. CMS believes two hours per negotiation meeting (of which there can be up to three
meetings) is sufficient for a fruitful discussion and is appropriate considering time and
scheduling constraints. If necessary, due to distance or scheduling challenges, meetings may be
held virtually, or may be a “hybrid” arrangement where a portion of attendees are in-person and
a portion of attendees are virtual. CMS’ notes from negotiation meetings will be retained as part
of the meeting record in compliance with applicable federal law including the Federal Managers
Financial Integrity Act and the Federal Records Act and will be subject to the confidentiality
policy described in section 40.2.1 of this revised guidance. Attendees on behalf of the Primary
Manufacturer may take and keep notes of the meetings. Audio and/or video recording of
negotiation meetings will not be permitted.

Correspondence regarding negotiation meetings will be conducted over email using the
IRARebateandNegotiation@cms.hhs.gov mailbox. CMS will share a meeting agenda with the
Primary Manufacturer via email approximately two weeks before the meeting. The Primary
Manufacturer may request additions or edits to the agenda as long as they are in scope, as
discussed in the paragraph above. Such requests must be submitted via email at least one week
ahead of the meeting. CMS will circulate a final agenda two business days prior to the
negotiation meeting. If a Primary Manufacturer would like to share materials at a negotiation
meeting, such materials should be limited to 20 pages (or a combination of pages, slides, and/or
charts and graphs totaling 20 pages), in order to focus the discussion on issues that can
reasonably be discussed within the scope of the meeting, anticipating that these materials may
contain cross-references to other material, particularly other material already submitted to CMS.
Such materials must be submitted via email at least one week ahead of the meeting. Substantive
discussion via email will not be permitted, in order for all attendees to benefit from such
discussions as part of the negotiation meetings.

The meetings for initial price applicability year 2026 will occur between the time the Primary
Manufacturer’s written counteroffer is not accepted by CMS, which at the latest will be 30 days
after the counteroffer is received, if applicable, and June 28, 2024. There would be about three
months’ time between CMS’ rejection of the Primary Manufacturer’s written counteroffer
(approximately April 1, 2024) and the deadline for negotiation meetings to conclude (June 28,
2024). CMS requires that all negotiation meetings end no later than June 28, 2024, the last
business day that is fifteen days prior to July 15, 2024, to allow CMS sufficient time to prepare a
final offer (if an MFP was not reached in association with the negotiation meetings), send that
final offer to the Primary Manufacturer by July 15, and to allow the Primary Manufacturer time
to consider the final offer and accept or reject the final offer by July 31, 2024, as all negotiations
must be concluded prior to August 1, 2024. These dates assume that a Primary Manufacturer is
timely in entering into an Agreement, submitting information, and meeting deadlines related to
the Negotiation Program.

CMS believes that the negotiation meeting process described above allows for a more efficient
and effective approach than preparing and exchanging additional written offers and
counteroffers. Negotiation meetings will also allow both parties to discuss any new information
consistent with the data described in section 1194(e)(2) of the Act that may have become
     Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 159 of 199

                                                                                                158


available about the selected drug or its therapeutic alternative(s), and that may affect the
determination of the MFP. Negotiation meetings will be attended solely by representatives of the
Primary Manufacturer and of CMS. A written record will be developed and retained by CMS in
compliance with applicable federal laws. The Primary Manufacturer can also develop and retain
its own written record. As described in section 40.2.2 of this revised guidance, CMS will not
publicly discuss ongoing negotiations with a Primary Manufacturer, including details of the
negotiation meetings. Primary Manufacturers may publicly disclose information regarding
ongoing negotiations with CMS at its discretion. If a Primary Manufacturer discloses
information that is made public regarding any aspects of the negotiation process prior to the
explanation of the MFP being released by CMS, CMS reserves the right to publicly discuss the
specifics of the negotiation process regarding that Primary Manufacturer.

As described in section 60.6.1 of this revised guidance, in this public explanation, CMS will
make public a narrative explanation of the negotiation process and the agreed-upon MFP and
share redacted information regarding the section 1194(e) data received, the exchange of offers
and counteroffers, and the negotiation meetings while abiding by the confidentiality policy
described in section 40.2 of this revised guidance.

When developing this negotiation process, CMS considered using solely a written offer and
counteroffer approach. That is, CMS considered providing one written offer and allowing a
Primary Manufacturer to make a single written counteroffer, as described in the statute. CMS
also contemplated allowing each party to make up to two written offers or counteroffers (i.e.,
CMS makes an initial offer, Primary Manufacturer possibly makes a counteroffer, CMS possibly
makes a second offer, Primary Manufacturer possibly makes a second counteroffer). However,
CMS believes that an offer/counteroffer process that includes in-person or virtual meetings (or a
hybrid approach) will most effectively facilitate the negotiation process to arrive at an MFP and
is more consistent with current industry practices for drug price negotiation.
60.4.4 Determination that Negotiations Have Finished
In accordance with sections 1194(b)(2)(E) and 1191(d)(2)(B) of the Act, all negotiations
between CMS and the manufacturer of the selected drug must end prior to August 1, 2024, for
initial price applicability year 2026 to avoid potential excise tax liability.

In the event that negotiation meetings occurred and an MFP was not agreed to in association with
the negotiation meetings, CMS will send the Primary Manufacturer a “Notification of Final
Maximum Fair Price Offer” and an Addendum with the final offer MFP by July 15, 2024. This
will serve as the final offer to the Primary Manufacturer for the MFP for the selected drug. This
final offer will only be sent if, by July 15, 2024, neither CMS nor the Primary Manufacturer has
accepted the latest offer or counteroffer made in writing or agreed upon an MFP in association
with the negotiation meetings. If a final offer is sent, the Primary Manufacturer must respond in
writing to this final offer by either accepting or rejecting the final offer by July 31, 2024. The
following table details CMS’ timing for the negotiation process for initial price applicability year
2026:
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 160 of 199

                                                                                                                 159


 Date 71                                              Milestone
 February 1, 2024                                     Statutory deadline for CMS to send written initial offer
                                                      to the Primary Manufacturer
 30 days after receipt of written initial             Statutory deadline for the Primary Manufacturer to
 offer from CMS (March 2nd if the offer is            accept the initial offer or submit a written counteroffer
 made by CMS on February 1, 2024)                     to CMS
 30 days after receipt of the manufacturer            Date by which CMS will provide a written response
 counteroffer (April 1st if the                       accepting or rejecting the manufacturer counteroffer
 manufacturer counteroffer is made on
 March 2, 2024)
 Date that the Primary Manufacturer’s                 Negotiation meetings (in-person, virtual, or hybrid,
 written counteroffer is not accepted by              maximum of three possible meetings), if necessary
 CMS through June 28, 2024 (the last
 business day that is fifteen days prior to
 July 15, 2024)
 July 15, 2024                                        Date by which CMS will issue a “Notification of Final
                                                      Maximum Fair Price Offer” to the Primary
                                                      Manufacturer, if the written initial offer or Primary
                                                      Manufacturer written counteroffer was not accepted and
                                                      an MFP was not agreed upon in association with the
                                                      negotiation meetings
 July 31, 2024                                        Date by which the Primary Manufacturer must respond
                                                      to (i.e., accept or reject) CMS’ “Notification of Final
                                                      Maximum Fair Price Offer,” if applicable
 July 31, 2024                                        Statutory deadline for all negotiations to end; CMS will
                                                      notify the Primary Manufacturer of any failure to meet
                                                      the deadline and the possible consequences thereof if
                                                      agreement upon the MFP is not reached by July 31,
                                                      2024
 August 1, 2024                                       Statutory end of negotiation period

To formalize agreement on an MFP, CMS and the Primary Manufacturer both sign an
Addendum to the Agreement (described in sections 40.3 and 60.4 of this revised guidance) that
sets forth the agreed-upon MFP. When CMS prepares a written offer, CMS also completes the
Addendum with the offered MFP and sends the Addendum along with the written offer to the
Primary Manufacturer via CMS HPMS. If the Primary Manufacturer accepts the written offer,
they will sign the Addendum after which CMS will countersign the Addendum. Similarly, a

71
   These dates are contingent on CMS and the Primary Manufacturer meeting the deadlines described in this revised
guidance and in statute. If the Primary Manufacturer is delayed in meeting one or more deadlines, CMS will
continue to engage in the negotiation process and will take the time to complete the established process as described
in this section. If a statutory deadline is missed, the Primary Manufacturer may be subject to a civil monetary
penalty or excise tax.
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 161 of 199

                                                                                                              160


Primary Manufacturer’s written counteroffer is not considered complete unless the Primary
Manufacturer submits a complete response to the Drug Price Negotiation Process ICR in CMS
HPMS, submits an Addendum for the MFP consistent with the counteroffer amount in CMS
HPMS, and signs that Addendum. If CMS accepts the written counteroffer, it will countersign
the Addendum. 72

If CMS and the Primary Manufacturer do not agree to an MFP by the statutory end of the
negotiation period, the Primary Manufacturer will enter a period during which an excise tax
potentially may be assessed. As described in 26 U.S.C. § 5000D(b)(2) and § 5000D(c), the
Primary Manufacturer can end the period during which the excise tax may apply by agreeing to
an MFP, as described in section 60.8 of this revised guidance, or can meet the statutory criteria
for the suspension of tax or may terminate its Agreement in the manner described in section 40.6
of this revised guidance, which includes sending a notice terminating all of their applicable
agreements under the Medicare and Medicaid programs and establishing that none of the
Primary Manufacturer’s drugs are covered by an agreement under section 1860D-14A or section
1860D-14C of the Act.

60.5 Application of the MFP Across Dosage Forms and Strengths
An MFP that is agreed upon as described in section 60.4 of this revised guidance establishes one
price for the selected drug. In accordance with section 1196(a)(2) of the Act, CMS has the
administrative duty to establish procedures to compute and apply the MFP across different
dosage forms and strengths of the selected drug and not based on the specific formulation or
package size or package type of such drug.

As described in section 60.1 of this revised guidance, the MFP will reflect a single price for the
selected drug per 30-day equivalent supply. To ensure that the MFP is made available to MFP-
eligible individuals at the point of sale (and to pharmacies, mail order services, or other
dispensers, with respect to such MFP-eligible individuals), however, CMS will publish the MFP
at the per-unit (e.g., tablet) level for each NDC-9 and NDC-11 associated with the selected drug.

The following methodology will be used to apply the single MFP across NDC-9s for a 30-day
equivalent supply and to calculate an MFP per unit for each NDC-9 of the selected drug. CMS
will use a methodology that scales the MFP per unit based on price differentials across different
dosage forms and strengths. For initial price applicability year 2026, CMS will use the WAC of
the selected drug in this calculation. CMS will first calculate an annual WAC per unit cost for
each NDC-11 included on the list of NDC-11s of the selected drug in the CMS HPMS, inclusive
of any NDC-11s added by the Primary Manufacturer (see section 40.2 of this revised guidance),
from the manufacturer-submitted quarterly WAC per unit and unit volume data, to account for
potential variation in unit volume across quarters. The annual WAC per unit for each NDC-11
will then be converted into an amount for a 30-day equivalent supply (using the methodology
described in 42 C.F.R. § 423.104(d)(2)(iv)(A)(2)), so that the WAC will be comparable to the
negotiated single MFP. CMS will then aggregate the WAC per 30-day equivalent supply for
each NDC-11 into a WAC per 30-day supply for each NDC-9 of the selected drug. The WAC
per 30-day equivalent supply for each NDC-9 will then be used to calculate a WAC price ratio

72
  In the event that this functionality is delayed in CMS HPMS, CMS will specify an alternative approach for
sharing the Addendum in writing.
     Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 162 of 199

                                                                                               161


for each NDC-9 of the selected drug. The ratio derived from the WAC per 30-day equivalent
supply for each NDC-9 will then be multiplied by the single MFP for the selected drug to
calculate the MFP for a 30-day equivalent supply of each NDC-9 of the selected drug. Lastly, to
determine the per unit MFP for an NDC-9, CMS will convert from an MFP for a 30-day
equivalent supply to an MFP per unit based on the average number of units in a 30-day
equivalent supply.

The following steps provide additional detail regarding the approach CMS will use:
    1. For each NDC-11 and calendar quarter, CMS will divide the WAC quarterly units by the
        total WAC annual units (from- manufacturer submitted data) and multiply this quotient
        by the quarterly WAC per unit.
            • Note: CMS will use the WAC unit cost for the period beginning January 1, 2022
                and ending December 31, 2022 for purposes of this calculation to align with the
                time period of data used to calculate the ceiling for the MFP.
    2. For each NDC-11, CMS will then sum the amounts calculated in step 1 to calculate the
        annual WAC per unit.
    3. For each NDC-11, CMS will divide the quantity dispensed by the total 30-day equivalent
        supply, both calculated from 2022 PDE data, to calculate the average number of units per
        30-day equivalent supply.
    4. For each NDC-11, CMS will multiply the WAC per unit calculated in step 2 by the
        average number of units per 30-day equivalent supply calculated in step 3 to calculate the
        WAC per 30-day equivalent day supply for that NDC-11.
    5. For each NDC-11, CMS will divide the total 30-day equivalent supply for that NDC-11
        by the total 30-day equivalent supply across all applicable NDC-11s within an NDC-9
        and then multiply this quotient by the amount calculated in step 4.
    6. For each NDC-9, CMS will then sum amounts calculated in step 5 across all NDC-11s to
        calculate the WAC per 30-day equivalent supply for that NDC-9.
    7. For each NDC-9, CMS will divide the total 30-day equivalent supply for that NDC-9 by
        the total 30-day equivalent supply across all NDC-9s and then multiply this quotient by
        the amount calculated in step 6.
    8. CMS will then sum amounts calculated in step 7 across all NDC-9s of the selected drug
        to calculate the WAC per 30-day equivalent supply for the selected drug.
    9. For each NDC-9, CMS will then divide the WAC per 30-day equivalent day supply for
        that NDC-9 calculated in step 6 by the WAC per 30-day equivalent supply for the
        selected drug calculated in step 8 to calculate the WAC per 30-day equivalent supply
        ratio for that NDC-9.
    10. For each NDC-9, CMS will multiply the single MFP for the selected drug by the relative
        WAC per 30-day equivalent supply ratio for that NDC-9 calculated in step 9 to calculate
        the MFP per 30-day equivalent supply for that NDC-9.
    11. For each NDC-9, CMS will divide the MFP per 30-day equivalent supply for that NDC-9
        calculated in step 10 by the quotient of the total number of units dispensed divided by the
        total 30-day equivalent supply to calculate the MFP per unit (e.g., tablet).
CMS will include the MFP per unit price for each NDC-9 of the selected drug, calculated in step
11 of this section 60.5 of this revised guidance, along with corresponding NDC-11 package
prices (determined by multiplying the NDC-9 unit price by the number of units per NDC-11
package), in the publication of MFPs as described in section 60.6 of this revised guidance. CMS
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 163 of 199

                                                                                                                162


recognizes there may be other ways to apply the MFP to dosage forms and strengths and will
monitor whether this policy serves the intent of the Negotiation Program. As noted throughout
this revised guidance, the policies described for the Negotiation Program are for initial price
applicability year 2026, and CMS may consider additional policies for future years of the
Negotiation Program.
60.5.1 Application of the MFP to New NDAs / BLAs or NDCs
Based on the definition of a qualifying single source drug described in section 30.1 of this
revised guidance, if the Primary Manufacturer for a selected drug receives approval or licensure
for a new NDA or BLA, as applicable, for the same active moiety / active ingredient after the
drug has been selected, CMS requires that the MFP apply to drug or biological products
marketed pursuant to the new NDA or BLA. Similarly, after the drug is selected, if the Primary
Manufacturer for such drug receives approval or licensure for a new drug or biological product
or NDC that is marketed pursuant to a supplement to an existing NDA or BLA, CMS requires
that the MFP apply to such new drug or biological product. Additionally, an NDC that has been
marketed pursuant to an applicable NDA or BLA prior to drug selection may lack sufficient PDE
or WAC data in 2022 to apply the MFP across that dosage form and strength as described above.
To apply the MFP to a new NDC that is marketed for the first time after the MFP is negotiated
for a selected drug (including before or after the start of the initial price applicability year) or to
an NDC that is marketed prior to MFP negotiation but which lacks either sufficient PDE unit
data for calendar year 2022 or sufficient WAC data for calendar year 2022 for CMS to apply the
MFP to that dosage form and strength as described above, CMS will determine whether there is
an existing, comparable NDC to which the MFP for the selected drug has been applied. If a
comparable NDC exists, CMS will impute the quotient of total quantity dispensed to 30-day
equivalent supply based on the FDA-approved label associated with the new NDC and will use
the same WAC ratio that was calculated for the existing NDC to apply the MFP to the new NDC.

If a comparable NDC does not exist, CMS will impute the quotient of total quantity dispensed to
30-day equivalent supply based on the FDA-approved label associated with the new NDC but
will use a WAC ratio of 1.0 to apply the MFP to the new NDC. 73

60.6 Publication of the MFP
In accordance with section 1191(d)(6) and section 1195(a)(1) of the Act, CMS will publish by
September 1, 2024, the MFP for each drug selected for initial price applicability year 2026 for
which CMS and the Primary Manufacturer have reached an agreement on an MFP. Related to
this requirement, CMS will publish the following on the CMS website: the selected drug, the
initial price applicability year, the MFP file, and the explanation for the MFP (published at a later
date – see section 60.6.1 of this revised guidance). The MFP file will contain the single MFP for
a 30-day equivalent supply of the selected drug, the NDC-9 per unit price, and NDC-11 per
package price and will be updated annually to show the inflation-adjusted MFP for the selected
drug. CMS will also publish on the CMS website when a drug is no longer a selected drug and

73
   While this guidance is focused on initial price applicability year 2026, CMS notes that in future years,
renegotiation of the MFP might be appropriate in the event of certain new NDCs that represent material changes to
the selected drug, such as where the new NDC is sought due to changes in the selected drug that result in the
addition of a new indication. CMS will provide additional information in the future on renegotiation, which will be
implemented for initial price applicability year 2028 and subsequent years, in accordance with the statute.
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 164 of 199

                                                                                                 163


the reason for that change, and when an MFP between a Primary Manufacturer and CMS is not
agreed upon.
60.6.1 Explanation for the MFP
Section 1195(a)(2) of the Act requires CMS to publish an explanation for the MFP no later than
March 1 of the year prior to the initial price applicability year, which will be March 1, 2025 for
initial price applicability year 2026. CMS will strive to publish these explanations earlier than
March 1, 2025, if feasible. The explanation will focus on the section 1194(e) data that had the
greatest impact in determining the MFP and include a discussion of the other section 1194(e)
data, as applicable. It will also note any data or circumstances that may be unique to the selected
drug. Alongside the narrative explanation, CMS will release redacted information regarding the
section 1194(e) data received, exchange of offers and counteroffers, and the negotiation
meetings, if applicable. CMS will develop and publish the public explanation of the MFP in
accordance with the confidentiality policy described in section 40.2 of this revised guidance.

If an agreement for an MFP is not reached for a selected drug, neither an MFP nor a public
explanation of the MFP will be published. Instead, CMS will indicate on the CMS website that
an MFP has not been agreed upon between the Primary Manufacturer and CMS for the selected
drug. In circumstances where an MFP is finalized after the statutory deadline for the conclusion
of negotiations, the MFP and the public explanation of the MFP will be posted in accordance
with section 60.8 of this revised guidance.

60.7 Exclusion from the Negotiation Process Based on Generic or Biosimilar Availability
In accordance with section 1192(c)(2) of the Act and subject to the timeline and situations
discussed in section 70, a selected drug will no longer be subject to the negotiation process, with
respect to its initial price applicability year, if CMS determines that at least one generic drug or
biosimilar biological product satisfies the following criteria: (1) it is approved under section
505(j) of the FD&C Act with at least one dosage form and strength of the selected drug as the
listed drug or licensed under section 351(k) of the PHS Act with at least one dosage form and
strength of the selected drug as the reference product, and (2) it is marketed pursuant to such
approval or licensure. The approach CMS will take to make this determination is described in
section 70 of this revised guidance.

When the drug is no longer subject to the negotiation process based on the criteria in section
1192(c)(2) of the Act, the selected drug will continue to be considered a selected drug with
respect to such initial price applicability year with respect to the number of negotiation-eligible
drugs on the list published under section 1192(a) of the Act (see section 70 of this revised
guidance for additional details).

60.8 Establishment of MFPs After the Negotiation Deadline
Sections 1194(b)(2) and 1191(d)(5)(C) of the Act contemplate that agreement upon an MFP
must be reached for initial price applicability year 2026 by August 1, 2024 in order to avoid
potential imposition of an excise tax. If negotiations have not ended by this date, the Primary
Manufacturer may be subject to an excise tax. As a general matter, if the Primary Manufacturer
is delayed in meeting one or more deadlines related to the negotiation process, CMS will
continue to engage in the negotiation process described in section 60.4 of this revised guidance.
     Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 165 of 199

                                                                                                164


Certain actions or delays by the Primary Manufacturer may delay the process such that the MFP
is established after the end of the negotiation period. If this occurs, in accordance with section
1194(b)(1) of the Act, CMS will follow timelines consistent with the negotiation process
established in this revised guidance and take the time to complete the established process so
described as appropriate for the selected drug. Likewise, certain actions by the Primary
Manufacturer may delay the negotiation process to such an extent that a selected drug has a
change in status that is material to CMS’ statutory obligations under the negotiation process. If
this occurs, in accordance with section 1194(b)(1), when CMS initiates or resumes the
negotiation process, CMS will apply the consistent methodology and process with respect to the
selected drug based on its status at the time the negotiation process occurs, including beginning
in 2028 which may have potential implications with respect to the renegotiation process.
Guidance about the renegotiation process will be forthcoming for future years of the Negotiation
Program.

If the manufacturer and CMS have completed each step of the negotiation process as detailed in
section 60.4 of this revised guidance, including CMS’ issuance of a “Notification of Final
Maximum Fair Price Offer” and then, after the statutory end of the negotiation period, the
Primary Manufacturer of a selected drug wishes to agree to an MFP, the Primary Manufacturer
must notify CMS in writing that it would like to accept the last offer of an MFP from CMS, as
reflected in the “Notification of Final Maximum Fair Price Offer.” In accordance with section
1195(b)(2) of the Act, in the case of a selected drug with respect to an initial price applicability
year for which the MFP is determined after the MFPs are published for other selected drugs,
CMS shall publish the MFP no later than 30 days after the date such MFP is so determined. In
accordance with section 60.6 of this revised guidance, CMS will publish the MFP and the MFP
explanation on the CMS website. CMS will follow timelines consistent with the established
process for publishing the public explanation of the MFP and will not expedite its timeline due to
late action from the Primary Manufacturer.

70. Removal from the Selected Drug List Before or During Negotiation, or After an MFP is
in Effect
In accordance with section 1192(c) of the Act, a selected drug will no longer be subject to the
negotiation process and will cease to be a selected drug, subject to the timeline and situations
discussed below, if CMS determines (1) the FDA has approved a generic drug under section
505(j) of the FD&C Act that identifies as its reference-listed drug a product that is included in
the selected drug, or the FDA has licensed a biosimilar biological product under section 351(k)
of the PHS Act that identifies as its reference product a product that is included in the selected
drug; and, (2) the generic drug or biosimilar biological product, as applicable, is marketed
pursuant to such approval or licensure.

The approval (or licensure, as applicable) and marketing of an authorized generic drug (which
includes authorized generic drugs and certain biological products as defined in section
1192(e)(2) of the Act) would not qualify as meeting the statutory requirement that a generic drug
or a biosimilar biological product is being marketed. In accordance with section 1192(e)(2)(B)(i)
of the Act, an authorized generic drug as defined in section 505(t)(3) of the FD&C Act is treated
as the same qualifying single source drug as a qualifying single source drug that is the listed
drug, for the purposes of the Negotiation Program. Likewise, section 1192(e)(2)(B)(ii) of the Act
indicates that the same rule applies to a biological product that is approved under section 351(a)
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 166 of 199

                                                                                                  165


of the PHS Act and is marketed, sold, or distributed directly or indirectly to the retail class of
trade under different labeling or packaging (other than repackaging as the reference product in
blister packs, unit doses, or similar packaging for use in institutions), product code, labeler code,
trade name, or trademark.

The determination whether a selected drug should not be subject to the negotiation process and
ultimately removed from the selected drug list will be informed by CMS’ review of PDE and
AMP data for the generic drug or biosimilar biological product for which the selected drug is the
listed drug or reference product on a monthly basis as described below. CMS will consider an
approved generic drug or licensed biosimilar biological product to be marketed when the totality
of the circumstances, including these data, reveals that the manufacturer of the generic drug or
biosimilar biological product is engaging in bona fide marketing of that drug or product.

After the selected drug is removed from the selected drug list, CMS will monitor the
manufacturers of such generic drugs or biosimilar biological products to ensure they continue to
engage in bona fide marketing of the generic or biosimilar biological product based on the
process described in section 90.4 of this revised guidance.

Starting in October 2023, and repeated each month thereafter, CMS will take the following
approach in its review of data to inform its determination whether the statutory criteria in
sections 1192(c)(1)(A) and 1192(c)(1)(B) of the Act for an approved generic drug or licensed
biosimilar to be marketed pursuant to such approval or licensure are being met.

First, CMS will use FDA reference sources, including the Orange Book and Purple Book, to
determine whether a generic drug or biosimilar biological product is approved or licensed for any
strength(s) or dosage form(s) of a selected drug for initial price applicability year 2026.

Second, if CMS determines that a generic drug or biosimilar biological product has been
approved or licensed, CMS will begin by reviewing the PDE and AMP data with dates of service
during the most recent 12-month period available to determine if the manufacturer of the generic
drug or biosimilar biological product has engaged in bona fide marketing of that drug or product.
For example, when CMS performs this assessment in October of 2023, CMS will use PDE and
AMP data with dates of service from October 2022 through September 2023. When CMS
performs this assessment in November 2023, CMS will use PDE and AMP data for dates of
service from November 2022 through October 2023.

The determination whether a generic drug or biosimilar is being bona fide marketed is a totality-
of-the-circumstances inquiry that will not necessarily turn on any one source of data. Additional
relevant factors may include whether the generic drug or biosimilar biological product is
regularly and consistently available for purchase through the pharmaceutical supply chain and
whether any licenses or other agreements between a Primary Manufacturer and a generic drug or
biosimilar manufacturer limit the availability or distribution of the selected drug, as articulated
further in section 90.4.

Per section 1192(c)(2) of the Act, if CMS makes a determination regarding generic drug or
biosimilar biological product availability on or after the selected drug publication date, and
     Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 167 of 199

                                                                                                   166


before the end of or during the negotiation period for an initial price applicability year, the
selected drug will not be subject to the negotiation process for the negotiation period, and an
MFP will not be established. Accordingly, for initial price applicability year 2026, if CMS makes
this determination between September 1, 2023, and August 1, 2024, the drug will remain a
selected drug through 2026, but no MFP will apply and the drug will not be replaced with
another selected drug.

In accordance with section 1192(c)(1) of the Act, a selected drug that is included on the list of
selected drugs for an initial price applicability year will remain a selected drug for that year and
each subsequent year beginning before the first year that begins at least nine months after the
date on which CMS determines the statutory criteria in section 1192(c) are met. Accordingly, if
CMS makes this determination between August 2, 2024, and March 31, 2026, for a drug selected
for initial price applicability year 2026, then the drug will cease to be a selected drug on January
1, 2027, and the MFP will apply for 2026. If CMS makes this determination between April 1,
2026, and March 31, 2027, then the selected drug will cease to be a selected drug on January 1,
2028, and the MFP will apply for 2026 and 2027. These results are summarized in the following
table:

 Date on which CMS determines that a          Result with respect to selected drug for the
 generic drug or biosimilar biological        Negotiation Program
 product is approved and marketed
 September 1, 2023 through August 1,          Selected drug remains a selected drug for initial price
 2024 (which includes the Negotiation         applicability year 2026, though MFP does not apply;
 Period for the initial price applicability   selected drug ceases to be a selected drug on January 1,
 year 2026)                                   2027.
 August 2, 2024 through March 31, 2026        Selected drug remains a selected drug and MFP applies
                                              for initial price applicability year 2026; selected drug
                                              ceases to be a selected drug on January 1, 2027.
 April 1, 2026 through March 31, 2027         Selected drug remains a selected drug and MFP applies
                                              for initial price applicability year 2026 and calendar
                                              year 2027; selected drug ceases to be a selected drug on
                                              January 1, 2028.

Without regard to whether the Primary Manufacturer decides to execute an Agreement as
discussed in section 40.1 of this revised guidance, to terminate an Agreement as discussed in
section 40.6, or to transfer ownership of the selected drug as discussed in section 40.7, a selected
drug remains a selected drug until CMS determines otherwise under the criteria set forth in
section 1192(c) of the Act.

In all cases, after CMS determines the statutory criteria in section 1192(c) for generic
competition are met for a selected drug, CMS will publish such information on the CMS website.

80. MFP-Eligible Individuals
For initial price applicability year 2026, in accordance with section 1191(c)(2) of the Act, the
term “maximum fair price eligible individual” means, with respect to a selected drug, the
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 168 of 199

                                                                                                              167


following: in the case such drug is dispensed to the individual at a pharmacy, by a mail order
service, or by another dispenser, an individual who is enrolled in a prescription drug plan under
Medicare Part D or an MA–PD plan under Medicare Part C (including an Employer Group
Waiver Plan), if Part D coverage is provided under such plan for such selected drug. The MFP is
not required to be made available to a Medicare beneficiary who uses other sources of
prescription drug coverage, such as a plan that receives the Retiree Drug Subsidy, prescription
drug discount cards, or cash. 74 For initial price applicability year 2026, CMS does not expect
manufacturers to provide access to the MFP of a selected drug to hospitals, physicians, and other
providers of services and suppliers with respect to a drug furnished or administered to MFP
eligible individuals enrolled under Part B, including an individual who is enrolled in an MA
plan.

90. Manufacturer Compliance and Oversight
In accordance with section 1196(b) of the Act, CMS will monitor compliance by a Primary
Manufacturer with the terms of the Agreement and establish a mechanism through which
violations of such terms shall be reported.

90.1 Monitoring of Manufacturer Compliance
CMS will closely monitor the Primary Manufacturer’s compliance with the terms of the
Agreement and other aspects of the Negotiation Program. Following the publication of selected
drugs for each initial price applicability year, CMS will provide information about the
negotiation process to the Primary Manufacturer of each selected drug (see section 40 of this
revised guidance for additional details). CMS anticipates this information will include
operational and statutory timelines, procedural requirements, systems instructions, IRA
resources, and contact information.

During the negotiation period, CMS will track and monitor progress during all steps of the
process and engage in direct communications with each Primary Manufacturer. To facilitate
successful Negotiation Program operations and support manufacturer compliance with Program
requirements, CMS will issue reminder letters prior to manufacturer deadlines with warnings of
potential applicability of excise taxes (see 26 U.S.C. § 5000D for additional information
regarding the excise tax) or CMPs (see section 100 of this revised guidance), written requests for
corrective action when applicable (see section 40.2.3 of this revised guidance), written
notification that a Primary Manufacturer may be subject to enforcement action as applicable, and
written confirmation that a Primary Manufacturer may no longer be subject to enforcement
action as applicable.

Failure of a Primary Manufacturer to comply with certain Negotiation Program deadlines and
other requirements of the Negotiation Program may result in potential excise tax liability (see 26
U.S.C. § 5000D). As described in section 100 of this revised guidance, failure of a Primary
Manufacturer to comply with certain Negotiation Program deadlines and other requirements of
the Negotiation Program could result in CMPs.



74
  CMS notes that employer sponsored plans that receive the retiree drug subsidy and health plans that offer
creditable prescription drug coverage are not included because they are not Part D plans.
     Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 169 of 199

                                                                                               168


90.2 Monitoring of Access to the MFP
In accordance with section 1193(a)(3)(A) of the Act, under the Agreement with CMS with
respect to a price applicability period, access to the MFP with respect to such a selected drug
shall be provided by the Primary Manufacturer to MFP-eligible individuals at the pharmacy, mail
order service, or other dispenser at the point of sale, and to the pharmacy, mail order service, or
other dispenser with respect to such MFP-eligible individuals who are dispensed the selected
drug.

Further, in accordance with section 1193(a)(5) of the Act, which requires that the manufacturer
comply with requirements determined by the Secretary to be necessary for purposes of
administering the program and monitoring compliance with the program, and section 40.4 of this
revised guidance, CMS requires that the Primary Manufacturer establish safeguards to ensure the
MFP is available to MFP-eligible individuals and to pharmacies, mail order services, and other
dispensers on units of the selected drug for which there are Secondary Manufacturers. CMS
reiterates that the requirement for the Primary Manufacturer to provide access to the MFP applies
to all sales of the selected drug by a Secondary Manufacturer to MFP-eligible individuals and to
pharmacies, mail order services, and other dispensers that are providing a selected drug to an
MFP-eligible individual, as discussed in section 80 of this revised guidance.

As described in section 40.4 of this revised guidance, CMS is considering the potential to engage
with an MTF to facilitate the exchange of data between supply chain entities to support the
verification of MFP eligibility of an individual who is dispensed a selected drug. Each
component of the pharmaceutical supply chain may have a role in making the MFP available to
MFP-eligible individuals, but it is ultimately the Primary Manufacturer’s responsibility to ensure
access to the MFP. There are various methods by which dispensing entities and MFP-eligible
individuals can determine whether they are accessing the MFP for a selected drug.

For example, under section 1195(a) of the Act, the MFP for a selected drug will be published by
CMS, giving the public and other interested parties an opportunity to know the MFP for each
selected drug, as well as the explanation for each MFP (see section 60.6 of this revised guidance
for additional details). Under section 1191(d)(6), the MFPs for selected drugs for initial price
applicability year 2026 must be published by September 1, 2024. In addition, CMS anticipates
that pharmaceutical database compendia will publish the MFPs for selected drugs such that they
would become more knowable and accessible to pharmaceutical purchasers. CMS believes such
transparency of the MFPs for selected drugs will help dispensing entities and MFP-eligible
individuals to know the MFP for a selected drug and determine whether they are able to access
the MFP.

In accordance with section 1196(a)(3)(A) of the Act, as well as section 1196(b), which requires
that the Secretary establish a mechanism by which violations of the terms of the Agreement shall
be reported, CMS will establish procedures for reporting suspected violations related to access to
the MFP with respect to MFP-eligible individuals who are enrolled in Medicare Part D plans and
the pharmacies, mail order services, and other dispensers that provide selected drugs to MFP-
eligible individuals. As part of this process, CMS may establish a toll-free phone line and email
box where an individual or a dispenser could communicate information to CMS regarding an
incident in which the MFP was not provided to an MFP-eligible individual or the applicable
     Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 170 of 199

                                                                                                169


pharmacy, mail order service, or other dispenser. CMS anticipates the submissions would likely
include the name of the individual reporting the incident, the nature of the incident, the date the
incident occurred, the name of the drug, the manufacturer of the drug, and contact information
for follow-up.

Upon receipt of a report of a suspected violation, CMS will review the submissions, investigate
reports of potential noncompliance, and if appropriate, impose CMPs on the Primary
Manufacturer if CMS determines the Primary Manufacturer failed to provide an MFP-eligible
individual or an eligible dispenser access to the MFP for the selected drug, including in cases
where there are one or more Secondary Manufacturers of the selected drug. CMS would also
expect manufacturers and other interested parties to report instances in which a dispenser was not
passing through the MFP to an MFP-eligible individual, or a dispenser was extending the MFP to
non-MFP-eligible individuals.

As described in section 40.4.1 of this revised guidance and consistent with section 1193(d) of the
Act regarding the manufacturer’s Agreement with CMS, a manufacturer with a Pharmaceutical
Pricing Agreement (PPA) with the Secretary under the 340B program is not required to provide a
340B covered entity with access to the MFP of a selected drug with respect to an MFP-eligible
individual who is eligible to be dispensed such selected drug at the covered entity if the 340B
ceiling price is lower than the MFP for such selected drug.

CMS is also aware that it is conceptually possible for an entity that meets the statutory definition
of a manufacturer, but that is not the Primary Manufacturer or a Secondary Manufacturer, to
market one or more drug or biological products pursuant to one or more NDA(s) or BLA(s)
included in the selected drug. For example, it is possible for an entity to purchase one or more
drug or biological products included in the selected drug from a wholesaler, repackage or relabel
such products, and then re-market them pursuant to one or more NDA(s) or BLA(s) included in
the selected drug. CMS believes it would be appropriate for the MFP to be made available to all
MFP-eligible individuals and to all pharmacies, mail order services, and other dispensers with
respect to MFP-eligible individuals who are dispensed units of the selected drug. However, for
initial price applicability year 2026, CMS is limiting the scope of Primary Manufacturer
responsibility to provide access to the MFP for the selected drug to units of such drug sold by the
Primary Manufacturer or a Secondary Manufacturer. CMS will monitor to determine if there are
sales of selected drug to MFP-eligible individuals by manufacturers other than Primary
Manufacturer and Secondary Manufacturers and consider whether other mechanisms are needed
to promote access to MFP to Medicare-eligible individuals in these circumstances. CMS
continues to seek feedback on how it might achieve this goal, interested parties can send
feedback on this topic to IRARebateandNegotiation@cms.hhs.gov.

90.3 26 U.S.C. Section 5000D Excise Tax on Sale of Designated Drugs
The IRS will administer the excise tax. CMS understands that the Treasury Department will
issue guidance relating to the excise tax in the coming weeks.
     Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 171 of 199

                                                                                                170


90.4 Monitoring for Bona Fide Marketing of Generic or Biosimilar Product
If CMS determines that either:
        (1) a potential qualifying single source drug will not be considered a qualifying single
        source drug for initial price applicability year 2026 because any strength or dosage form
        of a potential qualifying single source drug is the listed drug or reference product, as
        applicable, for one or more generic drugs or biosimilar biological products that CMS
        determined are approved or licensed and marketed based on the process described in
        section 30.1 of this revised guidance, or
        (2) a selected drug is no longer subject to the negotiation process and ceases to be a
        selected drug because (a) the FDA has approved a generic drug under section 505(j) of
        the FD&C Act that identifies as its reference listed drug a product that is included in the
        selected drug, or the FDA has licensed a biosimilar biological product under section
        351(k) of the PHS Act that identifies as its reference product a product that is included in
        the selected drug; and, (b) the generic drug or biosimilar biological product, as
        applicable, is marketed pursuant to such approval or licensure in accordance with section
        1192(c) of the Act and under the process described in sections 60.7 and 70 of this revised
        guidance,
then CMS will monitor, after such an above determination is made, whether meaningful
competition continues to exist in the market by ongoing assessments of whether the
manufacturer of the generic drug or biosimilar is engaging in bona fide marketing. Such
monitoring by CMS may include, but is not limited to, whether the generic drug or biosimilar
biological product is regularly and consistently available for purchase through the
pharmaceutical supply chain and whether any licenses or other agreements between a Primary
Manufacturer and a generic drug or biosimilar manufacturer limit the availability or distribution
of the selected drug.

CMS is aware that marketing or other agreements between the Primary Manufacturer and
generic drug or biosimilar manufacturers may limit the availability of the generic drug or
biosimilar for purchase through the pharmaceutical supply chain, and CMS will attempt to
identify when such agreements exist as a factor in determining whether bona fide marketing
exists, although such agreements would not by themselves be dispositive of that determination.
CMS notes that any agreements limiting the availability of a selected drug may be subject to
scrutiny and potential enforcement under antitrust laws (including laws prohibiting unfair
methods of competition) as well as laws prohibiting unfair or deceptive acts or practices in or
affecting commerce.

In addition, CMS will analyze the share of generic drug or biosimilar biological product units
identified in PDE data as a percentage of total units of Part D expenditures, as well as whether
manufacturers are reporting units of the selected drug as part of their AMP reporting
responsibilities under section 1927(b)(3)(A) of the Act, and the trend in reporting of such AMP
units. CMS reserves the right to also use other available data and informational sources on
market share and relative market competition of the generic drug or biosimilar.

100. Civil Monetary Penalties
In accordance with section 1197 of the Act, Primary Manufacturers of selected drugs that enter
into an Agreement may be subject to CMPs for (1) failure to ensure access to a price that is less
than or equal to the MFP for MFP-eligible individuals and pharmacies, mail order services, and
     Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 172 of 199

                                                                                               171


other dispensers who dispense the selected drug with respect to MFP-eligible individuals, (2)
failure to pay the rebate amount for a biological product for which inclusion on the selected drug
list was delayed but has since undergone negotiation, as described in section 1192(f)(4) of the
Act, (3) violation of certain terms of the Agreement, and (4) the provision of false information as
described in section 1197(d) of the Act.

CMS’ primary goal is to successfully administer all aspects of the Negotiation Program; CMS
intends to exercise the authority to impose CMPs for instances of noncompliance that
substantively obstruct negotiation processes and/or availability of the MFP Such instances may
include, but are not limited to, failure to make the MFP available to MFP-eligible individuals;
failure to provide timely, complete, and accurate information that is necessary to execute the
negotiation process or other administrative or monitoring functions of the Negotiation Program;
repeated violations of the Agreement or other Negotiation Program requirements; or egregious
and/or knowing violations of Negotiation Program requirements.

Broadly, CMS is establishing a structure for enforcement actions that:
   1. Is within CMS’ statutory authority,
   2. Is not punitive in response to immaterial or other instances of noncompliance that are not
       substantive,
   3. Can be applied consistently across applicable instances of Primary Manufacturer
       noncompliance, and
   4. Facilitates the ability to successfully engage in all components of the negotiation process
       within the established statutory timeframes.

This revised guidance addresses violations by a Primary Manufacturer for failure to ensure
access to a price for a selected drug less than or equal to the MFP, violation of terms of the
Agreement, and provision of false information as related to the aggregation rule of the Small
Biotech Exception and the Biosimilar Delay Rule. This revised guidance does not address failure
to pay a rebate for a biological product pursuant to section 1192(f)(4) of the Act, as this topic
will be addressed in future guidance. CMS provides details about the process for CMP
imposition in section 100.4 of this revised guidance.

100.1 Failure of Manufacturer to Ensure Access to a Price Less than or Equal to the MFP
In accordance with section 1197(a) of the Act, CMS may impose a CMP on a Primary
Manufacturer of a selected drug that has entered into an Agreement with CMS upon failure to
provide access to a price that is less than or equal to the MFP to MFP-eligible individuals
dispensed the selected drug and to pharmacies, mail order services, or other dispensers with
respect to MFP-eligible individuals who are dispensed the selected drug, including the failure to
do so in connection with sales of the selected drug by a Secondary Manufacturer. CMS will be
monitoring the WAC in relation to other pricing metrics. Upon discovery and confirmation of a
failure to make the MFP available, CMS will send the Primary Manufacturer a Notice of
Potential Noncompliance that will include information on the potential violation and an
opportunity for corrective action. CMS will establish an informal process in which the Primary
Manufacturer will have 10 business days to respond to the Notice of Potential Noncompliance to
provide additional context, evidence refuting the violation, proof of mitigation of
noncompliance, and/or other factors for CMS’ consideration. CMS will consider the materials
     Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 173 of 199

                                                                                                    172


provided by the Primary Manufacturer when determining the Primary Manufacturer’s CMP
liability.

If the Primary Manufacturer fails to ensure access to a price less than or equal to the MFP, the
statute provides for a CMP equal to 10 times the amount equal to the product of the number of
units of such drug so dispensed (during such year) and the difference between the price for such
drug made available (for such year by such manufacturer) to MFP-eligible individuals and the
MFP for such drug for such year. For the purposes of calculating this CMP, CMS will use the
amount that is equal to the required pass through of the MFP described in section 40.4 of this
revised guidance. As described in section 40.5 of this revised guidance, CMS will monitor for
compliance and audit, as needed, to ensure that the MFP or a price lower than the MFP is being
made available for the selected drug.

100.2 Violations of the Agreement
Pursuant to section 1197(c) of the Act, any Primary Manufacturer of a selected drug that has
entered into an Agreement with CMS under section 1193 of the Act that fails to comply with
requirements determined by CMS to be necessary for the purposes of administering the
Negotiation Program and monitoring compliance with the Negotiation Program pursuant to
section 1193(a)(5) or fails to provide the information required under section 1193(a)(4) may be
subject to a CMP of $1,000,000 for each day of such violation. In applying CMPs for Primary
Manufacturer violations of the Agreement, CMS intends to use discretion such that CMPs are
reserved for instances of substantive noncompliance. Examples of such violations are shown in
the table below. Note that these examples are not an exhaustive list of violations that could
warrant CMPs. CMS reserves the authority to issue CMPs for other violations as required to
effectively administer and monitor the Negotiation Program.

 Category           Example of Substantive Violations
                    •   Failure to submit data required under section 1194(e)(1) of the Act, including
                        failure to engage in requested corrective action to mitigate such failures.
                    •   Omissions or inaccuracies of manufacturer-submitted information that is
                        critical to the negotiation processes (e.g., non-FAMP data from the Primary
                        Manufacturer, including non-FAMP data for a selected drug sold by any
                        Secondary Manufacturer(s), required for ceiling calculation) or other efforts
 Manufacturer           to administer or monitor the Negotiation Program (e.g., information requested
 Information            during an audit), including failure to engage in requested corrective action to
 Submission             mitigate such omissions or inaccuracies.
                    •   Submission of false information that interferes with the negotiation process
                        (e.g., submission of false data on unit costs of production).
                    •   Knowing submission of false information under the procedures to apply the
                        aggregation rule in section 1192(d)(2)(B) for the Small Biotech Exception.
                    •   Knowing provision of false information under procedures to apply the
                        aggregation rule in section 1192(f)(1)(C) of the Biosimilar Delay.
                    •   Failure to make the MFP available to MFP-eligible individuals, and to
                        pharmacies, mail order services, or other dispensers (see section 100.1 of this
 MFP Availability       revised guidance)
                    •   Failure to process timely and complete reimbursement under a retrospective
                        reimbursement structure as described in section 40.4 of this revised guidance.
     Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 174 of 199

                                                                                                173



As an example of when CMS would impose a CMP, consider the following. As described in
section 40.2 of this revised guidance, information on non-FAMP for each applicable quarter (as
described in section 50.1.1 of this revised guidance) for each NDC-11 of the selected drug for the
applicable period will be due to CMS as part of the Negotiation Data Elements ICR no later than
October 2, 2023 for initial price applicability year 2026. If the Primary Manufacturer fails to
timely submit the required non-FAMP information, including the non-FAMP information for
each NDC-11 of a selected drug for which there is a Secondary Manufacturer, CMS will
determine the number of days in which the Primary Manufacturer is in violation of the
Agreement by counting the day after the applicable submission deadline (e.g., October 3, 2023
for initial price applicability year 2026) as the first day of violation with each additional day of
violation thereafter counted until the day the Primary Manufacturer provides the required
information to CMS, the selected drug ceases to be a selected drug, or the Primary Manufacturer
terminates the Agreement. In the event a manufacturer never provides the required information,
the daily CMP will continue to accrue until the end of the negotiation period (i.e., the final
deadline for reaching an agreed upon MFP). Upon reaching that deadline, the manufacturer may
also be subject to a potential excise tax for failing to reach an agreed upon MFP pursuant to 26
U.S.C. § 5000D(b)(2).

CMS may require additional information to administer or monitor compliance with the
Negotiation Program in accordance with section 1193(a)(5) of the Act. When applicable, CMS
will provide a written request to the Primary Manufacturer with details for such requests,
including a date by which any requested information must be submitted. CMS is committed to
providing Primary Manufacturers with reasonable timeframes to accommodate these information
requests. CMS will consider written requests for deadline extension submitted no later than three
calendar days prior to the initial deadline. Extension requests must include a reasonable basis for
requiring the extension as determined by CMS. Only one extension, if applicable, will be granted
for each request. Manufacturers that fail to comply with requests for information required to
administer or monitor compliance with the Negotiation Program on or before the due date may
be subject to a CMP.

In the event the manufacturer does not meet the final established deadline to provide the
requested information and CMS determines a CMP is warranted, the CMP will begin to accrue
beginning on the day after the due date. For example, if CMS requests information for
monitoring purposes by November 15, 2027, day one of the violation would be November 16,
2027. Each additional day of violation thereafter will be counted until the day the Primary
Manufacturer provides the required information to CMS, the selected drug ceases to be a
selected drug, or the Primary Manufacturer terminates the Agreement. The CMP will not include
the day the information is submitted. Because the day of data submission is not included in CMP
calculation, should a Primary Manufacturer submit the requested information on the day after the
deadline, no CMP will be imposed.

To facilitate program operations and support manufacturer compliance, CMS will provide the
Primary Manufacturer with: (1) written reminders of impending submission deadlines, including
warning of potential liability for a CMP for submission violations; and (2) Notification of
Potential Noncompliance, if applicable, and the applicable next steps (see, for example, sections
     Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 175 of 199

                                                                                               174


40.2.3 and 100.1 of this revised guidance). If CMS determines a violation warrants a CMP, CMS
will follow the procedures outlined in section 100.4 of this revised guidance to notify the
Primary Manufacturer and initiate the CMP process.

A Primary Manufacturer that submits false Information that is required under the Agreement and
interferes with the administration of the Negotiation Program will be out of compliance with the
requirement to submit information and may be subject to this CMP. In instances of a Primary
Manufacturer submitting false information that is required under the Agreement, CMS will
determine the number of days in which the Primary Manufacturer is in violation of the
Agreement by counting the day after the established deadline for submission of information
under the Agreement as the first day of violation with each additional day of violation thereafter
counted until the day the Primary Manufacturer provides a complete and accurate submission of
the required information to CMS, the selected drug ceases to be a selected drug, or the Primary
Manufacturer terminates the Agreement.

100.3 Provision of False Information Related to the Small Biotech Exception and the
Biosimilar Delay Rule
In accordance with section 1197(d) of the Act, if CMS determines that any manufacturer
knowingly provides false information under the procedures to apply the aggregation rule in
section 1192(d)(2)(B) for the Small Biotech Exception, such manufacturer shall be subject to a
CMP equal to $100,000,000 for each item of such false information. Likewise, if CMS
determines that any Biosimilar Manufacturer knowingly provides false information under the
procedures to apply the aggregation rule in section 1192(f)(1)(C) of the Biosimilar Delay, such
manufacturer shall be subject to a CMP equal to $100,000,000 for each item of such false
information.

CMS adopts a standard for “knowingly” that conforms with the Office of the Inspector General
definition at 42 C.F.R. § 1003.110 in the application of other CMPs. Knowingly means that a
manufacturer, for purposes of section 1197(d) of the Act for the Small Biotech Exception or a
Biosimilar Manufacturer under section 1192(f)(1)(c) for the Biosimilar delay: (1) has actual
knowledge of the information; (2) acts in deliberate ignorance of the truth or falsity of the
information; or (3) acts in reckless disregard of the truth or falsity of the information. No proof
of specific intent to defraud is required. Upon identifying instances of knowing submission of
false information under either of these provisions, CMS will provide the Manufacturer with a
CMP Notification detailing the final CMP amount and the basis for that amount, requesting
payment, outlining the payment process, outlining the available appeals process, and establishing
applicable deadlines for resolution.

100.4 Notice and Appeal Procedures
Where CMS makes a determination to impose a CMP, CMS will provide a written CMP
Notification that the manufacturer has engaged in a substantive compliance violation and is
subject to a CMP. As required by section 1128A of the Act, the CMP Notification will include
the following:
        • A description of the basis for the determination;
        • The basis for the penalty;
        • The Primary Manufacturer’s right to a hearing (see below); and
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 176 of 199

                                                                                                               175


        •    Information about where to file the request for a hearing.

In applicable cases (e.g., failure to provide required information), CMS will note the
commencement date for a CMP accrual and alert the manufacturer that the daily CMP will
continue to accrue until the period of noncompliance ends. CMS will send monthly
noncompliance notices to the manufacturer during the noncompliance period to include the total
amount of CMP accrued to date, the amount that will continue to accrue should the violation
continue, and required actions on the part of the Primary Manufacturer to mitigate the
noncompliance period (e.g., submission of required information), if applicable.

To operationalize the CMP appeal process in the Negotiation Program, CMS is adopting the
existing procedures as codified in 42 C.F.R. section 423 subpart T: Appeal Procedures for Civil
Money Penalties (see § 423.1000 through § 423.1094) that currently apply to Part D sponsors
and to manufacturers under the Coverage Gap Discount Program. Pursuant to this appeals
process, the manufacturer will have 60 calendar days from the date of receipt of the CMP
Notification to request a hearing (§ 423.1020). The date of receipt is defined as the calendar day
following the day on which the CMP Notification is issued. If the manufacturer requests a
hearing, the procedures outlined in section 1128A of the Act and operationalized by 42 C.F.R. §
423 Subpart T will apply. As set forth in section 1128A(f), if the manufacturer does not pay the
CMP timely, the CMP amount may be deducted from any sum then or later owing by the United
States. CMP funds will be deposited in accordance with section 1128A(f).

The CMP amount will cease to accrue once the manufacturer has demonstrated compliance with
the requirement(s) at issue in the relevant CMP Notification. Following the end of the
noncompliance period, and at the conclusion of any appeals process initiated by the Primary
Manufacturer within 60 days of the CMP Notification, CMS will issue the final CMP
Notification. As required by section 1128A of the Act, the final notification will add the
following to the information included in the initial CMP Notification and monthly
noncompliance notices:
        • The final amount of the penalty;
        • The date the penalty is due; and
        • Instructions for submitting the CMP payment.

110. Part D Formulary Inclusion of Selected Drugs
In accordance with section 1860D-4(b)(3)(I) of the Act, Medicare Part D plans shall include each
covered Part D drug that is a selected drug under section 1192 of the Act on Part D formularies
during contract year 2026 and all subsequent years for which the MFP of the selected drug is in
effect during the price applicability period. 75 Because the selected drug includes all dosage forms
and strengths to which the MFP applies for initial price applicability year 2026, the statute
requires that all such dosage forms and strengths of the selected drug that constitute a covered
Part D drug and for which the MFP is in effect be included on formulary. For contract year 2026,
CMS will not implement explicit tier placement or utilization management requirements that


75
  As required by section 1860D-4(b)(3)(I)(ii) of the Act, nothing shall prohibit a Part D sponsor from removing a
selected drug from a formulary if such removal would be permitted under 42 C.F.R. § 423.120(b)(5)(iv) (or any
successor regulation).
     Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 177 of 199

                                                                                                176


apply uniformly across selected drugs in all formularies, but intends to apply the process
described below.

While CMS understands that not all selected drugs and drug classes will present Part D sponsors
and their Pharmacy & Therapeutics Committees with the same formulary considerations and
might not warrant the same formulary placement in all situations, CMS is concerned that Part D
sponsors may be incentivized in certain circumstances to disadvantage selected drugs by placing
selected drugs on less favorable tiers compared to non-selected drugs, or by applying utilization
management that is not based on medical appropriateness to steer Part D beneficiaries away from
selected drugs in favor of non-selected drugs.

CMS reminds Part D sponsors of the existing statutory and regulatory restrictions on formulary
design. Sections 1860D-2(b)(2)(B) and 1860D-4(c)(1)(A) of the Act permit Part D sponsors to
use formularies and tiered cost sharing in their benefit design, subject to certain limitations, and
requires them to have a cost-effective drug utilization management program that includes
incentives to reduce costs when medically appropriate. Under section 1860D-11(e)(2)(D)(i) of
the Act, CMS may approve a prescription drug plan only if the agency “does not find that the
design of the plan and its benefits (including any formulary and tiered formulary structure) are
likely to substantially discourage enrollment by certain part D eligible individuals under the
plan.” In addition, 42 C.F.R. § 423.272(b)(2)(i) states: “CMS does not approve a bid if it finds
that the design of the plan and its benefits (including any formulary and tiered formulary
structure) or its utilization management program are likely to substantially discourage enrollment
by certain Part D eligible individuals under the plan.” Furthermore, 42 C.F.R. §
423.120(b)(2)(iii) requires each Part D plan formulary to “include adequate coverage of the types
of drugs most commonly needed by Part D enrollees, as recognized in national treatment
guidelines.” In addition, 42 C.F.R. § 423.120(b)(1)(v) requires that in making decisions about
formulary design, the entity designing the formulary must “base clinical decisions on the strength
of scientific evidence and standards of practice.” CMS maintains a robust clinical formulary
review process to ensure that all Medicare Part D plans meet these and other applicable
requirements. CMS reviews all formularies annually to ensure that each formulary passes the
agency’s clinical review criteria, which includes comprehensive evaluation of tier placement and
all utilization management restrictions and criteria.

Given CMS’ statutory obligation to monitor Medicare Part D plans’ compliance with all
applicable formulary requirements, CMS will use its formulary review process to assess: (1) any
instances where Part D sponsors place selected drugs on non-preferred tiers, (2) any instances
where a selected drug is placed on a higher tier than non-selected drugs in the same class, (3) any
instances where Part D sponsors require utilization of an alternative brand drug prior to a
selected drug with an MFP (i.e., step therapy), or (4) any instances where Part D sponsors
impose more restrictive utilization management (i.e., step therapy and/or prior authorization) for
a selected drug compared to a non-selected drug in the same class.

For this review, CMS will consider class to mean the FDA Established Pharmacologic Class or
other source that groups like drugs with similar mechanisms of action. Specifically, as part of the
contract year 2026 Part D formulary review and approval process, CMS will expect Part D
sponsors to provide a reasonable justification to support the submitted plan design that includes
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 178 of 199

                                                                                                              177


any of the practices noted above during the annual bid review process. This justification should
address applicable clinical factors, such as clinical superiority, non-inferiority, or equivalence of
the selected and non-selected drugs, as well as the plan design’s compliance with applicable
statutory and regulatory requirements (e.g., the requirement to have a cost-effective drug
utilization management program that bases decisions on the strength of the clinical evidence and
standards of practice). CMS will evaluate these justifications for compliance with applicable
statutory and regulatory requirements and will only approve a Part D plan bid submitted by a
Part D sponsor if the plan benefit package complies with those requirements.

120. Application of Medicare Part B and Part D Prescription Drug Inflation Rebate
Programs to Selected Drugs
This section of the guidance describes the application of Medicare Part B and Part D inflation
rebates to selected drugs. As background, section 11101 of the IRA added a new section
1847A(i) to the Act to require that manufacturers of Part B rebatable drugs pay inflation rebates
to Medicare for certain Part B rebatable drugs based on specific requirements and formulas.
Likewise, section 11102 of the IRA added a new section 1860D-14B to the Act, which requires
that manufacturers of Part D rebatable drugs pay inflation rebates to Medicare for certain Part D
rebatable drugs based on specific requirements and formulas. 76

Given that initial price applicability year 2026 is limited to drugs for which there is Part D
utilization, this revised guidance describes the interaction between the Negotiation Program and
the Part D inflation rebate program. CMS will address the application of Part B inflation rebates
to selected drugs in future guidance for initial price applicability year 2028.

The Part D drug inflation rebate program is applicable to certain drugs that meet the definition of
a Part D rebatable drug and are dispensed under Part D and covered and paid for by Part D plans
for each 12-month applicable period, starting with the applicable period beginning October 1,
2022. These rebates are paid by manufacturers to the Medicare Prescription Drug Account in the
Federal Supplementary Medical Insurance Trust Fund.

The Part B and Part D inflation rebate programs apply to selected drugs, regardless of the status
of the drug as a selected drug. Alternatively said, whether a drug is a selected drug will have no
bearing as to whether the drug is also subject to the Part B and Part D inflation rebate program,
as applicable. However, when a selected drug is no longer considered to be a selected drug,
certain components of the applicable rebate amount formula are recalculated as discussed further
below.




76
  CMS published initial guidance on both Part B and Part D inflation rebates on February 9, 2023, which includes
more specific details on the operation of the Part B and Part D inflation rebate programs. See:
https://www.cms.gov/files/document/medicare-part-d-inflation-rebate-program-initial-guidance.pdf and
https://www.cms.gov/files/document/medicare-part-b-inflation-rebate-program-initial-guidance.pdf.
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 179 of 199

                                                                                                                178


The Part D inflation rebate calculation is based on changes in the AMP over time. 77 MFP is
excluded from AMP and thus does not affect the rebate calculation. 78

The statutory formula to determine the Part D drug inflation rebate amount owed by
manufacturers for each Part D rebatable drug consists of various components, including the
calculation of a benchmark period manufacturer price. This “benchmark period manufacturer
price” is calculated based on a “payment amount benchmark period” for each Part D rebatable
drug (established at section 1860D-14B(g)(3) of the Act for drugs first approved or licensed on
or before October 1, 2021 and at section 1860D-14B(b)(5)(A) for drugs first approved or
licensed after October 1, 2021), and a “benchmark period CPI-U” 79 for each Part D rebatable
drug (established at section 1860D-14B(g)(4) of the Act for drugs first approved or licensed on
or before October 1, 2021 and section 1860D-14B(b)(5)(A) for drugs first approved or licensed
after October 1, 2021). The payment amount benchmark period is the basis for the calculation of
the benchmark period manufacturer price. The benchmark period manufacturer price is based on
a weighted AMP for the quarters in that period.

For the period of time before a Part D rebatable drug is a selected drug, and during the time it is a
selected drug, CMS will calculate the Part D inflation rebate amount, if applicable, based on the
Part D rebatable drug’s applicable payment amount benchmark period and benchmark period
CPI-U, which is determined based on when the drug is first approved or licensed, as noted
above. However, the statute at section 1860D-14B(b)(5)(C) specifies a different “payment
amount benchmark period” and “benchmark period CPI-U” for each Part D rebatable drug in the
case such drug is no longer considered to be a selected drug under section 1192(c) of the Act, for
each applicable period beginning after the price applicability period with respect to such drug.
Accordingly, in such a case where a Part D rebatable drug is no longer a selected drug, the
payment amount benchmark period will be reset as the last year that begins during such price
applicability period for such selected drug, and the benchmark period CPI-U is established as the
January of the last year beginning during such price applicability period.




77
   Section 1860D-14B(g)(6) of the Act defines AMP to have the meaning, with respect to a Part D rebatable drug of
a manufacturer, given in section 1927(k)(1) with respect to a covered outpatient drug of a manufacturer for a rebate
period under section 1927. Section 1927(k)(1) defines AMP, with respect to a covered outpatient drug of a
manufacturer for a rebate period, to mean the average price paid to the manufacturer for the drug in the United
States by (i) wholesalers for drugs distributed to retail community pharmacies, and (ii) retail community pharmacies
that purchase directly from the manufacturer, subject to certain exclusions.
78
   Section 1927(k)(1)(B)(i)(VI), as amended by section 11001(b)(3) of the Inflation Reduction Act.
79
   CPI-U refers to the Consumer Price Index for all urban consumers (United States city average).
     Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 180 of 199

                                                                                               179




Appendix A: Email Template for Biosimilar Manufacturer to Indicate Intent to Submit an
Initial Delay Request for Initial Price Applicability Year 2026
Email subject line:
Biosimilar Delay: Notice of Intent to Submit Initial Delay Request for Initial Price Applicability
Year 2026

Body of email:
Dear CMS,

I, an authorized representative of [insert manufacturer name], am notifying CMS that my
company is the manufacturer of a biosimilar biological product and we anticipate the reference
product for our biosimilar biological product will be included in a negotiation-eligible drug with
respect to initial price applicability year 2026 for the Medicare Drug Price Negotiation Program.
My company reasonably believes the market entry of our biosimilar biological product meets the
criteria for the special rule to delay selection and negotiation of the negotiation-eligible drug,
described in section 1192(f) of the Social Security Act. Therefore, I am notifying CMS of my
company’s intent to request that CMS delay the inclusion of the negotiation-eligible drug that
includes the reference product for our biosimilar biological product on the selected drug list for
initial price applicability year 2026.

As part of this notification, I am providing the following information:
 My job title:                                              [insert]
 My email address:                                          [insert]
 My phone number:                                           [insert]
 My company’s mailing address:                              [insert]
 My company’s biosimilar biological product name: [insert]
 Product name of the reference product for my               [insert]
 company’s biosimilar biological product

Signed,
[Insert name of authorized representative]
       Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 181 of 199

                                                                                                                   180




Appendix B: Template for the Initial Delay Request Form
Under the authority in sections 11001 and 11002 of the Inflation Reduction Act of 2022 (P.L.
117-169), the Centers for Medicare & Medicaid Services (CMS) is implementing the Medicare
Drug Price Negotiation Program, codified in sections 1191 through 1198 of the Social Security
Act (the Act), to negotiate maximum fair prices (MFPs) 80 for selected drugs. Under section
1192(f) of the Act (the “Biosimilar Delay”), the manufacturer of a biosimilar biological product
(“Biosimilar Manufacturer” of a “Biosimilar”) may submit a request, prior to the selected drug
publication date, for CMS’ consideration to delay the inclusion of a negotiation-eligible drug (as
defined in section 1192(d) of the Act) that includes the reference product for the Biosimilar (such
a negotiation-eligible drug is herein referred to as a “Reference Drug”) on the selected drug list
for a given initial price applicability year. The Biosimilar Manufacturer eligible to submit the
request is the holder of the BLA for the Biosimilar or, if the Biosimilar has not yet been licensed,
the sponsor of the BLA for the Biosimilar that has been submitted for review by FDA.

Please refer to the memo titled “Medicare Drug Price Negotiation Program: Initial
Memorandum, Implementation of Sections 1191 – 1198 of the Social Security Act for Initial
Price Applicability Year 2026, and Solicitation of Comments” (Initial Negotiation Program
Guidance) for additional details regarding the implementation of the Biosimilar Delay for initial
price applicability year 2026. This form serves as the template that a Biosimilar Manufacturer
may complete to submit an Initial Delay Request with respect to initial price applicability year
2026.

Submission of the email described in that memo indicating the Biosimilar Manufacturer’s
intention to submit an Initial Delay Request for initial price applicability year 2026 and receipt of
the fillable Initial Delay Request form template and request-specific Box folder should occur
prior to completing this form.

Instructions
  • Initial Delay Requests that are incomplete or not timely submitted will not be accepted.
      For an Initial Delay Request to be timely for initial price applicability year 2026, the
      Biosimilar Manufacturer must submit a complete Initial Delay Request to CMS no later
      than 11:59 pm PT on May 22, 2023. CMS will deem an Initial Delay Request to be
      complete if it includes a complete Initial Delay Request form using this fillable template
      and the following documentation:
      o     All agreements related to the Biosimilar filed with the Federal Trade Commission or
            the Assistant Attorney General pursuant to subsections (a) and (c) of section 1112 of
            the Medicare Prescription Drug, Improvement, and Modernization Act of 2003;




80
  In accordance with section 1191(c)(3) of the Social Security Act (“the Act”), maximum fair price means, with
respect to a year during a price applicability period and with respect to a selected drug (as defined in section 1192(c)
of the Act) with respect to such period, the price negotiated pursuant to section 1194 of the Act, and updated
pursuant to section 1195(b) of the Act, as applicable, for such drug and year.
     Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 182 of 199

                                                                                                181


      o     The manufacturing schedule for the Biosimilar submitted to the FDA during its
            review of the application for licensure under section 351(k) of the PHS Act, to the
            extent available; and
      o     Disclosures (in filings by the Biosimilar Manufacturer with the Securities and
            Exchange Commission required under section 12(b), 12(g), 13(a), or 15(d) of the
            Securities Exchange Act of 1934 about capital investment, revenue expectations, and
            actions taken by the manufacturer that are typical of the normal course of business in
            the year (or the 2 years, as applicable) before marketing of a biosimilar biological
            product) that pertain to the marketing of the Biosimilar, or comparable
            documentation that is distributed to the shareholders of privately held companies, to
            the extent available.
 •    The data entry component of this submission should be completed by an individual
      authorized by the Biosimilar Manufacturer.
 •    The certification of the Initial Delay Request should be executed by (1) the chief executive
      officer (CEO) of the Biosimilar Manufacturer, (2) the chief financial officer (CFO) of the
      Biosimilar Manufacturer, (3) an individual other than a CEO or CFO, who has authority
      equivalent to a CEO or a CFO, or (4) an individual with the directly delegated authority to
      perform the certification on behalf of one of the individuals mentioned in (1) through (3).

CMS is relying on the fullness, accuracy, and completeness of the Biosimilar Manufacturer’s
submission to determine whether to approve the Initial Delay Request for initial price
applicability year 2026. If the Biosimilar Manufacturer submits an Initial Delay Request that is
not timely, complete, and accurate, the submission may adversely affect the Negotiation
Program, including the process for selecting drugs for negotiation for initial price applicability
year 2026.

Section 1: Identifying information

Identifying information for Biosimilar Manufacturer

Q1. Complete the following table with identifying information for the Biosimilar Manufacturer.

 Field                                            Response
 Entity Type                                      ☐ Biosimilar Manufacturer
 Entity name
 Employer Identification Number (EIN(s))
 Address
 Unique Identifier Assigned by CMS (P-
 number)
 Labeler Code(s)
Identifying information on Biosimilar

Q2. Complete the following table with identifying information for the Biosimilar.

 Field                                            Response
 Product Name
     Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 183 of 199

                                                                                              182


 Active Ingredient
 NDC-9(s) (if applicable)                       [optional, only if available]

Q3. List all applications for licensure for the Biosimilar under 351(k) of the Public Health
Service (PHS) Act regardless of status (i.e., including applications that are approved, accepted
for review, and submitted but not yet accepted for review). Leave approval date blank if license
has not been approved.

Add additional rows for each application
                                                                     Licensure         Marketing
                                                                     planned           planned
                                   Approval                          before            before
Application Submission Application Date [if             Dosage Form September          September
Number      Number     status      licensed] Indication and Strength 1, 2025?          1, 2025?
                       [Approved,                                    [Yes/No]          [Yes/No]
                       Accepted
                       for Review, MM/DD/
nnnnnn      nnn        Submitted] YYYY Text             Text

Identifying information on Reference Product

Q4. Complete the following table with identifying information for the reference product for the
Biosimilar.

 Field                                          Response
 Product Name
 Active Ingredient
 NDC-9(s)

Q5. List the Biologic License Application (BLA) approved by the Food and Drug
Administration (FDA) under section 351(a) of the PHS Act for the reference product for the
Biosimilar.

Application     Submission      Approval
Number          Number          Date         Indication     Dosage Form and Strength       Sponsor
                                MM/DD/
nnnnnn          nnn             YYYY         Text           Text                           Text

Identifying information on Reference Manufacturer

Q6. Complete the following table with identifying information for the Reference Manufacturer.

 Field                                          Response
 Entity Type                                    ☐ Reference Manufacturer
 Entity name
     Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 184 of 199

                                                                                                183


 Employer Identification Number (EIN)            [Optional, only if known]
 Address                                         [Optional, only if known]
 Unique Identifier Assigned by CMS (P-           [Optional, only if known]
 number)
 Labeler Code(s)                                 [Optional, only if known]

Section 2: Attestations to Requirements for Granting an Initial Delay Request

In accordance with section 1192(f)(2)(D)(iv) of the Act, CMS will not delay inclusion of a
biological product on the list of selected drugs if the Biosimilar Manufacturer meets any of the
statutory criteria for an excluded manufacturer. Questions 7 through 9 address whether the
Biosimilar Manufacturer is an excluded manufacturer.

Q7. Relationship between Biosimilar Manufacturer and Reference Manufacturer: In
accordance with section 1192(f)(2)(D)(iv) of the Act, CMS will not approve an Initial Delay
Request if the Biosimilar Manufacturer is the same as the Reference Manufacturer or is treated
as being the same as the Reference Manufacturer based on the aggregation rule in section
1192(f)(1)(C) of the Act. This aggregation rule provides, “all persons treated as a single
employer under subsection (a) or (b) of section 52 of the Internal Revenue Code of 1986, or in a
partnership, shall be treated as one manufacturer” for purposes of the Biosimilar Delay. Further,
section 1192(f)(1)(C) of the Act establishes that “the term ‘partnership’ means a syndicate,
group, pool, joint venture, or other organization through or by means of which any business,
financial operation, or venture is carried on” by two or more parties for the purposes of the
Biosimilar Delay.

Read the following statement and check the box if accurate:
 I confirm consistent with sections 1192(f)(1)(C) and 1192(f)(2)(D)(iv) of the Act that     ☐
 the Biosimilar Manufacturer submitting this request is not the same or is not treated as
 being the same as the Reference Manufacturer.

Q8. Incentives: In accordance with section 1192(f)(2)(D)(iv)(II)(aa) of the Act, CMS will not
approve any Initial Delay Request submitted by a Biosimilar Manufacturer that has entered into
an agreement with the Reference Manufacturer that requires or incentivizes the Biosimilar
Manufacturer to submit an Initial Delay Request.

Read the following statement and check the box if accurate:
 I confirm consistent with section 1192(f)(2)(D)(iv)(II)(aa) of the Act that the Biosimilar ☐
 Manufacturer submitting this request has not entered into an agreement with the
 Reference Manufacturer named in this request that requires or incentivizes the
 Biosimilar Manufacturer to submit this or any other Initial Delay Request.                 I       I
Q9. Quantity Restriction: In accordance with section 1192(f)(2)(D)(iv)(II)(bb) of the Act, CMS
will not approve any Initial Delay Request submitted by a Biosimilar Manufacturer that has
entered into an agreement with the Reference Manufacturer that restricts the quantity, either
directly or indirectly, of the Biosimilar that may be sold in the United States over a specified
period of time.
     Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 185 of 199

                                                                                                  184



Read the following statement and check the box if accurate:
 I confirm consistent with section 1192(f)(2)(D)(iv)(II)(bb) of the Act that the               ☐
 Biosimilar Manufacturer submitting this request has not entered into an agreement with
 the Reference Manufacturer named in this request that restricts the quantity, either
 directly or indirectly, of the Biosimilar that may be sold in the United States over a
 specified period of time.

In accordance with section 1192(f)(1)(A) of the Act, CMS will only approve an Initial Delay
Request for initial price applicability year 2026 if CMS determines there is a high likelihood that
the Biosimilar will be licensed and marketed before September 1, 2025. Questions 10 and 11 are
relevant for this determination.

Q10. Licensure: In accordance with section 1192(f)(1)(A) of the Act, CMS will only approve an
Initial Delay Request for initial price applicability year 2026 if CMS determines there is a high
likelihood that the Biosimilar will be licensed before September 1, 2025. For the purposes of this
Initial Delay Request, ‘licensed’ means approved by the FDA under section 351(k) of the PHS
Act.

Select the following option that best describes the current licensure status of the Biosimilar as of
the submission of this Initial Delay Request:
 (A) I confirm consistent with section 1192(f)(1)(A) of the Act that the Biosimilar            ☐
 Manufacturer has submitted an application for licensure of the Biosimilar under section
 351(k) of the PHS Act and the Biosimilar has been licensed.
 (B) I confirm consistent with section 1192(f)(1)(A) of the Act that the Biosimilar            ☐
 Manufacturer has submitted an application for licensure of the Biosimilar under section
 351(k) of the PHS Act and the FDA has accepted such application for review.
 (C) I confirm consistent with section 1192(f)(1)(A) of the Act that the Biosimilar            ☐
 Manufacturer has submitted an application for licensure of the Biosimilar under section
 351(k) of the PHS Act and has not received a determination from FDA that such
 application has been accepted for review.
 (D) I confirm consistent with section 1192(f)(1)(A) of the Act that the Biosimilar            ☐
 Manufacturer has not submitted an application for licensure of the Biosimilar under
 section 351(k) of the PHS Act.

Q11. Marketing: In accordance with section 1192(f)(1)(A) of the Act, CMS will only approve
an Initial Delay Request for initial price applicability year 2026 if CMS determines there is a
high likelihood that the Biosimilar will be marketed before September 1, 2025.
Select the following option that best describes the current marketing status of the Biosimilar as
of the submission of this Initial Delay Request:

 (A) I confirm consistent with section 1192(f)(1)(A) of the Act that the Biosimilar is        ☐
 currently marketed.
 (B) I confirm consistent with section 1192(f)(1)(A) of the Act that the Biosimilar has       ☐
 not yet been marketed but the Biosimilar Manufacturer expects it to be marketed by
 September 1, 2025.
     Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 186 of 199

                                                                                                  185


 (C) I confirm consistent with section 1192(f)(1)(A) of the Act that the Biosimilar has       ☐
 not yet been marketed and the Biosimilar Manufacturer does not expect it to be
 marketed by September 1, 2025.

Section 3: Supporting Documentation

Q12. Manufacturing schedule: In accordance with section 1192(f)(1)(B)(ii)(I) of the Act, an
Initial Delay Request must include, to the extent available, the manufacturing schedule for the
Biosimilar submitted to the FDA during its review of the Biosimilar’s application for licensure.
Further, in accordance with section 1192(f)(3)(B) of the Act, CMS will consider such
information in determining whether there is clear and convincing evidence that the Biosimilar
will be marketed.

Using the ‘Supporting Documentation - Manufacturing schedule’ subfolder within the Box
folder that CMS shared for the purposes of this Initial Delay Request, upload the manufacturing
schedule(s) for the Biosimilar submitted to the FDA for each application listed in Q3.

Read the following statements and check the boxes if accurate:
 I confirm consistent with section 1192(f)(1)(B)(ii)(I) of the Act that the manufacturing     ☐
 schedule(s) for the Biosimilar submitted to the FDA during its review of the
 Biosimilar’s application for licensure is available for submission.
 I confirm consistent with section 1192(f)(1)(B)(ii)(I) of the Act that I have submitted to   ☐
 CMS the manufacturing schedule(s) for the Biosimilar submitted to the FDA during its
 review of the Biosimilar’s application for licensure.

Q13. Disclosures: In accordance with section 1192(f)(1)(B)(ii)(I) of the Act, an Initial Delay
Request must include, to the extent available, disclosures (in filings by the Biosimilar
Manufacturer with the Securities and Exchange Commission required under section12(b), 12(g),
13(a), or 15(d) of the Securities Exchange Act of 1934 about capital investment, revenue
expectations, and actions taken by the Biosimilar Manufacturer that are typical of the normal
course of business before marketing of a biosimilar biological product) that pertain to the
marketing of the Biosimilar, or comparable documentation that is distributed to the shareholders
of privately held companies. Further, in accordance with section 1192(f)(3)(B) of the Act, CMS
will consider such information in determining whether there is clear and convincing evidence
that the Biosimilar will be marketed.

Using the ‘Supporting Documentation – Disclosures’ subfolder within the Box folder that CMS
shared for the purposes of this Initial Delay Request, upload all such disclosures.
Read the following statements and check the boxes if accurate:
 I confirm consistent with section 1192(f)(1)(B)(ii)(I) of the Act that disclosures (in  ☐
 filings by the Biosimilar Manufacturer with the Securities and Exchange Commission
 required under section12(b), 12(g), 13(a), or 15(d) of the Securities Exchange Act of
 1934 about capital investment, revenue expectations, and actions taken by the
 Biosimilar Manufacturer that are typical of the normal course of business before
 marketing of a biosimilar biological product) that pertain to the marketing of the
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 187 of 199

                                                                                                  186


 Biosimilar, or comparable documentation that is distributed to the shareholders of
 privately held companies, are available for submission.
 I confirm consistent with section 1192(f)(1)(B)(ii)(I) of the Act that I have submitted to     ☐
 CMS all such disclosures.                                                                    I         I
Q14. Agreements:
In accordance with section 1192(f)(1)(B)(ii)(I) of the Act, an Initial Delay Request must include
all agreements related to the Biosimilar filed with the Federal Trade Commission or the Assistant
Attorney General pursuant to subsections (a) and (c) of section 1112 of the Medicare
Prescription Drug, Improvement, and Modernization Act of 2003. Further, in accordance with
section 1192(f)(3)(B) of the Act, CMS will consider such information in determining whether
there is clear and convincing evidence that the Biosimilar will be marketed.

Using the ‘Supporting Documentation – Agreements’ subfolder within the Box folder that CMS
shared for the purposes of this Initial Delay Request, upload all such agreements.

Read the following statement and check the box if accurate:
 I confirm consistent with section 1192(f)(1)(B)(ii)(I) of the Act that I have submitted to     ☐
 CMS all agreements related to the Biosimilar filed with the Federal Trade Commission
 or the Assistant Attorney General pursuant to subsections (a) and (c) of section 1112 of
 the Medicare Prescription Drug, Improvement, and Modernization Act of 2003.                  I         I
Section 4: Certification

I hereby certify, to the best of my knowledge, that the information being sent to CMS in this
submission is complete and accurate, and the submission was prepared in good faith and after
reasonable efforts. I reviewed the submission and made a reasonable inquiry regarding its
content. I understand the information contained in this submission is being provided to and will
be relied upon by CMS for Medicare reimbursement purposes, including to determine whether
CMS should delay the selection of a biological product that would, absent this request, be
included on the selected drug list for initial price applicability year 2026, as described in section
1192(f) of the Social Security Act. I also certify that I will timely notify CMS if I become aware
that any of the information submitted in this form has changed. I also understand that any
misrepresentations may also give rise to liability, including under the False Claims Act.

Yes []
No []
     Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 188 of 199

                                                                           187


Contact Information
 Field                                    Response
 Name of the Person Responsible for the
 Submission
 Title
 Telephone
 Email
 Signature
 Date
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 189 of 199

                                                                                                                188


Appendix C: Definitions for Purposes of Collecting Manufacturer-Specific Data

For the purposes of describing the data at sections 1194(e)(1), 1194(e)(2), and 1193(a)(4)(A) of
the Act to be collected for use in the Negotiation Program, as described in sections 40.2, 50.1,
and 50.2 of this revised guidance and the Negotiation Data Elements Information Collection
Request (ICR), CMS adopts the following definitions and standards.

General
   • When calculating monetary values, assume at most an 8.1 percent annual cost of capital
      for purposes of applying an adjustment. If a Primary Manufacturer uses a cost of capital
      below 8.1 percent, that amount should be used.
Non-FAMP
   • Non-FAMP: Section 1194(c)(6) of the Act defines “average non-Federal average
      manufacturer price” as the average of the non-FAMP (as defined in section 8126(h)(5) of
      title 38 of the U.S. Code) for the four calendar quarters of the year involved. 81 For initial
      price applicability year 2026, these are the quarters of 2021. When there are less than
      30 days of commercial sales data for all NDC-11s of the selected drug in calendar year
      2021, the applicable year will be the first full calendar year following market entry of
      such drug. When there are at least 30 days of commercial sales data but less than a
      calendar quarter of data to calculate the non-FAMP in calendar year 2021 (or the first full
      year following market entry of such drug, when applicable) for a given NDC-11 of such
      drug, the non-FAMP reported by the manufacturer to CMS should reflect the temporary
      non-FAMP predicated upon the first 30 days of commercial sales data. The temporary
      non-FAMP should be calculated following the same methodology used to calculate the
      temporary non-FAMP amount used to determine the Temporary Federal Ceiling Price, as
      described in the Department of Veterans Affairs (VA) 2023 Updated Guidance for
      Calculation of Federal Ceiling Prices (FCPs) for New Drugs subject to Public Law
      102-585. Any restatements of the non-FAMP made in any manufacturer non-FAMP
      submissions to the VA must be reflected in the non-FAMP submitted to CMS.
   • Non-FAMP unit: Non-FAMP unit is the package unit as described in 38 U.S.C. §
      8126(h)(6).
   • Non-FAMP dosage form unit: The non-FAMP dosage form unit is the dosage form of the
      NDC that is reported in the “Dose form” field of the Excel workbook used by the Office
      of Pharmacy Benefits Management Services at the VA to collect non-FAMP information.

Research and Development (R&D) Costs
R&D costs mean a combination of costs incurred by the Primary Manufacturer for all FDA-
approved indications of a drug falling into the five categories below, and excluding (a) prior
Federal financial support, (b) costs associated with applying for and receiving foreign approvals,



81
   The term “non-Federal average manufacturer price” means, with respect to a covered drug and a period of time (as
determined by the Secretary), the weighted average price of a single form and dosage unit of the drug that is paid by
wholesalers in the United States to the manufacturer, taking into account any cash discounts or similar price
reductions during that period, but not taking into account— (A) any prices paid by the Federal Government; or
(B) any prices found by the Secretary to be merely nominal in amount. 38 U.S.C. § 8126(h)(5).
        Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 190 of 199

                                                                                                                189


and (c) costs associated with ongoing basic pre-clinical research, clinical trials, and pending
approvals:
   1. R&D: Acquisition Costs
   2. R&D: Basic Pre-Clinical Research Costs
   3. R&D: Post-Investigational New Drug (IND) Application Costs
   4. R&D: Abandoned and Failed Drug Costs
   5. R&D: All Other R&D Direct Costs

CMS is calculating recoupment of R&D costs using both the global and U.S. total lifetime net
revenue for the selected drug:

    6. Recoupment: Global and U.S. Total Lifetime Net Revenue for the Selected Drug

The definitions and associated time periods for these terms are included below.
Definitions for 1. R&D: Acquisition Costs
    •    For the sole purpose of data collection under section 1194(e)(1)(A) of the Act, acquisition
         costs are defined as costs associated with the Primary Manufacturer’s purchase from
         another entity of the rights to hold previously approved or future NDA(s) / BLA(s) of the
         selected drug.
Definitions for 2. R&D: Basic Pre-Clinical Research Costs
    •    Basic pre-clinical research costs are defined as all discovery and pre-clinical
         developmental costs incurred by the Primary Manufacturer with respect to the selected
         drug during the basic pre-clinical research period and are the sum of (1) direct research
         expenses and (2) the appropriate proportion of indirect research expenses (defined
         below).
    •    For each indication of the selected drug, the basic pre-clinical research period is defined
         as the date of initial discovery or the date the Primary Manufacturer acquired the right to
         hold the potential NDA(s) / BLA(s) or NDA(s) / BLA(s) of the selected drug (whichever
         is later) to the day before the last IND application for that indication of the selected drug
         went into effect. 82, 83 The basic pre-clinical research period may include both the initial
         research on the discovery of the selected drug and basic pre-clinical research related to
         new applications of the selected drug. If the length of the basic pre-clinical research
         period for the selected drug cannot be calculated, use 52 months ending the day before
         the first IND application went into effect. For example, if the selected drug had five IND
         applications that went into effect, use the date of the first IND application that went into
         effect as the end date for the 52-month period. 84
82
   CMS acknowledges that the exact date of initial discovery might not be known, but manufacturers should use
their best estimate.
83
   For the purposes of identifying the date the Primary Manufacturer acquired the right to hold the potential NDA(s)
/ BLA(s) or NDA(s) / BLA(s) of the selected drug, use the earliest date of acquisition for any NDA / BLA of the
selected drug.
84
   CMS believes that 52 months represents a solid average across studies. For example, one study reported that the
pre-clinical phase takes 52 months on average. See DiMasi, J, Hansen, R, Grabowski, H. The price of innovation:
new estimates of drug development costs. Journal of Health Economics, 2003, https://fds.duke.edu/db?attachment-
        Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 191 of 199

                                                                                                             190


    •    Direct basic pre-clinical research costs are costs that can be specifically attributed to the
         discovery and pre-clinical development of the selected drug. Direct research expenses
         could include personnel (compensation for investigators and staff) researching the
         selected drug, materials for conducting basic pre-clinical research, and the costs of in
         vivo and in vitro studies on the selected drug before an IND application went into effect.
    •    Indirect basic pre-clinical research costs and relevant general and administrative costs are
         operating costs for basic pre-clinical research beyond the basic pre-clinical research costs
         for the selected drug, including administrative personnel and overhead costs (expenses
         for clinical facilities and equipment) that are shared across multiple potential drugs or
         biologics. To calculate the proportion of indirect costs, the Primary Manufacturer must
         use proportional allocation, whereby the same proportion of spending allocated for direct
         research on the selected drug is used to estimate the proportional spending for indirect
         research. 85, 86 For example, if the direct pre-clinical research costs spent on the selected
         drug were approximately 10 percent of a Primary Manufacturer’s total direct basic pre-
         clinical research costs, then indirect costs should be allocated proportionally, thus for the
         selected drug they should be 10 percent of the total spending on indirect pre-clinical
         research costs during that time period.
Definitions for 3. R&D: Post-Investigational New Drug (IND) Application Costs
    •    Post-IND costs are defined as all direct costs associated with dosing and preparing the
         selected drug for clinical trials and the selected drug’s Phase I, Phase II, and Phase III
         clinical trials for each FDA-approved indication. Post-IND costs also include all direct
         costs associated with completed FDA-required, post-marketing trials that are conducted
         after the FDA has approved a product. Post-IND costs exclude FDA-required,
         post-marketing trials that were not completed.
    •    Direct post-IND costs are defined as Institutional Review Board (IRB) review and
         amendment costs, user fees, patient recruitment, per-patient costs, research and data
         collection costs, personnel, and facility costs that are directly related to conducting the
         dosing and Phase I, Phase II, and Phase III clinical trials during the post-IND period.
         Direct post-IND costs also include patient recruitment, per-patient costs, research and
         data collection costs, personnel, and facility costs that are directly related to conducting
         the completed FDA-required, post-marketing trial.




25--1301-view-168. Another study estimated that the pre-clinical phase can take 31 months on average. See DiMasi,
J, Grabowski, H, Hansen, R. Innovation in the pharmaceutical industry: New estimates of R&D costs, Journal of
Health Economics, 2016, as cited by the Congressional Budget Office (CBO) in Research and Development in the
Pharmaceutical Industry, April 2021, https://www.cbo.gov/publication/57126. Other estimates have found that the
pre-clinical phase ranges from three to six years. See PhRMA, “Biopharmaceutical Research & Development: The
Process Behind New Medicines,” 2015, http://phrma-
docs.phrma.org/sites/default/files/pdf/rd_brochure_022307.pdf.
85
   Wouters OJ, McKee M, Luyten J. Estimated Research and Development Investment Needed to Bring a New
Medicine to Market, 2009-2018. JAMA. 2020;323(9):844–853. doi:10.1001/jama.2020.1166
86
   Drummond MF, Sculpher MJ, Torrance GW, O’Brien BJ, Stoddart GL. Methods for the Economic Evaluation of
Health Care Programme. 3rd ed. Oxford, UK: Oxford University Press; 2005,
https://pure.york.ac.uk/portal/en/publications/methods-for-the-economic-evaluation-of-health-care-programme-
third-edition(e43f24cd-099a-4d56-97e6-6524afaa37d1)/export.html.
       Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 192 of 199

                                                                                                 191


   •    The post-IND period begins on the day the IND went into effect for the first
        FDA-approved indication for the selected drug through the date when the last
        FDA-required post-marketing trial was completed for the selected drug.
Definitions for 4. R&D: Abandoned and Failed Drug Costs
   •    Failed or abandoned product costs include a sum of the portion of direct basic pre-
        clinical research costs on drugs with the same active moiety / active ingredient or
        mechanism of action as the selected drug that did not make it to clinical trials and a
        portion of direct post-IND costs for drugs in the same therapeutic class as the selected
        drug that did not achieve FDA approval.
   •    Failed or abandoned product costs include a portion of direct basic pre-clinical research
        costs on drugs with the same active moiety / active ingredient or mechanism of action as
        the selected drug that did not make it to clinical trials.
            o Direct research expenses are costs that can specifically be attributed to the
                discovery and pre-clinical development of the drug.
            o Direct research expenses include personnel (compensation for investigators and
                staff) researching the drug, materials for conducting basic pre-clinical research,
                and in vivo and in vitro studies on the drug.
   •    Failed or abandoned product costs include a portion of direct post-IND costs for drugs in
        the same therapeutic class as the selected drug that did not achieve FDA approval.
            o Direct post-IND costs are costs that can specifically be attributed to the dosing
                and clinical trials for the drug.
            o Direct post-IND costs include IRB review and amendment costs, user fees, patient
                recruitment, per-patient costs, research and data collection costs, personnel, and
                facility costs that are directly related to conducting dosing and clinical trials for
                the drug.

Definitions for 5. R&D: All Other R&D Direct Costs
   •    All other R&D direct costs are any other allowable costs that do not align with R&D
        definitions 1-4. For example, other R&D direct costs may include direct costs associated
        with conducting FDA-required post-marketing trials that were not completed. No
        additional definitions adopted.

Definitions for 6. Global and U.S. Total Lifetime Net Revenue for the Selected Drug
CMS will use both the Primary Manufacturer’s global and U.S. total lifetime net revenue for the
selected drug to determine the extent to which the Primary Manufacturer has recouped R&D
costs for the selected drug.
Definitions for 6a. Global, including U.S., Total Lifetime Net Revenue for the Selected Drug
   •    Global, total lifetime net revenue for the selected drug is defined as the direct sales and
        payments from all other entities, minus the discounts, chargebacks, rebates, cash
        discounts, free goods contingent on a purchase agreement, up-front payments, coupons,
        goods in kind, free or reduced-price services, grants, other price concessions or similar
        benefits offered to any purchasers or any royalty payments or percentage payments in
        purchase contracts.
         Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 193 of 199

                                                                                                    192


     •    Global, total lifetime net revenue period is defined as the date the drug or biologic was
          first sold anywhere globally through the date of the publication of the selected drug list
          that includes the drug as a selected drug for an initial price applicability year.
     •    If global, total lifetime net revenue for the selected drug is not available through the date
          of the publication of the selected drug list that includes the drug as a selected drug for an
          initial price applicability year, calculate net revenue through the most recent quarter for
          which such data are available.

Definitions for 6b. U.S. Lifetime Net Revenue for the Selected Drug

     •    U.S. lifetime net revenue for the selected drug is defined as the direct sales and payments
          from U.S. entities, minus the discounts, chargebacks, rebates, cash discounts, free goods
          contingent on a purchase agreement, up-front payments, coupons, goods in kind, free or
          reduced-price services, grants, other price concessions or similar benefits offered to any
          purchasers or any royalty payments or percentage payments in purchase contracts.
     •    U.S. lifetime net revenue period is defined as the date the drug or biologic was first sold
          in the U.S. through the date of the publication of the selected drug list that includes the
          drug as a selected drug for an initial price applicability year.
     •    If U.S. lifetime net revenue for the selected drug is not available through the date of the
          publication of the selected drug list that includes the drug as a selected drug for an initial
          price applicability year, calculate net revenue through the most recent quarter for which
          such data are available.

Current Unit Costs of Production and Distribution
   • In accordance with section 1191(c)(6) of the Act, the term “unit” means, with respect to a
      drug or biological product, the lowest identifiable amount (such as a capsule or tablet,
      milligram of molecules, or grams) of the drug or biological product that is dispensed or
      furnished.
   • Units must be reported in one of the three National Council for Prescription Drug
      Programs (NCPDP) Billing Unit Standards (BUS) 87: each (EA), milliliter (ML), or gram
      (GM). The unit reported must be specified for each of the NDC-11s of the selected drug.
      Selections of EA, ML or GM must be made as follows:
          o “EA” is used when the product is dispensed in discrete units. These products are
              not measured by volume or weight. The Billing Unit of “EA” is also used to
              address exceptions where “GM” and “ML” are not applicable. Examples of
              products defined as “EA” include, but are not limited to:
                   Tablets;
                   Capsules;
                   Suppositories;
                   Transdermal patches;
                   Non-filled syringes;
                   Tapes;
                   Devices/Digital Therapies;

87
  See: https://standards.ncpdp.org/Billing-Unit-
Request.aspx#:~:text=Billing%20Unit%20Requests,grams%22%20or%20%22milliliters.%22.
         Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 194 of 199

                                                                                                                    193


                         Blister packs;
                         Oral powder packets;
                         Powder filled vials for injection;
                         Kits; 88 and
                         Unit-of-use packages of products other than injectables with a quantity
                          less than one milliliter or gram should be billed as “one each,” for
                          example, ointment in packets of less than 1 gram or eye drops in
                          dropperettes that contain less than 1 ML.
              o “ML” is used when a product is measured by its liquid volume. Examples of
                 products defined as “ML” include, but are not limited to:
                      Liquid non-injectable products of 1 ML or greater;
                      Liquid injectable products in vials/ampules/syringes;
                      Reconstitutable non-injectable products at the final volume after
                          reconstitution except when they are in powder packets; and
                      Inhalers (when labeled as milliliters on the product).
              o “GM” is used when a product is measured by its weight. Examples of products
                 defined as “GM” include, but are not limited to:
                      Creams (of 1 GM or greater);
                      Ointments (of 1 GM or greater); and
                      Inhalers (when labeled as GM on the product). 89
     •    Costs of production are defined as all (direct and allocation of indirect) costs related to:
              o Purchase of raw ingredients, including intermediates, active pharmaceutical
                 ingredients, excipients, and other bulk chemicals;
              o Formulation and preparation of the finished drug product;
              o Quality control and testing of the drug; and
              o Operating costs for personnel, facilities, transportation, importation (if any), and
                 other expenses related to the preparation of the finished drug product for the
                 selected drug.
     •    Costs of distribution are defined as all (direct and allocation of indirect) costs related to:
              o Packaging and packaging materials;
              o Labeling (e.g., the mechanical aspects of printing and affixing the approved
                 label);
              o Shipping to any entity (e.g., distributor, wholesaler, retail or specialty pharmacy,
                 physician office or hospital, etc.) that acquires the drug from the Primary
                 Manufacturer or any Secondary Manufacturer; and
              o Operating costs for facilities, transportation, and other expenses related to
                 packaging, labeling, and shipping to any entity that acquires the drug from the
                 Primary Manufacturer or any Secondary Manufacturer.
     •    Current unit costs of production and distribution of the selected drug are defined to
          include:

88
   Kits are defined as products that contain one of the following: (1) at least two distinct items with different billing
units; (2) one product packaged with medicated or unmedicated swabs, wipes and/or cotton swabs/balls; or (3)
meters packaged with test strips.
89
   See: https://standards.ncpdp.org/Standards/media/pdf/BUS_fact_sheet.pdf. Permission is hereby granted to any
organization to copy and distribute this material as long as this copyright statement is included, the contents are not
changed, and the copies are not sold.
       Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 195 of 199

                                                                                               194


            o Units (and associated costs) marketed by the Primary Manufacturer and any
                Secondary Manufacturer(s);
            o Average unit costs during the 12-month period ending May 31, 2023 (for selected
                drugs for initial price applicability year);
            o Only units (and associated costs) produced and distributed for U.S. sales; costs
                incurred outside of the U.S. are included, provided that they are incurred for the
                production or distribution of units produced and distributed for use in the U.S.;
            o Only costs incurred by the Primary Manufacturer and any Secondary
                Manufacturers; such costs may include payments to third parties (e.g.,
                contractors) performing activities that qualify as production or distribution, as
                specified above; and
            o Allocated shared operating and other indirect costs (such as capitalized production
                facility costs, benefits, generalized and administrative costs, and overhead
                expenses) specific to each NDC-11 based on unit volume.
   •    Current unit costs of production and distribution of the selected drug are defined not to
        include:
            o R&D costs; and
            o Marketing costs.
   •    “Marketing costs” are defined as expenditures incurred in the introduction or delivery for
        introduction into interstate commerce of a drug product, specifically including media
        advertisements, direct-to-consumer promotional incentives including patient assistance
        programs, promotion of the drug to health professionals, and other paid promotion.

Prior Federal Financial Support
For the purposes of describing prior federal financial support for novel therapeutic discovery and
development to be collected for use in the Negotiation Program with respect to the selected drug,
as described in section 1194(e)(1) of the Act and section 50.1 of this revised guidance, CMS
adopts the definitions described in this subsection.
    • “Federal financial support for novel therapeutic discovery and development” refers to tax
        credits, direct financial support, grants or contracts, and any other funds provided by the
        federal government that support discovery, research, and/or development related to the
        selected drug.
    • “Prior Federal financial support” refers to Federal financial support for novel therapeutic
        discovery and development (as defined above) issued during the time period from when
        initial research began (as defined above in the R&D Costs subsection), or when the drug
        was acquired by the Primary Manufacturer, whichever is later, to the day through the date
        the most recent NDA / BLA was approved for the selected drug.

Patents, Exclusivities, and Approvals
 • CMS considers relevant patents, both expired and unexpired, and relevant patent
     applications to include:
          All patents issued by the United States Patent and Trademark Office (USPTO), as
            of September 1, 2023, both expired and unexpired, for which a claim of patent
            infringement could reasonably be, or has been, asserted against a person or
            manufacturer engaged in the unlicensed manufacture, use, or sale of the selected
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 196 of 199

                                                                                                                  195


              drug in any form or any person or manufacturer seeking FDA approval of a product
              that references the selected drug.
           All patents related to the selected drug, both expired and unexpired, where the
              Primary Manufacturer is not listed as the assignee/applicant (for example, for a joint
              venture product or if any patents related to the selected drug are held by a federal
              agency).
           All patent applications related to the selected drug that are pending issuance by the
              USPTO.
           Patents and patent applications related to the selected drug include, but are not
              limited to, any patents that are, have been, or may be listed for the selected drug in
              the FDA Orange Book or Purple Book 90; utility patents that claim the drug product
              (formulation or composition), drug substance (active ingredient), metabolites or
              intermediaries of a selected drug, method(s) of using the drug, or method(s) of
              manufacturing the drug; and design patents that, for example, claim a design on the
              packaging of the selected drug.
  •   Exclusivity periods under the FD&C Act or the PHS Act refer to certain delays and
      prohibitions on the approval of competitor drug products. An NDA or BLA holder is
      eligible for exclusivity if statutory requirements are met. Exclusivities include:
            o Orphan Drug Exclusivity (ODE); 91
            o New Chemical Entity Exclusivity (NCE); 92
            o Generating Antibiotic Incentives Now (GAIN) Exclusivity for Qualified
                Infectious Disease Products (QIDP); 93
            o New Clinical Investigation Exclusivity (NCI); 94
            o Pediatric Exclusivity (PED); 95 and
            o Reference Product Exclusivity for Biological Products. 96
  •   Active and pending FDA applications and approvals includes all applications for approval
      under section 505(c) of the FD&C Act or sections 351(a) of the PHS Act, including those
      not yet decided.
Market Data and Revenue and Sales Volume Data
  • Wholesale Acquisition Cost (WAC) unit price: The manufacturer’s list price for the drug
     or biological product to wholesalers or direct purchasers in the United States, not
     including prompt pay or other discounts, rebates or reductions in price, for the most
     recent month for which the information is available, as reported in wholesale price guides
     or other publications of drug or biological product pricing data (as defined in section
     1847A(c)(6)(B) of the Act). The WAC unit price is reported at the NDC-11 level.



90
   FDA serves a ministerial role with regard to the listing of patent information in the Orange Book and Purple
Book.
91
   Section 527 of the Federal Food, Drug and Cosmetic (FD&C) Act.
92
   Section 505(c)(3)(E)(ii) and Section 505(j)(5)(F)(ii) of the FD&C Act.
93
   Section 505E(a) of the FD&C Act.
94
   Section 505(c)(3)(E)(iii) & (iv) and Section 505(j)(5)(F)(iii) & (iv) of the FD&C Act.
95
   Section 505A(b) & (c) of the FD&C Act.
96
   Section 351(k)(7) of the PHS Act.
         Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 197 of 199

                                                                                                 196


     •    National Council of Prescription Drug Programs (NCPDP) Billing Unit Standards: The
          three NCPDP Billing Unit Standards (BUS) 97 are: each (EA), milliliter (ML), and gram
          (GM). For certain volume data of the selected drug, CMS is requesting units be reported
          using the NCPDP BUS to facilitate comparison with the amounts in the quantity
          dispensed field found in PDE data, which also uses the NCPDP BUS.
     •    Medicaid best price: The Medicaid best price is defined in 42 C.F.R. § 447.505(a). The
          Medicaid best price is reported at the NDC-9 level.
     •    Average manufacturer price (AMP) unit: The unit type used by the manufacturer to
          calculate AMP (42 C.F.R. § 447.504) and best price (42 C.F.R. § 447.505) for purposes
          of the Medicaid Drug Rebate Program (MDRP): injectable anti-hemophilic factor,
          capsule, suppository, gram, milliliter, tablet, transdermal patch, each, millicurie,
          microcurie. Such units are reported by the manufacturer on a monthly basis at the NDC-9
          level.
     •    Federal supply schedule (FSS) price: The price offered by the VA in its FSS program, by
          delegated authority of the General Services Administration. 98 The FSS price is reported
          at the NDC-11 level.
     •    Big Four price: The Big Four price is described in 38 U.S.C. § 8126. The Big Four price
          is reported at the NDC-11 level.
     •    U.S. commercial average net unit price: For the sole purpose of data collection under
          section 1194(e)(1)(E) of the Act, the average net unit price of the selected drug for group
          or individual commercial plans on- and off-Exchange, excluding Medicare fee-for-
          service (Parts A and B), Medicare Advantage, Medicare Part D, Medicaid fee-for-service,
          and Medicaid managed care. The average net unit price must be net of discounts,
          chargebacks or rebates, cash discounts, free goods contingent on a purchase agreement,
          up-front payments, coupons, goods in kind, free or reduced-price services, grants, or
          other price concessions or similar benefits offered by the Primary Manufacturer and any
          Secondary Manufacturer(s) to any purchasers. The U.S. commercial average net unit
          price is reported at the NDC-11 level.
     •    U.S. commercial average net unit price─ without patient assistance program: For the sole
          purpose of data collection under section 1194(e)(1)(E) of the Act, the U.S. commercial
          average net unit price net of manufacturer-run patient assistance programs that provide
          financial assistance such as coupons and co-payment assistance or free drug products to
          patients offered by the Primary Manufacturer and any Secondary Manufacturer(s). The
          U.S. commercial average net unit price─ without patient assistance program is reported at
          the NDC-11 level.
     •    U.S. commercial average net unit price─ best: For the sole purpose of data collection
          under section 1194(e)(1)(E) of the Act, the lowest U.S. commercial average net unit price
          offered by the Primary Manufacturer and any Secondary Manufacturer(s) to any
          commercial payer in the U.S. The average net unit price must be net of discounts,
          chargebacks or rebates, cash discounts, free goods contingent on a purchase agreement,
          up-front payments, coupons, goods in kind, free or reduced-price services, grants, or
          other price concessions or similar benefits offered by the Primary Manufacturer or any

97
   See: https://standards.ncpdp.org/Billing-Unit-
Request.aspx#:~:text=Billing%20Unit%20Requests,grams%22%20or%20%22milliliters.%22.
98
   See: https://www.fss.va.gov/index.asp.
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 198 of 199

                                                                                                          197


        Secondary Manufacturer(s) to any purchasers. The U.S. commercial average net unit
        price─ best is reported at the NDC-11 level.

Evidence About Alternative Treatments
   • Therapeutic Alternative: A therapeutic alternative must be a pharmaceutical product that
      is clinically comparable to the selected drug. CMS will consider different therapeutic
      alternatives for each indication, as applicable. Therapeutic alternatives may be a brand
      name drug or biological product, generic drug, or biosimilar and may be on-label or off-
      label to treat a given indication. CMS will begin by identifying therapeutic alternatives
      within the same drug class as the selected drug based on properties such as chemical
      class, therapeutic class, or mechanism of action before considering therapeutic
      alternatives in other drug classes. In cases where there are many potential therapeutic
      alternatives for a given indication of the selected drug, CMS may focus on the subset of
      therapeutic alternatives that are most clinically comparable to the selected drug.
   • Outcomes: Outcomes may be clinical or related to the functioning, symptoms, quality of
      life, or other aspects of a patient’s life. Outcomes such as cure, survival, progression-free
      survival, or improved morbidity could be considered when comparing the selected drug
      to its therapeutic alternative(s). Outcomes such as changes in symptoms or other factors
      that are of importance to patients, and patient-reported outcomes will also be identified
      and considered in determining clinical benefit, if available. Additional outcomes such as
      changes to productivity, independence, and quality of life will also be considered,
      including patient-centered outcomes when available, to the extent that these outcomes
      correspond with a direct impact on individuals taking the drug. The caregiver perspective
      will be considered when there is a direct impact on the individuals taking the selected
      drug or therapeutic alternative.
   • Patient-centered outcome: An outcome that is important to patients’ survival, functioning,
      or feelings as identified or affirmed by patients themselves, or judged to be in patients’
      best interest by providers and/or caregivers when patients cannot report for themselves. 99
   • Specific populations: Specific populations include individuals with disabilities, the
      elderly, individuals who are terminally ill, children, and other patient populations among
      Medicare beneficiaries including those that may experience disparities in access to care,
      health outcomes, or other factors when taking the selected drug that impact health equity.
   • Health equity: The attainment of the highest level of health for all people, where
      everyone has a fair and just opportunity to attain their optimal health regardless of race,
      ethnicity, disability, sexual orientation, gender identity, socioeconomic status, geography,
      preferred language, or other factors that affect access to care and health outcomes. 100
   • Unmet medical need: A drug or biological product may be considered to meet an unmet
      medical need if the drug or biological product treats a disease or condition in cases where
      no other treatment options exist or existing treatments do not adequately address the



99
   Source: ISPOR Plenary, Patrick (2013) via FDA’s “Patient-Focused Drug Development: Collecting
Comprehensive and Representative Input – Guidance for Industry, Food and Drug Administration Staff, and Other
Stakeholders” (June 2020). See: https://www.fda.gov/media/139088/download.
100
    See: https://www.cms.gov/pillar/health-equity.
      Case 1:23-cv-01615-CKK Document 23-5 Filed 07/11/23 Page 199 of 199

                                                                                                        198


        disease or condition. 101 Unmet medical need is determined at the time of submission of
        this information.




101
   CMS will consider the nonbinding recommendations in the FDA “Guidance for Industry Expedited Programs for
Serious Conditions – Drugs and Biologics” (May 2014) when considering if a drug addresses an unmet medical
need for the purpose of the Negotiation Program.
